         Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 1 of 224
                                                                                                    United States Bankruptcy Court
                                                                                                        Southern District of Texas

                                                                                                            ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                                         December 23, 2022
                            FOR THE SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

                                                                )
In re:                                                          )      Chapter 11
                                                                )
Core Scientific, Inc., et al., 1                                )      Case No. 22-90341 (DRJ)
                                                                )
                                     Debtors.                   )      (Jointly Administered)
                                                                )
                                                                )      Re: Docket No. __
                                                                                       38

     INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN SENIOR
       SECURED PRIMING SUPERPRIORITY POSTPETITION FINANCING AND
         (B) USE CASH COLLATERAL, (II) GRANTING LIENS AND PROVIDING
       CLAIMS WITH SUPERPRIORITY ADMINISTRATIVE EXPENSE STATUS,
    (III) GRANTING ADEQUATE PROTECTION TO THE PREPETITION SECURED
       PARTIES, (IV) MODIFYING THE AUTOMATIC STAY, (V) SCHEDULING A
               FINAL HEARING, AND (VI) GRANTING RELATED RELIEF

          Upon the motion (the “Motion”) 2 of Core Scientific, Inc. (“Core Scientific”) and each of

its affiliates that are debtors and debtors in possession (collectively, the “Debtors”) in the

above-captioned chapter 11 cases (the “Chapter 11 Cases”), pursuant to sections 105, 361, 362,

363, 364, 503, 506, 507 and 552 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq.

(the “Bankruptcy Code”), Rules 2002, 4001, 6003, 6004, and 9014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 2002-1, 4001-1(b), 4002-1 and

9013-1 of the Bankruptcy Local Rules of the United States Bankruptcy Court for the Southern

District of Texas and the Procedures for Complex Chapter 11 Bankruptcy Cases (together, the


1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific
     Acquired Mining LLC (N/A); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core
     Scientific Specialty Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard
     Capital LLC (6677); RADAR, LLC (5106); American Property Acquisition I, LLC (9717); and American
     Property Acquisitions, VII, LLC (3198). The Debtors’ corporate headquarters and service address is 210 Barton
     Springs Road, Suite 300, Austin, Texas 78704.
2
     Each capitalized term that is not defined herein shall have the meaning ascribed to such term in the DIP Loan
     Agreement (as defined below).



4876-5193-0437
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        Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 2 of 224




“Local Bankruptcy Rules”) promulgated by the United States Bankruptcy Court for the

Southern District of Texas, Houston Division (the “Court”), seeking entry of an interim order

(this “Interim Order”), among other things:

         (a)     authorizing the Debtors to obtain postpetition financing on a superpriority priming
                 senior secured basis (the “DIP Facility”, and the loans made, advanced or deemed
                 advanced thereunder, the “DIP Loans”) in the form of (i) a new money multiple
                 draw term loan facility in an aggregate principal amount of up to $75 million (the
                 “New Money Term DIP Facility”), pursuant to which (A) an aggregate principal
                 amount of $37.5 million shall be borrowed (the “Interim DIP Borrowing”) in a
                 single borrowing on the Closing Date (as defined in the DIP Loan Agreement),
                 and (B) following entry of the Final Order (as defined below), the remaining
                 aggregate principal amount under the New Money Term DIP Facility shall be
                 available, in one or more borrowings (each such borrowing, including the Interim
                 DIP Borrowing, a “DIP Borrowing”, and, collectively, the “DIP Borrowings”),
                 and (ii) a credit facility pursuant to which principal amounts outstanding under the
                 Prepetition Secured Notes (as defined below) held by each Backstop Party (as
                 defined in the DIP Loan Agreement) and/or each Prepetition Secured Noteholder
                 (as defined below) in which a Backstop Party is an affiliate, partner or investor
                 (each such Backstop Party and/or Prepetition Lender, a “Rolled Up Noteholder
                 Party”), in an amount equal to the aggregate amount of New Money
                 Commitments (as defined in the DIP Loan Agreement) as of the Final Hearing,
                 shall, upon and subject to entry of the Final Order, automatically be deemed
                 substituted and exchanged for, and converted into, DIP Loans (such conversion,
                 the “Roll Up”) on a cashless dollar for dollar basis, in each case, in accordance
                 with and subject to the terms and conditions (including, without limitation, any
                 conditions precedent to each of the DIP Borrowings) set forth in that certain
                 Senior Secured Super-Priority Debtor-In-Possession Loan and Security
                 Agreement, substantially in the form attached to this Interim Order as Exhibit 1
                 and otherwise in form and substance acceptable to the Required DIP Lenders 3 (as
                 may be amended, amended and restated, supplemented, or otherwise modified
                 from time to time in accordance with the terms hereof and thereof, the “DIP Loan
                 Agreement”, and, together with all other agreements, guarantees, pledge,
                 collateral and security agreements, mortgages, deeds, charges, control
                 agreements, instruments, certificates, notes, any separate fee letter agreements
                 between any of the Debtors, on the one hand, and the DIP Agent and/or the DIP
                 Lenders, on the other hand, and other documents executed, filed and/or delivered
                 in connection therewith, including the “Loan Documents” (as defined in the DIP
                 Loan Agreement) (each as amended, amended and restated, supplemented, or
                 otherwise modified from time to time in accordance with the terms hereof and
                 thereof, together with the DIP Loan Agreement, collectively, the “DIP Loan
                 Documents”), by and among Core Scientific, as borrower (the “DIP Borrower”),

3
       The term “Required DIP Lenders” shall have the meaning ascribed to the term “Required Lenders” in the
DIP Loan Agreement.


4876-5193-0437                                       -2-
        Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 3 of 224




                 each of the direct and indirect subsidiaries of the DIP Borrower, as guarantors
                 (collectively, the “DIP Guarantors”, and together with the DIP Borrower, the
                 “DIP Loan Parties”), Wilmington Savings Fund Society, FSB, as administrative
                 agent and collateral agent (in such capacities, together with its successors and
                 permitted assigns, the “DIP Agent”), and the lenders party thereto from time to
                 time (the “DIP Lenders”, and together with the DIP Agent, the “DIP Secured
                 Parties”) and this Interim Order;

         (b)     authorizing the DIP Loan Parties to (i) execute, deliver, and perform under the
                 DIP Loan Agreement and each of the DIP Loan Documents, (ii) incur all loans,
                 advances, extensions of credit, financial accommodations, indemnification and
                 reimbursement obligations and other obligations, and pay all principal, interest,
                 premiums, fees, costs, expenses, charges and all other amounts payable under the
                 DIP Loan Documents, including without limitation, all “Obligations” (as defined
                 in the DIP Loan Agreement), whether or not such obligations arose before or after
                 the Petition Date, whenever the same shall become due or payable, whether at
                 stated maturity, by prepayment, declaration, acceleration or otherwise, in each
                 case, in accordance with the DIP Loan Documents and this Interim Order
                 (collectively, the “DIP Obligations”), and (iii) perform such other and further acts
                 as may be necessary, required or desirable to implement and effectuate the terms
                 of this Interim Order, the DIP Loan Documents and the transactions contemplated
                 hereunder and thereunder;

         (c)     authorizing the DIP Borrower to incur, and the DIP Guarantors to jointly and
                 severally guarantee, all DIP Obligations, in accordance with this Interim Order
                 and the DIP Loan Documents;

         (d)     granting to the DIP Agent, for the benefit of itself and the other DIP Secured
                 Parties, the DIP Liens (as defined below) in all DIP Collateral (as defined below),
                 as set forth in this Interim Order, subject to the Carve Out and subject to the
                 relative priorities set forth in this Interim Order;

         (e)     granting to the DIP Agent, for the benefit of itself and the other DIP Secured
                 Parties, allowed super-priority administrative expense claims against each of the
                 Debtors, on a joint and several basis, in respect of all DIP Obligations, subject in
                 each case to the Carve Out, as set forth in this Interim Order;

         (f)     authorizing the Debtors to use the proceeds of the DIP Facility, the DIP Collateral
                 and the Prepetition Collateral (as defined below), including Cash Collateral (as
                 defined below), solely in accordance with the terms and conditions set forth in
                 this Interim Order and the DIP Loan Documents, including the Approved Budget
                 (as defined below), subject to any variances expressly permitted under the DIP
                 Loan Agreement (the “Permitted Variances”);

         (g)     granting adequate protection, as and to the extent set forth in this Interim Order, to
                 the Prepetition Secured Parties (as defined below) to protect against any



4876-5193-0437                                    -3-
        Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 4 of 224




                 Diminution in Value (as defined below) of their respective Prepetition Liens (as
                 defined below) in the Prepetition Collateral (including Cash Collateral);

         (h)     approving certain stipulations, waivers, and releases by the Debtors with respect
                 to, inter alia, (i) the DIP Secured Parties, the DIP Loan Documents, the DIP
                 Liens, the DIP Obligations and the DIP Collateral, and (ii) the Prepetition Secured
                 Parties, the Prepetition Notes Documents, the Prepetition Liens, the Prepetition
                 Secured Obligations (each as defined below) and the Prepetition Collateral, in
                 each case, subject to the terms and provisions of this Interim Order;

         (i)     approving the Debtors’ waiver of the right to surcharge the DIP Collateral as to
                 the DIP Secured Parties and the Prepetition Collateral as to the Prepetition
                 Secured Parties, pursuant to section 506(c) of the Bankruptcy Code or otherwise,
                 in each case, upon the terms set forth in this Interim Order;

         (j)     approving (i) the Debtors’ waiver of the equitable doctrine of “marshaling” and
                 other similar doctrines with respect to the DIP Collateral as to the DIP Secured
                 Parties, and (ii) the Debtors’ waiver of the equitable doctrine of “marshaling” and
                 the Debtors’ waiver of any “equities of the case” exception under section 552(b)
                 of the Bankruptcy Code with respect to the Prepetition Collateral as to the
                 Prepetition Secured Parties, in each case, upon the terms set forth in this Interim
                 Order;

         (k)     modifying or vacating the automatic stay imposed by sections 105(a) and 362 of
                 the Bankruptcy Code or otherwise, to the extent necessary, required or desirable
                 to implement and effectuate the terms and provisions of this Interim Order and the
                 DIP Loan Documents, as set forth herein, waiving any applicable stay (including
                 under Bankruptcy Rule 6004) with respect to the effectiveness and enforceability
                 of this Interim Order, providing for the immediate effectiveness of this Interim
                 Order, and granting related relief; and

         (l)     scheduling a final hearing (the “Final Hearing”) on the Motion to consider entry
                 of a final order (the “Final Order”) authorizing the relief requested in the Motion
                 on a final basis, which order shall be in form and substance and on terms and
                 conditions acceptable in all respects to the Required DIP Lenders, and approving
                 the form of notice with respect to such Final Hearing.

         The Court, having considered the Motion, the DIP Loan Documents, the exhibits attached

thereto, the Declaration of Michael Bros in Support of the Debtors’ Chapter 11 Petitions and

First Day Motions [Docket No. 5] (the “First Day Declaration”), the Declaration of John Singh

in Support of the Debtors’ Motion for Entry of an Interim Order (I) Authorizing the Debtors to

(A) Obtain Senior Secured Priming Superpriority Postpetition Financing, and (B) Use Cash



4876-5193-0437                                   -4-
        Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 5 of 224




Collateral, (II) Granting Liens and Providing Claims with Superpriority Administrative Expense

Status, (III) Granting Adequate Protection to the Prepetition Secured Parties, (IV) Modifying the

Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting Related Relief [Docket No.

98] (the “DIP Declaration”), the evidence submitted and arguments proffered or adduced at the

interim hearing held before this Court on December 22, 2022 (the “Interim Hearing”), and upon

the record of the Chapter 11 Cases; and due and proper notice of the Interim Hearing having

been given in accordance with Bankruptcy Rules 4001 and 9014 and all applicable Local

Bankruptcy Rules; and it appearing that no other or further notice need be provided; and all

objections, if any, to the relief requested in the Motion having been withdrawn, resolved, or

overruled by the Court; the Court having determined that the legal and factual bases set forth in

the Motion and at the Interim Hearing established just cause for the relief granted herein; and it

appearing to the Court that granting the interim relief requested in the Motion is necessary to

avoid immediate and irreparable harm to the Debtors and their estates pending the Final Hearing,

and otherwise is fair and reasonable and in the best interests of the Debtors, their estates, their

creditors, and all other parties in interest, represents a sound exercise of the Debtors’ business

judgment, is necessary for the continued operation of the Debtors’ businesses and is necessary to

preserve and maximize the value of the Debtors and their estates; and the Debtors having

provided notice of the Motion as set forth in the Motion; and after due deliberation and

consideration, and for good and sufficient cause appearing therefor:

         THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

CONCLUSIONS OF LAW: 4


4
     The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
     pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To
     the extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To
     the extent any of the following conclusions of law constitute findings of fact, they are adopted as such.


4876-5193-0437                                           -5-
        Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 6 of 224




         A.      Petition Date. On December 21, 2022 (the “Petition Date”), each of the Debtors

filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code in this Court

commencing these Chapter 11 Cases.

         B.      Debtors in Possession. The Debtors continue to manage and operate their

businesses and properties as debtors in possession pursuant to sections 1107 and 1108 of the

Bankruptcy Code. No trustee or examiner has been appointed in any of the Chapter 11 Cases.

         C.      Committee Formation. As of the date hereof, the Office of the United States

Trustee (the “U.S. Trustee”) has not appointed an official statutory committee of unsecured

creditors in the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code (to the extent

appointed in the Chapter 11 Cases, the “Official Committee”).

         D.      Jurisdiction and Venue. This Court has jurisdiction over the Chapter 11 Cases, the

Motion, and the parties and property affected hereby pursuant to 28 U.S.C. § 1334. This Court’s

consideration of the Motion constitutes a core proceeding pursuant to 28 U.S.C. § 157(b). Venue

for these Chapter 11 Cases and the proceedings on the Motion is proper in this district pursuant

to 28 U.S.C. §§ 1408 and 1409. The predicates for the relief set forth herein are sections 105,

361, 362, 363, 364, 503, 506, 507 and 552 of the Bankruptcy Code, Bankruptcy Rules 2002,

4001, 6003, 6004, and 9014, and Local Bankruptcy Rule 4001-2.

         E.      Debtors’ Stipulations, Releases and Acknowledgements. In exchange for and as a

material inducement to the DIP Secured Parties to provide the DIP Facility, and in requesting the

use of Prepetition Collateral (including Cash Collateral), after consultation with their attorneys

and advisors, the Debtors, on behalf of themselves and their estates, hereby admit, stipulate,

acknowledge and agree as follows (without prejudice to the rights of the Official Committee and

other parties-in-interest in paragraph 23 of this Interim Order (subject to the limitations set forth




4876-5193-0437                                   -6-
        Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 7 of 224




therein)) (collectively, the admissions, stipulations, and acknowledgments and agreements set

forth in this paragraph E, the “Debtors’ Stipulations”):

                 (a)    Prepetition April NPA Secured Notes.

                         (i)     Prepetition April NPA. Pursuant to (x) that certain Secured
         Convertible Note Purchase Agreement, dated as of April 19, 2021 (as amended, amended
         and restated, supplement or otherwise modified from time to time prior to the Petition
         Date, the “Prepetition April NPA”), by and among Core Scientific (f/k/a Core Scientific
         Holding Co.), the guarantors party thereto from time to time (the “Prepetition April NPA
         Guarantors”, and together with Core Scientific, the “Prepetition April NPA Notes
         Obligors”), the “Initial Purchasers” and any “Additional Purchasers” party thereto from
         time to time (collectively, the “Prepetition April NPA Secured Noteholders”) and U.S.
         Bank National Association, as note agent and collateral agent (in such capacities, the
         “Prepetition April NPA Agent”, and together with the Prepetition April NPA Secured
         Noteholders, the “Prepetition April NPA Secured Parties”), and (y) all other agreements,
         guarantees, pledge, collateral and security documents, instruments, certificates,
         promissory notes and other documents executed and/or delivered in connection therewith,
         including, without limitation, all “Note Documents” (as defined in the Prepetition April
         NPA) (collectively, together with the Prepetition April NPA, the “Prepetition April NPA
         Documents”), Core Scientific issued secured convertible notes (the “Prepetition April
         NPA Secured Notes”), and each of the Prepetition April NPA Guarantors, among other
         things, jointly and severally, irrevocably and unconditionally guaranteed the due and
         punctual payment and performance in full in cash of all Prepetition April NPA Secured
         Notes Obligations (as defined below).

                         (ii)    Prepetition April NPA Secured Notes Obligations. As of the
         Petition Date, the Prepetition April NPA Notes Obligors were justly and lawfully
         indebted to the Prepetition April NPA Secured Parties, on a joint and several basis,
         without defense, claim, counterclaim, challenge or offset of any kind, in the aggregate
         amount of approximately $316.1 million on account of principal amounts outstanding
         (inclusive of principal amounts accreted as of the Petition Date) under the Prepetition
         April NPA Secured Notes, plus accrued but unpaid interest thereon, plus all fees, costs,
         expenses (including attorneys’, financial advisors’ and other professionals’ fees and
         expenses), charges, disbursements, indemnification and reimbursement obligations
         (contingent or otherwise), including all “Obligations” (as defined in the Prepetition April
         NPA) and all other amounts that may be due or owing under the Prepetition April NPA
         Documents (collectively, the “Prepetition April NPA Secured Notes Obligations”).

                 (b)    Prepetition August NPA Secured Notes.

                         (i)    Prepetition August NPA. Pursuant to (x) that certain Secured
         Convertible Note Purchase Agreement, dated as of August 20, 2021 (as amended,
         amended and restated, supplement or otherwise modified from time to time prior to the
         Petition Date, the “Prepetition August NPA”), by and among Core Scientific (f/k/a Core
         Scientific Holding Co.), the guarantors party thereto from time to time (the “Prepetition


4876-5193-0437                                   -7-
        Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 8 of 224




         August NPA Guarantors”, and together with Core Scientific, the “Prepetition August
         NPA Notes Obligors”), the “Initial Purchasers” and any “Additional Purchasers” party
         thereto from time to time (collectively, the “Prepetition August NPA Secured
         Noteholders”) and U.S. Bank National Association, as note agent and collateral agent (in
         such capacities, the “Prepetition August NPA Agent”, and together with the Prepetition
         August NPA Secured Noteholders, the “Prepetition August NPA Secured Parties”), and
         (y) all other agreements, guarantees, pledge, collateral and security documents,
         instruments, certificates, promissory notes and other documents executed and/or
         delivered in connection therewith, including, without limitation, all “Note Documents”
         (as defined in the Prepetition August NPA) (collectively, together with the Prepetition
         August NPA, the “Prepetition August NPA Documents”), Core Scientific issued
         convertible notes (the “Prepetition August NPA Secured Notes”), and each of the
         Prepetition August NPA Guarantors, among other things, jointly and severally,
         irrevocably and unconditionally guaranteed the due and punctual payment and
         performance in full in cash of all Prepetition August NPA Secured Notes Obligations (as
         defined below).

                                  (ii)    Prepetition August NPA Secured Notes Obligations. As of
         the Petition Date, the Prepetition August NPA Notes Obligors were justly and lawfully
         indebted to the Prepetition August NPA Secured Parties, on a joint and several basis,
         without defense, claim, counterclaim, challenge or offset of any kind, in the aggregate
         amount of approximately $320.7 million on account of principal amounts outstanding
         under the Prepetition August NPA Secured Notes, plus accrued but unpaid interest
         thereon, plus all fees, costs, expenses (including attorneys’, financial advisors’ and other
         professionals’ fees and expenses), charges, disbursements, indemnification and
         reimbursement obligations (contingent or otherwise), including all “Obligations” (as
         defined in the Prepetition August NPA) and all other amounts that may be due or owing
         under the Prepetition August NPA Documents (collectively, the “Prepetition August
         NPA Secured Notes Obligations”).

                 (c)    Certain Definitions.

                         (i)    “Permitted Prior Senior Liens” means Permitted Prior Liens (as
         defined in the DIP Loan Agreement) that constitute (a) mechanic’s liens and,
         (b) Prepetition Equipment Financing Liens in the Prepetition Equipment Financing
         Collateral, in each case, to the extent such liens and security are existing, valid, fully
         perfected and non-avoidable as of the Petition Date (or were properly perfected
         subsequent to the Petition Date to the extent permitted by section 546(b) of the
         Bankruptcy Code).

                         (ii)  “Prepetition Agents” means the Prepetition April NPA Agent and
         the Prepetition August NPA Agent.

                         (iii) “Prepetition Equipment Financings” means loans or indebtedness
         incurred by Core Scientific or Core Scientific Operating Company (f/k/a Core Scientific,
         Inc.) to finance the acquisition of machines or equipment or otherwise incurred under any
         of the agreements or documents listed on Schedule 10.2.2 of the Credit Agreement.


4876-5193-0437                                    -8-
        Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 9 of 224




                         (iv)    “Prepetition Equipment Financing Collateral” means the
         property and assets of any Debtor (and proceeds thereof), in each case, as and to the
         extent a lien or security interest is granted or purported to be granted in such property,
         assets and/or proceeds thereof, as security for the respective Prepetition Equipment
         Financings, as more particularly set forth in the applicable Prepetition Equipment Loan
         Documents.

                         (v)      “Prepetition Equipment Financing Liens” means the liens and
         security interests of, or asserted by, each of the Prepetition Equipment Lenders in the
         Prepetition Equipment Financing Collateral purportedly securing the respective
         Prepetition Equipment Financings. For the avoidance of doubt and notwithstanding
         anything contrary herein or in the Credit Agreement, the DIP Liens shall not prime the
         Prepetition Equipment Financing Liens that are Permitted Prior Senior Liens.

                       (vi)   “Prepetition Equipment Lenders” means the lenders under the
         Prepetition Equipment Financings.

                       (vii) “Prepetition Equipment Loan Documents” means loan
         documents, and all security, collateral and other agreements, statements, instruments and
         other documents executed and/or delivered by the Debtors and the Prepetition Equipment
         Lenders in connection with the Prepetition Equipment Financings.

                      (viii) “Prepetition Notes Documents” means the Prepetition April NPA
         Documents and the Prepetition August NPA Documents.

                       (ix)   “Prepetition Notes Obligors” means the Prepetition April NPA
         Notes Obligors and the Prepetition August NPA Notes Obligors.

                       (x)    “Prepetition NPAs” means the Prepetition April NPA and the
         Prepetition August NPA.

                     (xi)   “Prepetition Secured Noteholders” means the Prepetition April
         NPA Secured Noteholders and the Prepetition August NPA Secured Noteholders.

                       (xii) “Prepetition Secured Notes” means the Prepetition April NPA
         Secured Notes and the Prepetition August NPA Secured Notes.

                      (xiii) “Prepetition Secured Obligations” means the Prepetition April
         NPA Secured Notes Obligations and the Prepetition August NPA Secured Notes
         Obligations.

                        (xiv) “Prepetition Secured Parties” means the Prepetition April NPA
         Secured Parties and the Prepetition August NPA Secured Parties.

                  (d)    Prepetition Liens. Pursuant to the Prepetition Notes Documents
         (including, among other Prepetition Notes Documents, (i) the Security Agreement, dated
         as of April 19, 2021, in respect of the Prepetition April NPA Secured Notes, and
         (ii) following the occurrence of a Conversion Event (as defined in the Prepetition August


4876-5193-0437                                    -9-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 10 of 224




         NPA), the Security Agreement, dated as of February 7, 2022, in respect of the Prepetition
         August NPA Secured Notes), in order to secure the Prepetition Secured Obligations, the
         Prepetition Notes Obligors granted to the Prepetition Agents, for the benefit of
         themselves and the applicable Prepetition Secured Noteholders, valid, enforceable and
         properly perfected continuing liens and security interests in (collectively, the “Prepetition
         Liens”) all “Collateral” (as defined in the Prepetition Notes Documents) (collectively, the
         “Prepetition Collateral”).

                 (e)     Validity and Enforceability of Prepetition Secured Obligations and
         Prepetition Liens. As of the Petition Date, (i) the Prepetition Liens in the Prepetition
         Collateral (A) are legal, valid, binding, enforceable, non-avoidable and fully perfected
         liens and security interests in the Prepetition Collateral, (B) were granted to or for the
         benefit of the Prepetition Secured Parties for fair consideration and reasonably equivalent
         value, and (C) are senior with priority over any and all other liens or security interests in
         the Prepetition Collateral, subject only to certain liens and security interests that were
         valid, non-avoidable and properly perfected as of the Petition Date (or were properly
         perfected subsequent to the Petition Date to the extent permitted by section 546(b) of the
         Bankruptcy Code) and senior in priority by operation of law to the Prepetition Liens in
         the Prepetition Collateral as of the Petition Date (the “Existing Senior Liens”)); 5 (ii) the
         Prepetition Secured Obligations constitute legal, valid, binding and non-avoidable
         obligations of each of the Prepetition Notes Obligors, enforceable in accordance with the
         terms of the applicable Prepetition Notes Documents; (iii) no challenges, objections,
         defenses, claims or counterclaims of any kind or nature whatsoever with respect to any of
         the Prepetition Liens or the Prepetition Secured Obligations exist, and no portion of the
         Prepetition Liens or the Prepetition Secured Obligations is subject to any challenge,
         defense or claim (as defined in section 101(5) of the Bankruptcy Code) of any kind or
         nature whatsoever, including, without limitation, avoidance (whether under Chapter 5 of
         the Bankruptcy Code or under applicable law (including any applicable state law
         Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act or similar statute
         or common law)), reduction, setoff, offset, recoupment, recharacterization, subordination
         (whether equitable, contractual or otherwise), reclassification, disgorgement,
         disallowance, impairment, marshalling, surcharge or recovery, in each case, whether
         arising under the Bankruptcy Code, applicable non-bankruptcy law or otherwise; (iv) the
         Debtors waive, discharge and release any right to challenge the enforceability, validity,
         priority or perfection of any of the Prepetition Secured Obligations or the Prepetition
         Liens; and (v) the Prepetition Secured Obligations constitute allowed secured claims
         within the meaning of sections 502 and 506 of the Bankruptcy Code against each of the
         Prepetition Notes Obligors and their respective estates.


5
       Nothing contained herein shall constitute a finding or ruling by this Court that any alleged Existing Senior
       Lien is valid, senior, enforceable, prior, perfected or non-avoidable. Moreover, nothing contained herein shall
       prejudice the rights of any party in interest, including, but not limited to the Debtors, the DIP Secured Parties,
       the Prepetition Secured Parties, or any Official Committee, in each case, to the extent such party has standing
       to challenge the validity, priority, enforceability, seniority, avoidability, perfection or extent of any alleged
       Existing Senior Lien (subject to the terms of this Interim Order). For the purposes hereof, any alleged claim
       arising or asserted as a right of reclamation or return (whether asserted under Section 546(c) of the
       Bankruptcy Code or otherwise) is not an Existing Senior Lien.


4876-5193-0437                                            -10-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 11 of 224




                 (f)     No Claims, Defenses, or Causes of Action. As of the date hereof, there
         exists no challenge, objection, defense, claim, counterclaim, or other cause of action, of
         any kind or nature whatsoever, whether arising under the Bankruptcy Code, applicable
         non-bankruptcy law or otherwise, against any of the Prepetition Secured Parties or any of
         their respective officers, directors, members, managers, partners, equity holders,
         subsidiaries, affiliates, related parties, employees, investment advisors or managers,
         agents, attorneys, advisors, professionals (collectively, together with each of their
         successors and assigns, the “Representatives”) (in their capacities as such) arising from,
         in connection with, or related to this Interim Order, the Prepetition Liens, the Prepetition
         Secured Obligations, the Prepetition Notes Documents or the Prepetition Collateral.

                  (g)    Releases. Subject to paragraph 23 of this Interim Order, effective as of the
         date of entry of this Interim Order, each of the Debtors and the Debtors’ estates, on its
         own behalf and on behalf of its predecessors, successors and assigns, hereby absolutely,
         unconditionally and irrevocably releases and forever discharges and acquits each of the
         Prepetition Secured Parties and each of their respective Representatives (in their
         capacities as such) from any and all obligations and liabilities to the Debtors (and their
         successors and assigns) and from any and all claims, counterclaims, cross-claims,
         demands, defenses, objections, challenges, offsets or setoff, debts, accounts, contracts,
         liabilities, remedies, suits, controversies, actions, causes of action, losses, damages,
         indemnities, reimbursement obligations, attorneys’ fees, costs, expenses or judgments, of
         every kind or nature whatsoever, whether matured or unmatured, known or unknown,
         asserted or unasserted, suspected or unsuspected, foreseen or unforeseen, accrued or
         unaccrued, liquidated or unliquidated, fixed or contingent, pending or threatened, arising
         in law or equity, upon contract or tort, under the Bankruptcy Code, any state or federal
         common law, statute, rule, regulation or otherwise, in each case, that may be asserted by
         any of the Debtors, their respective estates, predecessors, successors or assigns, against
         the Prepetition Secured Parties or their respective Representatives (in their capacities as
         such) for or by reason of any act, omission, matter, cause or thing whatsoever arising at
         any time prior to the date of this Interim Order, in each case, arising under, in connection
         with or related to this Interim Order, the Prepetition Notes, the Prepetition Liens, the
         Prepetition Collateral, the Prepetition Secured Obligations, the Prepetition Notes
         Documents, the Adequate Protection Obligations, the transactions contemplated
         thereunder or hereunder, or the negotiation thereof or hereof, including, without
         limitation, any claim or cause of action seeking (i) any so-called lender liability, (ii) any
         and all claims arising under the Bankruptcy Code, whether under Chapter 5 of the
         Bankruptcy Code or under applicable law (including any applicable state law Uniform
         Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act or similar statute or
         common law), or (iii) reduction, recoupment, recharacterization, subordination (whether
         equitable, contractual or otherwise), reclassification, disgorgement, disallowance,
         impairment, marshalling, surcharge or recovery, or any other claim or cause action with
         respect to the validity, enforceability, priority, scope, extent or perfection of the
         Prepetition Liens, the Prepetition Secured Obligations or the Prepetition Notes
         Documents.

               (h)    Cash Collateral. All of the Debtors’ cash (except for cash held in any
         “Excluded Accounts” (as defined in the Prepetition NPAs) that do not otherwise


4876-5193-0437                                   -11-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 12 of 224




         constitute identifiable proceeds of Prepetition Collateral), whether existing as of the
         Petition Date or thereafter, wherever located and held, including all cash and cash
         equivalents deposited or maintained by the Debtors in any accounts, whether as original
         collateral or proceeds of Prepetition Collateral, constitutes “cash collateral” of the
         Prepetition Secured Parties within the meaning of section 363(a) of the Bankruptcy Code
         (the “Cash Collateral”).

                 (i)    Default. Prior to the Petition Date, the Prepetition Notes Obligors were in
         default under the Prepetition Notes Documents. As of the Petition Date, the
         aforementioned defaults are continuing, and the Prepetition Notes Obligors are also in
         default under the Prepetition Notes Documents on account of the commencement of the
         Chapter 11 Cases.

         F.      Findings Regarding Corporate Authority. Each of the DIP Loan Parties has all

requisite power and authority to execute and deliver the DIP Loan Documents to which it is a

party and to perform its obligations thereunder.

         G.      Findings Regarding DIP Facility and Use of Cash Collateral.

                 (a)    Good Cause. Good and sufficient cause has been shown for the entry of

this Interim Order and for the Debtors to obtain postpetition financing pursuant to the terms

hereof and the DIP Loan Documents.

                 (b)    Need for Postpetition Financing and Use of Cash Collateral. The Debtors

have an immediate and critical need to obtain the DIP Facility and use Cash Collateral in order

to, among other things, (i) permit the orderly continuation and operation of their businesses,

(ii) maintain business relationships with customers, vendors and suppliers, (iii) make payroll,

(iv) make capital expenditures, (v) pay the expenses of the Chapter 11 Cases, (vi) satisfy

working capital and operational needs of the Debtors, and (v) for general corporate purposes, in

each case, in accordance with and subject to the terms and conditions of this Interim Order and

the DIP Loan Documents, including the Approved Budget (subject to Permitted Variances). The

Debtors require immediate access to sufficient working capital and liquidity through the

incurrence of loans and other financial accommodations under the DIP Facility and the use of the



4876-5193-0437                                  -12-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 13 of 224




Prepetition Secured Parties’ Cash Collateral in order to preserve, maintain and maximize the

going concern value of the Debtors and to facilitate an orderly and successful reorganization of

the Debtors. Without access to the DIP Facility and the authorized use of Cash Collateral upon

the terms set forth herein, the Debtors and their estates will be immediately and irreparably

harmed.

                 (c)   No Credit Available on More Favorable Terms. The Debtors are unable to

obtain financing or other financial accommodations on more favorable terms from sources other

than the DIP Secured Parties. The Debtors are unable to obtain adequate unsecured credit

allowable as an administrative expense under section 503(b)(1) of the Bankruptcy Code. The

Debtors are also unable to obtain adequate secured credit allowable under sections 364(c)(1),

364(c)(2) and 364(c)(3) of the Bankruptcy Code without (a) granting to the DIP Secured Parties

the rights, benefits, remedies and protections set forth herein and the DIP Loan Documents,

including the DIP Liens in all DIP Collateral and the DIP Superpriority Claims, and (b) granting

to the Prepetition Secured Parties the rights, benefits remedies and protections set forth herein

and in the DIP Loan Documents, including the Noteholder Adequate Protection Liens, the

Noteholder Adequate Protection Claims and all other Noteholder Adequate Protection

Obligations (each as defined below), in each case, upon the terms set forth herein.

                 (d)   Use of Proceeds of DIP Facility and Cash Collateral. As a condition to

providing the DIP Facility and their consent to the use of Prepetition Collateral (including Cash

Collateral), each of the DIP Secured Parties and the Prepetition Secured Parties (as applicable)

require, and the Debtors have agreed, that all proceeds of the DIP Loans and all Cash Collateral

shall be used and/or applied solely for the purposes expressly permitted in, and in a manner

consistent with, the Approved Budget (subject to Permitted Variances) including (i) to pay the




4876-5193-0437                                  -13-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 14 of 224




costs of administration of the Chapter 11 Cases, (ii) for general corporate and working capital

purposes, (iii) to pay adequate protection payments to the extent set forth in this Interim Order,

and (iv) to pay professional fees and expenses in accordance with this Interim Order, in each

case, subject to the terms and conditions of this Interim Order and the DIP Loan Documents.

                 (e)   Roll Up. The Roll Up is an inextricable component of the DIP Facility,

and the Prepetition Secured Noteholders would not have otherwise consented to the use of

Prepetition Collateral (including Cash Collateral) or the subordination of their Prepetition Liens

to the DIP Liens and the Carve Out upon the terms set forth in this Interim Order, and the DIP

Secured Parties would not otherwise be willing to provide the DIP Facility or extend new credit

to the Debtors thereunder, without the inclusion of the Roll Up. Moreover, the Roll Up will

enable the Debtors to obtain necessary financing in order to administer these Chapter 11 Cases

and fund their operations, and thereby preserve and maximize the going concern value of the

Debtors.

                 (f)   Approved Budget. The Debtors have prepared and delivered to the DIP

Secured Parties the initial itemized cash flow forecast set forth on Exhibit 2 attached hereto,

which has been approved by the DIP Lenders (the “Initial Budget”, as amended, supplemented

or updated by the Debtors, and approved by the Required DIP Lenders, from time to time in

accordance with the terms of this Interim Order and the DIP Loan Agreement, the “Approved

Budget”), reflecting, on a line item, cumulative and aggregate basis, the Debtors’ projected cash

receipts expected to be collected, and necessary disbursements and expenditures (including debt

service costs) expected to be incurred or made, by the Debtors for each calendar week during the

period from the calendar week ending on the Friday of the week in which the Petition Date

occurs through and including the end of the thirteenth (13th) calendar week thereafter, (ii) the




4876-5193-0437                                  -14-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 15 of 224




sum of weekly unused availability under the DIP Facility, plus restricted and unrestricted

balances of cash on hand, (iii) the weekly outstanding principal balance of amounts outstanding

under the DIP Facility, and (iv) a professional fee accrual budget with respect to the anticipated

professional fees and expenses to be incurred by each of the Professional Persons (as defined

below) during such period. The Initial Budget is an integral part of this Interim Order, and the

DIP Secured Parties and the Prepetition Secured Parties are relying, in part, upon the Debtors’

agreement to comply with the Approved Budget (subject to Permitted Variances) in determining

to enter into the DIP Facility and to allow the Debtors’ use of proceeds of the DIP Facility and

Cash Collateral in accordance with the terms of this Interim Order and the DIP Loan Documents.

                 (g)   Adequate Protection. Pursuant to sections 361, 362, 363 and 364 of the

Bankruptcy Code, the Prepetition Secured Parties are entitled to adequate protection against any

post-petition diminution in value of the Prepetition Secured Parties’ respective liens and interests

in the Prepetition Collateral (including Cash Collateral) resulting from, among other things,

(i) the use, sale or lease by the Debtors of Prepetition Collateral (including Cash Collateral),

(ii) the imposition of the automatic stay, (iii) the priming of the Prepetition Liens and the

Prepetition Secured Obligations by the DIP Liens and the DIP Obligations, and the imposition of

the Carve Out, and (iv) any other cause or reason to the maximum extent provided under the

Bankruptcy Code and applicable law (collectively, the “Diminution in Value”), as set forth in

this Interim Order and the DIP Loan Documents. Based on the Motion, the First Day

Declaration, the DIP Declaration and the other evidence filed in support of the Motion, and the

record presented to the Court in connection with the Interim Hearing, the terms of the adequate

protection arrangements and the use of Prepetition Collateral (including Cash Collateral) set

forth herein are fair and reasonable, reflect the Debtors’ prudent exercise of business judgment




4876-5193-0437                                  -15-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 16 of 224




and constitute reasonably equivalent value and fair consideration for the use of Prepetition

Collateral (including Cash Collateral); provided, however, that nothing in this Interim Order shall

(x) be construed as the affirmative consent by any of the Prepetition Secured Parties for the use

of Cash Collateral or other Prepetition Collateral other than on the terms expressly set forth in

this Interim Order, (y) be construed as a consent by any party to the terms of any other financing

or any other lien encumbering the DIP Collateral or the Prepetition Collateral (whether senior,

pari passu or junior) other than on the terms expressly set forth in this Interim Order, or

(z) prejudice, limit or otherwise impair the rights of any of the Prepetition Secured Parties to

seek new, different or additional adequate protection after the date hereof or assert the interests

of any of the Prepetition Secured Parties (and the rights of all parties-in-interest to object to any

such relief are expressly preserved).

                 (h)   Consent by the Prepetition Secured Parties. The requisite Prepetition

Secured Parties have consented (or are deemed to have consented) to the Debtors’ use of

Prepetition Collateral (including Cash Collateral) and to the Debtors’ entry into the DIP Facility,

the granting of the DIP Liens, the DIP Superpriority Claims, the Noteholder Adequate Protection

Liens, the Noteholder Adequate Protection Obligations and the other liens and claims granted

hereunder, and the priming of the Prepetition Liens and the Prepetition Secured Notes

Obligations, in each case, upon the terms set forth in this Interim Order and the DIP Loan

Documents.

                 (i)   Section 506(c), Section 552(b) and Marshalling Waivers. As a material

inducement to the DIP Secured Parties’ to provide the DIP Facility, and in consideration of

(i) the DIP Secured Parties’ agreement to subordinate their DIP Liens to the Carve Out, (ii) the

Prepetition Secured Parties’ consent (or deemed consent) to the use of Prepetition Collateral




4876-5193-0437                                   -16-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 17 of 224




(including Cash Collateral) as set forth herein, (iii) the Prepetition Secured Parties’ agreement to

subordinate their Prepetition Liens and Noteholder Adequate Protection Liens to the DIP Liens

and the Carve Out as set forth herein, and (iv) the DIP Secured Parties’ and the Prepetition

Secured Parties’ agreement to the payment of expenses of the administration of these cases,

subject to the Approved Budget (subject to Permitted Variances), in accordance with the terms of

this Interim Order and the DIP Loan Documents, (A) the DIP Loan Parties waive their right to

surcharge any costs or expenses incurred in connection with the preservation, protection or

enhancement of, or realization by the DIP Secured Parties or the DIP Collateral, whether

pursuant to section 506(c) of the Bankruptcy Code or otherwise, and the DIP Secured Parties

shall not be subject to the equitable doctrine of “marshaling” or any similar doctrine with respect

to the DIP Collateral, and (B) subject to entry of the Final Order, (1) the DIP Loan Parties waive

their right to surcharge any costs or expenses incurred in connection with the preservation,

protection or engagement of, or realization by the Prepetition Secured Parties or the Prepetition

Collateral, whether under section 506(c) of the Bankruptcy Code or otherwise, (2) the Prepetition

Secured Parties shall be entitled to all of the rights and benefits of section 552(b) of the

Bankruptcy Code, and in no event shall the “equities of the case” exception in section 552(b) of

the Bankruptcy Code apply to the Prepetition Secured Parties or the Prepetition Collateral, and

(3) the Prepetition Secured Parties shall not be subject to the equitable doctrine of “marshaling”

or any similar doctrine with respect to the Prepetition Collateral.

                 (j)   No Control. None of the Prepetition Secured Parties control (or have in the

past controlled) the DIP Loan Parties, their properties or operations, have authority to determine

the manner in which any DIP Loan Parties’ operations are conducted or are control persons or

insiders of the DIP Loan Parties by virtue of any of the actions taken in connection with, arising




4876-5193-0437                                   -17-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 18 of 224




under or related to the Prepetition Notes Documents, the Prepetition Secured Obligations, the

Prepetition Liens or the Prepetition Collateral.

                 (k)   Good Faith. The terms of the DIP Facility and the DIP Loan Documents,

the terms of adequate protection granted to the Prepetition Secured Parties hereunder, and the

terms upon which the Debtors may continue to use Prepetition Collateral (including Cash

Collateral) pursuant to the terms of this Interim Order and the DIP Loan Documents, were

negotiated in good faith and at arm’s length among the DIP Loan Parties, the DIP Secured

Parties, the Prepetition Secured Parties and their respective Representatives, and all of the DIP

Loan Parties’ obligations and indebtedness arising under, in respect of, or in connection with, the

DIP Facility, the DIP Loan Documents and this Interim Order, including, without limitation, all

loans, advances, extensions of credit and other financial accommodations made to and

guarantees issued by the DIP Loan Parties pursuant to the DIP Loan Documents, shall each be

deemed to have been extended by the DIP Secured Parties and each of their respective affiliates,

in good faith, as that term is used in section 364(e) of the Bankruptcy Code, and in express

reliance upon the protections offered by sections 364(e) of the Bankruptcy Code, and each of the

claims, liens and security interests, rights, remedies, benefits and protections granted to the DIP

Secured Parties and the Prepetition Secured Parties (and their successors and assigns) pursuant to

this Interim Order and the DIP Loan Documents (including, without limitation, the DIP Liens,

the DIP Superpriority Claims, the DIP Obligations and the Noteholder Adequate Protection

Obligations) shall be entitled to the full protection of section 364(e) of the Bankruptcy Code in

the event that this Interim Order or any provision hereof is vacated, reversed, or modified, on

appeal or otherwise. The Prepetition Secured Parties have acted in good faith, and each of the

claims, liens and security interests, rights, remedies, benefits and protections granted to the




4876-5193-0437                                     -18-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 19 of 224




Prepetition Secured Parties (and their successors and assigns) pursuant to this Interim Order and

the DIP Loan Documents (including, without limitation, all Noteholder Adequate Protection

Liens, Noteholder Adequate Protection Claims and Noteholder Adequate Protection Obligations)

shall be entitled to the full protection of section 363(m) of the Bankruptcy Code in the event that

this Interim Order or any provision hereof is vacated, reversed, or modified, on appeal or

otherwise.

                 (l)   Proper Exercise of Business Judgment. Based on the Motion, the First

Day Declaration, the DIP Declaration, the record presented to the Court at the Interim Hearing

and the Chapter 11 Cases, the terms of the DIP Facility and the DIP Loan Documents, the terms

of adequate protection granted to the Prepetition Secured Parties as set forth in this Interim

Order, and the terms upon which the Debtors may continue to use Prepetition Collateral

(including Cash Collateral) pursuant to the terms of this Interim Order and the DIP Loan

Documents (i) were negotiated in good faith and at arm’s length among the DIP Loan Parties, the

DIP Secured Parties and the Prepetition Secured Parties, (ii) are fair, reasonable, and the best

available to the Debtors under the circumstances, (iii) reflect the Debtors’ exercise of prudent

business judgment consistent with their fiduciary duties, and (iv) are supported by reasonably

equivalent value and fair consideration.

                 (m)   Notice. Proper, timely, sufficient and appropriate notice of the Motion and

the Interim Hearing has been provided in accordance with the Bankruptcy Code, the Bankruptcy

Rules and the Local Bankruptcy Rules, and no other or further notice of the Motion, the Interim

Hearing or the entry of this Interim Order shall be required.

                 (n)   Immediate Entry; Relief Essential. The Debtors have requested, and the

Court hereby finds that sufficient cause exists for, the immediate entry of this Interim Order




4876-5193-0437                                  -19-
         Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 20 of 224




pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2) and the Local Bankruptcy Rules.

Unless the relief set forth in this Interim Order is granted, the Debtors’ estates will be

immediately and irreparably harmed. Consummation of the DIP Facility and the use of

Prepetition Collateral (including Cash Collateral) upon the terms set forth in this Interim Order

and the DIP Loan Documents are necessary to preserve and maximize the value of the Debtors,

are in the best interests of the Debtors and their estates, and are consistent with the Debtors’

exercise of their fiduciary duties.

          NOW THEREFORE, based upon the foregoing findings and conclusions, the Motion,

the First Day Declaration, the DIP Declaration, the evidence adduced at the Interim Hearing and

the record before the Court, and after due consideration, and good and sufficient cause appearing

therefor,

          IT IS HEREBY ORDERED THAT:

          1.     Motion Granted. The Motion is hereby granted, and the DIP Facility and the use

of Cash Collateral is hereby authorized and approved, in each case, upon the terms and

conditions set forth in this Interim Order and the DIP Loan Documents. Any objections to any of

the relief set forth in this Interim Order that have not been withdrawn, waived, or settled, and all

reservations of rights or other statements inconsistent with this Interim Order, are hereby denied

and overruled. This Interim Order shall become effective and enforceable immediately upon its

entry.

          2.     Authorization of DIP Facility and DIP Loan Documents.

                 (a)    Authorization of DIP Loan Documents. The DIP Loan Parties are hereby

authorized to (i) execute, deliver, enter into and perform all of their obligations, and to pay all

fees, costs, expenses, indemnities and other amounts contemplated, under the DIP Loan




4876-5193-0437                                   -20-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 21 of 224




Documents and this Interim Order, and (ii) perform all acts, to make, execute, deliver, enter into

and perform under any and all other agreements, instruments, certificates, and other documents

(including, without limitation, the execution and/or recordation of any collateral, pledge and

security documents, mortgages, deeds of trust, control agreements, financing statements or other

documents), and to perform all such other and further acts, that may be necessary, required or

desirable for the DIP Loan Parties to perform their obligations under the DIP Facility, the DIP

Loan Documents and this Interim Order and to implement the transactions contemplated

thereunder and hereunder.

                 (b)   Authorization to Borrow. The DIP Borrower is hereby authorized to

borrow, and the DIP Guarantors are hereby authorized to jointly and severally guarantee the

payment in full in cash of such borrowing with respect to, the principal amount of $37.5 million

(plus applicable interest (including interest and other amounts payable-in-kind), premiums,

payments, fees (including professional fees and expenses), costs, expenses, charges and other

amounts payable under this Interim Order and the DIP Loan Documents in connection with such

borrowing), under the DIP Facility, subject to the terms and conditions (including any conditions

precedent to such borrowing) set forth in the DIP Loan Documents and this Interim Order. The

Debtors are hereby authorized to use the proceeds of the DIP Facility and all Cash Collateral

solely in the manner and for the purposes expressly permitted in the Approved Budget (subject to

Permitted Variances), the DIP Loan Documents and this Interim Order.

                 (c)   Roll Up. Subject to entry of the Final Order, the Roll Up is approved, and

upon entry of the Final Order, principal amounts outstanding under the Prepetition Secured

Notes held by each Rolled Up Noteholder Party, in an amount equal to the aggregate amount of

New Money Commitments as of the Final Hearing, shall automatically be deemed to be




4876-5193-0437                                 -21-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 22 of 224




substituted and exchanged for, and converted into, DIP Loans for all purposes hereunder, on a

cashless dollar for dollar basis, and shall not be subject to any contest, attack, objection,

challenge, defense, claim, counterclaim or other cause of action, whether under the Bankruptcy

Code, applicable non-bankruptcy law or otherwise.

                 (d)   DIP Fees and Expenses; Indemnification. The DIP Loan Parties are

authorized and directed to pay any and all (i) fees, premiums or other payments payable under

the DIP Loan Documents (including, without limitation, the New Money Loan Commitment

Payments, Termination Payments, Backstop Payments, Extension Payments (to the extent

applicable) and Agent Fees (each as defined in the DIP Loan Agreement), and other payments,

fees or amounts provided therein), (ii) amounts due (or that may become due) to the

“Indemnitees” (as defined in the DIP Loan Agreement) in respect of the indemnification

obligations under the DIP Loan Documents, and (iii) any other amounts payable in connection

with the DIP Facility, including without limitation, the payment of all out of pocket costs,

expenses and disbursements of the DIP Secured Parties, including, without limitation, the

reasonable and documented fees and expenses of (A) Paul Hastings LLP (“Paul Hastings”), as

counsel to the DIP Agent and the DIP Lenders, (B) Moelis & Company, LLC (“Moelis”), as

investment banker and financial advisor to the DIP Lenders, pursuant to the terms of that certain

letter agreement executed by and among Core Scientific and Moelis (the “Moelis Fee Letter”),

and (C) any other professionals that may be retained by the Required DIP Lenders (in the case of

this sub-clause (C), with the consent of the DIP Borrower, such consent not to be unreasonably

withheld or delayed, which consent of the DIP Borrower shall not be required after the

occurrence of a DIP Termination Event (as defined below) (collectively, the “DIP Professional

Fees and Expenses”), in the case of each of the foregoing clauses (i), (ii) or (iii), whether or not




4876-5193-0437                                   -22-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 23 of 224




such payments, premiums, fees, costs, expenses, disbursements or other amounts arose before,

on or after the Petition Date, and whether or not the transactions contemplated herein or in the

DIP Loan Documents are consummated.

                 (e)     Modification of DIP Loan Documents. The DIP Loan Parties are hereby

authorized to execute, deliver and perform under one or more amendments, waivers, consents, or

other modifications (including, for the avoidance of doubt, the payment of any amendment fee,

consent fee, waiver fee or similar fee paid or payable in connection therewith) to and under the

DIP Loan Documents, in each case, in accordance with the provisions of the DIP Loan

Agreement governing amendments thereto, each without further application to or order of the

Court; provided, however, that any amendment to the DIP Loan Agreement shall require, at a

minimum, the prior written consent of the Required DIP Lenders; provided, further, however,

that any amendment that (a) shortens the maturity of the extensions of credit thereunder,

(b) increases the aggregate commitments thereunder, or (c) increases the rate of interest payable

with respect thereto (each, a “Material DIP Amendment”), shall be provided (which may be by

electronic mail) to the U.S. Trustee and lead restructuring counsel to the Official Committee and

filed with the Court no later than three (3) Business Days prior to the anticipated date of

effectiveness of any such Material DIP Amendment, and if no objection to the Material DIP

Amendment is made by the U.S. Trustee or the Official Committee within such three (3)

Business Day period, then, without further application to or order of the Court, such Material

DIP Amendment shall automatically be deemed approved and effective; provided further,

however, if an objection is made by the U.S. Trustee or the Official Committee within such three

(3) Business Day period, then such Material DIP Amendment shall be subject to a hearing and

approval of the Court.




4876-5193-0437                                  -23-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 24 of 224




                 (f)   DIP Funding Account. Upon entry of this Interim Order, the DIP

Borrower is hereby authorized and directed to establish the DIP Funding Account (as defined in

the DIP Loan Agreement), which shall be held at the DIP Agent or shall be subject to a control

agreement in form and substance acceptable to the DIP Agent, and shall at all times be subject to

the exclusive dominion and control of the DIP Agent. Subject to the Carve Out, from and after

the Petition Date, until all DIP Obligations are Paid in Full, the proceeds of all DIP Borrowings

under the DIP Facility, and all cash receipts, Cash Collateral, and all proceeds from the sale or

other disposition of, or other revenue of any kind attributable to, any DIP Collateral that is now

in, or shall hereafter come into, the possession or control of any of the DIP Loan Parties, or to

which any of the DIP Loan Parties is now or shall hereafter become entitled, shall be deposited

into the DIP Funding Account, and all cash and other amounts held in or credited to the DIP

Funding Account may not be withdrawn or used by the DIP Loan Parties other than as expressly

permitted hereunder or in the DIP Loan Documents.

                 (g)   Perfection in Cash. Subject to the Carve Out, and subject to paragraph 20

of this Interim Order, all financial institutions with which the DIP Loan Parties maintain

accounts containing any of the DIP Loan Parties’ cash or Cash Collateral are authorized and

directed to comply with any request of the DIP Agent to turn over to the DIP Agent all cash or

Cash Collateral therein without offset or deduction of any kind. The DIP Agent shall be entitled

to all of the rights and benefits of all deposit account control agreements, blocked account

control agreements, securities account control agreements, and similar agreements to which any

of the DIP Loan Parties may be a party, without the need to enter into any such agreements.

Notwithstanding (and without limiting) the foregoing, the DIP Loan Parties are authorized to

enter into, and cause the financial institutions servicing or maintaining the DIP Loan Parties’




4876-5193-0437                                  -24-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 25 of 224




deposit accounts (or other accounts) to enter into, such deposit account control agreements and

other collateral agreements with the DIP Agent and such financial institutions as the DIP Agent

may reasonably request.

         3.      DIP Obligations.

                 (a)   Upon execution and delivery of the DIP Loan Documents, the DIP Loan

Documents shall constitute valid, binding, enforceable, and non-avoidable obligations of each of

the DIP Loan Parties, and shall be fully enforceable against each of the DIP Loan Parties, their

estates, and any successors thereto, including, without limitation, any estate representative or

trustee appointed in any of the Chapter 11 Cases or in any case under Chapter 7 of the

Bankruptcy Code upon the conversion of any of the Chapter 11 Cases, or in any other

proceedings superseding or relating to any of the foregoing, and/or upon the dismissal of any of

the Chapter 11 Cases or any such successor cases (collectively, the “Successor Cases”), in each

case, in accordance with the terms of the DIP Loan Documents and this Interim Order.

                 (b)   Upon execution and delivery of the DIP Loan Documents, the DIP Loan

Parties shall be jointly and severally liable for all DIP Obligations, including, without limitation,

all loans, advances, indebtedness, obligations, extensions of credit, financial accommodations,

principal, interest, payments, premiums or similar amounts, fees, costs, expenses, charges,

indemnification and reimbursement obligations (whether contingent or absolute), and all other

amounts, whether or not such obligations arose before or after the Petition Date, whenever the

same shall become due and payable, whether at stated maturity, by required prepayment,

declaration, acceleration, demand or otherwise, to the DIP Agent or any of the DIP Lenders

under the DIP Loan Documents or this Interim Order. The DIP Obligations shall be due and




4876-5193-0437                                  -25-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 26 of 224




payable, without notice or demand, and the use of Cash Collateral shall automatically cease, on

the DIP Termination Declaration Date (as defined below) (subject to paragraph 20(b) hereof).

                 (c)   All obligations incurred, payments made, and transfers or grants of liens

and security interests set forth in this Interim Order and the DIP Loan Documents by the DIP

Loan Parties are granted to or for the benefit of the DIP Loan Parties for fair consideration and

reasonably equivalent value and are granted contemporaneously with the making of the loans

and commitments and other financial accommodations secured thereby. No obligation, payment,

transfer, or grant of liens or security interests under this Interim Order or the DIP Loan

Documents to the DIP Secured Parties or the Prepetition Secured Parties shall be limited, stayed,

restrained, voidable, avoidable, or recoverable under the Bankruptcy Code or under any

applicable law, or subject to any challenge, objection, defense or claim, including, without

limitation, avoidance (whether under Chapter 5 of the Bankruptcy Code or under applicable law

(including any applicable state law Uniform Fraudulent Transfer Act, Uniform Fraudulent

Conveyance Act or similar statute or common law)), reduction, setoff, offset, recoupment,

recharacterization, subordination (whether equitable, contractual or otherwise), reclassification,

disgorgement, disallowance, impairment, marshalling, surcharge, recovery or other cause of

action of any kind or nature whatsoever, whether arising under the Bankruptcy Code, applicable

non-bankruptcy law or otherwise (subject, solely in the case of the DIP Professional Fees and

Expenses and the Noteholder Professional Fees and Expenses (as defined below), only to the

procedures set forth in paragraph 11 of this Interim Order).

         4.      No Obligation to Extend Credit/New Money Loan Cap. The DIP Secured Parties

shall have no obligation to make any loan or advance available under the DIP Loan Documents

unless all of the conditions precedent to the making of such loan or advance by the DIP Secured




4876-5193-0437                                  -26-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 27 of 224




Parties have been satisfied in full (or waived) in accordance with the terms of the DIP Loan

Documents and this Interim Order. Notwithstanding anything contained in this Interim Order or

the DIP Loan Documents to the contrary, in no event shall the aggregate principal amount of the

DIP Loans advanced under the New Money Term DIP Facility pursuant to the DIP Loan

Agreement at any time (after giving effect to all DIP Borrowings previously made or requested)

exceed the New Money Loan Commitment (as defined in the DIP Loan Agreement), subject in

all respects to the New Money Loan Cap (as defined in the DIP Loan Agreement), which, as of

the Closing Date is equal to $57,267,106.80 (and which may be increased from to time after the

Closing Date in connection with the DIP Facility Syndication (as defined in the DIP Loan

Agreement), but which shall in no event exceed$75,000,000).

         5.      No Duty to Monitor Compliance. None of the DIP Secured Parties nor the

Prepetition Secured Parties shall have any obligation or responsibility to monitor the Debtors’

use of DIP Collateral, the Prepetition Collateral or Cash Collateral, and each of the DIP Secured

Parties and the Prepetition Secured Parties may rely upon the Debtors’ representations that the

use of DIP Collateral, Prepetition Collateral and Cash Collateral complies with and is in

accordance with the requirements of this Interim Order and the DIP Loan Documents.

         6.      DIP Liens.

                 (a)    As security for the prompt and complete payment and performance of all

DIP Obligations when due (whether upon stated maturity, prepayment, acceleration, declaration

or otherwise), effective and perfected as of the entry of this Interim Order, and without the

necessity of the execution, recordation or filing by any of the DIP Loan Parties or the DIP

Secured Parties of any pledge, collateral or security documents, mortgages, deeds of trust,

financing statements, notations of certificates of title, or any similar document or instrument, or




4876-5193-0437                                  -27-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 28 of 224




the taking of any other action (including, without limitation, entering into any control agreements

or taking any other action to take possession or control of any DIP Collateral), the DIP Agent,

for the benefit of itself and the other DIP Secured Parties, is hereby granted valid, binding,

enforceable, non-avoidable, and automatically and properly perfected liens and security interests

(collectively, the “DIP Liens”) in all DIP Collateral, in each case, subject and subordinate to the

Carve Out, and subject to the relative priorities set forth in this Interim Order.

                 (b)   The term “DIP Collateral” means all assets and properties of each of the

DIP Loan Parties and their estates, of any kind or nature whatsoever, wherever located, whether

tangible or intangible, real, personal or mixed, whether now owned or consigned by or to, or

leased from or to, or hereafter acquired by, or arising in favor of, each of the DIP Loan Parties

(including under any trade names, styles or derivations thereof), whether prior to or after the

Petition Date, including, without limitation, (i) all Prepetition Collateral (including Cash

Collateral), (ii) all “Collateral” as defined in the DIP Loan Agreement, (iii) all money, cash and

cash equivalents, deposit accounts, securities accounts, commodities accounts or other accounts

(including, without limitation, the DIP Funding Account), accounts receivable, rights to

payment, contracts and contract rights, minerals and mineral rights, instruments, documents and

chattel paper, securities (whether or not marketable), goods, furniture, machinery (including,

without limitation, all application specific integrated circuit (ASIC) machines), plants,

equipment, vehicles, inventory, any and all Bitcoin and all other digital assets, real property and

leasehold interests, fixtures, franchise rights, patents, tradenames, trademarks, copyrights,

licenses and other intellectual property, general intangibles, tax or other refunds, or insurance

proceeds, the issued and outstanding capital stock of each Debtor, other equity or ownership

interests, including equity interests in subsidiaries and non-wholly-owned subsidiaries, limited




4876-5193-0437                                   -28-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 29 of 224




liability company interests, partnership interests, financial assets, investment property,

supporting obligations, letters of credit and letter of credit rights, commercial tort claims and

other claims and causes of action, books and records, and all rents, products, offspring, profits,

and proceeds of each of the foregoing and all accessions to, substitutions and replacements for

each of the foregoing, including any and all proceeds of any insurance (including any business

interruption and property insurance), indemnity, warranty or guaranty payable to any Debtor

from time to time with respect to any of the foregoing, and (iv) subject to entry of the Final

Order, all claims and causes of action arising under Chapter 5 of the Bankruptcy Code or any

applicable state law Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act or

similar statute or common law (collectively, the “Avoidance Actions”) and all proceeds of or

property recovered from Avoidance Actions, whether by judgment, settlement or otherwise

(“Avoidance Action Proceeds”); provided, however, that DIP Collateral shall exclude any

“Excluded Assets” (as defined in the DIP Loan Agreement) for so long as such DIP Collateral

constitutes Excluded Assets, but shall include any and all proceeds and products of Excluded

Assets (except to the extent such proceeds and products themselves constitute Excluded Assets).

                 (c)    The DIP Liens shall be subject to the following priorities (subject in each

case to the Carve Out):

                         (i)     First Priority Liens on Unencumbered Property. Pursuant to
         section 364(c)(2) of the Bankruptcy Code, the DIP Liens shall be valid, binding,
         continuing, enforceable, non-avoidable, fully and automatically perfected first priority
         liens and security interests in all DIP Collateral that is not subject to any liens and
         security interests that were valid, non-avoidable and properly perfected as of the Petition
         Date (or that were properly perfected subsequent to the Petition Date to the extent
         permitted by section 546(b) of the Bankruptcy Code), including, subject to entry of the
         Final Order, all Avoidance Actions and Avoidance Action Proceeds (collectively, the
         “Unencumbered Assets”), which DIP Liens shall be junior and subordinated only to the
         Carve Out.

                        (ii)    Priming Liens and Liens Junior to Certain Other Liens. Pursuant
         to sections 364(c)(3) and 364(d)(1) of the Bankruptcy Code, the DIP Liens shall be valid,


4876-5193-0437                                   -29-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 30 of 224




         binding, continuing, enforceable, non-avoidable, fully and automatically perfected liens
         and security interests in all DIP Collateral (other than the DIP Collateral described in
         paragraph 6(c)(i) hereof, as to which DIP Liens are described in such paragraph), which
         DIP Liens shall be (A) subject only to the (1) Carve Out, (2) the Permitted Prior Senior
         Liens, and (3) the Equipment Lender Adequate Protection Liens in Prepetition Equipment
         Financing Collateral (as applicable), and (B) senior to any and all other liens and security
         interests in all other DIP Collateral, including, without limitation, the Prepetition Liens,
         the Equipment Lender Adequate Protection Liens in the Prepetition Collateral and the
         Noteholder Adequate Protection Liens.

                 (d)    To the maximum extent permitted by the Bankruptcy Code, any provision

of any lease, loan document, easement, use agreement, proffer, covenant, license, contract,

organizational document or other agreement that requires the consent or approval of one or more

landlords, licensors or other parties, or requires the payment of any fees or obligations to any

governmental entity, non-governmental entity or any other person or entity, in order for any

Debtor to pledge, grant, mortgage, sell, assign, or otherwise transfer any interest therein

(including any fee or leasehold interest), any proceeds thereof or other DIP Collateral, shall be

deemed inconsistent with the provisions of the Bankruptcy Code and shall have no force or

effect with respect to the granting of the DIP Liens or Adequate Protection Liens (as defined

below) in any such interest therein or other DIP collateral, or in the proceeds of any assignment

and/or sale thereof by any Debtor in favor of the DIP Secured Parties in accordance with the DIP

Loan Documents and this Interim Order.

                 (e)    For the avoidance of doubt and notwithstanding anything contrary herein

or in the Credit Agreement, the DIP Liens shall not prime the Prepetition Equipment Financing

Liens that are Permitted Prior Senior Liens.

         7.      DIP Superpriority Claims. Pursuant to section 364(c)(1) of the Bankruptcy Code,

all of the DIP Obligations shall constitute allowed superpriority administrative expense claims

against each of the Debtors, with priority over any and all other claims against the Debtors, now

existing or hereafter arising, of any kind or nature whatsoever, including, without limitation, any


4876-5193-0437                                   -30-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 31 of 224




and all other administrative expense claims of the kind specified in or ordered pursuant to

sections 105, 326, 327, 328, 330, 331, 503(b), 506(c), 507(a), 507(b), 546, 726, 1113 or 1114 of

the Bankruptcy Code, or any other provision of the Bankruptcy Code (including, without

limitation, the Adequate Protection Claims and any other Adequate Protection Obligations),

whether or not such expenses or claims may become secured by a judgment lien or other non-

consensual lien, levy or attachment (the “DIP Superpriority Claims”), subject only to the Carve

Out. The DIP Superpriority Claims shall, for purposes of section 1129(a)(9)(A) of the

Bankruptcy Code, be considered administrative expenses allowed under section 503(b) of the

Bankruptcy Code. The DIP Superpriority Claims shall be payable by each of the Debtors, on a

joint and several basis, and shall have recourse to all DIP Collateral, subject only to the Carve-

Out. The DIP Superpriority Claims shall be entitled to the full protection of section 364(e) of the

Bankruptcy Code, including in the event that this Interim Order or any provision hereof is

vacated, reversed or modified, on appeal or otherwise.

         8.      Use of DIP Collateral and Cash Collateral.

                 (a)    The Debtors are hereby authorized to use the proceeds of DIP Loans and

all Cash Collateral solely to the extent expressly permitted under the Approved Budget (subject

to Permitted Variances) and subject to the terms and conditions set forth in the DIP Loan

Documents and this Interim Order, provided, that the Prepetition Secured Parties are granted

adequate protection, as set forth herein.

                 (b)    Without the prior written consent of the Required DIP Lenders, the DIP

Loan Parties shall not sell, transfer, lease, encumber, or otherwise dispose of any portion of the

DIP Collateral (or enter into any binding agreement to do so), except as may be expressly

permitted by the DIP Loan Documents and this Interim Order. All collection and proceeds of




4876-5193-0437                                  -31-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 32 of 224




DIP Collateral, whether from ordinary course collections, asset sales, debt or equity issuances,

insurance recoveries, condemnation, or otherwise, will be deposited and applied as required by

this Interim Order and the DIP Loan Documents. The Debtors shall not transfer any cash, assets,

properties or other DIP Collateral to any DIP Loan Party or other affiliate of the Debtors that is

not a Debtor in these Chapter 11 Cases without the prior written consent of the Required DIP

Lenders, in their discretion.

                 (c)      Except as may be provided in the DIP Loan Documents, the Debtors are

authorized and directed, upon the closing of a sale of any of the DIP Collateral, to immediately

pay all proceeds of any such sale to the DIP Agent, for the benefit of itself and the other DIP

Secured Parties, to satisfy the DIP Obligations in accordance with this Interim Order and the DIP

Loan Documents until Paid in Full 6, and any order approving the sale of such DIP Collateral

shall provide that the sale is conditioned upon the payment of such DIP Obligations (except to

the extent otherwise agreed in writing by the Required DIP Lenders).

         9.      Approved Budget. The DIP Loan Parties shall comply at all times with the

Approved Budget then in effect (subject to Permitted Variances). Any amendments, supplements

or updates to the Initial Budget (or any subsequent Approved Budget) (each, a “Budget

Supplement”) shall be subject to the prior approval of the Required DIP Lenders in accordance

with the DIP Loan Agreement, and any such Budget Supplement shall not constitute an

“Approved Budget” unless and until it is so approved by the Required DIP Lenders (and until




6
          For purposes hereof, the term “Paid in Full” or “Payment in Full” means, with respect to the DIP
Obligations or the Prepetition Secured Obligations (as the case may be), the irrevocable and indefeasible payment in
full in cash of all DIP Obligations or Prepetition Secured Obligations (as the case may be), other than contingent
indemnification and expense reimbursement obligations for which no claim or demand has been asserted, and all
commitments thereunder shall have irrevocably, permanently and finally expired or shall have been terminated,
cancelled and discharged.


4876-5193-0437                                         -32-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 33 of 224




any such Budget Supplement is approved by the Required DIP Lenders, the prior Approved

Budget shall remain in effect).

         10.     Adequate Protection. The Prepetition Secured Parties are entitled, pursuant to

sections 361, 362, 363(e), 364(d)(1) and 507 of the Bankruptcy Code, to adequate protection of

their Prepetition Liens in Prepetition Collateral (including Cash Collateral), as follows (the liens,

security interests, payments and other obligations set forth in this paragraph 10 are collectively

referred to herein as the “Noteholder Adequate Protection Obligations”):

                 (a)    Noteholder Adequate Protection Claims. The Prepetition Agents, for their

own benefit and for the benefit of the Prepetition Secured Noteholders, are hereby granted, in the

amount of any aggregate Diminution in Value of the Prepetition Liens in the Prepetition

Collateral (including Cash Collateral) from and after the Petition Date, superpriority

administrative expense claims contemplated by section 507(b) of the Bankruptcy Code against

each of the Debtors (the “Noteholder Adequate Protection Claims”), which shall be payable by

each of the Debtors on a joint and several basis, and shall have recourse to all DIP Collateral.

The Noteholder Adequate Protection Claims shall be (a) subject and subordinate only to the

Carve Out and the DIP Superpriority Claims, and (b) senior to any and all other administrative

expense claims and all other claims against the Debtors and their estates, now existing or

hereafter arising, of any kind or nature whatsoever, including, without limitation, the Equipment

Lender Adequate Protection Claims.

                 (b)    Noteholder Adequate Protection Liens. The Prepetition Agents, for the

benefit of themselves and for the benefit of the Prepetition Secured Noteholders, are hereby

granted, effective and perfected as of the entry of this Interim Order, and without the necessity of

the execution, recordation or filing by the DIP Loan Parties or any of the Prepetition Secured




4876-5193-0437                                  -33-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 34 of 224




Parties of any pledge, collateral or security documents, mortgages, deeds of trust, financing

statements, notations of certificates of title for titled goods, or any similar document or

instrument, or the taking of any other action (including, without limitation, entering into any

control agreements or taking possession or control of any DIP Collateral or Prepetition

Collateral), in the amount of any aggregate Diminution in Value of the Prepetition Liens in the

Prepetition Collateral (including Cash Collateral) from and after the Petition Date, valid, binding,

enforceable and automatically perfected post-petition liens and security interests in all DIP

Collateral (the “Noteholder Adequate Protection Liens”). The Noteholder Adequate Protection

Liens shall be (i) junior and subordinated only to (A) the Carve Out, (B) the Permitted Prior

Senior Liens, (C) the DIP Liens, and (D) the Equipment Lender Adequate Protection Liens in the

Prepetition Equipment Financing Collateral, (ii) pari passu with the Equipment Lender Adequate

Protection Liens in Unencumbered Assets, and (iii) senior to any and all other liens and security

interests in the DIP Collateral, including, without limitation, the Equipment Lender Adequate

Protection Liens in the Prepetition Collateral.

                 (c)   Noteholder Professional Fees and Expenses. The DIP Loan Parties are

authorized and directed to pay, without the necessity of filing fee applications with the Court or

compliance with the U.S. Trustee’s fee guidelines, all of the out of pocket fees, costs and

expenses of (i) the Prepetition Agents, including, without limitation, the reasonable and

documented fees and expenses of Shipman & Goodwin LLP, counsel to the Prepetition Agents,

and (ii) the fees and expenses of the ad hoc group of certain Prepetition Secured Noteholders (the

“Ad Hoc Group”), including, without limitation, (A) the reasonable and documented fees and

expenses of Paul Hastings, as counsel to the Ad Hoc Group, (B) the fees and expenses of Moelis,

as investment banker and financial advisor to the Ad Hoc Group, pursuant to the terms of the




4876-5193-0437                                    -34-
        Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 35 of 224




Moelis Fee Letter, and (C) such other professionals that may be retained by the Ad Hoc Group

(subject in the case of clause (C) to the consent of the DIP Borrower, which consent shall not be

unreasonably withheld or delayed, provided that such DIP Borrower consent shall not be

required following the occurrence of a DIP Termination Event) (collectively, the “Noteholder

Professional Fees and Expenses”), in each case, whether arising on, prior to or after the Petition

Date.

                 (d)   Reporting. The Debtors shall contemporaneously provide the Prepetition

Agents and the Ad Hoc Group (and their respective advisors) with all reports, documents and

other information required to be delivered to the DIP Secured Parties under the DIP Loan

Documents and this Interim Order.

                 (e)   Cash Management Covenant. The DIP Loan Parties shall maintain their

cash management arrangements in a manner consistent with those described in the applicable

“first day” order, which shall be in form and substance reasonably acceptable to the Ad Hoc

Group.

         11.     Fees and Expenses; Payments.

                 (a)   The payment of all DIP Professional Fees and Expenses and Noteholder

Professional Fees and Expenses hereunder shall not be subject to further application to or

approval of the Court, and shall not be subject to allowance or review by the Court or subject to

the U.S. Trustee’s fee guidelines, and no attorney or advisor to the DIP Secured Parties or the

Prepetition Secured Parties shall be required to file an application seeking compensation for

services or reimbursement of expenses with the Court; provided, however, that any time such

professionals seek payment of fees and expenses from the Debtors from and after the Closing

Date but prior to the effective date of any chapter 11 plan, each such professional shall provide




4876-5193-0437                                  -35-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 36 of 224




summary copies of its invoices (which shall not be required to contain time entries and which

may be redacted or modified to the extent necessary to delete any information subject to the

attorney-client privilege, any information constituting attorney work product, or any other

confidential information, and the provision of their invoices shall not constitute any waiver of the

attorney-client privilege or of any benefits of the attorney work product doctrine) to lead

restructuring counsel to the Debtors, the U.S. Trustee, and lead restructuring counsel to the

Official Committee (collectively, the “Review Parties”); provided, however, that the U.S.

Trustee and the Official Committee reserve their rights to reasonably request additional detail

regarding the services rendered and expenses incurred by such professionals. Any objections

raised by any Review Party with respect to such invoices must be in writing and state with

particularity the grounds therefor and must be submitted to the affected professional within ten

(10) calendar days after delivery of such invoices to the Review Parties (such ten (10) day

calendar period, the “Review Period”). If no written objection is received prior to the expiration

of the Review Period from the Review Parties, the Debtors shall pay such invoices within three

(3) Business Days following the expiration of the Review Period. If an objection is received

within the Review Period from the Review Parties, the Debtors shall promptly pay the

undisputed amount of the invoice, and the disputed portion of such invoice shall not be paid until

such dispute is resolved by agreement between the affected professional and the objecting party

or by order of this Court. Any hearing to consider such an objection to the payment of any fees,

costs or expenses set forth in a professional fee invoice hereunder shall be limited to the

reasonableness of the fees, costs and expenses that are the subject of such objection.

                 (b)   Notwithstanding anything contained in this paragraph 11 to the contrary,

the DIP Loan Parties are authorized and directed to pay the following: (i) promptly following the




4876-5193-0437                                  -36-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 37 of 224




entry of this Interim Order, the DIP Loan Parties shall pay in full in cash all DIP Professional

Fees and Expenses and all Noteholder Professional Fees and Expenses, in each case, whether

arising prior to, on or after the Petition Date, through the date of payment, (ii) upon the Closing

Date (as defined in the DIP Loan Agreement), the DIP Loan Parties shall pay in full in cash all

DIP Professional Fees and Expenses and all Noteholder Professional Fees and Expenses arising

through and including the Closing Date, in each case, without the need for any professional

engaged by or on behalf of the DIP Secured Parties or the Prepetition Secured Parties to first

deliver a copy of its invoice to any of the Review Parties (other than the DIP Loan Parties), and

(iii) following the Closing Date, the DIP Loan Parties shall pay in full in cash all DIP

Professional Fees and Expenses and all Noteholder Professional Fees and Expenses incurred

after the Closing Date in accordance with and subject to the procedures set forth above in this

paragraph 11(a) of this Interim Order.

                 (c)   Notwithstanding anything contained in this paragraph 11 to the contrary,

to the extent any chapter 11 plan filed in the Chapter 11 Cases and confirmed by an order of this

Court provides for different procedures for the submission of invoices and payment of

professional fees of any professional persons that the Debtors are authorized to pay pursuant to

this Interim Order, then the procedures set forth in such confirmed chapter 11 plan shall control,

provided that no such professional person shall be subject to more onerous procedures for

compensation than are set forth herein.

                 (d)   Notwithstanding anything contained in this Interim Order to the contrary,

any and all payments, premiums, fees, costs, expenses and other amounts paid at any time by any

of the DIP Loan Parties to the DIP Secured Parties or the Prepetition Secured Parties pursuant to

the requirements of this Interim Order or the DIP Loan Documents, whether prior to, on or after




4876-5193-0437                                  -37-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 38 of 224




the Petition Date, shall be non-refundable and irrevocable, are hereby approved (and to the extent

paid prior to entry of the Interim Order, ratified in full), and shall not be subject to any challenge,

objection, defense, claim or cause of action of any kind or nature whatsoever, including, without

limitation, avoidance (whether under Chapter 5 of the Bankruptcy Code or under applicable law

(including any applicable state law Uniform Fraudulent Transfer Act, Uniform Fraudulent

Conveyance Act or similar statute or common law)), reduction, setoff, offset, recoupment,

recharacterization, subordination (whether equitable, contractual, or otherwise), reclassification,

disgorgement, disallowance, impairment, marshaling, surcharge or recovery or any other cause

of action, whether arising under the Bankruptcy Code, applicable non-bankruptcy law or

otherwise, by any person or entity (subject, solely in the case of the DIP Professional Fees and

Expenses and the Noteholder Professional Fees and Expenses, to paragraphs 11(a), (b) and (c) of

this Interim Order).

         12.     Adequate Protection Reservation of Rights of Prepetition Secured

Parties/Prepetition Equipment Lenders. Notwithstanding any other provision hereof, the grant of

adequate protection to the Prepetition Secured Parties and the Prepetition Equipment Lenders

pursuant to this Interim Order shall not be deemed an admission that the interests of such

Prepetition Secured Parties or the Prepetition Equipment Lenders are indeed adequately

protected, and is without prejudice to the rights of (a) the Prepetition Secured Parties or the

Prepetition Equipment Lenders to seek additional relief with respect to the use of Prepetition

Collateral (including Cash Collateral), and (b) the Prepetition Equipment Lenders to seek

additional relief with respect to the use of Prepetition Equipment Financing Collateral, or to seek

modification of the grant of adequate protection provided hereby so as to provide different or

additional adequate protection (including, among other things, debt service payments), and




4876-5193-0437                                   -38-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 39 of 224




without prejudice to the right of the Debtors or any other party in interest to contest any such

modification. Nothing herein shall be deemed to waive, modify or otherwise impair the

respective rights of the Prepetition Secured Parties or the Prepetition Equipment Lenders under

the Prepetition Notes Documents and the Prepetition Equipment Loan Document, respectively,

or under applicable law, and the Prepetition Secured Parties and the Prepetition Equipment

Lenders expressly reserve all of their respective rights and remedies whether now existing or

hereafter arising under the Prepetition Notes Documents or the Prepetition Equipment Loan

Documents and applicable law. Without limiting the foregoing, and subject only to the Carve

Out, nothing contained in this Interim Order shall impair or modify the application of section

507(b) of the Bankruptcy Code in the event that the adequate protection provided hereunder is

insufficient to compensate the Prepetition Secured Parties or the Prepetition Equipment Lenders

for any Diminution in Value during the Chapter 11 Cases.

         13.     Reservation of Rights. Except as otherwise expressly provided herein or in the

DIP Loan Documents, the entry of this Interim Order is without prejudice to, and does not

constitute a waiver of, expressly or implicitly: (a) the rights of the DIP Secured Parties, the

Prepetition Equipment Lenders or the Prepetition Secured Parties to seek any other or

supplemental relief in respect of the DIP Loan Parties, (b) the rights of the DIP Secured Parties,

the Prepetition Equipment Lenders or the Prepetition Secured Parties under the DIP Loan

Documents, the Prepetition Equipment Financing Documents or the Prepetition Notes

Documents, the Bankruptcy Code or applicable non-bankruptcy law, including, without

limitation, the right to request modification of the automatic stay of section 362 of the

Bankruptcy Code, or (c) any other rights, claims, or privileges (whether legal, equitable or




4876-5193-0437                                  -39-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 40 of 224




otherwise) of the DIP Secured Parties, the Prepetition Equipment Lenders or the Prepetition

Secured Parties.

         14.     Modification of Automatic Stay. The automatic stay imposed by section 362(a) of

the Bankruptcy Code is hereby vacated and modified, without application to or further order of

this Court, to permit: (a) the DIP Loan Parties to grant the DIP Liens and the DIP Superpriority

Claims, and to perform such acts as the DIP Secured Parties may request to assure the perfection

and priority of the DIP Liens, (b) the DIP Loan Parties to incur all liabilities and obligations to

the DIP Secured Parties as contemplated under this Interim Order and the DIP Loan Documents,

(c) the Debtors to grant the Adequate Protection Liens and the Adequate Protection Claims, and

to perform such acts as the Prepetition Agents may request to assure the perfection and priority

of the Adequate Protection Liens, (d) the DIP Loan Parties to incur all liabilities and obligations

to the Prepetition Secured Parties, including all Adequate Protection Obligations, as

contemplated under this Interim Order and the DIP Loan Documents, (e) the DIP Loan Parties to

pay all amounts required hereunder and under the DIP Loan Documents, (f) the DIP Secured

Parties and the Prepetition Secured Parties to retain and apply payments made in accordance with

the terms of this Interim Order and the DIP Loan Documents, (g) subject to paragraph 20(b) of

this Interim Order, the DIP Secured Parties and the Prepetition Secured Parties to exercise, upon

the occurrence of any DIP Termination Event (as defined below), all rights and remedies

provided for in this Interim Order, the DIP Loan Documents, the Prepetition Notes Documents or

applicable law, (h) the DIP Loan Parties to perform under this Interim Order and the DIP Loan

Documents, and to take any and all other actions that may be necessary, required or desirable for

the performance by the DIP Loan Parties under this Interim Order and the DIP Loan Documents

and the implementation of the transactions contemplated hereunder and thereunder, and (i) the




4876-5193-0437                                  -40-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 41 of 224




implementation of all of the terms, rights, benefits, privileges, remedies, and provisions of this

Interim Order and the DIP Loan Documents.

         15.     Perfection of DIP Liens and Adequate Protection Liens.

                 (a)    This Interim Order shall be sufficient and conclusive evidence of the

attachment, validity, perfection, and priority of all liens and security interests granted hereunder

and under the DIP Loan Documents, including, without limitation, the DIP Liens and the

Adequate Protection Liens, without the necessity of the execution, recordation or filing of any

pledge, collateral or security agreements, mortgages, deeds of trust, lockbox or control

agreements, financing statements, notations of certificates of title for titled goods, or any other

document or instrument, or the taking of any other action (including, without limitation, entering

into any deposit account control agreement or other act to take possession or control of any DIP

Collateral), to attach, validate, perfect or prioritize such liens and security interests, or to entitle

the DIP Secured Parties and the Prepetition Secured Parties to the priorities granted herein (other

than, to the extent applicable, any such filings required under applicable non-U.S. law to attach,

validate, perfect or prioritize such liens).

                 (b)    Without in any way limiting the automatically effective perfection of the

liens and security interests granted under this Interim Order and the DIP Loan Documents, the

DIP Agent and the Prepetition Agents, respectively, are hereby authorized, but not required, as

they in their sole discretion may determine for any reason, to execute, file and record (and to

execute in the name of the DIP Loan Parties, as their true and lawful attorneys, with full power

of submission, to the maximum extent permitted under applicable law) financing statements,

trademark filings, copyright filings, mortgages, notices of lien or similar instruments in any

jurisdiction, or take possession or control over cash or securities, or to amend or modify security




4876-5193-0437                                    -41-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 42 of 224




documents, or to subordinate existing liens and any other similar action or action in connection

therewith or take any other action in order to validate, perfect, preserve and enforce the liens and

security interests granted to them hereunder or under the DIP Loan Documents or to otherwise

evidence such liens and security interests in all DIP Collateral (each, a “Perfection Action”);

provided, however, that, whether or not the DIP Agent or the Prepetition Agents determine, in

their sole discretion, to take any Perfection Action with respect to any liens or security interests

granted hereunder, such liens and security interests shall nonetheless be deemed valid, perfected,

allowed, enforceable, non-avoidable as of the entry of this Interim Order. Upon the request of the

DIP Agent or the Prepetition Agents, the DIP Loan Parties and each of the Prepetition Secured

Parties, without any further consent of any party, are authorized and directed to take, execute,

deliver and file such instruments (in each case, without representation or warranty of any kind) to

enable the DIP Agent and/or the Prepetition Agents to further validate, perfect, preserve and

enforce the DIP Liens and the Adequate Protection Liens. All such documents will be deemed to

have been recorded and filed as of the Petition Date.

                 (c)    A certified copy of this Interim Order may, as the DIP Agent and/or the

Prepetition Agents may determine in their discretion, be filed with or recorded in filing or

recording offices in addition to or in lieu of any financing statements, trademark filings,

copyright filings, mortgages, notices of lien or similar instruments, and all filing offices are

hereby authorized and directed to accept such certified copy of this Interim Order for filing

and/or recording, as applicable. The automatic stay of section 362(a) of the Bankruptcy Code

shall be modified to the extent necessary to permit the DIP Agent or the Prepetition Agents to

take all actions, as applicable, referenced in this paragraph 15.

         16.     Protection of Lenders’ Rights.




4876-5193-0437                                    -42-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 43 of 224




                 (a)    Until the DIP Obligations are Paid in Full, the Prepetition Secured Parties

shall: (i) have no right to and shall take no action to foreclose upon, or recover in connection

with, the liens or security interests granted to the Prepetition Secured Parties pursuant to the

Prepetition Notes Documents or this Interim Order, or otherwise seek to exercise or enforce any

rights or remedies against any DIP Collateral, including in connection with the Adequate

Protection Liens, (ii) be deemed to have consented to any transfer, disposition or sale of, or

release of liens or claims on, such DIP Collateral or the proceeds thereof (but not any such

proceeds remaining after Payment in Full of all DIP Obligations) to the extent such transfer,

disposition, sale, or release is authorized by the DIP Secured Parties in accordance with the DIP

Loan Documents and this Interim Order, (iii) not file any further financing statements, patent

filings, trademark filings, copyright filings, mortgages, notices of lien or similar instruments, or

otherwise take any action to perfect their security interests in the DIP Collateral other than,

solely as to this clause (iii), the Prepetition Agents filing financing statements or other

documents or instruments to perfect the liens granted pursuant to this Interim Order or as may be

required by applicable state law to continue the perfection of valid and unavoidable liens or

security interests existing as of the Petition Date, or (iv) deliver or cause to be delivered, at the

DIP Loan Parties’ cost and expenses, any termination statements, releases and/or assignments in

favor of the DIP Agent and the DIP Secured Parties or other documents necessary to effectuate

and/or evidence the release, termination and/or assignment of liens or security interests on any

portion of DIP Collateral subject to any sale or disposition authorized hereunder and under the

DIP Loan Documents.

                 (b)    No Prepetition Secured Party may, directly or indirectly, (i) contest, or

support any other Person in contesting, in any proceeding, the extent, validity, attachment,




4876-5193-0437                                   -43-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 44 of 224




priority, or enforceability of any DIP Lien held by or on behalf of any of the DIP Secured Parties

in the DIP Collateral (or the extent, validity, allowability, or enforceability of any DIP

Obligations secured thereby or purported to be secured thereby) or the provisions of the DIP

Loan Documents or this Interim Order, (ii) take any action that would restrain, hinder, limit,

delay or otherwise interfere with the exercise of any rights or remedies by any of the DIP

Secured Parties, or (iii) contest, object to, or support any other Person in contesting or objecting

to, the manner in which any DIP Secured Party seeks to enforce or collect the DIP Obligations,

the DIP Superpriority Claims or the DIP Liens or any amendment, waiver or modification of any

DIP Loan Document or this Interim Order.

                 (c)     To the extent any Prepetition Secured Party has possession or control of

any Prepetition Collateral or DIP Collateral, or has been noted as a secured party on any security

agreement, mortgage, leasehold mortgage, landlord waiver, financing statement, control

agreement, certificate of title or other security document, or is the secured party under any of the

Prepetition Notes Documents, then the DIP Agent, for the benefit of itself and the other DIP

Secured Parties, shall also be deemed to be the secured party under each such security document,

and shall also be deemed to have possession or control, and shall have all the rights and powers

attendant to that position (including, without limitation, rights of enforcement), and shall act in

that capacity, and distribute any proceeds recovered or received therefrom in accordance with the

terms of this Interim Order and the DIP Loan Documents, and any such Prepetition Secured

Party shall comply with the instructions of the DIP Agent with respect to the exercise of such

possession or control.

                 (d)     Except as may otherwise be provided in the DIP Loan Agreement, so long

as the DIP Obligations have not been Paid In Full, in the event that any Prepetition Secured Party




4876-5193-0437                                   -44-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 45 of 224




that holds a lien or security interest in Prepetition Collateral receives any Prepetition Collateral

or proceeds of Prepetition Collateral, or receives any payment on account of such lien or security

interest in the Prepetition Collateral (whether in connection with the exercise of any right or

remedy (including setoff), payment or distribution from the DIP Loan Parties, mistake, or

otherwise) prior to the Payment in Full of all DIP Obligations, such person or entity shall be

deemed to have received, and shall hold, any such payment or proceeds of Prepetition Collateral

in trust for the benefit of the DIP Secured Parties, and shall immediately turn over all such

proceeds to the DIP Agent, for the benefit of itself and the other DIP Secured Parties, in the same

form as received, with any necessary endorsements, for application in accordance with the DIP

Loan Documents and this Interim Order. The DIP Agent is hereby authorized to make any such

endorsements as agent for any such person or entity that holds a lien or security interest in

Prepetition Collateral. This authorization is coupled with an interest and is irrevocable.

         17.     Maintenance of DIP Collateral.

                 (a)    Until such time as all DIP Obligations are Paid in Full (or as otherwise

agreed in writing by the Required DIP Lenders), the DIP Loan Parties shall continue to maintain

all property, operational, and other insurance as required and as specified in the DIP Loan

Documents. Upon the entry of this Interim Order, the DIP Collateral Agent, for the benefit of itself

and the DIP Secured Parties, shall automatically be deemed to be named as additional insured and

lender loss payee under each insurance policy maintained by the DIP Loan Parties (including all

property damage and business interruption insurance policies of the DIP Loan Parties, whether

expired, currently in place, or to be put in place in the future), and shall act in that capacity and

distribute any proceeds recovered or received in respect of any such insurance policies in

accordance with the terms of this Interim Order and the DIP Loan Documents.




4876-5193-0437                                   -45-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 46 of 224




                 (b)    The Debtors shall maintain or continue to maintain all property, operational,

and other insurance as required and specified in the Prepetition Equipment Loan Documents. The

Debtors shall also timely pay all property taxes on the Prepetition Equipment Financing Collateral,

as and when due and payable.

         18.     Cash Management. Until such time as all DIP Obligations and Prepetition

Secured Obligations are Paid in Full, the DIP Loan Parties shall maintain the cash management

system in accordance with the applicable “first day” order, which shall be in form and substance

acceptable to the Required DIP Lenders. The DIP Loan Parties shall not open any new deposit or

securities account that is not subject to the liens and security interests of each of the DIP Secured

Parties (in which case they shall be subject to the lien priorities and other provisions set forth in

this Interim Order).

         19.     Reporting. Without limiting the requirements contained herein or in the DIP Loan

Documents, the DIP Loan Parties and their Representatives shall (a) provide the DIP Agent, the

DIP Lenders, the Ad Hoc Group and the Official Committee (and each of their respective

advisors) with (i) all reports, documents, and information required to be delivered under the DIP

Loan Documents (contemporaneously when the same is required to be delivered thereunder), and

(ii) reasonable access, upon reasonable notice and during regular business hours, to the DIP

Loan Parties’ books and records, assets and properties, for purposes of monitoring the DIP Loan

Parties’ businesses and operations and the value of the DIP Collateral, and (b) cooperate and

consult with, and provide information reasonably requested by the DIP Agent, the DIP Lenders,

the Ad Hoc Group or the Official Committee (and their respective advisors) concerning the DIP

Loan Parties’ businesses, financial condition, properties, business operations and assets, and the

DIP Loan Parties hereby authorize their Representatives to cooperate and consult with, and




4876-5193-0437                                   -46-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 47 of 224




promptly provide to the such parties (in each case, together with their respective advisors) such

information.

         20.     DIP Termination Event; Exercise of Remedies.

                 (a)    DIP Termination Events. The occurrence of any of the following shall

constitute a “DIP Termination Event” under this Interim Order (each a “DIP Termination

Event”), unless waived in writing by the Required DIP Lenders: (i) the occurrence of an “Event

of Default” under and as defined in the DIP Loan Agreement, (ii) the occurrence of the

“Termination Date” (as defined in the DIP Loan Agreement), (iii) 11:59 p.m. New York City

time on the date that is thirty-five (35) calendar days (and if such 35th calendar day is not a

Business Day, the first succeeding Business Day thereafter) after the Petition Date (or such later

date determined in writing (which may be via electronic mail) by the Required DIP Lenders in

their discretion), if the Final Order, in form and substance acceptable to the Required DIP

Lenders in their discretion, has not been entered by the Court by such date and time, (iv) the

substantial consummation (as defined in 11 USC § 1101(2) of the Bankruptcy Code) of a chapter

11 plan of any of the Debtors, (v) any of the DIP Loan Parties seeks authorization from the Court

for (or the Court enters an order authorizing or approving) any amendment, modification, or

extension of this Interim Order or the DIP Loan Documents without the prior written consent of

the Required DIP Lenders (and no such consent shall be implied by any other action, inaction, or

acquiescence of any of the DIP Secured Parties), (vi) the failure of the DIP Loan Parties to make

any payment required under this Interim Order or the DIP Loan Documents to any of the DIP

Secured Parties or the Prepetition Secured Parties as and when due and payable hereunder or

thereunder, or (vii) the failure by any of the DIP Loan Parties to timely perform or comply with

any of the other terms, provisions, conditions or other obligations under this Interim Order.




4876-5193-0437                                  -47-
          Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 48 of 224




                   (b)      Exercise of Remedies. The DIP Loan Parties shall immediately provide

notice to counsel to the DIP Agent, the DIP Lenders, the Prepetition Agents and the Ad Hoc

Group of the occurrence of any DIP Termination Event. Upon the occurrence of a DIP

Termination Event, without further application to or order from the Court, the automatic stay

provisions of Section 362 of the Bankruptcy Code shall be vacated and modified to the extent

necessary to permit the DIP Agent (acting at the instruction of the Required DIP Lenders) and/or,

with respect to clause (vi) below, the Prepetition Agents (acting at the instruction of the requisite

Prepetition Secured Parties under the applicable Prepetition Notes Documents), as applicable, to

take any of the following actions, at the same or different time: (i) deliver a written notice (which

may be via electronic mail) to lead restructuring counsel for the Debtors, the U.S. Trustee and

lead restructuring counsel for the Official Committee (the “Remedies Notice”) 7 declaring the

occurrence of a DIP Termination Event (such date, the “DIP Termination Declaration Date”)

and/or deliver a Carve Out Notice (as defined below), (ii) declare the termination, reduction or

restriction of the commitments under the DIP Facility (to the extent any such commitment

remains), (iii) declare all DIP Obligations to be immediately due and payable, without

presentment, demand or protest or other notice of any kind, all of which are expressly waived by

the DIP Loan Parties, (iv) declare the termination of the DIP Facility and the DIP Loan

Documents as to any further liability or obligation thereunder, but without affecting the DIP

Liens, the DIP Superpriority Claims or the DIP Obligations, (v) declare the reduction or

restriction on the DIP Facility or the DIP Loan Documents, (vi) declare the termination,

restriction or revocation of the ability of the Debtors to use Cash Collateral, (vii) invoke a Cash

Dominion Period and/or sweep all cash or other amounts contained in the DIP Funding Account,


7
           For the avoidance of doubt, the Carve Out Notice and the Remedies Notice may be included in the same
notice.


4876-5193-0437                                          -48-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 49 of 224




and (viii) charge interest at the default rate set forth in the DIP Loan Agreement; provided,

however, that following the occurrence of a DIP Termination Event, prior to the exercise or

enforcement of any rights against DIP Collateral or Prepetition Collateral (as the case may be),

the DIP Agent (acting at the instruction of the Required DIP Lenders) and/or the Prepetition

Agents (acting at the instruction of the requisite Prepetition Secured Parties under the applicable

Prepetition Notes Documents), as applicable, shall be required to file a motion with the Court on

five (5) Business Days’ notice (subject to the Court’s availability) seeking an emergency hearing

(the “Stay Relief Hearing”) to determine whether a DIP Termination Event has occurred (and

the DIP Loan Parties and the Official Committee shall not object to the shortened notice with

respect to such Stay Relief Hearing). In the event the Court determines during a Stay Relief

Hearing that a DIP Termination Event has occurred, the Court may fashion an appropriate

remedy, which may include, inter alia, (A) the exercise of any and all rights or remedies

available to the DIP Secured Parties under this Interim Order, the DIP Loan Documents or

applicable law against the DIP Collateral, and (B) following the Payment in Full of all DIP

Obligations (unless the Required DIP Lenders have otherwise agreed in writing), the exercise of

any and all rights and remedies available to the Prepetition Secured Parties under this Interim

Order, the Prepetition Notes Documents and applicable law against the DIP Collateral and/or

Prepetition Collateral; provided that the rights of the Debtors to contest such relief are expressly

preserved.

                 (c)   Remedies Notice Period. During the period from and after the Termination

Declaration Date through the date of the Stay Relief Hearing (the “Remedies Notice Period”),

the Debtors shall be permitted to use Cash Collateral solely to fund (i) payroll and other critical

operating expenses included in (and subject to) the Approved Budget that are critically necessary




4876-5193-0437                                  -49-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 50 of 224




to keep the Debtors’ businesses operating or that have been consented to by the Required DIP

Lenders (which consent shall not be unreasonably withheld or delayed), and (ii) the Professional

Fees Escrow Amount; provided, however, that any fees or expenses incurred by the DIP Loan

Parties or the Official Committee during the Remedies Notice Period shall permanently reduce

the Carve Out Amount (as defined below). For the avoidance of doubt, during the Remedies

Notice Period, the DIP Lenders shall not be obligated to provide any DIP Loans or advance any

credit at any time from and after the occurrence of a DIP Termination Event.

                 (d)    Leased Premises. On or after a DIP Termination Declaration Date, the

DIP Secured Parties shall be entitled to enter upon any leased premises in accordance with (i) a

separate agreement with the landlord by and between the DIP Agent or the Prepetition Agents

(as applicable) and the applicable landlord, (ii) consent of the landlord, (iii) upon entry of an

order of this Court, upon notice to the landlord and a hearing, or (iv) in accordance with the

rights of the DIP Agents or the Prepetition Agents (as applicable) under applicable non-

bankruptcy law.

                 (e)    Cooperation. The DIP Loan Parties shall cooperate with the DIP Secured

Parties and/or the Prepetition Secured Parties in their efforts to enforce their liens and security

interests in the DIP Collateral or the Prepetition Collateral, as applicable, and (other than the

right to contest whether a DIP Termination Event has occurred and is continuing) the DIP Loan

Parties shall not take or direct any entity to take any action designed or intended to hinder or

restrict in any respect such party from enforcing its rights or remedies in the DIP Collateral or

the Prepetition Collateral, as applicable.

         21.     No Waiver by Failure to Seek Relief. The rights and remedies of the DIP Secured

Parties and the Prepetition Secured Parties specified herein are cumulative and not exclusive of




4876-5193-0437                                   -50-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 51 of 224




any rights or remedies that the DIP Secured Parties or the Prepetition Secured Parties may have

under this Interim Order, the DIP Loan Documents, the Prepetition Notes Documents, applicable

law or otherwise. The failure or delay on the part of any of the DIP Secured Parties or the

Prepetition Secured Parties to seek relief or otherwise exercise their rights and remedies under

this Interim Order, the DIP Loan Documents, the Prepetition Notes Documents or applicable

law, as the case may be, shall not constitute a waiver of any of their respective rights hereunder,

thereunder or otherwise. Except as expressly set forth herein, none of the rights or remedies of

the DIP Secured Parties or the Prepetition Secured Parties under this Interim Order, the DIP

Loan Documents and the Prepetition Notes Documents shall be deemed to have been amended,

modified, suspended, or waived unless such amendment, modification, suspension, or waiver is

express, in writing and signed by the requisite parties under the DIP Loan Documents and the

requisite parties under the Prepetition Notes Documents, as applicable. No consents required

hereunder by any of the DIP Secured Parties or the Prepetition Secured Parties shall be implied

by any inaction or acquiescence by any of the DIP Secured Parties or the Prepetition Secured

Parties (as applicable).

         22.     Carve Out.

                 (a)   Priority of Carve Out. Each of the DIP Liens, the DIP Superpriority

Claims, the Prepetition Liens, the Adequate Protection Liens, and the Adequate Protection

Claims shall be subject and subordinate to payment of the Carve Out. The Carve Out shall be

senior to all claims and liens over all assets of the Debtors, including any DIP Collateral and

Prepetition Collateral, as set forth in this Interim Order. For the avoidance of doubt, after the

occurrence of the DIP Termination Declaration Date and the date upon which the DIP

Obligations are Paid in Full, the Carve Out shall remain in effect as to the Prepetition




4876-5193-0437                                  -51-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 52 of 224




Obligations and the Adequate Protection Obligations, and the Debtors shall be permitted and

required to continue to fund amounts in relation to the Carve Out in accordance with the terms of

this Interim Order.

                 (b)   Carve Out. As used in this Interim Order, the term “Carve Out” means

the sum of (i) all unpaid fees required to be paid to the Clerk of the Court and to the U.S. Trustee

under 28 U.S.C. § 1930(a) plus interest at the statutory rate pursuant to 31 U.S.C. § 3717, (ii) all

unpaid reasonable fees and expenses up to $50,000 incurred by a trustee under section 726(b) of

the Bankruptcy Code, (iii) to the extent allowed at any time, whether by interim order, final

order, or other order, all accrued but unpaid fees and expenses (excluding any restructuring, sale,

success, or other transaction fee of any investment bankers or financial advisors) (the “Allowed

Professional Fees”) incurred by persons or firms retained by the Debtors pursuant to section

327, 328, or 363 of the Bankruptcy Code (the “Debtor Professionals”) and the Official

Committee pursuant to section 328 or 1103 of the Bankruptcy Code (the “Committee

Professionals”, and together with the Debtor Professionals, the “Professional Persons”) at any

time on or before the date of delivery by the DIP Agent (at the instruction of the Required DIP

Lenders) of a Carve Out Notice (as defined below), whether allowed by the Court prior to or

after delivery of a Carve Out Notice (the amounts set forth in the foregoing clauses (i), (ii) and

(iii), the “Pre-Carve Out Notice Amount”), and (iv) Allowed Professional Fees of Professional

Persons incurred after the date of delivery by the DIP Agent (at the instruction of the Required

DIP Lenders) of the Carve Out Notice, to the extent allowed at any time, whether by interim

order, final order, or other court order, in an aggregate amount not to exceed $2.0 million (the

amount set forth in this clause (iv) being the “Post-Carve Out Notice Amount”, and together

with the Pre-Carve Out Notice Amount, the “Carve Out Amount”); provided, however, that




4876-5193-0437                                  -52-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 53 of 224




nothing herein shall be construed to impair the ability of any party-in-interest to object to the

fees, expenses, reimbursement, or compensation described herein on any grounds. For purposes

of this Interim Order, the “Carve Out Notice” shall mean a written notice (which may be via

electronic mail) delivered by the DIP Agent (acting at the instruction of the Required DIP

Lenders) to lead restructuring counsel to the Debtors, the U.S. Trustee and lead restructuring

counsel to the Official Committee, which notice may be delivered following the occurrence of a

DIP Termination Event, stating that the Carve Out has been invoked.

                 (c)   Pre-Carve Out Notice. Prior to the delivery of a Carve Out Notice, starting

with the first full calendar week following the Petition Date, each Professional Person shall

deliver to the Debtors, the DIP Agent, the DIP Lenders and their respective advisors a weekly

statement (each, a “Weekly Statement”) setting forth a good-faith estimate of the amount of

accrued but unpaid fees and expenses incurred by such Professional Person during the preceding

week (the “Weekly Estimated Fees and Expenses”), and the Debtors shall, on a weekly basis,

transfer cash proceeds from amounts previously drawn under the DIP Facility or cash on hand

into a segregated account held in trust for and exclusively available for the payment of fees and

expenses of the Professional Persons (the “Professional Fees Escrow Account”) in an amount

equal to the aggregate amount of Weekly Estimated Fees and Expenses based on the Weekly Fee

Estimates submitted by each Professional Person (and if no such estimate is provided in a given

week, then the amount forecasted for such Professional Person in the Approved Budget) that

remain unpaid (and that were not previously funded to the Professional Fees Escrow Account).

The Debtors shall use funds held in the Professional Fees Escrow Account exclusively to pay

Allowed Professional Fees as they become allowed and payable pursuant to the Bankruptcy

Code, the Bankruptcy Rules, the Bankruptcy Local Rules, in accordance with any interim or




4876-5193-0437                                  -53-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 54 of 224




final orders of the Court; provided, however, that the Debtors’ obligations to pay Allowed

Professional Fees shall not be limited or be deemed limited to funds held in the Professional Fees

Escrow Account.

                 (d)   Post-Carve Out Notice. On the date on which a Carve Out Notice is

delivered in accordance with this paragraph 22 of this Interim Order, (the “Carve Out Trigger

Date”), the Carve Out Notice shall constitute a demand to the Debtors to utilize all cash on hand

as of such date (net of any retainers) and any available cash thereafter held by any Debtor to fund

into the Professional Fees Escrow Account an amount equal to (i) the Pre-Carve Out Notice

Amount (to the extent not previously funded to the Professional Fees Escrow Account), and

(ii) the Post-Carve Out Notice Amount. No later than one (1) Business Day after the delivery of a

Carve Out Notice, each Professional Person shall deliver one (1) additional statement to the

Debtors, the DIP Agent, the DIP Lenders and their respective advisors setting forth a good-faith

estimate of the amount of accrued but unpaid fees and expenses incurred by such Professional

Person during the period following the period covered by the most recent Weekly Statement

previously delivered by such Professional Person through and including the Carve Out Trigger

Date (as defined below), and the Debtors shall transfer such amounts to the Professional Fees

Escrow Account (as defined herein).

                 (e)   Notwithstanding anything to the contrary in this Interim Order, the DIP

Loan Documents or the Prepetition Notes Documents, following delivery of a Carve Out Notice,

the DIP Agent and the Prepetition Agents shall not sweep or foreclose on cash (including cash

received as a result of the sale or other disposition of any assets) of the Debtors until the

Professional Fees Escrow Account has been fully funded in an amount equal to all respective

obligations benefitting from the Carve Out as set forth herein. The Professional Fees Escrow




4876-5193-0437                                   -54-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 55 of 224




Account shall not be subject to the control of the DIP Agent, any DIP Lender or any of the

Prepetition Secured Parties, and the funds transferred to the Professional Fees Escrow Account

shall not be subject to the DIP Liens or the Adequate Protection Liens, nor constitute DIP

Collateral; provided, however, that the DIP Liens and the Adequate Protection Liens shall

automatically attach to any residual interest in the Professional Fees Escrow Account (which

liens shall be deemed automatically perfected senior first priority liens as of entry of this Interim

Order), with any excess paid to the DIP Agent for application to the DIP Obligations in

accordance with the DIP Loan Documents until the DIP Obligations are Paid in Full (unless the

Required DIP Lenders have otherwise agreed to in writing), and any excess remaining thereafter

shall be applied in accordance with this Interim Order.

                 (f)    Notwithstanding anything to the contrary in this Interim Order,

(i) disbursements by the Debtors from the Professional Fees Escrow Account shall not constitute

loans or indebtedness under the DIP Loan Documents or the Prepetition Notes Documents or

otherwise increase or reduce the DIP Obligations or the Prepetition Secured Obligations, (ii) the

failure of the Professional Fees Escrow Account to satisfy in full the Allowed Professional Fees

shall not affect the priority of the Carve Out, and (iii) nothing contained herein shall constitute a

cap or limitation on the amount that the Professional Persons may assert as administrative

expense claims against the Debtors on account of Allowed Professional Fees incurred by such

Professional Persons.

                 (g)    Payment of Carve Out on or After the Carve Out Trigger Date. Any

payment or reimbursement made on or after the occurrence of the Carve Out Trigger Date in

respect of any Allowed Professional Fees incurred after the occurrence of the Carve Out Trigger

Date shall permanently reduce the Carve Out Amount on a dollar-for-dollar basis.




4876-5193-0437                                  -55-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 56 of 224




                 (h)    No Direct Obligation to Pay Allowed Professional Fees. None of the DIP

Secured Parties or the Prepetition Secured Parties shall be responsible for the payment or

reimbursement of any fees or disbursements of any Professional Person incurred in connection

with the Chapter 11 Cases or any Successor Cases under any chapter of the Bankruptcy Code,

regardless of whether such fees or expenses have been allowed by the Court. Nothing in this

Interim Order or otherwise shall be construed to obligate the DIP Secured Parties or the

Prepetition Secured Parties, in any way, to pay compensation to, or to reimburse expenses of,

any Professional Person or to guarantee that the Debtors have sufficient funds to pay such

compensation or reimbursement.

         23.     Effect of the Debtors’ Stipulations on Third Parties.

                 (a)    The Debtors’ stipulations, admission, agreements and releases contained

in this Interim Order shall be binding upon the Debtors and any successor thereto in all

circumstances and for all purposes immediately upon entry of this Interim Order.

                 (b)    The Debtors’ Stipulations in paragraph E of this Interim Order shall be

binding upon all parties-in-interest (other than the Debtors and their successors), including,

without limitation, the Official Committee, any statutory or non-statutory committees appointed

or formed in the Chapter 11 Cases, and any other person or entity seeking to act on behalf of the

Debtors’ estates, including any chapter 7 or chapter 11 trustee or examiner appointed or elected

for any of the Debtors in the Chapter 11 Cases or any Successor Cases, and each of their

respective successors and assigns, in all circumstances and for all purposes, unless the Official

Committee or such other party-in-interest (i) obtains requisite standing (subject in all respects to

any agreement or applicable law which may limit or affect such entity’s right or ability to do so)

pursuant to an order of the Court entered prior to the Challenge Deadline (as defined below),




4876-5193-0437                                   -56-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 57 of 224




(ii) timely and properly commences and serves an adversary proceeding or contested matter

(subject to the limitations contained herein) (each, a “Challenge Proceeding”) by no later than

the Challenge Deadline (as defined below), (A) objecting to or alleging any basis to impair,

restrict, deny or otherwise challenge the right of any of the Prepetition Secured Parties to credit

bid, in whole or in part, the Prepetition Liens or the Prepetition Secured Obligations under

section 363(k) of the Bankruptcy Code or otherwise, (B) objecting to or challenging the amount,

validity, perfection, enforceability, priority, scope or extent of the Prepetition Secured

Obligations, the Prepetition Liens, the Prepetition Collateral or the Prepetition Notes Documents,

or otherwise objecting to or challenging any of the admissions, stipulations, findings or releases

included in the Debtors’ Stipulations, including, without limitation, asserting or prosecuting any

claim or cause of action of any kind or nature whatsoever, including without limitation, any

claim or cause of action seeking reduction, setoff, offset, recoupment, avoidance (whether under

Chapter 5 of the Bankruptcy Code or under applicable law (including any applicable state law

Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act or similar statute or

common law)), recharacterization, subordination (whether equitable, contractual or otherwise),

reclassification, disgorgement, disallowance, impairment, marshalling, surcharge or recovery,

whether under the Bankruptcy Code, applicable non-bankruptcy law or otherwise, with respect to

the Prepetition Secured Obligations, the Prepetition Liens, the Prepetition Collateral or the

Prepetition Notes Documents, (C) asserting or prosecuting any so-called “lender liability”

claims, avoidance actions or any other claim, counter claim, cause of action, objection, contest or

defense, of any kind or nature whatsoever, whether arising under the Bankruptcy Code,

applicable law or otherwise, against any of the Prepetition Secured Parties or their

Representatives (sub-clauses (A)-(C), collectively, the “Challenges”, and each, a “Challenge”),




4876-5193-0437                                  -57-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 58 of 224




and (iii) obtains a final non-appealable order by a court of competent jurisdiction in favor of the

plaintiff sustaining any such Challenge in any timely and duly-filed Challenge Proceeding;

provided, however, that any pleadings filed in connection with any Challenge Proceeding,

including any motion served and filed with the Court seeking requisite standing and authority to

pursue a Challenge, shall include a draft complaint attached thereto and shall otherwise set forth

with specificity the basis for each such Challenge, and any Challenge not so specified in a

Challenge Proceeding timely and properly filed prior to the Challenge Deadline shall be deemed

forever, waived, released and barred.

                 (c)   If no such Challenge Proceeding is timely and properly filed by the

Challenge Deadline, or if the Court rules does not rule in favor of plaintiff in any such timely and

properly filed Challenge Proceeding, then, without application to or further order of the Court,

(i) each of the admissions, stipulations, findings and releases contained in the Debtors’

Stipulations shall be binding on all parties-in-interest, including, without limitation, any Official

Committee, any statutory or non-statutory committees appointed or formed in the Chapter 11

Cases, or any other party-in-interest (including, without limitation, any chapter 7 trustee or

chapter 11 trustee or examiner appointed or elected for any of the Debtors in the Chapter 11

Cases or any Successor Cases), (ii) the Prepetition Secured Obligations shall constitute allowed

claims against each of the Debtors in the Chapter 11 Cases and any Successor Cases, and the

Prepetition Liens shall forever be deemed to be legal, valid, binding, continuing, perfected and

enforceable, as of the Petition Date, against each of the Debtors in the Chapter 11 Cases and any

Successor Cases, (iii) the Prepetition Secured Obligations and the Prepetition Liens shall not be

subject to any other or further contest, cause of action, attack, objection, challenge, defense,

claim, counterclaim, reduction, setoff, offset, recoupment, avoidance (whether under Chapter 5




4876-5193-0437                                  -58-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 59 of 224




of the Bankruptcy Code or under applicable law (including any applicable state law Uniform

Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act or similar statute or common

law)), recharacterization, subordination (whether equitable, contractual or otherwise),

reclassification, disgorgement, disallowance, impairment, marshalling, surcharge or recovery or

any other Challenge, of any kind or nature whatsoever, whether under the Bankruptcy Code,

applicable non-bankruptcy law or otherwise, by any person or entity, and (iv) any and all claims,

counter claims, cross claims, causes of action, or other Challenges, of any kind or nature

whatsoever, whether under the Bankruptcy Code, applicable non-bankruptcy law or otherwise,

against any of the Prepetition Secured Parties or any of their Representatives (in their capacities

as such) shall be deemed forever waived, released and barred.

                 (d)   If any such Challenge Proceeding is timely filed by the Challenge

Deadline, the Debtors’ Stipulations shall nonetheless remain binding and preclusive on any

Official Committee, any non-statutory committees appointed or formed in the Chapter 11 Cases,

or any other party-in-interest (including, without limitation, any chapter 7 trustee or chapter 11

trustee or examiner appointed or elected for any of the Debtors in the Chapter 11 Cases or any

Successor Cases), except to the extent that any of the admissions, stipulations, findings or

releases contained in the Debtors’ Stipulations were expressly challenged in such Challenge

Proceeding (and solely as to the plaintiff party that timely filed such Challenge Proceeding and

not, for the avoidance of doubt, any other party-in-interest).

                 (e)   For purposes of this Interim Order, the “Challenge Deadline” means the

date that is (i) the earlier of (A) seventy-five (75) calendar days from the date of entry of the

Interim Order, or (B) the date that is sixty (60) calendar days from the date of appointment of the

Official Committee (the time period set forth in this this sub-clause (i), the “Initial Challenge




4876-5193-0437                                  -59-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 60 of 224




Deadline”), (ii) such later date as has been agreed to in writing by the DIP Agent (acting at the

instruction of the Required DIP Lenders) and the affected Prepetition Agent (acting at the

instruction of the requisite Prepetition Secured Parties under the affected Prepetition Notes

Documents), or (iii) such later date as has been ordered by the Court, for cause shown, upon a

motion filed with the Court prior to the Initial Challenge Deadline (the time period established

by clauses (i), (ii) and (iii) of this paragraph 23(e), the “Challenge Period”); provided, that (x) if

the Chapter 11 Cases are converted to chapter 7 and a chapter 7 trustee or a chapter 11 trustee is

appointed or elected prior to the Challenge Deadline, then the Challenge Deadline for any such

chapter 7 trustee or chapter 11 trustee shall be extended (solely as to such chapter 7 trustee or

chapter 11 trustee) to the date that is the later of (1) the Challenge Deadline then in effect at the

time of its appointment or election, or (2) the date that is thirty (30) calendar days after its

appointment or election, and (y) the filing of a motion by the Official Committee prior to the

Initial Challenge Deadline seeking standing with respect to a Challenge, attaching a draft

complaint setting forth such Challenge, shall toll the Challenge Deadline for the Official

Committee solely in respect of such Challenge until the date that is one Business Day after the

entry of an order of the Bankruptcy Court ruling on such motion (or such later date as agreed in

writing by the DIP Agent (acting at the instruction of the Required DIP Lenders) and the affected

Prepetition Agent (acting at the instruction of the requisite Prepetition Secured Parties under the

affected Prepetition Notes Documents)).

                 (f)    Nothing in this Interim Order vests or confers on any person or entity,

including any Official Committee or any statutory or non-statutory committee appointed or

formed in the Chapter 11 Cases, or any other party-in-interest standing or authority to pursue any




4876-5193-0437                                   -60-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 61 of 224




Challenge belonging to the Debtors or their estates, and all rights to object to any request for

such standing are expressly reserved.

         24.     Limitations on Use of DIP Collateral, Cash Collateral, Carve Out or Other

Funds. Notwithstanding anything contained in this Interim Order or any other order of the Court

to the contrary, no DIP Collateral, Prepetition Collateral, DIP Loans, Cash Collateral, proceeds

of any of the foregoing, any portion of the Carve Out may be used (including to pay professional

fees) by any of the DIP Loan Parties, the Official Committee, any statutory or non-statutory

committees appointed or formed in the Chapter 11 Cases or any Successor Cases, or any other

party-in-interest (including without limitation any chapter 7 trustee or chapter 11 trustee or

examiner appointed or elected for any of the Debtors in the Chapter 11 Cases or any Successor

Cases), directly or indirectly, to:

                 (a)     investigate (including by way of examinations or discovery proceedings,
         whether formal or informal), prepare, initiate, commence, support or prosecute (or
         finance the preparation, initiation, commencement, support or prosecution of) any claim,
         counterclaim, cross-claim, cause of action, suit, arbitration, application, motion, contested
         matter, objection, defense, adversary proceeding, litigation or other proceeding of any
         kind or nature (whether for monetary, injunctive, affirmative relief or otherwise)
         (i) against any of the DIP Secured Parties or the Prepetition Secured Parties or their
         respective Representatives (each in their capacities as such), (ii) objecting to, challenging,
         contesting, or raising any defense to, the amount, validity, enforceability, perfection,
         priority, extent or scope of the claims, liens and security interests granted under this
         Interim Order, the DIP Loan Documents or the Prepetition Notes
         Documents, (iii) asserting avoidance (whether under Chapter 5 of the Bankruptcy Code
         or under applicable law (including any applicable state law Uniform Fraudulent Transfer
         Act, Uniform Fraudulent Conveyance Act or similar statute or common law)), any so-
         called “lender liability” claims, or any other any claim or cause of action seeking
         reduction, setoff, offset, recoupment, recharacterization, subordination (whether
         equitable, contractual or otherwise), reclassification, disgorgement, disallowance,
         impairment, marshalling, surcharging or recovery, in each case, with respect to the DIP
         Liens, the DIP Obligations, the DIP Loan Documents, the DIP Collateral, the Adequate
         Protection Liens, the Adequate Protection Claims and the other Adequate Protection
         Obligations, the Prepetition Liens, the Prepetition Secured Obligations, the Prepetition
         Notes Documents or the Prepetition Collateral, (vi) any claim or cause of action of any
         kind or nature whatsoever, whether arising under the Bankruptcy Code or applicable non-



4876-5193-0437                                   -61-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 62 of 224




         bankruptcy law, against any of the DIP Secured Parties or the Prepetition Secured Parties
         or their respective Representatives;
                 (b)     object to or seek to impair, modify or interfere with any of the rights,
         remedies, priorities, privileges, protections or benefits granted to the DIP Secured Parties
         or the Prepetition Secured Parties under this Interim Order, the DIP Loan Documents or
         the Prepetition Notes Documents (other than to contest whether a DIP Termination Event
         has occurred); provided that, for the avoidance of doubt, this provision shall not apply to
         an objection filed in the Court to the relief sought at the Final Hearing;
                 (c)     object to or seek to prevent, hinder, interfere with or otherwise delay any
         of the DIP Secured Parties’ or Prepetition Secured Parties’ assertion, enforcement,
         exercise of remedies or realization upon any DIP Collateral or Prepetition Collateral (as
         applicable) in accordance with this Interim Order, the DIP Loan Documents or the
         Prepetition Notes Documents (as applicable) (other than to contest whether a DIP
         Termination Event has occurred);
                 (d)     seek or request authorization from the Court to obtain postpetition
         financing (whether equity or debt) or other financial accommodations pursuant to
         sections 364(c) or (d) of the Bankruptcy Code or otherwise, unless such financing is
         sufficient to cause the Payment in Full of all DIP Obligations contemporaneously with
         the consummation of such financing (or as otherwise agreed in writing by the Required
         DIP Lenders);
                 (e)     seek or request authorization from the Court to obtain superpriority claims
         or liens or security interests (other than liens or security interests expressly permitted
         under this Interim Order or the DIP Loan Documents) in any portion of the DIP
         Collateral that are senior to or pari passu with the DIP Liens, the DIP Superpriority
         Claims, the Adequate Protection Liens, the Adequate Protection Claims, the Prepetition
         Liens or the Prepetition Secured Obligations unless all DIP Obligations have been Paid in
         Full (or as otherwise agreed in writing by the Required DIP Lenders);
                 (f)    use, request authorization to use, Cash Collateral or sell or otherwise
         dispose of DIP Collateral or Prepetition Collateral (without the prior written consent of
         the Required DIP Lenders or the requisite Prepetition Secured Parties, as applicable)
         other than as expressly permitted in this Interim Order and in the DIP Loan Documents;
         or

                 (g)    pay or seek to pay any amount on account of any claims arising prior to
         the Petition Date unless such payments are agreed to in writing by the Required DIP
         Lenders (or are otherwise expressly included in the Approved Budget and do not violate
         any of the terms of the DIP Loan Documents;

provided, however, that no more than an aggregate amount of $50,000 of the DIP Collateral, DIP

Loans, Prepetition Collateral, Cash Collateral, proceeds of any of the foregoing, any portion of

the Carve Out or any other funds may be used by the Official Committee during the Challenge

Period to investigate (but not to prosecute, litigate, commence or support any Challenge, or

4876-5193-0437                                   -62-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 63 of 224




prepare any complaint or motion in respect of any Challenge, including by way of discovery),

the Debtors’ Stipulations.

         25.     Limitation on Charging Expenses. Except to the extent of the Carve Out, no costs

or expenses of administration of the Chapter 11 Cases or any Successor Cases (or any future

proceedings that may result therefrom) at any time, including, without limitation, any costs and

expenses incurred in connection with the preservation, protection, or enhancement of realization

by the DIP Secured Parties or the Prepetition Secured Parties upon the DIP Collateral or the

Prepetition Collateral, respectively, shall be charged against or recovered from the DIP Collateral

as to DIP Secured Parties or the Prepetition Collateral as to the Prepetition Secured Parties,

whether pursuant to section 506(c) of the Bankruptcy Code or other similar legal or equitable

doctrine or otherwise, without the prior written consent of the Required DIP Lenders with

respect to the DIP Collateral or the requisite Prepetition Secured Parties under the applicable

Prepetition Notes Documents with respect to the Prepetition Collateral, each in their sole

discretion, and no such consent shall be implied, directly or indirectly, from anything contained

in this Interim Order (including, without limitation, consent to the Carve Out or the approval of

any budget hereunder) or from any other action, inaction, or acquiescence by any of the DIP

Secured Parties or any of the Prepetition Secured Parties to any charge, lien, assessment or claim

against the DIP Secured Parties or the Prepetition Secured Parties with respect to the DIP

Collateral or the Prepetition Collateral, whether under section 506(c) of the Bankruptcy Code or

otherwise; provided, however, that with respect to the Prepetition Secured Parties and the

Prepetition Collateral, the foregoing shall be subject to the entry of the Final Order.

         26.     No Marshalling; Section 552(b) Waiver. In no event shall the DIP Secured Parties

or the Prepetition Secured Parties be subject to the equitable doctrine of “marshaling” or any




4876-5193-0437                                  -63-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 64 of 224




similar doctrine with respect to the DIP Collateral, the DIP Obligations, the Prepetition

Collateral or the Prepetition Secured Obligations (as applicable), and all proceeds of DIP

Collateral and Prepetition Collateral shall be received and applied in accordance with this

Interim Order, the DIP Loan Documents and the Prepetition Notes Documents, as applicable;

provided, however, that, with respect to the Prepetition Secured Parties and the Prepetition

Collateral, the foregoing shall be subject to entry of the Final Order. Subject to entry of the Final

Order, each of the Prepetition Secured Parties shall be entitled to all of the rights and benefits of

section 552(b) of the Bankruptcy Code, and in no event shall the “equities of the case” exception

in section 552(b) of the Bankruptcy Code apply to the Prepetition Secured Parties or the

Prepetition Collateral.

         27.     Right to Credit Bid. (a) The DIP Agent or its designee (in each case, acting at the

instruction of the Required DIP Lenders), shall have the unqualified right to credit bid all or any

portion of DIP Collateral in accordance with the DIP Loan Documents up to the full amount of

any DIP Obligations, and (b) subject to paragraph 23 of this Interim Order, each of the

Prepetition Agents or its/their designee(s) (in each case, acting at the instruction of the requisite

Prepetition Secured Parties under the applicable Prepetition Notes Documents) shall have the

right to credit bid all or any portion of the (x) DIP Collateral up to the full amount of the

Noteholder Adequate Protection Obligations, and (y) Prepetition Collateral in accordance with

the applicable Prepetition Notes Documents up to the full amount of the applicable Prepetition

Secured Obligations (as applicable), in each case, in the sale of any of the DIP Loan Parties’

assets, whether in a sale under or pursuant to section 363 of the Bankruptcy Code, a Chapter 11

plan subject to confirmation under section 1129(b)(2)(A) of the Bankruptcy Code, a sale or

disposition by a chapter 7 trustee for any of the Debtors under section 725 of the Bankruptcy




4876-5193-0437                                   -64-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 65 of 224




Code, or otherwise. The DIP Agent (acting at the instruction of the Required DIP Lenders) and

the Prepetition Agents (acting at the instruction of the requisite Prepetition Secured Parties under

the applicable Prepetition Notes Documents), shall each have the absolute right to assign,

transfer, sell, or otherwise dispose of their respective rights to credit bid (subject to this Interim

Order) to any acquisition vehicle formed in connection with such bid or other designee.

         28.     Binding Effect; Successors and Assigns. Immediately upon entry of this Interim

Order, subject to paragraph 23 of this Interim Order, the DIP Loan Documents and this Interim

Order, including all findings and conclusions of law herein, shall be binding upon all parties-in-

interest in the Chapter 11 Cases and any Successor Cases, including without limitation, the DIP

Secured Parties, the Prepetition Secured Parties, the Official Committee or any other statutory or

non-statutory committee appointed or formed in the Chapter 11 Cases and any Successor Cases,

and their respective successors and assigns (including any chapter 11 trustee or chapter 7 trustee

or examiner appointed or elected in the Chapter 11 Cases or any Successor Cases, an examiner

appointed pursuant to section 1104 of the Bankruptcy Code, or any other fiduciary appointed as a

legal representative of any of the Debtors or with respect to the property of the estate of any of

the Debtors), and shall inure to the benefit of each of the Debtors, the DIP Secured Parties, the

Prepetition Secured Parties and their respective successors and assigns; provided, however, that,

for the avoidance of doubt, the DIP Secured Parties and the Prepetition Secured Parties shall

have no obligation to make any loan, permit the use of DIP Collateral or Prepetition Collateral

(including Cash Collateral) or extend any financing to any chapter 11 trustee or chapter 7 trustee

or similar responsible person appointed for the estate of any Debtor in the Chapter 11 Cases or

any Successor Cases.

         29.     No Modification of Interim Order.




4876-5193-0437                                   -65-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 66 of 224




                 (a)   The DIP Loan Parties irrevocably waive the right to seek, and shall not

seek or consent to, directly or indirectly: (i) without the prior written consent of the Required

DIP Lenders (unless and until the DIP Obligations have been Paid in Full), (A) any modification,

stay, vacatur or amendment to this Interim Order, (B) the allowance of any claim against any

Debtor in the Chapter 11 Cases or any Successor Cases equal or superior to the DIP

Superpriority Claims (other than the Carve Out), (C) the grant of any lien or security interest on

any DIP Collateral with priority equal to or superior to the DIP Liens, except as expressly

permitted hereunder or under the DIP Loan Documents, or (D) the entry of any order authorizing

the use of DIP Collateral (including Cash Collateral) that is inconsistent with this Interim Order

(except in connection with a request for approval of financing sufficient to cause the Payment in

Full of all DIP Obligations contemporaneously with the consummation of such financing), or

(ii) without the prior written consent of the Prepetition Agents (acting at the instruction of the

requisite Prepetition Secured Parties) (unless and until the DIP Obligations have been Paid in

Full or in connection with a request for approval of financing sufficient to cause the Payment in

Full of all DIP Obligations contemporaneously with the consummation of such financing),

(A) any modification, stay, vacatur or amendment to this Interim Order that adversely affects the

rights, remedies, benefits or protections of the applicable Prepetition Secured Parties, (B) unless

and until the DIP Obligations have been Paid in Full, the allowance of any claim against any

Debtor in the Chapter 11 Cases or any Successor Cases equal or superior to the Noteholder

Adequate Protection Claims (other than the Carve Out and the DIP Superpriority Claims), or (C)

unless the DIP Obligations have been Paid in Full, the grant of any lien or security interest on

any DIP Collateral with priority equal to or superior to the Noteholder Adequate Protection

Liens, except as expressly permitted under this Interim Order or the DIP Loan Documents.




4876-5193-0437                                  -66-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 67 of 224




                 (b)   Without limiting the provisions of the immediately preceding paragraph, if

at any time prior to the Payment in Full of all DIP Obligations, either the DIP Loan Parties, the

DIP Loan Parties’ estates, any chapter 11 trustee, chapter 7 trustee or examiner with enlarged

powers, or any responsible officer subsequently appointed in any of the Chapter 11 Cases or any

Successor Cases, shall obtain credit or incur debt pursuant to sections 364(b), (c), or (d) of the

Bankruptcy Code in violation of this Interim Order or the DIP Loan Documents, then, unless

otherwise agreed in writing by the Required DIP Lenders (with respect to the DIP Obligations)

and the requisite Prepetition Secured Parties (with respect to the Noteholder Adequate Protection

Obligations), (i) all of the cash proceeds derived from such credit or debt shall immediately be

turned over to the DIP Agent, for further distribution to the applicable DIP Secured Parties on

account of their applicable DIP Obligations pursuant to the DIP Loan Documents and (ii) subject

to further order of the Court, all of the cash proceeds derived from such credit or debt shall

immediately be turned over to the Prepetition Notes Agents for further distribution to the

applicable Prepetition Notes Secured Parties on account of their applicable Noteholder Adequate

Protection Obligations and the Prepetition Notes Secured Obligations pursuant to the terms of

this Interim Order and the applicable Prepetition Notes Documents.

                 (c)   Upon the Payment in Full of all DIP Obligations, notwithstanding

anything contained in this Interim Order (including, without limitation, paragraph 20 hereof) to

the contrary, the Debtors’ authorization to use Cash Collateral shall immediately and

automatically cease, without the need for further application to or approval of the Court.

                 (d)   For the avoidance of doubt, from and after the Payment in Full of all DIP

Obligations, or following the occurrence of the DIP Termination Declaration Date, the Debtors

shall not be prohibited from seeking relief to use Cash Collateral on a non-consensual basis and




4876-5193-0437                                  -67-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 68 of 224




the Prepetition Secured Parties’ rights to object to such relief (and/or the right to seek relief,

including without limitation, the right to seek additional adequate protection and/or seek to lift

the automatic stay in order to exercise rights and against Prepetition Collateral) are expressly

preserved.

         30.     Preservation of Rights Granted Under Interim Order.

                 (a)    Senior to Other Liens. Other than the Carve Out and the Permitted Prior

Senior Liens, no claim (including any intercompany claim) or lien having a priority superior to

or pari passu with those granted by the Interim Order to the DIP Secured Parties shall be

permitted while any of the DIP Obligations remain outstanding, and, except as otherwise

expressly provided in this Interim Order, (i) the DIP Superpriority Claims and the Noteholder

Adequate Protection Claims shall not be subject or junior to any intercompany or affiliate claims

of the Debtors; and (ii) the DIP Liens and the Noteholder Adequate Protection Liens shall not be:

(A) subject or junior to any lien or security interest that is avoided and preserved for the benefit

of the Debtors’ estates under section 551 of the Bankruptcy Code; (B) subordinated to or made

pari passu with any other lien or security interest, whether under section 364(d) of the

Bankruptcy Code or otherwise; (C) unless the DIP Obligations have been Paid in Full,

subordinated to or made pari passu with any liens arising after the Petition Date, including any

liens or security interests granted in favor of any federal, state, municipal, or other governmental

unit (including any regulatory body), commission, board or court for any liability of the Debtors;

or (D) subject or junior to any intercompany or affiliate lies or security interests of the Debtors.

                 (b)    Payment in Full. Until Payment in Full of all DIP Obligations, none of the

DIP Loan Parties shall propose or support any chapter 11 plan or sale of all or substantially all of

the DIP Loan Parties’ equity or assets, or any order confirming such plan or approving such sale,




4876-5193-0437                                   -68-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 69 of 224




that is not conditioned upon the Payment in Full (unless otherwise agreed in writing by the

Required DIP Lenders) of all DIP Obligations on or prior to the earlier to occur of the effective

date of such chapter 11 plan or sale.

                 (c)    Dismissal/Conversion. Notwithstanding any order that may be entered

dismissing any of the Chapter 11 Cases under section 1112 of the Bankruptcy Code or

converting any of the Chapter 11 Cases to a case under Chapter 7 of the Bankruptcy Code:

(A) all of the claims, liens and security interests, rights, priorities, privileges, remedies, benefits

and protections granted to the DIP Secured Parties and the Prepetition Secured Parties hereunder

and under the DIP Loan Documents (including, without limitation, the DIP Superpriority Claims,

the Noteholder Adequate Protection Claims, the DIP Liens, and the Noteholder Adequate

Protection Liens), shall continue in full force and effect and shall maintain their priorities as

provided in this Interim Order until all DIP Obligations and Noteholder Adequate Protection

Obligations shall have been Paid in Full, and all such claims, liens and security interests, rights,

priorities, privileges, remedies, benefits and protections shall, notwithstanding such dismissal or

conversion, remain unaffected and shall remain binding on all parties in interest (and any such

order shall, in accordance with sections 105 and 349 of the Bankruptcy Code, so provide), and

(B) this Court shall retain jurisdiction, notwithstanding such dismissal or conversion, for the

purposes of enforcing all such claims, liens and security interests, rights, priorities, privileges,

remedies, benefits and protections granted to the DIP Secured Parties and the Prepetition Secured

Parties hereunder and under the DIP Loan Documents.

                 (d)    Reversal/Modification. Based on the findings set forth in this Interim

Order and the record presented during the Interim Hearing and the Chapter 11 Cases, and in

accordance with section 364(e) of the Bankruptcy Code, in the event that any or all of the




4876-5193-0437                                    -69-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 70 of 224




provisions of this Interim Order or the DIP Loan Documents are hereafter reversed, modified,

vacated or stayed by a subsequent judgment or order of this Court or any other court, any such

reversal, stay, modification or vacatur shall not affect (i) the validity or enforceability of

advances previously made hereunder or under the DIP Loan Documents by the DIP Secured

Parties to the Debtors, (ii) the validity or enforceability of any obligation, indebtedness or

liability incurred under this Interim Order or the DIP Loan Documents (including, without

limitation, the DIP Obligations and the Noteholder Adequate Protection Obligations) by the DIP

Loan Parties to the DIP Secured Parties and the Prepetition Secured Parties, (iii) the validity,

enforceability, or perfection of any of the claims, liens, security interests, rights, privileges or

benefits granted hereunder or under the DIP Loan Documents to the DIP Secured Parties and the

Prepetition Secured Parties, or (iv) the payment of any fees, costs, expenses or other amounts to

the DIP Secured Parties and the Prepetition Secured Parties under this Interim Order and the DIP

Loan Documents, in each case, prior to the actual receipt of written notice by any DIP Agent

and/or the Prepetition Agents (as applicable) of the effective date of such reversal, stay,

modification, or vacatur. Notwithstanding any such reversal, stay, modification or vacatur, the

claims, liens, security interests, rights, privileges, remedies and benefits set forth in the Interim

Order shall be governed in all respects by the original provisions of this Interim Order and the

DIP Loan Documents.

                 (e)    Survival. Except as expressly provided in this Interim Order, until all of

the DIP Obligations and the Noteholder Adequate Protection Obligations have been Paid in Full

(unless the Required DIP Lenders have otherwise agreed in writing in respect of the DIP

Obligations and/or the requisite Prepetition Secured Parties have otherwise agreed in writing in

respect of the Noteholder Adequate Protection Obligations), all claims, liens and security




4876-5193-0437                                    -70-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 71 of 224




interests, rights, priorities, privileges, remedies, benefits, and protections granted to the DIP

Secured Parties and the Prepetition Secured Parties under this Interim Order and the DIP Loan

Documents shall survive and shall not be modified, impaired, or discharged by: (i) the entry of

an order confirming any chapter 11 plan in any of the Chapter 11 Cases (and, pursuant to section

1141(d)(4) of the Bankruptcy Code, the Debtors hereby waive any discharge as to any remaining

DIP Obligations or Noteholder Adequate Protection Obligations), (ii) the entry of an order

converting any or all of the Chapter 11 Cases to a case (or cases) under chapter 7 of the

Bankruptcy Code, dismissing any or all of the Chapter 11 Cases or terminating the joint

administration of the Chapter 11 Cases or by any other act or omission, or (iii) the entry of an

order approving the sale or disposition of any DIP Collateral (except to the extent expressly

permitted in the DIP Loan Documents).

         31.     Master Proof of Claim. The DIP Secured Parties and the Prepetition Secured

Parties shall not be required to file proofs of claim in any of the Chapter 11 Cases or any of the

Successor Cases in order to assert claims for payment of the DIP Obligations, the Adequate

Protection Obligations or the Prepetition Secured Obligations. The Debtors’ Stipulations,

acknowledgments and provisions of this Interim Order, together with the evidence

accompanying the Motion and presented at the Interim Hearing, are deemed sufficient to and do

constitute timely filed proofs of claim in respect of such claims arising under the DIP

Obligations, the Adequate Protection Obligations and the Prepetition Secured Obligations

against each of the applicable Debtors. Any order entered by the Court establishing a bar date in

any of the Chapter 11 Cases or any Successor Chapter 11 Cases shall not apply to the DIP

Secured Parties, the Prepetition Secured Parties, the DIP Obligations, the Adequate Protection

Obligations or the Prepetition Secured Obligations; provided, however, that, notwithstanding any




4876-5193-0437                                   -71-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 72 of 224




order entered by the Court establishing a bar date in any of the Chapter 11 Cases or any

Successor Cases to the contrary, the Prepetition Agents (on behalf of themselves and the

applicable Prepetition Secured Parties), in their discretion, may (but are not required to) file (and

amend and/or supplement) in the Debtors’ lead Chapter 11 Case, In re Core Scientific, Inc., Case

No. 22-90341 (DRJ), a consolidated master proof of claim on behalf of the Prepetition Secured

Parties (as applicable) (the “Master Proof of Claim”) against each of the Debtors. Upon the

filing of the Master Proof of Claim by any of the Prepetition Agents, such Prepetition Agent

shall be deemed to have filed a proof of claim in the amount set forth opposite its name therein in

respect of its claims against each of the Debtors and shall be treated as if it had filed a separate

proof of claim in each of the Chapter 11 Cases. Such Master Proof of Claim shall not be required

to (x) identify whether any Prepetition Secured Party acquired its claim from another party, the

identity of any such party, or reflect a change in the holders of the claims set forth therein or a

reallocation among the holders of the claims asserted therein resulting from the transfer of all or

any portion of such claims, or (y) attach any instruments, agreements or other documents

evidencing the obligations owing by each of the Debtors to the applicable party, which

instruments, agreements or other documents will be provided upon reasonable written request to

the applicable Prepetition Agent, as the case may be. The provisions of this paragraph 31 and

each Master Proof of Claim are intended solely for the purpose of administrative convenience

and shall not (i) affect the right of each Prepetition Secured Party (or its successors in interest) to

vote separately on any chapter 11 plan proposed in these Chapter 11 Cases (or any Successor

Cases), or (ii) any substantive rights of the Prepetition Secured Parties or any party in interest or

their respective successors in interest. The DIP Agent and the DIP Lenders shall similarly not be

required to file proofs of claim with respect to their DIP Obligations under the DIP Documents,




4876-5193-0437                                   -72-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 73 of 224




and the evidence presented with the DIP Motion and the record established at the Interim

Hearing and the Final Hearing are deemed sufficient to, and do, constitute proofs of claim with

respect to their obligations, senior secured status, and super-priority.

         32.     Limitation of Liability.

                 (a)    Nothing in this Interim Order, the DIP Loan Documents or any documents

related thereto shall in any way be construed or interpreted to impose or allow the imposition

upon any of the DIP Secured Parties or the Prepetition Secured Parties of any liability for any

claim arising from, in connection with or related to the prepetition or postpetition activities of the

DIP Loan Parties or their respective affiliates (as defined in section 101(2) of the Bankruptcy

Code) in the operation of their businesses, their restructuring efforts or the administration of

these Chapter 11 Cases.

                 (b)    In determining to make any loan or extension of credit under the DIP Loan

Documents, or permit the use of Prepetition Collateral (including Cash Collateral), or in

exercising any rights or remedies under this Interim Order, the DIP Loan Documents or the

Prepetition Notes Documents, none of the DIP Secured Parties or the Prepetition Secured Parties

shall (i) have any liability to any third party or be deemed to be in control of the operations of

any of the DIP Loan Parties, (ii) owe any fiduciary duty to any of the DIP Loan Parties, their

respective creditors, shareholders or estates, or (iii) be deemed to be acting as a “Responsible

Person” or “Owner” or “Operator” with respect to the operation or management of any of the

DIP Loan Parties (as such terms or any similar terms are used in the United States

Comprehensive Environmental Response, Compensation and Liability Act, 42, U.S. §§ 9601 et

seq., as amended, or any other federal or state statute, including the Internal Revenue Code).




4876-5193-0437                                   -73-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 74 of 224




                 (c)    The DIP Secured Parties shall not, in any way or manner, be liable or

responsible for (i) the safekeeping of the DIP Collateral, (ii) any loss or damage thereto

occurring or arising in any manner or fashion from any cause, (iii) any diminution in the value

thereof, or (iv) any act or default of any carrier, servicer, bailee, custodian, forwarding agency, or

other person, and all risk of loss, damage, or destruction of the DIP Collateral shall be borne

solely by the DIP Loan Parties; provided, however, that nothing contained in this paragraph (c)

shall release the DIP Secured Parties from their obligations under the DIP Loan Documents

(subject to the occurrence of the Closing Date).

         33.     Release of DIP Secured Parties. Effective as of entry of the Interim Order, each

of the DIP Loan Parties and its estate, on its own behalf and on behalf of its predecessors,

successors and assigns, hereby absolutely, unconditionally and irrevocably releases and forever

discharges and acquits each of the DIP Secured Parties and each of their respective

Representatives (in their capacities as such) from any and all obligations and liabilities to the

DIP Loan Parties (and their successors and assigns) and from any and all claims, counterclaims,

cross-claims, demands, defenses, objections, challenges, offsets or setoff, debts, accounts,

contracts, liabilities, remedies, suits, controversies, actions, causes of action, losses, damages,

indemnities, reimbursement obligations, attorneys’ fees, costs, expenses or judgments, of every

kind or nature whatsoever, whether matured or unmatured, known or unknown, asserted or

unasserted, suspected or unsuspected, foreseen or unforeseen, accrued or unaccrued, liquidated

or unliquidated, fixed or contingent, pending or threatened, arising in law or equity, upon

contract or tort, under the Bankruptcy Code, any state or federal common law, statute, rule,

regulation or otherwise, including, without limitation, any claim or cause of action seeking

(i) any so-called lender liability, (ii) any and all claims arising under the Bankruptcy Code,




4876-5193-0437                                   -74-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 75 of 224




whether under Chapter 5 of the Bankruptcy Code or under applicable law (including any

applicable state law Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act or

similar statute or common law)), or otherwise, (iii) reduction, recoupment, recharacterization,

subordination (whether equitable, contractual or otherwise), reclassification, disgorgement,

disallowance, impairment, marshalling, surcharge or recovery, in each case, that may be asserted

by any of the DIP Loan Parties, their respective estates, predecessors, successors and assigns, in

each case, against any of the DIP Secured Parties or their respective Representatives (in their

capacities as such) for or by reason of any act, omission, matter, cause or thing whatsoever

arising at any time prior to the date of this Interim Order, in connection with, arising under or

related to this Interim Order, the DIP Facility, the DIP Liens, the DIP Obligations, the DIP

Collateral, the transactions contemplated thereunder or hereunder, or the negotiation thereof or

hereof, including, without limitation, any claim or cause action with respect to the validity,

enforceability, priority, scope, extent or perfection of the DIP Liens, the DIP Obligations or the

DIP Loan Documents; provided, however, subject to the occurrence of the Closing Date, nothing

contained in the foregoing shall release the DIP Secured Parties from their obligations under the

DIP Facility from and after the date hereof.

         34.     Payments Free and Clear. Any and all payments or proceeds required to be

remitted to the DIP Secured Parties or the Prepetition Secured Parties pursuant to the DIP Loan

Documents, this Interim Order, the Final Order (if and when entered) or any subsequent order of

this Court shall be irrevocable (subject, solely in the case of the DIP Professional Fees and the

Noteholder Professional Fees, only to the procedures set forth in paragraph 11 of this Interim

Order), and shall be received free and clear of any claim, charge, assessment or other liability,

including without limitation, any claim or charge arising out of or based on, directly or




4876-5193-0437                                  -75-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 76 of 224




indirectly, section 506(c) of the Bankruptcy Code (whether asserted or assessed by, through or

on behalf of the DIP Loan Parties) (subject, in the case of the Prepetition Secured Parties, to

entry of the Final Order), section 552(b) of the Bankruptcy Code (subject, in the case of the

Prepetition Secured Parties, to entry of the Final Order) or otherwise.

         35.     Joint and Several Liability. Nothing in this Interim Order shall be construed to

constitute or authorize a substantive consolidation of any of the DIP Loan Parties’ estates, it

being understood, however, that the DIP Loan Parties shall be jointly and severally liable for all

obligations (including all DIP Obligations and all Adequate Protection Obligations) under this

Interim Order and the DIP Loan Documents.

         36.     Third Party Beneficiary. Except as expressly set forth herein, no rights are created

hereunder for the benefit of any third party, any creditor, equity holder, or any direct, indirect or

incidental beneficiary.

         37.     Interim Order Controls. In the event of any conflict or inconsistency between or

among the terms or provisions of this Interim Order and any of the DIP Loan Documents, unless

such term or provision in this Interim Order is phrased in terms of “defined in” or “as set forth

in” the DIP Loan Agreement or DIP Loan Documents, or in the event of any conflict or

inconsistency between the terms of this Interim Order and any other order of the Court, the terms

and provisions of this Interim Order shall govern and control. Notwithstanding anything

contained in any other order entered by this Court to the contrary, any payment made pursuant

to, or authorization contained in, any other order entered by this Court shall be consistent with

and subject to the requirements set forth in this Interim Order and the DIP Loan Documents,

including, without limitation, the Approved Budget (subject to Permitted Variances).




4876-5193-0437                                   -76-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 77 of 224




         38.     Effectiveness. This Interim Order shall constitute findings of fact and conclusions

of law in accordance with Bankruptcy Rule 7052 and shall take effect and be fully enforceable

nunc pro tunc to the Petition Date immediately upon entry hereof. Notwithstanding Bankruptcy

Rules 4001(a)(3), 6004(h), 6006(d), 7062, or 9014, any Local Bankruptcy Rule, or Rule 62(a) of

the Federal Rules of Civil Procedure, this Interim Order shall be immediately effective and

enforceable upon its entry and there shall be no stay of execution or effectiveness of this Interim

Order.

         39.     Bankruptcy Rules. The requirements of Bankruptcy Rules 4001, 6003, and 6004,

in each case to the extent applicable, are satisfied by the contents of the Motion.

         40.     Headings. Section headings used herein are for convenience only and are not to

affect the construction of or to be taken into consideration in interpreting this Interim Order.

When used in this Interim Order, the word “including” shall not imply limitation.

         41.     Adequate Protection to Prepetition Equipment Lenders. Pursuant to sections 361,

362, 363(e), 364(d)(1) and 507 of the Bankruptcy Code, as adequate protection of their purported

Prepetition Equipment Liens in Prepetition Equipment Collateral, the Prepetition Equipment

Lenders shall be entitled to the following (collectively, the obligations under this paragraph 41,

together with the Noteholder Adequate Protection Obligations, the “Adequate Protection

Obligations”):

                 (a)    Equipment Lender Adequate Protection Claims. The Prepetition

Equipment Lenders are each hereby granted, in the amount of any aggregate Diminution in

Value of the respective purported Prepetition Equipment Liens in Prepetition Equipment

Collateral (as applicable) from and after the Petition Date, superpriority administrative expense

claims contemplated by section 507(b) of the Bankruptcy Code against each of the Debtors




4876-5193-0437                                   -77-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 78 of 224




(the “Equipment Lender Adequate Protection Claims”, together with the Noteholder Adequate

Protection Claims, the “Adequate Protection Claims”), which shall be payable by each of the

Debtors on a joint and several basis, and shall have recourse to all DIP Collateral. The

Equipment Lender Adequate Protection Claims shall be (i) subject and subordinate only to the

Carve Out, the DIP Superpriority Claims and the Noteholder Adequate Protection Claims, and

(ii) senior to any and all other administrative expense claims and all other claims against the

Debtors and their estates, now existing or hereafter arising, of any kind or nature whatsoever.

                 (b)    Equipment Lender Adequate Protection Liens. The Prepetition Equipment

Lenders are each hereby granted, effective and perfected as of the entry of this Interim Order,

and without the necessity of the execution, recordation or filing by the DIP Loan Parties or any

of the Prepetition Equipment Lenders of any pledge, collateral or security documents, mortgages,

deeds of trust, financing statements, notations of certificates of title for titled goods, or any

similar document or instrument, or the taking of any other action (including, without limitation,

entering into any control agreements or taking possession or control of any DIP Collateral), in

the amount of any aggregate Diminution in Value of the purported Prepetition Equipment Liens

in the Prepetition Equipment Financing Collateral (as applicable) from and after the Petition

Date, valid, binding, enforceable and automatically perfected post-petition liens and security

interests in all DIP Collateral (the “Equipment Lender Adequate Protection Liens”, and

together with the Noteholder Adequate Protection Liens, the “Adequate Protection Liens”). The

Equipment Lender Adequate Protection Liens shall be (i) junior and subordinated to (A) the

Carve Out, (B) the DIP Liens in Prepetition Collateral, (C) the Noteholder Adequate Protection

Liens in Prepetition Collateral, and (D) the Permitted Prior Senior Liens (other than the

Prepetition Equipment Liens that constitute Permitted Prior Senior Liens), (ii) pari passu with




4876-5193-0437                                   -78-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 79 of 224




the Noteholder Adequate Protection Liens in Unencumbered Assets, and (iii) senior to the DIP

Liens in Prepetition Equipment Financing Collateral (as applicable) and the Noteholder

Adequate Protection Liens in Prepetition Equipment Financing Collateral (as applicable).

         42.     Necessary Action. The DIP Loan Parties, the DIP Secured Parties and the

Prepetition Secured Parties are authorized to take any and all such actions as are necessary,

required or appropriate to implement and effectuate the terms of this Interim Order, the DIP

Loan Documents and the transactions contemplated hereunder and thereunder.

         43.     Retention of Jurisdiction. The Court retains jurisdiction to hear, determine and

enforce the terms of any and all matters arising from or related to the DIP Facility, the DIP Loan

Documents and this Interim Order, and the Court’s jurisdiction shall survive confirmation and

consummation of any Chapter 11 plan for any of the Debtors notwithstanding the terms or

provisions of any such Chapter 11 plan or any order confirming any such Chapter 11 plan.

         44.     Final Hearing. The Final Hearing shall be held on January 23, 2023, at 12:00

p.m. (prevailing Central Time), and any objections to the final relief sought in the Motion shall

be filed with the Court no later than January 17, 2023 at 4:00 p.m. (prevailing Central Time), and

served upon the following: (a) (i) Weil, Gotshal & Manges LLP, 700 Louisiana, Suite 1700,

Houston, Texas, Attn: Alfredo Perez (alfredo.perez@weil.com), and (ii) Weil, Gotshal &

Manges LLP, 767 Fifth Avenue New York, New York 10153, Attn: Ray Schrock

(ray.schrock@weil.com) and Ronit Berkovich (ronit.berkovich@weil.com), counsel to the

Debtors, and (b) Paul Hastings, LLP, 200 Park Avenue, New York, New York 10166, Attn:

Kristopher Hansen (krishansen@paulhastings.com), Erez Gilad (erezgilad@paulhastings.com),

and Sayan Bhattacharyya (sayanbhattacharyya@paulhastings.com), counsel to the DIP Agent,

the DIP Lenders and the Ad Hoc Group.




4876-5193-0437                                   -79-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 80 of 224




Dated:Signed: December 2022
       ______________, 23, 2022.
       Houston, Texas
                                        ____________________________________
                                        DAVID STATES
                                       UNITED R. JONESBANKRUPTCY JUDGE
                                         UNITED STATES BANKRUPTCY JUDGE




4876-5193-0437                        -80-
       Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 81 of 224




                                       Exhibit 1

                               Draft DIP Loan Agreement




4876-5193-0437
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      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 82 of 224

                                                                              Execution Version




            SENIOR SECURED SUPER-PRIORITY DEBTOR-IN-POSSESSION
                      LOAN AND SECURITY AGREEMENT



                                 Dated as of December 22, 2022,


                                              among


                                   CORE SCIENTIFIC, INC.,
               as Borrower, as an Obligor, and as a Debtor and Debtor-in-Possession
                            under Chapter 11 of the Bankruptcy Code,


                   CERTAIN SUBSIDIARIES OF CORE SCIENTIFIC, INC.,
               as a Guarantor, as an Obligor, and as Debtor and Debtor-in-Possession
                            under Chapter 11 of the Bankruptcy Code,


                              THE LENDERS PARTY HERETO,

                                               and

                        WILMINGTON SAVINGS FUND SOCIETY, FSB,
                                 as Administrative Agent




LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 83 of 224


                                                TABLE OF CONTENTS

                                                                                                                                       Page

SECTION 1.           DEFINITIONS; RULES OF CONSTRUCTION ............................................. 2
        1.1.     Definitions.............................................................................................................. 2
        1.2.     Accounting Terms ................................................................................................ 40
        1.3.     Uniform Commercial Code.................................................................................. 41
        1.4.     Certain Matters of Construction........................................................................... 41

SECTION 2.           CREDIT FACILITIES .................................................................................... 42

SECTION 3.           INTEREST, FEES AND CHARGES ............................................................. 45
        3.1.     Interest.................................................................................................................. 45
        3.2.     Fees and Commitment Payments ......................................................................... 46
        3.3.     Computation of Interest, Fees, Yield Protection .................................................. 46
        3.4.     Reimbursement Obligations................................................................................. 47
        3.5.     [Reserved] ............................................................................................................ 48
        3.6.     [Reserved] ............................................................................................................ 48
        3.7.     Increased Costs; Capital Adequacy ..................................................................... 48
        3.8.     Mitigation ............................................................................................................. 49
        3.9.     [Reserved] ............................................................................................................ 49
        3.10.    Maximum Interest ................................................................................................ 49

SECTION 4.           LOAN ADMINISTRATION .......................................................................... 49
        4.1.     Manner of Borrowing and Funding Loans........................................................... 49
        4.2.     Defaulting Lender ................................................................................................ 50
        4.3.     [Reserved] ............................................................................................................ 51
        4.4.     [Reserved] ............................................................................................................ 51
        4.5.     [Reserved] ............................................................................................................ 51
        4.6.     Effect of Termination ........................................................................................... 51

SECTION 5.           PAYMENTS ................................................................................................... 52
        5.1.     General Payment Provisions ................................................................................ 52
        5.2.     Voluntary Prepayments ........................................................................................ 52
        5.3.     Mandatory Prepayments ...................................................................................... 52
        5.4.     Payment of Other Obligations ............................................................................. 53
        5.5.     Marshaling; Payments Set Aside ......................................................................... 53
        5.6.     Application and Allocation of Payments ............................................................. 53
        5.7.     [Reserved] ............................................................................................................ 54
        5.8.     [Reserved] ............................................................................................................ 54
        5.9.     Taxes .................................................................................................................... 54
        5.10.    Lender Tax Information ....................................................................................... 55
        5.11.    [Reserved] ............................................................................................................ 57
        5.12.    [Termination Payment ......................................................................................... 57


                                                                  -i-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 84 of 224




SECTION 6.           CONDITIONS PRECEDENT ........................................................................ 58
        6.1.     Conditions Precedent to Closing Date and Initial Borrowing ............................. 59
        6.2.     Conditions Precedent to All Borrowings ............................................................. 61

SECTION 7.           COLLATERAL .............................................................................................. 63
        7.1.     Grant of Security Interest ..................................................................................... 63
        7.2.     Lien on Accounts. ................................................................................................ 65
        7.3.     Pledged Collateral ................................................................................................ 65
        7.4.     Intellectual Property Matters................................................................................ 69
        7.5.     Other Collateral .................................................................................................... 70
        7.6.     No Assumption of Liability ................................................................................. 70
        7.7.     Further Assurances............................................................................................... 70
        7.8.     Further Exceptions ................................................Error! Bookmark not defined.

SECTION 8.           COLLATERAL ADMINISTRATION ........................................................... 71
        8.1.     [Reserved] ............................................................................................................ 71
        8.2.     Administration of Accounts ................................................................................. 71
        8.3.     [Reserved] ............................................................................................................ 72
        8.4.     [Reserved] ............................................................................................................ 72
        8.5.     Administration of Accounts ................................................................................. 72
        8.6.     General Provisions ............................................................................................... 72
        8.7.     Power of Attorney ................................................................................................ 73

SECTION 9.           REPRESENTATIONS AND WARRANTIES ............................................... 74
        9.1.     General Representations and Warranties ............................................................. 74
        9.2.     Disclosure ............................................................................................................ 79

SECTION 10.          COVENANTS AND CONTINUING AGREEMENTS ................................. 79
        10.1.    Affirmative Covenants ......................................................................................... 80
        10.2.    Negative Covenants ............................................................................................. 87
        10.3.    Financial Covenant .............................................................................................. 96
        10.4.    Chapter 11 Cases.................................................................................................. 97

SECTION 11.          EVENTS OF DEFAULT; REMEDIES ON DEFAULT ................................ 98
        11.1.    Events of Default ................................................................................................. 98
        11.2.    Remedies upon Default ...................................................................................... 103
        11.3.    Setoff .................................................................................................................. 107
        11.4.    Remedies Cumulative; No Waiver .................................................................... 108

SECTION 12.          ADMINISTRATIVE AGENT ...................................................................... 108
        12.1.    Appointment, Authority and Duties of Administrative Agent........................... 108
        12.2.    Agreements Regarding Collateral and Borrower Materials ............................... 111
        12.3.    Reliance By Administrative Agent .................................................................... 112
        12.4.    Action Upon Default .......................................................................................... 113

                                                                  -ii-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 85 of 224




        12.5.     Ratable Sharing .................................................................................................. 113
        12.6.     Indemnification .................................................................................................. 113
        12.7.     Limitation on Responsibilities of Administrative Agent ................................... 114
        12.8.     Successor Agent and Co-Agents. ....................................................................... 114
        12.9.     Non-Reliance on the Administrative Agent and the Other Lenders .................. 115
        12.10.    Remittance of Payments and Collections .......................................................... 116
        12.11.    Individual Capacities ......................................................................................... 116
        12.12.    Erroneous Payments........................................................................................... 117
        12.13.    [Reserved] .......................................................................................................... 117
        12.14.    No Third Party Beneficiaries ............................................................................. 118
        12.15.    Withholding Tax ................................................................................................ 118
        12.16.    Administrative Agent May File Proofs of Claim; Credit Bidding ..................... 118
        12.17.    Certain ERISA Matters ...................................................................................... 121
        12.18.    Successors By Merger, Etc ................................................................................ 122

SECTION 13.            BENEFIT OF AGREEMENT; ASSIGNMENTS ........................................ 122
        13.1.     Successors and Assigns...................................................................................... 122
        13.2.     Participations...................................................................................................... 122
        13.3.     Assignments ....................................................................................................... 124
        13.4.     Replacement of Certain Lenders ........................................................................ 125

SECTION 14.            MISCELLANEOUS ..................................................................................... 125
        14.1.  Consents, Amendments and Waivers ................................................................ 125
        14.2.  Indemnity ........................................................................................................... 127
        14.3.  Notices and Communications ............................................................................ 128
        14.4.  Performance of Borrower’s Obligations ............................................................ 130
        14.5.  Credit Inquiries .................................................................................................. 130
        14.6.  Severability ........................................................................................................ 130
        14.7.  Cumulative Effect; Conflict of Terms ............................................................... 130
        14.8.  Counterparts; Execution..................................................................................... 130
        14.9.  Entire Agreement ............................................................................................... 131
        14.10. Relationship with Lenders ................................................................................. 131
        14.11. No Advisory or Fiduciary Responsibility .......................................................... 131
        14.12. Confidentiality ................................................................................................... 132
        14.13. GOVERNING LAW .......................................................................................... 132
        14.14. Consent to Forum ............................................................................................... 132
        14.15. Waivers by Borrower ......................................................................................... 133
        14.16. Patriot Act Notice .............................................................................................. 133
        14.17. NO ORAL AGREEMENT ................................................................................ 133
        14.18. Acknowledgement and Consent to Bail-In of Affected Financial
               Institutions.......................................................................................................... 133
        14.19. DIP Orders ......................................................................................................... 134
        14.20. Acknowledgment Regarding any Supported QFCs ........................................... 134




                                                                 -iii-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 86 of 224




                            LIST OF EXHIBITS AND SCHEDULES

Exhibit A                       Assignment and Acceptance
Exhibit B                       Assignment Notice
Exhibit C                       Form of Notice of Borrowing
Exhibit D                       Form of Guaranty
Exhibit E                       Form of Compliance Certificate
Exhibit F                       Form of U.S. Tax Compliance Certificate
Exhibit G                       Form of Joinder
Exhibit H                       Initial Budget

Schedule 1.1                    Commitments of Lenders
Schedule 7.1(c)                 Commercial Tort Claims
Schedule 7.3(a)                 Equity Interests and Debt Securities
Schedule 6.3                    Conditions Subsequent
Schedule 8.5                    Deposit Accounts, Security Accounts, Commodity Accounts
Schedule 9.1.4                  Names and Capital Structure
Schedule 9.1.10                 Patents, Trademarks, Copyrights and Licenses
Schedule 9.1.15                 Litigation
Schedule 9.1.18                 Labor Relations
Schedule 10.1.13                Milestones
Schedule 10.1.16                Immaterial Subsidiaries
Schedule 10.2.1                 Existing Debt
Schedule 10.2.2                 Existing Liens
Schedule 10.2.4                 Existing Investments
Schedule 10.2.5                 Agreed Sale Properties




LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 87 of 224




           SENIOR SECURED SUPER-PRIORITY DEBTOR-IN-POSSESSION
                     LOAN AND SECURITY AGREEMENT


       THIS SENIOR SECURED SUPER-PRIORITY DEBTOR-IN-POSSESSION LOAN
AND SECURITY AGREEMENT is dated as of December 22, 2022 (as amended, restated,
supplemented or otherwise modified from time to time in accordance with the terms hereof, this
“Agreement”), by and among (a) CORE SCIENTIFIC, INC., a Delaware corporation and a
debtor and debtor-in-possession in the Chapter 11 Cases, as the borrower of the Loans hereunder
(the “Borrower”), (b) each SUBSIDIARY GUARANTOR, as a Guarantor, an Obligor, and a
debtor and debtor-in-possession in the Chapter 11 Cases, (c) each Person party hereto from time
to time as a LENDER, and (d) WILMINGTON SAVINGS FUND SOCIETY, FSB, as
Administrative Agent.

                                        R E C I T A L S:

        WHEREAS, on December 21, 2022 (the “Petition Date”), each of the Borrower and certain
direct and indirect Subsidiary of the Borrower (each a “Debtor” and collectively, the “Debtors”)
filed voluntary petitions with the United States Bankruptcy Court for the Southern District of
Texas (the “Bankruptcy Court”) initiating their respective jointly administered cases under Chapter
11 of the Bankruptcy Code (Case No. 22-90341 (DRJ)) (collectively, the “Chapter 11 Cases”), and
each Debtor has continued and is continuing in the possession of its assets and management of its
business pursuant to Sections 1107 and 1108 of the Bankruptcy Code;

        WHEREAS, pursuant to the Prepetition Note Purchase Agreements, the Persons who are
party hereto as Lenders on the Closing Date extended (directly or indirectly) certain loans and
provided certain other accommodations to the Debtors prior to the Petition Date, and the Debtors’
obligations with respect thereto constitute Prepetition Debt for purposes hereof;

        WHEREAS, the Debtors and the Persons who are party hereto as Lenders on the Closing
Date are engaging (directly or indirectly) in certain discussions and good-faith negotiations with
respect to one or more restructuring, reorganization, sale and other transactions, and have entered
into the Restructuring Support Agreement in connection therewith;

        WHEREAS, the Borrower has requested that the Lenders provide the Debtors with
liquidity to pursue the Restructuring (as defined in the Restructuring Support Agreement), and the
Lenders have agreed to provide such liquidity in the form and on the terms of the senior secured
super-priority debtor-in-possession term loan credit facility documented pursuant to this
Agreement (the “DIP Facility”), pursuant to which the Lenders shall extend (or be deemed to
extend, as the case may be) Loans to the Borrower pursuant to the terms hereof and the DIP Orders;

       WHEREAS, this Agreement constitutes the “DIP Credit Agreement”, and the DIP Facility
and the Loans constitute “DIP Financing”, in each case, referred to in the Restructuring Support
Agreement, and, upon entry by the Lenders into this Agreement, all obligations and agreements of
the Consenting Creditors (as defined in the Restructuring Support Agreement) with respect to the
DIP Financing set forth in the Restructuring Support Agreement shall be deemed satisfied and
discharged to the fullest extent required by the Restructuring Support Agreement;
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 88 of 224




        WHEREAS, to provide security for the repayment of the Loans and the satisfaction of all
other Obligations owing to the Lenders, the Obligors have agreed to grant in favor of the
Administrative Agent (for the benefit of the Secured Parties) first-priority Liens on the Collateral,
in each case, as further set forth in, and subject to, the DIP Orders; and

       WHEREAS, subject to the terms and conditions set forth herein and in the DIP Orders, (i)
the Lenders are willing to make available (or be deemed to make available) the Loans to the
Borrower and (ii) the Administrative Agent is willing to serve as Administrative Agent for the
Lenders.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein, and for other good and valuable consideration, the receipt and sufficiency of
which is hereby acknowledged, the parties hereto hereby covenant and agree as follows:

SECTION 1. DEFINITIONS; RULES OF CONSTRUCTION

         1.1.    Definitions. As used herein, the following terms have the meanings set forth
below:

       “Acceptable Chapter 11 Plan” : a plan of reorganization for each of the Debtors in the
Chapter 11 Cases (including all related schedules, supplements, exhibits and orders, as applicable),
which shall be consistent with the terms and provisions set forth in the Restructuring Support
Agreement, and otherwise on terms (and consummated pursuant to an agreement in form and
substance) reasonably acceptable to the Required Lenders, and confirmed by an order of the
Bankruptcy Court that is consistent with the terms and provisions set forth in the Restructuring
Support Agreement, and otherwise on terms (and consummated pursuant to an agreement in form
and substance) in form and substance reasonably acceptable to the Required Lenders.

        “Acceptable Exit Roll Transaction”: any refinancing, repayment, satisfaction, discharge,
release, exchange or termination of, or other transaction involving, the credit facility hereunder
and the Obligations, in each case, if and to the extent that the same is consummated pursuant to an
Acceptable Chapter 11 Plan and in accordance with the Restructuring Support Agreement, and
results in the implementation or existence of the Rolled Exit Facility (as defined in the
Restructuring Support Agreement) in accordance with the Restructuring Support Agreement.

        “Account”: as defined in the UCC, including all rights to payment for goods sold or leased,
or for services rendered.

       “Account Debtor”: a Person obligated under an Account, Chattel Paper or General
Intangible.

       “Acquisition”: a transaction or series of transactions resulting in (a) acquisition of a
business, division, or all or substantially all assets of a Person; (b) record or beneficial ownership
of more than 50% of the Equity Interests of a Person; or (c) merger, consolidation or combination
of a Subsidiary with another Person.

       “Adequate Protection Provisions”: the provisions in the Interim DIP Order or, once
entered, in the Final DIP Order, granting adequate protection to the Prepetition Secured Parties.

                                                 -2-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 89 of 224




        “Administrative Agent”: as of any time of determination, the Person appointed in
accordance with this Agreement (including pursuant to the successor agency provisions of Section
Error! Reference source not found.) to act as administrative agent for the Lenders and as collateral
agent for the Secured Parties. As of the Closing Date, the Administrative Agent shall be
Wilmington Savings Fund Society, FSB.

         “Affected Financial Institution”: (a) any EEA Financial Institution or (b) any UK Financial
Institution.

        “Affiliate”: with respect to any Person, another Person that directly, or indirectly through
one or more intermediaries, Controls or is Controlled by or is under common Control with the
Person specified. For the avoidance of doubt, each of the Permitted Holders shall be an Affiliate
of the Obligor and their Subsidiaries.

        “Agent Fee Letter”: that certain DIP Agent Fee Letter, dated as of the Closing Date, by and
among the Administrative Agent and the Borrower, as the same may be supplemented, amended
or otherwise modified from time to time.

        “Agent Fees”: as defined in Section 3.2.1.

        “Agent Indemnitees”: Administrative Agent and its officers, directors, employees,
Affiliates, agents and attorneys.

       “Agent Professionals”: attorneys, accountants, appraisers, auditors, business valuation
experts, environmental engineers or consultants, turnaround consultants, and other professionals
and experts retained by Administrative Agent.

      “Agreed Sale Properties”: the Obligors’ properties located at Cedarvale, Texas,
Cottonwood, Texas and Muskogee, Oklahoma as more fully described in Schedule 10.2.5.

        “Agreement”: as defined in the preamble hereto.

        “Anti-Corruption Law”: the Foreign Corrupt Practices Act of 1977, as amended, or any
similar Applicable Law.

       “Anti-Terrorism Law”: any law primarily relating to terrorism or money laundering,
including the Patriot Act.

        “Applicable Law”: with respect to any Person, conduct, transaction, agreement or matter,
as the case may be, all laws, rules, regulations and governmental guidelines applicable to such
Person, conduct, transaction, agreement or matter in question, including all applicable statutory
law, common law and equitable principles, and all provisions of constitutions, treaties, statutes,
rules, regulations, orders and decrees of Governmental Authorities (including, with reference to
the Debtors, any order of the Bankruptcy Court, pursuant to the Bankruptcy Code or otherwise in
connection with the Chapter 11 Cases).




                                                -3-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 90 of 224




        “Applicable Rate”: in the case of (a) Roll-Up Loans, zero and (b) all other Loans
(including, without limitation, New Money Loans, Backstop Loans and DIP Facility Commitment
Loans), 10% per annum.

        “Approved Budget”: (a) the Initial Budget, at all times, until superseded by an Updated
Budget in accordance with (and subject to receipt of all approvals required pursuant to) Section
10.1.13 and (b) as of any time of determination thereafter, the most recent Budget Supplement (if
any) that constitutes the Updated Budget in effect as of such time in accordance with (and subject
to) receipt of all approvals required pursuant to Section 10.1.13.

        “Approved Fund”: any Person (other than a natural person) that is engaged in making,
purchasing, holding or otherwise investing in commercial loans and similar extensions of credit in
its ordinary course of activities, and is administered or managed by a Lender, an entity that
administers or manages a Lender, or an Affiliate of either.

        “Asset Disposition”: a sale, lease (as lessor), license, consignment, transfer or other
disposition of assets or property (real or personal) (including any Equity Interests) of an Obligor,
unwinding of any Hedging Agreement, any discounting or selling of (with or without recourse)
any notes receivable or accounts receivable, a disposition of property in connection with a sale-
leaseback transaction or synthetic lease, and including any disposition of property pursuant to a
Division at Fair Market Value; provided that Asset Dispositions shall not include any Permitted
Asset Dispositions.

       “Assignment and Acceptance”: an assignment agreement between a Lender and Eligible
Assignee, in the form of Exhibit A or otherwise reasonably acceptable to the Administrative
Agent.

        “Backstop Loans” has the meaning set forth in Section 3.2.5. For the avoidance of doubt,
Backstop Loans shall include any interest and Maturity Extension Payment, as applicable, that is
Paid in Kind in respect thereof.

        “Backstop Parties” shall mean each Lender party hereto on and as of the Closing Date.

        “Backstop Party Payment” has the meaning set forth in Section 3.2.5.

       “Bail-In Action”: the exercise of any Write-Down and Conversion Powers by the
applicable Resolution Authority in respect of any liability of an Affected Financial Institution.

        “Bail-In Legislation”: (a) with respect to any EEA Member Country implementing Article
55 of Directive 2014/59/EU of the European Parliament and of the Council of the European Union,
the implementing law, rule, regulation or requirement for such EEA Member Country from time
to time which is described in the EU Bail-In Legislation Schedule, and (b) with respect to the
United Kingdom, Part I of the United Kingdom Banking Act 2009 (as amended from time to time)
and any other law, regulation or rule applicable in the United Kingdom relating to the resolution
of unsound or failing banks, investment firms or other financial institutions or their affiliates (other
than through liquidation, administration or other insolvency proceedings).

        “Bankruptcy Code”: Title 11 of the United States Code, 11 U.S.C. §§ 101-1532.

                                                  -4-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 91 of 224




        “Bankruptcy Court”: as defined in the recitals to this Agreement.

       “Beneficial Ownership Certification”: a certification regarding beneficial ownership
required by the Beneficial Ownership Regulation.

        “Beneficial Ownership Regulation”: 31 C.F.R. § 1010.230.

        “Benefit Plan”: any of (a) an “employee benefit plan” (as defined in ERISA) that is subject
to Title I of ERISA, (b) a “plan” as defined in and subject to Section 4975 of the Code or (c) any
Person whose assets include (for purposes of ERISA Section 3(42) or otherwise for purposes of
Title I of ERISA or Section 4975 of the Code) the assets of any such “employee benefit plan” or
“plan”.

        “Bitcoin”: the digital currency referred to as such by market practice and transacted via a
payment system using peer-to-peer transactions verified by network nodes and recording in a
public distributed ledger called the Blockchain.

       “Bitcoin Disposition”: any disposition of Bitcoin by the Borrower or Subsidiary thereof in
the Ordinary Course of Business.

        “Board of Governors”: the Board of Governors of the Federal Reserve System.

        “Borrowed Money”: with respect to any Obligor or Subsidiary, without duplication, its (a)
Debt that (i) arises from the lending of money by any Person to such Obligor, (ii) is evidenced by
notes, drafts, bonds, debentures, credit documents or similar instruments, (iii) accrues interest or
is a type upon which interest charges are customarily paid (excluding trade payables owing in the
Ordinary Course of Business), or (iv) was issued or assumed as full or partial payment for property;
(b) Capital Leases; (c) reimbursement obligations with respect to drawn amounts under letters of
credit; and (d) Guarantee Obligations with respect to any Debt of the foregoing types owing by
another Person.

        “Borrower”: as defined in the preamble hereto.

       “Borrower Materials”: reports, financial statements and other materials delivered by the
Borrower hereunder, as well as other Reports and information provided by Administrative Agent
to Lenders.

        “Borrowing”: a group of Loans that are made (or deemed made) on the same day.

        “Borrowing Date”: as defined in Section 4.1.1.

        “Budget Covenant”: as defined in Section 10.3.1.

        “Budget Reporting Deadline”: as defined in Section 10.1.12.

        “Budget Supplement”: as defined in Section 10.1.12.

        “Budget Variance”: as defined in Section 10.1.12.

                                                -5-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 92 of 224




       “Business Day”: any day other than a Saturday, Sunday or other day on which commercial
banks are authorized to close under the laws of, or are in fact closed in, the State of Texas, New
York, or Delaware.

       “Capital Expenditures”: all liabilities incurred or expenditures made by the Borrower or a
Subsidiary for the acquisition of fixed assets, or any improvements, replacements, substitutions or
additions thereto with a useful life of more than one year.

       “Capital Lease”: any lease that is required to be capitalized for financial reporting purposes
in accordance with GAAP.

         “Capital Lease Obligations”: as applied to any Person, all obligations under Capital Leases
of such Person or any of its Subsidiaries, in each case taken at the amount thereof accounted for
as liabilities in accordance with GAAP.

        “Carve-Out”: has the meaning assigned to such term in the Interim DIP Order (with respect
to the period prior to the entry of the Final DIP Order) or the Final DIP Order (from and after the
date on which the Final DIP Order is entered).

        “Cash Collateral”: cash, Cash Equivalents, and any interest or other income earned thereon,
that collateralizes, or is security for the payment of, any Obligations.

        “Cash Dominion Period”: shall be in effect at the election of the Required Lenders, as of
the time that any Event of Default occurs or arises, and at all times until such Event of Default
shall have been cured or shall cease to exist, so long as no other Default or Event of Default exists
or be continuing at such time.

        “Cash Equivalents”: (a) marketable obligations issued or unconditionally guaranteed by,
and backed by the full faith and credit of, the United States government, maturing within 12 months
of the date of acquisition; (b) certificates of deposit, time deposits and bankers’ acceptances
maturing within 12 months of the date of acquisition, and overnight bank deposits, in each case
which are issued by a Lender or a commercial bank organized under the laws of the United States
or any state or district thereof, rated A-1 (or better) by S&P or P-1 (or better) by Moody’s at the
time of acquisition, and (unless issued by a Lender) not subject to offset rights; (c) repurchase
obligations with a term of not more than 30 days for underlying investments of the types described
in clauses (a) and (b) entered into with any bank described in clause (b); (d) commercial paper
issued by any financial institution or other Person acceptable to the Administrative Agent or rated
A-1 (or better) by S&P or P-1 (or better) by Moody’s, and maturing within nine months of the date
of acquisition; (e) shares of any money market fund that has substantially all of its assets invested
continuously in the types of investments referred to above, has net assets of at least $500,000,000
and has the highest rating obtainable from either Moody’s or S&P; and (f) any money market fund
of which the assets are comprised of not less than 90% of the items specified in clauses (a) through
(e) above. For the avoidance of doubt, Cryptocurrency shall not constitute “Cash Equivalents”.

        “CERCLA”: the Comprehensive Environmental Response, Compensation, and Liability
Act (42 U.S.C. § 9601 et seq.).



                                                -6-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 93 of 224




        “Change in Law”: the occurrence, after the date hereof, of (a) the adoption, taking effect
or phasing in of any law, rule, regulation or treaty; (b) any change in any law, rule, regulation or
treaty or in the administration, interpretation or application thereof; or (c) the making, issuance or
application of any request, guideline, requirement or directive (whether or not having the force of
law) by any Governmental Authority; provided, however, that “Change in Law” shall include,
regardless of the date enacted, adopted or issued, all requests, guidelines, requirements or
directives (i) under or relating to the Dodd-Frank Wall Street Reform and Consumer Protection
Act, or (ii) promulgated pursuant to Basel III by the Bank of International Settlements, the Basel
Committee on Banking Supervision (or any similar authority) or any other Governmental
Authority.

        “Change of Control”: any of the following:

                (a)      at any time, and for any reason whatsoever, any “person” or “group” (as
        such terms are used in Sections 13(d) and 14(d) of the Exchange Act), excluding the
        Permitted Holders, (i) shall obtain the power (whether or not exercised) to elect a majority
        of the members of the board of directors of the Borrower, or (ii) shall become the
        “beneficial owner” (as defined in Rules 13(d)-3 and 13(d)-5 under the Exchange Act),
        directly or indirectly, of Equity Interests of the Borrower representing more than the greater
        of (x) thirty-five percent (35%) of the voting power of the then outstanding Voting Equity
        Interests of the Borrower and (y) the percentage of the voting power of the then outstanding
        Voting Equity Interests of the Borrower owned, directly or indirectly, beneficially by the
        Permitted Holders (in the aggregate);

               (b)    the sale or transfer of all or substantially all of the Borrower’s assets on a
        consolidated basis;

               (c)     at any time, and for any reason whatsoever (other than in connection with a
        Permitted Asset Disposition), the Borrower ceases to own and control each of the other
        Obligors in existence on the Closing Date; or

               (d)    a “change of control” or any comparable term under, and as defined in, any
        agreement governing Debt for Borrowed Money in an aggregate principal amount
        exceeding $5,000,000.

       “Chapter 5 Claims and Causes of Action”: the Obligors’ claims and causes of action arising
under chapter 5 of the Bankruptcy Code, including sections 502(d), 544, 545, 547, 548, 549, 550,
and 553 of the Bankruptcy Code or similar state law.

        “Chapter 11 Approvals”: as defined in Section 10.2.21.

        “Chapter 11 Cases”: as defined in the recitals to this Agreement.

       “Chapter 11 Order”: any order of the Bankruptcy Court in the Chapter 11 Cases in form
and substance, and on terms and conditions, satisfactory to the Required Lenders (including, as
applicable, the Interim DIP Order and the Final DIP Order).



                                                 -7-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 94 of 224




      “Chapter 11 Plan”: any plan of reorganization or liquidation (as the case may be) (including
any Acceptable Chapter 11 Plan).

         “Chapter 11 Plan Effective Date”: (a) with respect to the Acceptable Chapter 11 Plan, the
date upon which all of the conditions to the effectiveness of the Acceptable Chapter 11 Plan set
forth therein have been satisfied (or waived) in accordance with its terms and in accordance with
the terms of the Restructuring Support Agreement, and (b) with respect to any Chapter 11 Plan
that is not the Acceptable Chapter 11 Plan, the date of “substantial consummation” (as such term
is defined in Section 1101 of the Bankruptcy Code) of any Chapter 11 Plan; provided, that, for
purposes of this Agreement, “substantial consummation” shall in any event be deemed to occur no
later than the effective date of such Chapter 11 Plan.

        “Chapter 11 Unsecured Creditors Committee”: the official committee of unsecured
creditors appointed in the Chapter 11 Cases, pursuant to Section 1102 of the Bankruptcy Code, if
any.

        “Claims”: all claims, liabilities, obligations, losses, damages, penalties, judgments,
proceedings, interest, costs and expenses of any kind (including remedial response costs,
reasonable attorneys’ fees (which shall be limited to the fees, disbursements and other charges of
one primary counsel and one local counsel in each relevant jurisdiction for the Indemnitees (unless
there is an actual or perceived conflict of interest in which case each such Indemnitee may retain
its own counsel), and Extraordinary Expenses) at any time (including after Full Payment of the
Obligations or replacement of Administrative Agent or any Lender) incurred by any Indemnitee
or asserted against any Indemnitee by any Obligor or other Person, to the extent relating to (a) any
Loans, letters of credit, Loan Documents, Borrower Materials, or the use thereof or transactions
relating thereto, (b) any action taken or omitted in connection with any Loan Documents, (c) the
existence or perfection of any Liens, or realization upon any Collateral, (d) exercise of any rights
or remedies under any Loan Documents or Applicable Law in connection with the Loan
Documents, or (e) failure by any Obligor to perform or observe any terms of any Loan Document,
in each case including all costs and expenses relating to any investigation, litigation, arbitration,
settlement or other proceeding (including an Insolvency Proceeding or appellate proceedings),
whether or not the applicable Indemnitee is a party thereto.

       “Class” when used in reference to any Loan or Borrowing of Loans, refers to whether such
Loan, or the Loans comprising such Borrowing, are New Money Loans, DIP Facility Commitment
Loans, Backstop Loans, Roll-Up Loans or any other Loans made (or deemed made) hereunder
from time to time.

        “Closing Date”: the date upon which all conditions precedent to the effectiveness of this
Agreement set forth in Section 6.1 are satisfied or waived in accordance with the terms hereof.
For the avoidance of doubt, December 22, 2022 constitutes the Closing Date.

        “Code”: the Internal Revenue Code of 1986, as amended.

        “Collateral”: collectively, (a) all property described in Section 7.1, (b) all property
(including Real Estate, personal property, mixed, owned, leased or operated by an Obligor) that is
described in any DIP Order or any Security Document as security for any Obligations, and (c) all

                                                -8-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 95 of 224




other property (including, without limitation, Real Estate, personal property, mixed, owned, leased
or operated by an Obligor) of an Obligor that now or hereafter secures (or is intended to secure)
any Obligations; but, in all cases, excluding Excluded Assets (unless a Lien thereon is granted
pursuant to the DIP Order or any other Chapter 11 Order).

        “Commitments”: the New Money Loan Commitments.

        “Commodity Exchange Act”: the Commodity Exchange Act (7 U.S.C. § 1 et seq.).

       “Company Advisors”: the respective counsel and other professional advisors to any of the
Obligors (including the Company FA).

        “Company FA”: any Person providing any structuring, financial or transactional advisory,
investment banking, consulting or other similar services to any of the Obligors in connection with
any Potential Transaction (but, for the avoidance of doubt, excluding any counsel); provided, that
no such Person shall be engaged or appointed by or on behalf of any Obligor at any time as of the
Closing Date unless a copy of any fee or engagement letter or other agreement entered into by any
Obligor in connection therewith shall have been delivered to the Administrative Agent prior to
effectiveness thereof. As of the Closing Date, PJT Partners and Alix Partners each constitute a
Company FA.

        “Compliance Certificate”: a certificate (substantially in the form of Exhibit E hereto or in
such other form acceptable to the Administrative Agent) signed by a Senior Officer of each of the
Obligors and delivered on behalf of the Obligors to certify compliance with Section 10.2.22 and
such other terms, conditions and provisions of the Loan Documents as required by the
Administrative Agent or Required Lenders, which certificate shall also include such other
information, notices, representations, warranties, covenants and/or other statements as required by
the Loan Documents or as separately requested by the Administrative Agent or Required Lenders,
including as to other matters described in Section 10.1.2(c).

        “Consenting Lender Advisors”: collectively, the Lenders’ counsel (including Paul Hastings
LLP and any applicable local counsel), financial advisors, and other professional advisors and
consultants (including Moelis & Company and its respective Affiliates) that may be retained from
time to time by the Consenting Lenders (and, each such Person individually, a “Consenting Lender
Advisor”).

      “Consenting Lender-Side Persons”: collectively, the Lenders and the Consenting Lender
Advisors (and, each individually, a “Consenting Lender-Side Person”).

        “Consenting Lenders”: as defined in the recitals to this Agreement.

        “Contingent Obligation”: any obligation of a Person arising from any guaranty (including
all Guarantee Obligations), indemnity or other assurance of payment or performance of any Debt,
lease, dividend or other obligation (“primary obligations”) of another obligor (“primary obligor”)
in any manner, whether directly or indirectly, including any obligation of such Person under any
(a) guaranty, endorsement, co-making or sale with recourse of an obligation of a primary obligor;
(b) obligation to make take-or-pay or similar payments regardless of nonperformance by any other
party to an agreement; and (c) arrangement (i) to purchase any primary obligation or security

                                                -9-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 96 of 224




therefor, (ii) to supply funds for the purchase or payment of any primary obligation, (iii) to
maintain or assure working capital, equity capital, net worth or solvency of the primary obligor,
(iv) to purchase property or services for the purpose of assuring the ability of the primary obligor
to perform a primary obligation, or (v) otherwise to assure or hold harmless the holder of any
primary obligation against loss in respect thereof. The amount of any Contingent Obligation shall
be deemed to be the stated or determinable amount of the primary obligation (or, if less, the
maximum amount for which such Person may be liable under the instrument evidencing the
Contingent Obligation) or, if not stated or determinable, the maximum reasonably anticipated
liability with respect thereto as determined by such Person in good faith.

        “Control”: the possession, directly or indirectly, of the power to direct or cause the
direction of the management or policies of a Person, whether through the ability to exercise voting
power, by contract or otherwise. “Controlling” and “Controlled” have meanings correlative
thereto.

        “Control Agreement”: an agreement with respect to any Deposit Account, Security
Account or Commodity Account (including any DIP Funding Account) entered into by and among
the Obligor in whose name such Deposit Account, Security Account or Commodity Account
(including any DIP Funding Account) is maintained, the institution(s) maintaining such Deposit
Account, Security Account or Commodity Account (including any DIP Funding Account), and
Administrative Agent, which agreement shall be in form and substance reasonably acceptable to
the Administrative Agent and effective to establish “control” (within the meaning set forth in
Sections 9-104 and 9-106 of the Uniform Commercial Code) of such Deposit Account, Security
Account or Commodity Account (including any DIP Funding Account) in favor of the
Administrative Agent to the extent required to perfect the Administrative Agent’s Lien on such
Deposit Account, Security Account or Commodity Account (including any DIP Funding
Account).

        “Copyrights”: all copyrights (whether statutory or common law, whether established or
registered in the United States or any other country or any political subdivision thereof, whether
registered or unregistered and whether published or unpublished) and all copyright registrations
and applications, together with any and all (i) rights and privileges arising under applicable law
with respect to the foregoing, (ii) renewals, supplements and extensions thereof and amendments
thereto, (iii) income, fees, royalties, damages, claims and payments now or hereafter due and/or
payable with respect thereto, including damages and payments for past, present or future
infringements thereof, (iv) rights corresponding thereto throughout the world and (v) rights to sue
for past, present or future infringements thereof.

        “Covered Party”: as defined in Section 14.20.

        “Cryptocurrency”: any digital or electronic asset or currency (including Bitcoin and
Ethereum) transacted, exchanged or otherwise subsisting on the blockchain or other decentralized
or distributed ledger or similar digital platform.

        “CWA”: the Clean Water Act (33 U.S.C. §§ 1251 et seq.).



                                               -10-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 97 of 224




        “Debt”: as applied to any Person, without duplication, (a) all indebtedness and obligations
of such Person for Borrowed Money; (b) the deferred purchase price of assets or services that in
accordance with GAAP would be included as liabilities on the balance sheet of such Person; (c)
all obligations of such Person arising with respect to non-contingent earnout or similar non-
contingent obligations incurred in connection with an Acquisition; (d) all Disqualified Equity
Interests; (e) all reimbursement obligations in respect of letters of credit issued for the account of
such Person; (f) all Debt of a second Person secured by any Lien on any property owned by such
first Person, whether or not such Debt has been assumed; (g) all Capital Lease Obligations of such
Person; (h) all obligations of such Person under Hedging Agreements (but taking into account only
the mark-to-market value or, if any actual amount is due as a result of the termination or close-out
of such transaction, that amount) and (i) without duplication, all Contingent Obligations of such
Person with respect to Debt described in (a) through (h) above; provided, that Debt shall not
include (i) trade payables and accrued expenses, in each case arising in the Ordinary Course of
Business, (ii) deferred or prepaid revenue, (iii) purchase price holdbacks in respect of a portion of
the purchase price of an asset to satisfy warranty or other unperformed obligations of the respective
seller or (iv) any obligations or liabilities under any agreement relating to any Permitted Asset
Disposition, Permitted Employment Arrangement, power purchase agreements or hosting
agreements. The Debt of a Person shall include any recourse Debt of any partnership in which
such Person is a general partner or joint venturer. The amount of Debt of any Person for purposes
of clause (iii) shall be deemed to be equal to the lesser of (1) the aggregate unpaid amount of such
Debt and (2) the fair market value of the property encumbered thereby as determined by such
Person in good faith.

       “Debt Issuance”: the incurrence by any Obligor or any Subsidiary of any Debt, other than
Debt permitted under Section 10.2.1.

        “Debtor”: as defined in the preamble to this Agreement.

        “Default”: an event or condition that, with the lapse of time or giving of notice, would
constitute an Event of Default.

        “Default Rate”: with respect to (a) overdue principal of any Loan, the Applicable Rate plus
2.00% per annum, and (b) any other overdue Obligation or amount, including overdue interest,
fees, premiums, expenses (to the extent permitted by Applicable Law), the Applicable Rate plus
2.00% per annum; provided, that the “Default Rate” shall be 0% with respect to Roll-Up Loans.

        “Defaulting Lender”: without limiting Section 4.2.1(b), (a) any Lender that has failed to
(i) fund all or any portion of its Loans within two Business Days of the date such Loans were
required to be funded hereunder unless such Lender notifies the Administrative Agent and the
Borrower in writing that such failure is the result of such Lender’s good faith determination that
one or more conditions precedent to funding (each of which conditions precedent, together with
any applicable default, shall be specifically identified in such writing) has not been satisfied, or
(ii) pay to the Administrative Agent or any other Lender any other amount required to be paid by
it hereunder within two Business Days of the date when due, (b) any Lender that has notified the
Borrower or the Administrative Agent (or any of their respective counsel) that it does not intend
to comply with its funding obligations hereunder, or that has made a public statement to that effect
(unless such writing or public statement relates to such Lender’s obligation to fund a Loan

                                                -11-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 98 of 224




hereunder and states that such position is based on such Lender’s good faith determination that a
condition precedent to funding (which condition precedent, together with any applicable default,
shall be specifically identified in such writing or public statement) cannot be satisfied), (c) any
Lender that has failed, within three (3) Business Days after written request by the Administrative
Agent or the Borrower, to confirm in writing to the Administrative Agent and the Borrower that it
is able to, intends to, and shall, comply with its prospective funding obligations hereunder at the
time, in the manner, and as otherwise required hereby (provided, that such Lender shall cease to
be a Defaulting Lender pursuant to this clause (c) upon receipt of such written confirmation by the
Administrative Agent and the Borrower), or (d) any Lender (or any Person seeking to become a
Lender) that has, or whose direct or indirect parent company has, (i) become the subject of any
Insolvency Proceeding (except if the Administrative Agent consents thereto, at the direction of the
Required Lenders), (ii) had appointed for it a receiver, custodian, conservator, trustee,
administrator, assignee for the benefit of creditors or similar Person charged with reorganization
or liquidation of its business or assets, including the Federal Deposit Insurance Corporation or any
other state or federal regulatory authority acting in such a capacity, or (iii) become the subject of
a Bail-In Action; provided, that a Lender shall not be a Defaulting Lender solely by virtue of the
ownership or acquisition of any equity interest in that Lender or any direct or indirect parent
company thereof by a Governmental Authority so long as such ownership interest does not result
in or provide such Lender with immunity from the jurisdiction of courts within the United States
or from the enforcement of judgments or writs of attachment on its assets or permit such Lender
(or such Governmental Authority) to reject, repudiate, disavow or disaffirm any contracts or
agreements made with such Lender. Any determination by the Administrative Agent or the
Required Lenders that a Lender is a Defaulting Lender under any one or more of clauses (a)
through (d) above shall be conclusive and binding absent manifest error, and such Lender shall be
deemed to be a Defaulting Lender (subject to Section 4.2.1(b)) upon delivery of written notice of
such determination to the Borrower and each Lender.

      “Denton Landlord”: City of Denton, together with its successors and assigns under the
Denton Lease.

       “Denton Lease”: that certain Lease Agreement between Denton Landlord and Borrower,
dated as of September 3, 2021, as in effect as of the Petition Date, a copy of which has been
provided to the Consenting Lender Advisors on December 22, 2022.

        “Denton Property”: the leasehold estate, together with all improvements thereon, at the
facility located in Denton County, Texas which is leased by Borrower from Denton Landlord
pursuant to, and which is more particularly described in, the Denton Lease.

        “Designated Jurisdiction”: a country or territory that is the subject of a Sanction (as of the
date of this Agreement, Cuba, Iran, Syria, North Korea, the Crimea region of Ukraine, the Donetsk
People’s Republic, and the Luhansk People’s Republic).

        “DIP Facility”: as defined in the recitals to this Agreement.

       “DIP Facility Commitment Loans”: as defined in Section 2.1.2(c). For the avoidance of
doubt, DIP Facility Commitment Loans shall include any interest and Maturity Extension
Payment, as applicable, that is Paid in Kind in respect thereof.

                                                -12-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 99 of 224




        “DIP Funding Account”: each Deposit Account set forth on Schedule 8.5 and maintained
in the name of the Borrower at Bank of America or another bank reasonably acceptable to the
Administrative Agent over which Administrative Agent has control and the ability to take actions
during any Cash Dominion Period, pursuant to the applicable DIP Order and such other
arrangements reasonably acceptable to the Administrative Agent, including, without limitation, a
Control Agreement, as applicable.

        “DIP Motion” means the motion and proposed form of Interim DIP Order filed by the
Obligors with the Bankruptcy Court on or after the Petition Date seeking approval, on an interim
and final basis, of (among other things) the DIP Facility, and authorization for the use of cash
collateral (including such terms and conditions relating to adequate protection in connection
therewith), in each case, in form and substance acceptable to the Required Lenders.

        “DIP Orders”: collectively, the Interim DIP Order and the Final DIP Order and separately,
the Interim DIP Order or the Final DIP Order, as the context requires.

        “DIP Superpriority Claims”: as defined in the DIP Orders.

        “Disqualified Equity Interests”: any Equity Interest that, by its terms (or by the terms of
any security into which it is convertible, or for which it is exchangeable, in each case, at the option
of the holder of the Equity Interest), or upon the happening of any event, matures or is mandatorily
redeemable (other than (i) solely for Equity Interests that are not Disqualified Equity Interests and
cash in lieu of fractional shares or (ii) solely at the discretion of the issuer), pursuant to a sinking
fund obligation or otherwise (except as a result of a change of control, asset sale or similar event
so long as any rights of the holders thereof upon the occurrence of a change of control, initial
public offering, asset sale or similar event shall be subject to Full Payment of the Obligations), or
redeemable at the option of the holder of the Equity Interest, in whole or in part, on or prior to the
date that is 91 days after the Termination Date. Notwithstanding the preceding sentence, any
Equity Interest that would constitute Disqualified Equity Interests solely because the holders of
the Equity Interests have the right to require the Borrower or any Subsidiary to repurchase such
Equity Interest upon the occurrence of a change of control or an asset sale will not constitute
Disqualified Equity Interests if the terms of such Equity Interests provide that the Borrower or
such Subsidiary, as applicable, may not repurchase or redeem any such Equity Interests pursuant
to such provisions unless such repurchase or redemption complies with Section 10.2.2(ee).

        “Disqualified Lender”: (a) any Person that constitutes a competitor of any Obligor, (b) any
Person identified in writing by any Obligor in writing on or prior to the Closing Date, and (c) any
Affiliate of any Person described in clauses (a) and (b) above that is either (i) identified in writing
to the Administrative Agent or (ii) reasonably identifiable on the basis of such Affiliate’s name;
provided, that, notwithstanding anything to the contrary contained in clauses (a) through (c), no
Prepetition Secured Party or any holder of any Prepetition NPA Facility Debt (or any Affiliate
thereof) shall constitute a “Disqualified Lender”.

       “Distribution”: any declaration or payment of a distribution, interest or dividend on any
Equity Interest (other than payment-in-kind); or any purchase, redemption, or other acquisition or
retirement for value of any Equity Interest.


                                                 -13-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 100 of 224




        “Dividing Person”: has the meaning assigned to it in the definition of “Division.”

        “Division”: the division of the assets, liabilities and/or obligations of a Person (the
“Dividing Person”) among two or more Persons (whether pursuant to a “plan of division” or
similar arrangement), which may or may not include the Dividing Person and pursuant to which
the Dividing Person may or may not survive.

        “Dollars”: lawful money of the United States.

        “EEA Financial Institution”: (a) any credit institution or investment firm established in any
EEA Member Country which is subject to the supervision of an EEA Resolution Authority, (b)
any entity established in an EEA Member Country which is a parent of an institution described in
clause (a) of this definition, or (c) any financial institution established in an EEA Member Country
which is a subsidiary of an institution described in clauses (a) or (b) of this definition and is subject
to consolidated supervision with its parent.

       “EEA Member Country”: any of the member states of the European Union, Iceland,
Liechtenstein, and Norway.

       “EEA Resolution Authority”: any public administrative authority or any person entrusted
with public administrative authority of any EEA Member Country (including any delegee) having
responsibility for the resolution of any EEA Financial Institution.

        “Eligible Assignee”: each and any of the following Persons, in each case, solely if such
Person is a party to the Restructuring Support Agreement as of the time of, and after giving effect
to, any assignment hereunder: (a) each Lender, (b) each Affiliate of a Lender, (c) each Approved
Fund, and (d) each other Person (except (i) any natural person, or (ii) the Borrower or any of the
Borrower’s Affiliates or Subsidiaries) approved by the Administrative Agent; provided, however,
that each assignment to an Eligible Assignee shall be made in accordance with Section 13.3.

        “Enforcement Action”: any action to enforce any Obligations or Loan Documents or to
exercise any rights or remedies relating to any Collateral (whether by judicial action, self-help,
notification of Account Debtors, exercise of setoff or recoupment, exercise of any right to act in
an Obligor’s Insolvency Proceeding or to credit bid Obligations, or otherwise, including in the
Chapter 11 Cases, pursuant to any order of the Bankruptcy Court, or otherwise).

       “Environment”: ambient air, indoor air, surface water, groundwater, drinking water, soil,
surface and subsurface strata, and natural resources such as wetland, flora and fauna.

       “Environmental Laws”: all Applicable Laws (including all programs, permits and guidance
promulgated by regulatory agencies), relating to public health (but excluding occupational safety
and health, to the extent regulated by OSHA) or the protection or pollution of the environment,
including CERCLA, RCRA and CWA.

        “Environmental Liability”: any liability, contingent or otherwise (including any liability
for damages, costs of environmental remediation, fines, penalties or indemnities) whether based
in contract, tort, implied or express warranty, strict liability, criminal or civil statute or common
law, directly or indirectly relating to (a) any Environmental Law, (b) the generation, use, handling,

                                                  -14-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 101 of 224




transportation, storage, treatment or disposal of any Hazardous Materials, (c) exposure to any
Hazardous Materials, (d) Release or threatened Release of any Hazardous Materials or (e) any
contract, agreement or other consensual arrangement pursuant to which liability is assumed or
imposed with respect to any of the foregoing.

         “Environmental Notice”: a notice (whether written or oral) from any Governmental
Authority or other Person of any possible noncompliance with, investigation of a possible violation
of, litigation relating to, or potential fine or liability under any Environmental Law, or with respect
to any Environmental Release, environmental pollution or hazardous materials, including any
complaint, summons, citation, order, claim, demand or request for correction, remediation or
otherwise.

       “Environmental Release”: a release as defined in CERCLA or under any other
Environmental Law.

          “Equity Interest”: the interest of any (a) shareholder in a corporation; (b) partner in a
partnership (whether general, limited, limited liability or joint venture); (c) member in a limited
liability company; or (d) Person having any other form of equity security or ownership interest in
another Person, including common stock and preferred stock, and including all of the warrants,
options or other rights for the purchase or acquisition from such Person of such Equity Interests in
such Person.

        “ERISA”: the Employee Retirement Income Security Act of 1974.

        “ERISA Affiliate”: any trade or business (whether or not incorporated) under common
control with an Obligor within the meaning of Section 414(b) or (c) of the Code (and Sections
414(m) and (o) of the Code for purposes of provisions relating to Section 412 of the Code).

         “ERISA Event”: (a) a Reportable Event with respect to a Pension Plan; (b) a withdrawal
by any Obligor or ERISA Affiliate from a Pension Plan subject to Section 4063 of ERISA during
a plan year in which it was a substantial employer (as defined in Section 4001(a)(2) of ERISA) or
a cessation of operations that is treated as such a withdrawal under Section 4062(e) of ERISA; (c)
a complete or partial withdrawal by any Obligor or ERISA Affiliate from a Multiemployer Plan
or notification that a Multiemployer Plan is in reorganization; (d) the filing of a notice of intent to
terminate, the treatment of a plan amendment as a termination under Section 4041 or 4041A of
ERISA, or the commencement of proceedings by the PBGC to terminate a Pension Plan or
Multiemployer Plan; (e) the determination that any Pension Plan or Multiemployer Plan is
considered an at risk plan or a plan in critical or endangered status under the Code, ERISA or the
Pension Protection Act of 2006; (f) an event or condition which constitutes grounds under Section
4042 of ERISA for the termination of, or the appointment of a trustee to administer, any Pension
Plan or Multiemployer Plan; (g) the imposition of any liability under Title IV of ERISA, other
than for PBGC premiums due but not delinquent under Section 4007 of ERISA, upon any Obligor
or ERISA Affiliate; or (h) with respect to any Pension Plan, a failure to satisfy the minimum
funding standard under Section 412 of the Code or Section 302 of ERISA, whether or not waived,
or a failure to make a required contribution to a Multiemployer Plan.



                                                 -15-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 102 of 224




      “EU Bail-In Legislation Schedule”: the EU Bail-In Legislation Schedule published by the
Loan Market Association (or any successor person), as in effect from time to time.

        “Event of Default”: as defined in Section 11.

        “Exchange Act”: Securities Exchange Act of 1934.

        “Excluded Account”: any Deposit Account in the name of any Borrower (a) that is used
exclusively for payroll, payroll taxes and other employee wage and benefit payments in the
Ordinary Course of Business; (b) that is a trust, fiduciary, or withholding tax payment account or
(c) accounts set forth on schedule 8.5 which are listed as Excluded accounts; provided, that, no
other Deposit Accounts shall constitute an Excluded Account.

      “Excluded Assets”: Except in each case to the maximum extent overridden by the
Bankruptcy Code, each of the following:

                (a)     any lease, license, contract, or agreement (including, with respect to any
        Purchase Money Debt or similar arrangement, in each case, permitted hereunder, the assets
        subject thereto) to which any Obligor is a party or any of its rights or interests thereunder
        if and only for so long as the grant of a security interest or Lien under this Agreement (i)
        is prohibited by Applicable Law during the Chapter 11 Cases, or would constitute or result
        in the abandonment, invalidation or unenforceability of any right, title or interest of such
        Obligor therein pursuant to Applicable Law during the Chapter 11 Cases, (ii) would require
        the consent of third parties (and such consent requirement is enforceable during the Chapter
        11 Cases), and such consent shall have not been obtained notwithstanding the Obligors’
        commercially reasonable efforts to obtain the same, or (iii) would constitute or result in a
        breach, termination or default under any such lease, license, contract or agreement (in each
        case other than to the extent that any such prohibition, limitation, consent requirement or
        other term thereof is rendered ineffective pursuant to Sections 9-406, 9-407, 9-408 or 9-
        409 of the UCC of any relevant jurisdiction, the Bankruptcy Code or any other Applicable
        Law or any principles of equity); provided, that such lease, license, contract or agreement
        (including, with respect to any Purchase Money Debt or similar arrangement, in each case,
        permitted hereunder, the assets subject thereto) will be an Excluded Asset only to the extent
        and for so long as the consequences specified above will result and will cease to be an
        Excluded Asset, and will become Collateral, immediately and automatically, at such time
        as such consequences will no longer result;

                 (b)        Excluded Accounts;

                 (c)        [reserved];

                (d)     any United States intent-to-use trademark applications to the extent the
        grant of a security interest therein would impair the validity or enforceability of such intent-
        to-use trademark application under applicable federal law notwithstanding the DIP Orders;
        and

                 (e)        Margin Stock;


                                                 -16-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 103 of 224




provided, that “Excluded Assets” shall not include any proceeds, products, substitutions or
replacements of Excluded Assets (unless such proceeds, products, substitutions or replacements
would otherwise constitute Excluded Assets); provided, further, that upon the occurrence of an
event that renders property to no longer constitute Excluded Assets, including submission and
acceptance by the United States Patent and Trademark Office of an amendment to allege use
pursuant to 15 U.S.C. Section 1060(a) (or any successor provision) with respect to an intent-to-
use trademark application, a security interest in such property shall be automatically and
simultaneously be granted under the Security Documents and such property shall be automatically
and immediately included as Collateral hereunder.

         “Excluded Taxes”: with respect to the Administrative Agent, any Lender or any other
recipient of a payment to be made by or on account of any Obligation, (a) Taxes imposed on or
measured by its net income (however denominated), branch profits Taxes and franchise Taxes, in
each case, as a result of (i) such recipient being organized or having its principal office, or, in the
case of any Lender, having its applicable Lending Office located, in such jurisdiction, or (ii) a
present or former connection between such recipient and the taxing jurisdiction (other than
connections arising from the Administrative Agent, such Lender or such recipient having executed,
delivered, become a party to, performed its obligations under, received payments under, received
or perfected a security interest under, engaged in any other transaction pursuant to or enforced any
Loan Document, or sold or assigned an interest in any Loan or Loan Document); (b) any Tax
imposed on such recipient as a result of such recipient’s failure to comply with Section 5.10; (c)
in the case of a Lender, any U.S. federal withholding tax imposed on amounts payable to or for
the account of such Lender with respect to an applicable interest in a Loan or Commitment
pursuant to laws in force at the time such Lender acquires such interest in the Loan or Commitment
(other than pursuant to an assignment request by the Borrower under Section 13.4) or designates
a new Lending Office hereunder, except to the extent that, pursuant to Section 5.9, additional
amounts were payable with respect to such U.S. federal withholding tax to such Lender (or its
assignor, if any), immediately prior to designation of a new Lending Office (or assignment) and
(d) withholding Taxes imposed by FATCA.

        “Extraordinary Expenses”: all reasonable and out-of-pocket costs or expenses that
Administrative Agent in accordance with the terms hereof incurs during an Event of Default
relating to (a) any audit, inspection, repossession, storage, repair, appraisal, insurance,
manufacture, preparation or advertising for sale, sale, collection, or other preservation of or
realization upon any Collateral; (b) any action, arbitration or other proceeding (whether instituted
by or against Administrative Agent, any Lender, any Obligor, any representative of creditors of an
Obligor or any other Person) in any way relating to any Collateral (including the validity,
perfection, priority or avoidability of Administrative Agent’s Liens with respect to any Collateral),
Loan Documents, letters of credit or Obligations, including any lender liability or other Claims;
(c) the exercise, protection or enforcement of any rights or remedies of Administrative Agent in,
or the monitoring of, any Insolvency Proceeding; (d) settlement or satisfaction of any taxes,
charges or Liens with respect to any Collateral; (e) any Enforcement Action; (f) negotiation and
documentation of any modification, waiver, workout, restructuring or forbearance with respect to
any Loan Documents or Obligations; and (g) Protective Advances. Such costs, expenses and
advances include transfer fees, storage fees, insurance costs, permit fees, utility reservation and
standby fees, reasonable, documented, and out-of-pocket legal fees, appraisal fees, brokers’ fees
and commissions, auctioneers’ fees and commissions, accountants’ fees, environmental study fees,

                                                 -17-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 104 of 224




wages and salaries paid to employees of any Obligor or independent contractors in liquidating any
Collateral, and travel expenses of any Obligor or independent contractors in liquidating any
Collateral, and travel expenses.

        “Fair Market Value”: with respect to any asset or item of property, the sale value that would
be obtained therefor in an arm’s-length, free market transaction between an informed and willing
seller under no compulsion to sell, and an informed and willing buyer under no compulsion to buy,
as determined in good faith.

        “FATCA”: Sections 1471 through 1474 of the Code, as of the date of this Agreement (or
any amended or successor version that is substantively comparable and not materially more
onerous to comply with), any current or future regulations or official interpretations thereof, any
agreements entered into pursuant to Section 1471(b)(1) of the Code and any fiscal or regulatory
legislation, rules or practices adopted pursuant to any intergovernmental agreement, treaty or
convention among Governmental Authorities and implementing such Sections of the Code.

        “Final Availability Period” has the meaning set forth in Section 2.1.2(a).

        “Final DIP Order”: an order of the Bankruptcy Court in the Chapter 11 Cases, which order
(a) shall be in form and substance, and on terms and conditions, satisfactory to the Required
Lenders, (b) shall, subject to the foregoing, authorize and approve, on a final basis, among other
things, the DIP Facility and the transactions related thereto (including the making of the Loans,
the Roll-Up, and the incurrence of the Obligations), the Debtors’ use of cash collateral, the Carve-
Out, and the grant of adequate protection, (c) shall be in full force and effect, and (d) (i) shall not
have been reversed, vacated, or stayed and (ii) shall not have been amended, supplemented or
otherwise modified since entry thereof by the Bankruptcy Court (unless the Required Lenders shall
have previously consented thereto in writing).

       “Final DIP Order Date”: the date on which the Final DIP Order is approved and entered by
the Bankruptcy Court.

        “Financial Covenant”: as defined in Section 10.3.2.

        “First Day Motions” means any “first day” or “second day” motions and pleadings to be
filed by the Obligors with the Bankruptcy Court on the Petition Date in connection with the
Chapter 11 Cases, including, without limitation, the DIP Motion, which shall be in form and
substance reasonably acceptable to the Required Lenders.

        “Fiscal Quarter”: each period of three months, commencing on the first day of a Fiscal
Year.

       “Fiscal Year”: the fiscal year of the Borrower and its Subsidiaries for accounting and tax
purposes, ending on December 31 of each year.

        “FLSA”: the Fair Labor Standards Act of 1938.

       “Flood Insurance Laws”: means, collectively, (i) the National Flood Insurance Reform Act
of 1994 (which comprehensively revised the National Flood Insurance Act of 1968 and the Flood

                                                 -18-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 105 of 224




Disaster Protection Act of 1973) as now or hereinafter in effect or any successor statute thereto,
(ii) the Flood Insurance Reform Act of 2004 as now or hereafter in effect or any successor statute
thereto and (iii) the Biggert-Waters Flood Insurance Reform Act of 2012 as now or hereinafter in
effect or any successor statute thereto.

        “Foreign Lender”: any Lender that is not a U.S. Person.

        “Foreign Plan”: any employee benefit plan or arrangement (a) maintained or contributed
to by any Obligor or Subsidiary that is not subject to the laws of the United States; or (b) mandated
by a government other than the United States for employees of any Obligor or Subsidiary.

        “Full Payment”: with respect to the Loans and all other Obligations (other than Remaining
Obligations) the indefeasible payment thereof in full in Cash in accordance with the Loan
Documents or as otherwise consented to in writing by the Lenders, (including if applicable, upon
the occurrence of the Chapter 11 Plan Effective Date, the full and complete payment thereof in
accordance with and subject to the terms of the Restructuring Support Agreement) including with
respect to the Termination Payments, and all interest, fees and other amounts and charges
(including Post-Petition Interest) accruing during the Chapter 11 Cases (whether or not allowed
during the proceeding); provided, that, notwithstanding the foregoing, Full Payment shall not be
deemed to occur, and no Loans shall be deemed to have been paid in full, unless and until such
time as all Commitments shall have irrevocably, permanently and finally expired, or shall have
been so terminated, cancelled and discharged and all related loan documents in respect thereof
have been terminated

        “GAAP”: generally accepted accounting principles in effect in the United States from time
to time.

      “Governmental Approvals”: all authorizations, consents, approvals, licenses and
exemptions of, registrations and filings with, and required reports to, all Governmental Authorities.

        “Governmental Authority”: any federal, state, local, foreign or other agency, authority,
body, commission, court, instrumentality, political subdivision, or other entity or officer exercising
executive, legislative, judicial, regulatory or administrative functions for any governmental,
judicial, investigative, regulatory or self-regulatory authority.

        “Guarantee Obligation”: as to any Person (the “guaranteeing person”) any obligation,
including a reimbursement, counterindemnity or similar obligation, of the guaranteeing person that
guarantees or in effect guarantees, or which is given to induce the creation of a separate obligation
by another Person (including any bank under any letter of credit) that guarantees or in effect
guarantees, any Indebtedness, leases, dividends or other obligations (the “primary obligations”) of
any other third Person (the “primary obligor”) in any manner, whether directly or indirectly,
including any obligation of the guaranteeing person, whether or not contingent, (i) to purchase any
such primary obligation or any property constituting direct or indirect security therefor, (ii) to
advance or supply funds (1) for the purchase or payment of any such primary obligation or (2) to
maintain working capital or equity capital of the primary obligor or otherwise to maintain the net
worth or solvency of the primary obligor, (iii) to purchase property, securities or services primarily
for the purpose of assuring the owner of any such primary obligation of the ability of the primary

                                                -19-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 106 of 224




obligor to make payment of such primary obligation or (iv) otherwise to assure or hold harmless
the owner of any such primary obligation against loss in respect thereof; provided, however, that
the term Guarantee Obligation shall not include endorsements of instruments for deposit or
collection in the Ordinary Course of Business. The amount of any Guarantee Obligation of any
guaranteeing person shall be deemed to be the lower of (a) an amount equal to the stated or
determinable amount of the primary obligation in respect of which such Guarantee Obligation is
made and (b) the maximum amount for which such guaranteeing person may be liable pursuant to
the terms of the instrument embodying such Guarantee Obligation, unless such primary obligation
and the maximum amount for which such guaranteeing person may be liable are not stated or
determinable, in which case the amount of such Guarantee Obligation shall be such guaranteeing
person’s maximum reasonably anticipated liability in respect thereof, as determined by the
Borrower in good faith.

       “Guarantor”: each Person that is, or at any time becomes, a party to (or otherwise agrees
to be bound by) any Guaranty, or that otherwise guarantees payment or performance of any
Obligations or owes any Guarantee Obligations to the Secured Parties. As of the Closing Date,
each Subsidiary Guarantor is a Guarantor.

        “Guaranty”: each guaranty agreement executed by a Guarantor in favor of Administrative
Agent, substantially in the form of Exhibit D or otherwise in form reasonably acceptable to the
Administrative Agent.

        “Hazardous Materials”: all explosive or radioactive substances or wastes and all hazardous
or toxic substances, wastes or other pollutants including petroleum or petroleum distillates, natural
gas, natural gas liquids, asbestos or asbestos-containing materials, polychlorinated biphenyls,
radon gas, toxic mold, infectious or medical wastes and all other substances, wastes, chemicals,
pollutants, contaminants or compounds of any nature in any form regulated pursuant to any
Environmental Law.

      “Hedging Agreement”: any “swap agreement” as defined in Section 101(53B)(A) of the
Bankruptcy Code.

        “Immaterial Subsidiary” means each Subsidiary of the Borrower set forth on Schedule
10.1.16 (as such schedule may only be updated to add additional Subsidiaries of the Borrower with
the prior written consent of the Administrative Agent (at the direction of the Required Lenders).

        “Indemnified Taxes”: (a) Taxes, other than Excluded Taxes, imposed on or with respect to
any payment made by or on account of any obligation of any Obligor under any Loan Document,
and (b) to the extent not otherwise described in clause (a), Other Taxes.

        “Indemnitees”: Agent Indemnitees and Lender Indemnitees.

       “Initial Budget”: a 13-week cash flow forecast that (a) sets forth, on a line-item, cumulative
and aggregate basis, the Obligors’ projections for all weekly receipts and
disbursements/expenditures (including debt service costs) expected to be collected, incurred or
made (as the case may be) by the Obligors and their Subsidiaries, in each case, during the period
beginning with the calendar week ending on Friday of the week in which the Petition Date occurs,
and ending on (and including) the week ended as of the Friday of the week after the Maturity Date,
                                                -20-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 107 of 224




and (b) has been approved by the Required Lenders prior to the Closing Date. For the avoidance
of doubt, Exhibit 2 to the Interim DIP Order shall constitute the Initial Budget (and a copy thereof
is attached as Exhibit H hereto).

        “Insolvency Proceeding”: any case or proceeding commenced by or against a Person under
any state, federal or foreign law, rule or regulation for, or any agreement of such Person to any or
a combination of the following (each, a “Bankruptcy Law”): (a) the entry of an order for relief
under the Bankruptcy Code, or any other insolvency, debtor relief or debt adjustment or
reorganization law (including any moratorium or any other marshalling of the assets and liabilities
of any Person and any similar laws, rules or regulations relating to or affecting the enforcement of
creditors’ rights generally); (b) the appointment of a receiver, trustee, liquidator, administrator,
conservator or other custodian for such Person or all or substantially all of its property; or (c) an
assignment or trust mortgage for the benefit of creditors.

       “Intellectual Property”: all intellectual and similar property of a Person, including: Patents,
Trademarks, Copyrights and Technology; all embodiments or fixations thereof and all related
documentation, applications, registrations and franchises; and all intellectual property rights in all
books and records relating to the foregoing.

        “Intellectual Property Claim”: any claim or assertion (whether in writing, by suit or
otherwise) that Holding’s or a Subsidiary’s ownership, use, marketing, sale or distribution of any
Intellectual Property or other property or methods, processes or services violates, infringes, dilutes
or misappropriates another Person’s Intellectual Property.

        “Intellectual Property Collateral”: all Intellectual Property and Licenses of each Obligor,
whether now or hereafter owned, licensed or acquired, in each case, excluding any Excluded
Assets.

        “Interim Availability Period” has the meaning set forth in Section 2.1.2(a).

        “Interim DIP Order”: an order of the Bankruptcy Court in the Chapter 11 Cases in
connection with the DIP Motion, which order shall (a) be in form and substance, and on terms and
conditions, satisfactory to the Required Lenders, (b) subject to the foregoing, authorize and
approve, on an interim basis, among other things, the DIP Facility and all other matters set forth
in, and transactions contemplated by, the DIP Motion, (including, without limitation, the DIP
Facility, the Loans, the Roll-Up, the New Money Loan Commitment Payment, the Termination
Payment, the Carve-Out, and the incurrence of all other Obligations in accordance with the terms
hereof, the Debtors’ use of cash collateral, and the grant of adequate protection), (c) be in full force
and effect, and (d) not have been reversed, vacated, stayed or amended, supplemented or otherwise
modified (unless the Required Lenders shall have previously consented thereto in writing).

        “Inventory”: as defined in the UCC, including all goods intended for sale, lease, display
or demonstration; all work in process; and all raw materials, and other materials and supplies of
any kind that are or could be used in connection with the manufacture, printing, packing, shipping,
advertising, sale, lease or furnishing of such goods, or otherwise used or consumed in a Person’s
business (but excluding Equipment).


                                                 -21-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 108 of 224




       “Investment”: an Acquisition; an acquisition of record or beneficial ownership of any
Equity Interests of a Person; or a loan advance or capital contribution to or other debt or equity
investment in a Person.

        “IRS”: the United States Internal Revenue Service.

       “Lender”: as of any time of determination, each Person that has a Commitment and/or
holds any Loan at such time (including any Person that has become a Lender pursuant to an
Assignment and Acceptance) (the foregoing Persons, collectively, the “Lenders”). As of the
Closing Date, the Lenders shall be the Persons whose name is set forth on Schedule 1.1 (as
amended from time to time) hereto under the heading “Lenders”.

        “Lender Indemnitees”: Lenders and their officers, directors, employees, Affiliates, agents
and attorneys.

      “Lending Office”: the office designated as such by the applicable Lender at the time it
becomes party to this Agreement or thereafter by notice to Administrative Agent and Borrower.

        “License”: all license agreements with, and covenants not to sue, any other party with
respect to any Intellectual Property or Intellectual Property Collateral, whether such Obligor is a
licensor or licensee under any such license agreement, together with any and all (i) renewals,
extensions, supplements, amendments and continuations thereof, (ii) income, fees, royalties,
damages, claims and payments now and hereafter due and/or payable thereunder and with respect
thereto including damages and payments for past, present or future infringements, breaches or
violations thereof, (iii) rights to sue for past, present and future infringements, breaches or
violations thereof and (iv) other rights to use, exploit or practice any or all of the Intellectual
Property or Intellectual Property Collateral.

         “Lien”: any Person’s interest in real or personal property securing an obligation owed to,
or a claim by, such Person, including any mortgage, deed of trust, lien, security interest, pledge,
hypothecation, trust, reservation, encroachment, easement, right-of-way, encumbrance or other
title exception.

         “Liquidity”: as of any date of determination, the sum of (x) unrestricted cash and Cash
Equivalents (based on the book balance thereof) of the Borrower and its Subsidiaries held in a
Deposit Account subject to a Control Agreement in favor of the Administrative Agent; provided
that, solely for purposes of determining compliance with the Financing Covenant, any amount held
in any Deposit Account shall be “Liquidity” regardless of whether it is subject to a Control
Agreement in favor of the Administrative Agent until the date on which Control Agreements must
be put in place pursuant to Section 6.3 and (y) the value in U.S. Dollars of the aggregate amount
owned by the Borrower and its Subsidiaries on such date of determination based on the S&P
Bitcoin Index as of 5:00 p.m. as of the immediately preceding Business Day.

        “Liquidity Covenant”: as defined in Section 10.3.2.

       “Loan”: each and any New Money Loan, DIP Facility Commitment Loan, Backstop Loan,
Roll-Up Loan and any other loan made (or deemed made) hereunder or pursuant hereto from time
to time. For the avoidance of doubt, each New Money Loan, Roll-Up Loan, DIP Facility

                                               -22-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 109 of 224




Commitment Loan, Backstop Loan and any other “Loan” from time to time made (or deemed
made) hereunder shall constitute a separate tranche.

        “Loan Documents”: this Agreement, the Other Agreements and the Security Documents.

       “Loan Year”: each 12 month period commencing on the Closing Date and ending on each
anniversary of the Closing Date.

        “Margin Stock”: as defined in Regulation U of the Board of Governors.

        “Material Adverse Effect”: the effect of any event or circumstance that, taken alone or in
conjunction with other events or circumstances (other than as a result of (x) the events and
conditions related and/or leading up to the commencement of the Chapter 11 Cases, (y) any
defaults under agreements that have no effect under the terms of the Bankruptcy Code as a result
of the commencement of a proceeding under chapter 11 of the Bankruptcy Code and the Chapter
11 Cases, or (z) any matters disclosed in any DIP Order or on the exhibits or schedules to the Loan
Documents), (a) has had or could be reasonably expected to have a material adverse effect (i) on
the business, operations, properties, or financial condition of the Borrower and its Subsidiaries,
taken as a whole, (ii) on the value of Collateral, taken as a whole, (iii) on the enforceability of any
Loan Documents, or (iv) on the validity or priority of Administrative Agent’s Liens on a material
portion of the Collateral; (b) materially impairs or has a material adverse effect on the ability of
the Obligors, taken as a whole, to perform their obligations under the Loan Documents, including
repayment of any Obligations; or (c) otherwise impairs or has a material adverse effect on the
ability of Administrative Agent to enforce or collect any Obligations or to realize upon a material
portion of the Collateral.

       “Material Contract”: any written agreement or arrangement to which the Borrower or a
Subsidiary is party (other than the Loan Documents or Prepetition Note Purchase Agreements) for
which breach, termination, nonperformance or failure to renew could reasonably be expected to
have a Material Adverse Effect.

       “Maturity Date”: the date that is six (6) months after the Petition Date; as such date as may
be extended in accordance with and pursuant to Section 2.1.5.

        “Maturity Extension Payment” has the meaning set forth in Section 2.1.5(a)(iii).

        “Milestones”: the milestones set forth on Schedule 10.1.13 hereto.

        “Moody’s”: Moody’s Investors Service, Inc., and its successors.

       “Multiemployer Plan”: any employee benefit plan of the type described in Section
4001(a)(3) of ERISA, to which any Obligor or ERISA Affiliate makes or is obligated to make
contributions, or during the preceding five plan years, has made or been obligated to make
contributions.

       “Net Cash Proceeds”: means, as applicable, with respect to any Asset Disposition by any
Person, cash and Cash Equivalents received by or for such Person’s account with respect to, or in
connection with, such Asset Disposition, net of (i) reasonable direct costs and expenses relating

                                                 -23-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 110 of 224




to, and payable as a condition to consummating, such Asset Disposition (including investment
banking fees, consultant fees, survey costs, title insurance premiums, and related search and
recording charges, legal fees and reasonable broker’s fees or sales commissions and similar costs
and expenses paid or payable in connection with such Asset Disposition), in each case, solely to
the extent that the payment thereof is in accordance with the Approved Budget and, pro forma for
the payment thereof, the Obligors shall be in compliance with the Financial Covenant, (ii) Taxes
paid, or reasonably expected to be payable, by such Person, the Borrower or any of its Subsidiaries
as a result of, or in connection with, such Asset Disposition, and (iii) (x) the repayment of any
Debt secured solely by the asset or property subject to such Asset Disposition, if such repayment
is required as a condition to consummating such Asset Disposition, and (y) in the case of real
property, the repayment of any mortgages secured by or obligations secured by mechanics’,
construction or similar liens on such property, if such repayment is required as a condition to
consummating such Asset Disposition.

       “New Money Loan Cap”: as of any date of determination, an amount equal to the aggregate
amount of New Money Loan Commitments in effect as of such date of determination, as set forth
on the New Money Loan Commitments Schedule (as may be increased from time to time after the
Closing Date to the extent that additional New Money Loan Commitments are secured through the
DIP Facility Syndication after the Closing Date); provided, that, the “New Money Loan Cap” shall
not exceed an amount equal to $75,000,000, in the aggregate.

        “New Money Loan Commitment”: the commitment and obligation of the Lenders to fund
their Pro Rata shares of New Money Loans pursuant to Section 2.1.2 in an aggregate principal
amount outstanding at any time not to exceed the amount determined at such time to be equal to
(a) the New Money Loan Cap, minus (b) the aggregate principal amount of New Money Loans
made through to such time. The New Money Loan Commitment shall be set forth on the New
Money Loan Commitment Schedule. For the avoidance of doubt, if applicable from time to time,
the New Money Loan Commitment shall be adjusted to reflect any reduction resulting from the
operation of the provisions hereof (including pursuant to Section 2.1.4); provided, that the
aggregate amount of the New Money Loan Commitment shall not exceed the New Money Loan
Cap.

        “New Money Loan Commitment Payment”: a payment (for the account of Lenders holding
New Money Loan Commitments) required to be made by the Borrower on the Closing Date and
on each other day when any other New Money Loans are funded, as further provided in Sections
3.2.4 and 2.1.2 hereof, in each case, in an aggregate amount equal to 2.00% of such New Money
Loans being extended on such date.

      “New Money Loan Commitment Schedule”: means Schedule 1.1, which such Schedule
1.1 may be updated from time to time in accordance with this Agreement in connection with the
DIP Facility Syndication.

       “New Money Loan Commitment Shortfall”: at any time an amount equal to (a)
$75,000,000 minus (b) the New Money Loan Cap; provided, that, if such amount is less than zero
in any case, the New Money Loan Commitment Shortfall shall be deemed to be zero for all
purposes hereof.


                                               -24-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 111 of 224




        “New Money Loan Commitment Termination Date”: the earliest to occur of (a) the
Termination Date and (b) the date on which the New Money Loan Commitments are reduced to
zero, or otherwise terminate or expire, or are cancelled, in each case, in accordance with the terms
hereof (whether pursuant to Section 2.1.2, Section 2.1.4 or otherwise).

        “New Money Loans”: Loans made hereunder pursuant to a funding of cash by Lenders
having New Money Loan Commitments. For the avoidance of doubt, New Money Loans shall
include any interest and Maturity Extension Payment, as applicable, that is Paid in Kind in respect
thereof.

       “Notice of Borrowing”: a Notice of Borrowing to be provided by the Borrower to request
a Borrowing of Loans, substantially in the form of Exhibit C hereto or such other form as may be
approved by the Administrative Agent (including any form on an electronic platform or electronic
transmission system as shall be approved by the Administrative Agent), appropriately completed
and signed by a Senior Officer of the Borrower.

        “Obligations”: all (a) principal of, and premium, if any, on the Loans (including all Roll-
Up Loans, all New Money Loans, all DIP Facility Commitment Loans, all Backstop Loans and
Loans resulting from, and deemed made in connection with payment of, PIK Interest, the New
Money Loan Commitment Payment and the Termination Payments, as applicable), and, without
limiting the foregoing, all obligations and indebtedness with respect to the New Money Loan
Commitment Payment and the Termination Payments, (b) interest (including interest accruing
after the Termination Date or other maturity of the Loans, and Post-Petition Interest), expenses,
fees, indemnification obligations, Extraordinary Expenses and other amounts payable by Obligors
under Loan Documents (including, without limitation, all amounts pursuant to Sections 3, 5, 10,
and 14.1.3), and all charges accruing during the Chapter 11 Cases, and (c) other Debts, obligations
and liabilities of any kind owing by Obligors pursuant to the Loan Documents, whether now
existing or hereafter arising, whether evidenced by a note or other writing, whether allowed in any
Insolvency Proceeding, whether arising from an extension of credit, issuance of a letter of credit,
acceptance, loan, guaranty, indemnification or otherwise, and whether direct or indirect, absolute
or contingent, due or to become due, primary or secondary, or joint or several.

      “Obligor”: the Borrower, each Guarantor, or other Person that has granted a Lien in favor
of Administrative Agent on its assets to secure any Obligations.

        “Ordinary Course of Business”: in respect of any obligation of, any transaction involving,
entered into, or consummated by, or any action taken by, or any agreement or arrangement entered
into by (each, an “Applicable Transaction”), any Obligor or any other Person (including any Asset
Disposition), that such Applicable Transaction shall be consummated, conducted, effectuated, or
otherwise take place in the ordinary course of such Person’s business, and in accordance with such
Person’s past practice, and, in each case, in good faith and not for purposes of evading any
covenant or restriction in, or any requirement of, any Loan Document, any Restructuring
Transaction Document or Applicable Law; provided, that, (i) any Applicable Transaction that
occurs on or at any time after the Petition Date shall only be deemed to be in the Ordinary Course
of Business if and to the extent that the same constitutes “Ordinary Course of Business” or would
be deemed to be in the ordinary course pursuant to section 363 of the Bankruptcy Code, (ii) any
payment, disbursement or liability made or arising as of the Petition Date shall only be deemed to

                                               -25-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 112 of 224




be in the Ordinary Course of Business if, in addition to satisfying the foregoing requirements, the
same shall be in accordance with the Approved Budget, and (iii) any Applicable Transaction
involving Cryptocurrency (including any Asset Disposition or any other sale, transfer or other
disposition of any Cryptocurrency) shall, in each case, only be considered to be in the Ordinary
Course of Business if consummated at Fair Market Value.

        “Organic Documents”: with respect to any Person, its charter, certificate or articles of
incorporation, bylaws, articles of organization, limited liability agreement, operating agreement,
members agreement, shareholders agreement, partnership agreement, certificate of partnership,
certificate of formation, voting trust agreement, or similar agreement or instrument governing the
formation or operation of such Person.

        “OSHA”: the Occupational Safety and Hazard Act of 1970.

       “Other Agreement”: the Agent Fee Letter and each other fee letter, Compliance Certificate,
or other note, document, instrument or agreement (other than this Agreement or a Security
Document) now or hereafter delivered by an Obligor to Administrative Agent or a Lender in
connection with this Agreement.

        “Other Connection Taxes”: with respect to the Administrative Agent, any Lender or any
other recipient, Taxes imposed as a result of a present or former connection between such recipient
and the jurisdiction imposing such Tax (other than connections arising from such recipient having
executed, delivered, become a party to, performed its obligations under, received payments under,
received or perfected a security interest under, engaged in any other transaction pursuant to or
enforced any Loan Document, or sold or assigned an interest in any Loan or Loan Document).

        “Other Taxes”: all present or future stamp, court or documentary, intangible, recording,
filing or similar Taxes arising from any payment made under any Loan Document or from the
execution, delivery, performance, registration or enforcement of, from the receipt or perfection of
a security interest under, or otherwise with respect to, any Loan Document, except any such Taxes
that are Other Connection Taxes imposed with respect to an assignment (other than any assignment
pursuant to Section 13.4).

        “Paid in Kind”: as used with respect to payment of any accrued interest on any Loan, or
the payment of any fee or any other amount hereunder that is expressly specified as being required
to be Paid in Kind (or payable in kind, capitalized or similar) (including PIK Interest, Backstop
Party Payments, New Money Loan Commitment Payments, Maturity Extension Payments and
Termination Payments payable pursuant to clause (b) of the definition thereof) (the applicable
interest, fee or other amount, the “Reference Obligation”), shall mean that such Reference
Obligation shall (automatically, by operation of the terms hereof, without the requirement for any
Person to take any action or cause anything to be done in order to effectuate such payment), be
deemed paid at 12:01 a.m. (New York City time) on due date therefor, by deeming the equivalent
Dollar amount of such Reference Obligation (calculated in accordance with Section 3 and as
otherwise provided in this Agreement) to be automatically capitalized as an equivalent principal
amount of the applicable Loans that such Reference Obligation is due in respect of (as determined
in accordance with this Agreement), and, accordingly, such amount shall be compounded onto,
and added to the aggregate principal amount of such Loans outstanding immediately prior to such

                                               -26-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 113 of 224




payment, such that, immediately after giving effect to the payment of the applicable Reference
Obligation as described herein, the aggregate outstanding principal amount of the applicable Loans
shall include the amount of such Reference Obligation.

        For the avoidance of doubt, without limiting the foregoing, (i) with respect to any
Reference Obligation owing with respect to any New Money Loans, Backstop Loans or DIP
Facility Commitments Loans, once such Reference Obligation has been paid in accordance with
the foregoing, the amount of such Reference Obligation shall constitute, for all purposes
hereunder, New Money Loans, Backstop Loans or DIP Facility Commitments Loans (as
applicable) incurred as of such time, which shall thereupon accrue interest in accordance with
Section 3, and (ii) the aggregate principal amount of New Money Loans, Backstop Loans and DIP
Facility Commitments Loans outstanding as of any time shall be calculated to include (i) the
original principal amount thereof, (ii) the aggregate amount of interest required to be Paid in Kind
thereon through to the time of determination, and (iii) the aggregate amount required to be Paid in
Kind thereon through to such date of determination in respect of the Maturity Extension Payment
(if any) and Termination Payment (if any).

        “Participant”: as defined in Section 13.2.

        “Participant Register”: as defined in Section 13.2.4.

        “Patents”: all patents and all patent applications (whether issued, applied for or allowed in
the United States or any other country or any political subdivision thereof), together with any and
all (i) rights and privileges arising under applicable law with respect to the foregoing, (ii)
inventions, discoveries, designs and improvements described or claimed therein, (iii) reissues,
divisions, continuations, reexaminations, extensions and continuations-in-part thereof and
amendments thereto, (iv) income, fees, royalties, damages, claims and payments now or hereafter
due and/or payable thereunder and with respect thereto including damages and payments for past,
present or future infringements thereof, (v) rights corresponding thereto throughout the world and
(vi) rights to sue for past, present or future infringements thereof.

        “Patriot Act”: the Uniting and Strengthening America by Providing Appropriate Tools
Required to Intercept and Obstruct Terrorism Act of 2001, Pub. L. No. 107-56, 115 Stat. 272
(2001).

       “Payment Item”: each check, draft or other item of payment payable to the Borrower or
any Subsidiary, including those constituting proceeds of any Collateral.

        “PBGC”: the Pension Benefit Guaranty Corporation.

        “Pension Plan”: any employee pension benefit plan (as defined in Section 3(2) of ERISA),
other than a Multiemployer Plan, that is subject to Title IV of ERISA and is sponsored or
maintained by any Obligor or ERISA Affiliate or to which the Obligor or ERISA Affiliate
contributes or has an obligation to contribute, or in the case of a multiple employer or other plan
described in Section 4064(a) of ERISA, has made contributions at any time during the preceding
five plan years.



                                                -27-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 114 of 224




         “Permitted Asset Disposition”: any of the following Asset Dispositions, but, in each case,
only if, and so long as, such Asset Disposition is in accordance with the Approved Budget (subject
to the Permitted Variance):

                (a)    any sale of property or any disposition of property not otherwise described
        pursuant to any other clause of this definition; provided, that the aggregate Fair Market
        Value or book value (whichever is more) of property disposed of in reliance on this clause
        (a) since the Closing Date (taken as a whole, and determined in the aggregate and on a
        cumulative basis as of the Closing Date) shall not exceed $1,000,000;

                (b)     a disposition of property that is obsolete, surplus, unmerchantable or
        otherwise unsalable, including the abandonment or other disposition of immaterial
        Intellectual Property, in the Ordinary Course of Business;

                (c)    the sale or discount (or forgiveness), in each case without recourse and in
        the Ordinary Course of Business, of accounts receivable or notes receivable arising in the
        Ordinary Course of Business, but only in connection with the compromise or collection
        thereof or in connection with the bankruptcy or reorganization of the applicable account
        debtors and dispositions of any securities received in any such bankruptcy or
        reorganization;

               (d)      dispositions resulting from any casualty or other insured damage to, or any
        taking under any power of eminent domain or by condemnation or similar proceeding of,
        any real or personal property of any Obligor;

                 (e)        any transactions permitted by Sections 10.2.2, 10.2.2(ee), 10.2.4 or 10.2.8;

               (f)     non-exclusive Licenses for any Intellectual Property, leases or subleases, in
        each case in the Ordinary Course of Business;

              (g)     approved in writing by the Administrative Agent (with the Required
        Lenders’ consent);

                (h)    a disposition of property to the extent that (i) such property is immediately
        exchanged for credit against the purchase price of similar replacement property (and such
        purchase is consummated promptly thereafter), or (ii) the proceeds of such disposition are
        applied to the purchase price of replacement property (which replacement property is
        actually promptly purchased); provided, that, any property acquired hereunder shall
        constitute Collateral, and the Administrative Agent shall be granted a fully perfected Lien
        thereon in accordance with the requirements hereof and having the same priority as all
        other Liens granted to secure the Obligations;

                (i)     a lease, sublease, license or sublicense of any real or personal property
        which is entered into in good faith and does not materially interfere with the business of
        the Obligors, taken as a whole, or which is entered into in the Ordinary Course of Business;
        provided, that any payments by any Obligor with respect thereto shall be set forth in the
        Approved Budget and shall be in accordance with the Financial Covenant and the DIP
        Orders;

                                                    -28-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 115 of 224




                 (j)        the unwinding of Hedging Agreements;

                (k)    Asset Dispositions among Obligors in the Ordinary Course of Business, so
        long as any property subject to the same shall remain subject to a fully perfected, first-
        priority Lien in favor of the Administrative Agent to the extent provided hereunder and
        pursuant to the DIP Orders;

               (l)   the liquidation or other disposition of cash and Cash Equivalents in the
        Ordinary Course of Business and in accordance with the Approved Budget;

               (m)    the surrender or waiver of contractual rights, and the settlement or waiver
        of contractual or litigation claims in the Ordinary Course of Business or in the
        commercially reasonable judgment of the Obligors, and, in each case, solely if and to the
        extent permitted in the Chapter 11 Cases and not in violation of any Restructuring
        Transaction Document; provided, that, the aggregate value of such claims shall not exceed
        $1,000,000;

                 (n)        Bitcoin Dispositions; and

                (o)     the sale or other Disposition (in each case, at Fair Market Value) of one or
        more of the Agreed Sale Properties; provided, that as of the time of such sale, (i) the New
        Money Loan Commitment Shortfall is greater than zero ($0), and (ii) the amount of
        available New Money Loan Commitments is zero $(0), and no additional New Money
        Loan Commitments are then made available; provided, further that, notwithstanding the
        foregoing, the Borrower shall not be permitted to sell or otherwise Dispose of any Agreed
        Sale Property in reliance on this clause (o) at any time if the aggregate amount of net
        proceeds received prior to such time (on a cumulative basis since the Closing Date) in
        respect of any sale or Disposition of any other Agreed Sale Properties pursuant to this
        clause (o) exceeded $10,000,000 (it being understood that no sale or other Disposition shall
        constitute a Permitted Asset Disposition hereunder if in violation of the foregoing)

       provided, that, notwithstanding anything to the contrary, neither the Borrower nor any
Subsidiary shall make any Asset Disposition in connection with a sale-leaseback transaction
without the prior written consent of the Administrative Agent (at the direction of the Required
Lenders).

        “Permitted Contingent Obligations”: Contingent Obligations (a) arising from
endorsements of Payment Items for collection or deposit in the Ordinary Course of Business; (b)
arising from Hedging Agreements entered into prior to the Petition Date in accordance with the
Prepetition Loan Agreements and not prohibited hereunder, or any Hedging Agreements entered
into after the Petition Date in accordance herewith; (c) incurred or arising in the Ordinary Course
of Business prior to the Petition Date (to the extent then permitted by the Prepetition Loan
Agreements), and existing on the Closing Date, and any extension or renewal thereof that does not
increase the amount of such Contingent Obligation when extended or renewed; (d) incurred in the
Ordinary Course of Business with respect to surety, appeal or performance bonds, or other similar
obligations; (e) arising from customary indemnification obligations in favor of purchasers in
connection with Asset Dispositions not prohibited hereunder; (f) arising under the Loan

                                                   -29-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 116 of 224




Documents or the DIP Order or otherwise in favor of the Secured Parties and/or their Related
Parties (including the Guarantee Obligations of the Guarantors); (g) in an aggregate amount of
$500,000 or less at any time incurred or arising by operation of law, or in the Ordinary Course of
Business pursuant to a transaction not otherwise prohibited hereunder; (h) in respect of Debt (other
than the Obligations) permitted pursuant to Section 10.2.1 (but not exceeding the amount thereof,
and only insofar as such Contingent Obligations are subordinated to the Obligations to the extent
required hereby or as otherwise acceptable to the Administrative Agent); (i) arising from
endorsements of payment items for collection or deposit in the Ordinary Course of Business or (j)
arising in connection with any Permitted Asset Disposition; provided, that, notwithstanding the
foregoing, any Contingent Obligation incurred or arising (or extended or renewed) at any time
after the Petition Date shall only constitute a Permitted Contingent Obligation if and to the extent
that the same is permitted during the Chapter 11 Cases and is not in breach of, or inconsistent with,
any Chapter 11 Order.

        “Permitted Discretion”: a determination made in the exercise, in good faith, of reasonable
credit judgment (from the perspective of a secured lender, or any administrative or collateral agent
in connection with any secured financing transaction).

      “Permitted Employment Arrangements”: any employment arrangements approved by the
Bankruptcy Court pursuant to any Chapter 11 Order.

        “Permitted Holders”: the Persons that, as of the time immediately prior to the Petition Date
collectively, have the power to elect a majority of the members of the board of directors of the
Borrower.

        “Permitted Lien”: as defined in Section 10.2.2(j).

        “Permitted Prior Lien”: as defined in Section 10.2.2.

        “Permitted Restrictions”: prohibitions, restrictions, or conditions under or with respect to
any of the following: (a) the Loan Documents or the DIP Orders, (b) any agreement entered into
prior to the Petition Date and in effect on the Closing Date, (c) any Purchase Money Debt or
Purchase Money Lien permitted by Section 10.2.1 or 10.2.2 solely to the extent that the agreement
or instrument governing such Debt prohibits a Lien on the property subject thereto, (d) by reason
of customary provisions restricting pledges, assignments, subletting or other transfers contained in
leases, licenses, contracts and similar agreements entered into in the Ordinary Course of Business
(provided, that such restrictions are limited to the property or assets subject to such leases, licenses,
contracts or similar agreements, as the case may be), (e) any prohibition or limitation that consists
of customary restrictions and conditions contained in any agreement relating to the sale of any real
or personal property permitted under this Agreement, (f) under any Debt or Lien permitted to be
outstanding on the date any Person first becomes a Subsidiary (so long as such agreement was not
entered into solely in contemplation of such Person becoming a Subsidiary, and such Person is
permitted hereunder to become a Subsidiary), (g) Liens that are negative pledges and restrictions
on Liens in favor of any holder of Debt permitted under Section 10.2.1 but solely to the extent any
negative pledge relates to (A) the property financed by such Debt and the proceeds, accessions and
products thereof or (B) the property secured by such Debt and the proceeds, accessions and
products thereof so long as the agreements governing such Debt permit the Liens on Collateral

                                                  -30-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 117 of 224




securing the Obligations; (h) Liens that are restrictions on cash or other deposits imposed by
customers under contracts entered into in the Ordinary Course of Business and permitted during
the Chapter 11 Cases; (i) Liens that arise with respect to cash or other deposits permitted under
Sections 10.2.1 or 10.2.2 and limited to such cash or deposit or customary bank set-off rights; (j)
Liens that are Licenses or restrictions regarding licensing or sublicensing by the Borrower and its
Subsidiaries of Intellectual Property in the Ordinary Course of Business, if permitted during the
Chapter 11 Cases; (k) Liens that are restrictions on cash earnest money deposits in favor of sellers
in connection with acquisitions not prohibited hereunder; and (l) Applicable Law during the
Chapter 11 Cases.

      “Permitted Variance”: shall mean, with respect to any Budget Variance, a variance that
would not result in a default under the Budget Covenant.

       “Person”: any individual, corporation, limited liability company, partnership, joint venture,
association, trust, unincorporated organization, Governmental Authority or other entity.

        “Petition Date”: as defined in the recitals to this Agreement.

        “PIK Interest”: interest Paid in Kind.

       “Plan”: any employee benefit plan (as defined in Section 3(3) of ERISA) established or
maintained by an Obligor or, with respect to any such plan that is subject to Section 412 of the
Code or Title IV of ERISA, an ERISA Affiliate.

        “Platform”: as defined in Section 14.3.3.

        “Pledged Collateral”: as defined in Section 7.3.1.

        “Pledged Debt Securities”: as defined in Section 7.3.1.

        “Pledged Equity Interests”: as defined in Section 7.3.1.

        “Post-Petition Interest”: with respect to any Loans or other Obligations hereunder, all
interest, fees, expenses and other charges accruing after the filing of any petition under the
Bankruptcy Law, or the commencement of any Insolvency Proceeding relating to any Obligor
and/or any of its Subsidiaries (including, as applicable, the Chapter 11 Cases), whether or not a
claim for post-filing or post-petition interest is allowed or allowable under the Bankruptcy Law or
in any such Insolvency Proceeding.

        “Potential Transaction”: one or more potential financing, restructuring, recapitalization,
merger, consolidation, sale, reorganization, amendment and/or similar or related transactions
relating to the Obligors, the Loans, the Obligations, any Prepetition Debt, and/or related matters,
as the case may be (including any transaction contemplated by any Restructuring Transaction
Documents).

       “Prepetition April NPA”: the Secured Convertible Note Purchase Agreement, dated as of
April 19, 2021 (as amended or otherwise modified from time to time prior to, and as in effect on,


                                                 -31-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 118 of 224




the Petition Date), among the Borrower, the purchasers party thereto from time to time and the
Prepetition April NPA Agent.

        “Prepetition April NPA Agent”: U.S. Bank, National Association, as note agent and as
collateral agent under the Prepetition April NPA, and each of its successors and permitted assigns.

        “Prepetition April NPA Debt”: all Debt, obligations, liabilities and indebtedness of every
kind, nature and description owing by the Obligors to the Prepetition April NPA Agent and
Prepetition April NPA Lenders, including principal, interest, charges, fees, premiums, indemnities,
letter of credit obligations, costs and expenses, however evidenced, whether as principal, surety,
endorser, guarantor or otherwise arising under the Prepetition April NPA Documents (including,
without duplication, all “Obligations” as defined thereunder).

       “Prepetition April NPA Documents”: collectively, the following (as the same now exist or
may hereunder be amended, modified, supplemented, extended, renewed, restated or replaced): (a)
the Prepetition April NPA; and (b) all other Note Documents (as defined in the Prepetition April
NPA).

        “Prepetition April NPA Lenders”: the purchasers under the Prepetition April NPA and their
respective successors and assigns.

        “Prepetition April NPA Secured Parties”: collectively, the Prepetition April NPA Lenders,
the Prepetition April NPA Agent and the other Secured Parties (as such term is defined under the
Prepetition April NPA Documents).

        “Prepetition August NPA”: the Convertible Note Purchase Agreement, dated as of August
20, 2021 (as amended or otherwise modified from time to time prior to, and as in effect on, the
Petition Date), among the Borrower, the purchasers party thereto from time to time and the
Prepetition August NPA Agent.

        “Prepetition August NPA Agent”: U.S. Bank, National Association, as note agent and as
collateral agent under the Prepetition August NPA, and each of its successors and permitted
assigns.

        “Prepetition August NPA Debt”: all Debt, obligations, liabilities and indebtedness of every
kind, nature and description owing by the Obligors to the Prepetition August NPA Agent and
Prepetition August NPA Lenders, including principal, interest, charges, fees, premiums,
indemnities, costs and expenses, however evidenced, whether as principal, surety, endorser,
guarantor or otherwise arising under the Prepetition August NPA Documents (including, without
duplication, all “Obligations” as defined thereunder).

        “Prepetition August NPA Documents”: collectively, the following (as the same now exist
or may hereunder be amended, modified, supplemented, extended, renewed, restated or replaced):
(a) the Prepetition August NPA; and (b) all other Note Documents (as defined in the Prepetition
August NPA).

        “Prepetition August NPA Lenders”: the purchasers under the Prepetition August NPA and
their respective successors and assigns.

                                               -32-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 119 of 224




       “Prepetition August NPA Secured Parties”: collectively, the Prepetition August NPA
Lenders, the Prepetition August NPA Agent and the other Secured Parties (as such term is defined
under the Prepetition August NPA Documents).

       “Prepetition Debt”: (a) all Prepetition NPA Facility Debt, and (b) to extent permitted
pursuant to Section 10.2.1, all other Debt incurred prior to, and outstanding as of, the Petition
Date.

      “Prepetition Loan Documents”: the Prepetition April NPA Documents and the Prepetition
August NPA Documents, collectively, and each of them individually, as the context may require.

      “Prepetition Note Purchase Agreements”: the Prepetition April NPA and the Prepetition
August NPA, collectively, and each of them individually, as the context may require.

      “Prepetition NPA Facility Debt”: the Prepetition April NPA Debt and the Prepetition
August NPA Debt.

        “Prepetition Secured Parties”: collectively, the Prepetition April NPA Secured Parties and
the Prepetition August NPA Secured Parties (and each of them individually, a “Prepetition Secured
Party”).

       “Primary Operating Account”: a Deposit Account of the Borrower designated by the
Borrower in writing to the Administrative Agent from time to time as the Borrower’s Primary
Operating Account.

       “Pro Rata”: with respect to any Lender, (i) such Lender’s share of the New Money Loan
Commitments, expressed as a percentage and set forth on Schedule 1.1 (as may be amended from
time to time) hereto opposite such Lender’s name under the heading “New Money Loan
Commitment” and (ii) such Lender’s share, expressed as a percentage, obtained by dividing (a)
the aggregate principal amount of outstanding Loans held by such Lender plus such Lender’s
unfunded Commitments by (b) the aggregate principal amount of outstanding Loans held by all
Lenders plus the unfunded Commitments.

        “Professional Fees Escrow Account”: has the meaning set forth in the DIP Orders.

        “Properly Contested”: with respect to any obligation of an Obligor, (a) the obligation is
subject to a bona fide dispute regarding amount or the Obligor’s liability to pay; (b) the obligation
is being properly contested in good faith by appropriate proceedings promptly (or to be promptly)
instituted and diligently pursued; (c) appropriate reserves have been established in accordance with
GAAP; (d) non-payment could not reasonably be expected to have a Material Adverse Effect; (e)
no Lien other than a Permitted Lien is imposed on assets of the Obligor, unless bonded and stayed
to the reasonable satisfaction of Administrative Agent; and (f) if the obligation results from entry
of a judgment or other order, such judgment or order is stayed pending appeal or other judicial
review.

        “Protective Advances”: as defined in Section 2.1.6.



                                                -33-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 120 of 224




        “PTE”: a prohibited transaction class exemption issued by the U.S. Department of Labor,
as any such exemption may be amended from time to time.

        “Purchase Money Debt”: (a) Debt (other than the Obligations) for payment of any of the
purchase price of fixed assets (including Equipment); (b) Debt (other than the Obligations)
incurred within 270 days before or after acquisition of any fixed assets (including Equipment), for
the purpose of financing any of the purchase price thereof; and (c) any renewals, extensions or
refinancings (but not increases) thereof, in each case, solely to the extent effectuated prior to the
Petition Date in accordance with the Prepetition Note Purchase Agreements.

        “Purchase Money Lien”: a Lien that secures Purchase Money Debt, encumbering only the
fixed assets acquired with such Debt and constituting a Capital Lease or a purchase money security
interest under the UCC.

        “QFC Credit Support”: as defined in Section 14.20.

         “RCRA”: the Resource Conservation and Recovery Act (42 U.S.C. §§ 6991-6991i).

        “Real Estate”: an Obligor’s interest in all leases and all land, tenements, hereditaments and
any estate or interest therein, together with the buildings, structures, parking areas and other
improvements thereon (including all fixtures), now or hereafter owned or leased by any Obligor,
together with all easements, rights of way, and similar rights relating thereto and all leases,
licenses, tenancies and occupancies thereof.

        “Register”: as defined in Section 13.3.4.

       “Related Parties”: with respect to any Person, (a) such Person’s Affiliates and (b) the
partners, directors, officers, employees, agents, trustees, administrators, managers, advisors,
consultants, service providers and representatives of such Person and of such Person’s Affiliates.

       “Release”: any release, spill, emission, discharge, deposit, disposal, leaking, pumping,
pouring, dumping, emptying, injection or leaching into the Environment, or into, from or through
any building, structure or facility.

        “Remaining Obligations”: as of any date of determination, Obligations that as of such date
of determination are inchoate or contingent indemnification and reimbursement obligations under
the Loan Documents that survive termination of the Loan Documents, but as of such date of
determination are not due and payable and for which no claims have been made.

        “Remedies Notice Period” has the meaning set forth in the DIP Orders.

        “Report”: as defined in Section 12.2.3.

        “Reportable Event”: any of the events set forth in Section 4043(c) of ERISA, other than
events for which the 30 day notice period has been waived.

       “Required Lenders”: at any time, one or more Lenders (subject to Section 4.2) having at
such time (on an aggregate basis) Total Credit Exposures in excess of 50% of the Total Credit

                                                  -34-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 121 of 224




Exposures of all Lenders at such time; provided, however, that the Commitments and Loans of any
Defaulting Lender shall be excluded from such calculation.

         “Resolution Authority”: an EEA Resolution Authority or, with respect to any UK Financial
Institution, a UK Resolution Authority.

       “Restricted Investment”: any Investment by an Obligor or Subsidiary, other than any
Investment made pursuant to clauses (a) through (k) below:

                 (a)        Investments existing on the Closing Date and set forth on Schedule 10.2.4;

               (b)     Investments in cash and Cash Equivalents (and assets that were Cash
        Equivalents when such Investment was made); provided, that the cash and Cash
        Equivalents subject to such Investment shall be held in a Deposit Account that constitutes
        Collateral and is either subject to a Control Agreement in favor of the Administrative
        Agent, in an Excluded Account or a perfected Lien pursuant to the DIP Order;

                (c)    advances to a director, officer, or employee for salary, travel expenses,
        relocation, commissions and other business-related expenses in the Ordinary Course of
        Business and in accordance with the Approved Budget;

               (d)    prepaid expenses and extensions of trade credit made in the Ordinary
        Course of Business and in accordance with the Approved Budget;

                 (e)        deposits with financial institutions permitted hereunder;

                 (f)        Investments in any Obligor;

                (g)     Investments consisting of extensions of credit in the nature of accounts
        receivable or notes receivable arising from the grant of trade credit in the Ordinary Course
        of Business, and Investments received in satisfaction or partial satisfaction thereof from
        financially troubled account debtors and other credits to suppliers in the Ordinary Course
        of Business;

                (h)    promissory notes, securities and other non-cash consideration received in
        connection with Permitted Asset Dispositions, so long as the same shall constitute
        Collateral and be subject to the Administrative Agent’s Lien hereunder in accordance with
        the requirements hereof;

                 (i)        Investments in Hedging Agreements permitted under Section 10.2.14;

               (j)     Contingent Obligations in respect of leases (other than Capital Leases) or
        other obligations that do not constitute Debt, in each case entered into in the Ordinary
        Course of Business and constituting Permitted Contingent Obligations; and

               (k)    other Investments, so long as the aggregate amount of such Investments
        shall not exceed $1,000,000 at any time outstanding and such Investments shall be in
        accordance with the Approved Budget.

                                                    -35-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 122 of 224




        “Restrictive Agreement”: an agreement that conditions or restricts the right of any Obligor
to grant Liens on any assets to secure the Obligations, to declare or make Distributions, or to repay
any intercompany Debt.

        “Restructuring”: as defined in the Restructuring Support Agreement.

        “Restructuring Support Agreement”: that certain Restructuring Support Agreement
(including the term sheet attached thereto as Exhibit 1, and all other exhibits, schedules, annexes
and other attachments thereto), dated as of December 22, 2022, by and among the Debtors, the
Prepetition Secured Parties party thereto and the Lenders, as the same may be amended, restated,
supplemented or otherwise modified from time to time in accordance with the terms thereof.

       “Restructuring Transaction Documents”: the Restructuring Support Agreement, and such
other agreements, documents and instruments (if any) designated as such by the Administrative
Agent.

        “Roll-Up” as defined in Section 2.1.1.

        “Roll-Up Loans” as defined in Section 2.1.1.

      “Royalties”: all royalties, fees, expense reimbursement and other amounts payable by the
Borrower under a License.

       “S&P”: Standard & Poor’s Ratings Services, a Standard & Poor’s Financial Services LLC
business, and its successors.

       “Sanction”: any sanction administered or enforced by the U.S. Government (including
OFAC), United Nations Security Council, European Union, His Majesty’s Treasury or other
sanctions authority.

        “Secured Parties”: collectively, the Administrative Agent and Lenders.

        “Securities Act”: the Securities Act of 1933.

        “Security Documents”: the Guaranties, Control Agreements, the DIP Orders and all other
documents, instruments and agreements now or hereafter securing (or given with the intent to
secure) any Obligations, including, without limitation, any mortgages and deeds of trust, to the
extent applicable.

        “Senior Officer”: the chairman of the board, president, chief executive officer, chief
financial officer or treasurer of the Borrower or, if the context requires, another Obligor (or any
other officer or employee of the applicable Obligor designated in or pursuant to an agreement
between the applicable Obligor and the Administrative Agent).

       “Subordinated Debt”: Debt incurred by the Borrower or its Subsidiaries that is expressly
contractually subordinate and junior in right of payment to Full Payment of all Obligations (other
than Remaining Obligations) on terms in accordance with Section 10.2.1(b) and Section 10.2.7.


                                                 -36-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 123 of 224




        “Subsidiary”: with respect to any Person, any entity more than 50% of whose voting
securities or Equity Interests is owned by such Person (including indirect ownership by such
Person through other entities in which such Person directly or indirectly owns more than 50% of
the voting securities or Equity Interests). Unless otherwise specified, all references herein to a
“Subsidiary” or to “Subsidiaries” shall refer to a Subsidiary or Subsidiaries of the Borrower.

      “Subsidiary Guarantor”: each direct and indirect Subsidiary of the Borrower, other than an
Immaterial Subsidiary.

        “Supported QFC”: as defined in Section 14.20.

        “Swap Obligations”: with respect to an Obligor, its obligations under a Hedging Agreement
that constitutes a “swap” within the meaning of Section 1a(47) of the Commodity Exchange Act.

        “Taxes”: all present or future taxes, levies, imposts, duties, deductions, withholdings
(including backup withholding), assessments, fees or other charges imposed by any Governmental
Authority, including any interest, additions to tax or penalties applicable thereto.

        “Technology”: all trade secrets, know how, technology (whether patented or not), rights in
software (including source code and object code), rights in data and databases, rights in Internet
web sites, customer and supplier lists, proprietary information, methods, procedures, formulae,
descriptions, compositions, technical data, drawings, specifications, name plates, catalogs,
confidential information and the right to limit the use or disclosure thereof by any person, pricing
and cost information, business and marketing plans and proposals, together with any and all (i)
rights and privileges arising under applicable law with respect to the foregoing, (ii) income, fees,
royalties, damages and payments now and hereafter due and/or payable thereunder and with
respect thereto, including damages, claims and payments for past, present or future
misappropriations or violations thereof, (iii) rights corresponding thereto throughout the world and
(iv) rights to sue for past, present and future misappropriations or violations thereof.

        “Termination Date”: the earliest of the following: (a) the date that is thirty-five (35) days
after the Petition Date (or such later date as may be agreed in writing by the Required Lenders)
unless the Final DIP Order Date has occurred on or prior to such date, (b) the date of consummation
of any transaction pursuant to which all or substantially all of the Debtors’ property and assets are
sold, transferred or otherwise disposed of (including pursuant to Section 363 of the Bankruptcy
Code), (c) the Chapter 11 Plan Effective Date, (d) the Maturity Date, and (e) the date on which the
Loans are accelerated or otherwise declared (or become) due and payable in accordance with the
terms of this Agreement (whether automatically, or upon any Event of Default or as otherwise
provided hereunder).

       “Termination Payment”: each payment required to be made (for the account of the Lenders,
in accordance with their Pro Rata share) upon, and with respect to, any Termination Payment
Triggering Event (as further set forth herein, including pursuant to Section 5.12 and the other
applicable provisions hereof), which payment shall be in a Dollar amount equal to:

        (a) in the case of any Termination Payment Triggering Event described in clause (a) of the
definition thereof, (i) 15.00% of the aggregate principal amount of all New Money Loans, DIP
Facility Commitment Loans and Backstop Loans outstanding at such time, together with all
                                                -37-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 124 of 224




accrued but unpaid interest and applicable Maturity Extension Payment in respect of such New
Money Loans, DIP Facility Commitment Loans and Backstop Loans and (ii) 2.00% of the
aggregate principal amount of Roll-Up Loans outstanding at such time, which Termination
Payment shall be paid in cash; and

        (b) in the case of any Termination Payment Triggering Event described in clause (b) of the
definition thereof, (i) 3.00% of the aggregate principal amount of all New Money Loans, DIP
Facility Commitment Loans and Backstop Loans, together with all accrued but unpaid interest and
applicable Maturity Extension Payment in respect of such New Money Loans, DIP Facility
Commitment Loans and Backstop Loans and (ii) 2.00% of the aggregate principal amount of Roll-
Up Loans outstanding immediately prior to giving effect to any Acceptable Exit Roll Transaction,
which Termination Payment shall be Paid in Kind and capitalized on, and added to, the principal
amount of such Loans and deemed outstanding as principal prior to giving effect to any Acceptable
Exit Roll Transaction.

       “Termination Payment Triggering Event”: each and any of the following events (without
duplication), each of which shall cause the Termination Payment to be immediately due and
payable hereunder in accordance with the terms of this Agreement:

         (a) other than as a result of the consummation of any Acceptable Exit Roll Transaction, (i)
the occurrence of any repayment, satisfaction, discharge, release, defeasance, compromise or
termination of the credit facility hereunder, of all or any portion of the Loans or other Obligations
(or, if earlier, any obligation with respect to the same), including the making of any full or partial
prepayment, repayment, payment or redemption (as applicable) of or with respect to any Loans or
Obligations hereunder (or the termination of all or any portion of unfunded Commitments),
whether mandatory, optional, voluntary, automatic or otherwise, whether before or after the
occurrence of any Default or Event of Default, or the Termination Date or any other termination
of this Agreement for any reason, and including to the extent resulting from, or arising or occurring
in connection with, any acceleration, any full or partial refinancing, replacement, restructuring,
reorganization or similar of the credit facility hereunder or any Loans or Obligations (including
pursuant to any New Exit Term Loan Facility (as defined in the Restructuring Support Agreement),
or in any Insolvency Proceeding, any foreclosure (whether by power of judicial proceeding or
otherwise) or deed in lieu of foreclosure, or the making of a distribution of any kind in any
Insolvency Proceeding, and, in each case, whether occurring directly or indirectly, including
through the Administrative Agent or any other Person), and (ii) without limiting the foregoing, the
acceleration of all or any portion of the Loans or other Obligations for any reason, or the occurrence
of any other event or circumstance that causes any Loan or other Obligation to become (or to be
declared) due and payable for any reason (including upon an Event of Default, pursuant to Section
11 hereof, by operation of law, or otherwise); and

        (b) the consummation of an Acceptable Exit Roll Transaction.

       “Total Credit Exposure”: as to any Lender at any time, the unused Commitments and
outstanding amount of all Loans of such Lender at such time.

       “Trademarks”: all trademarks (including service marks), slogans, logos, certification
marks, trade dress, uniform resource locators (URL’s), domain names, corporate names, brand

                                                -38-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 125 of 224




names, and trade names and other identifiers of source, and all goodwill of the business connected
with the use of and symbolized by any of the foregoing, whether registered or unregistered, and
all registrations and applications for the foregoing (whether statutory or common law and whether
established or registered or applied for in the United States or any other country or any political
subdivision thereof), together with any and all (i) rights and privileges arising under applicable
law with respect to any of the foregoing, (ii) extensions and renewals thereof and amendments
thereto, (iii) income, fees, royalties, damages and payments now and hereafter due and/or payable
thereunder and with respect thereto, including damages, claims and payments for past, present or
future infringements, dilutions or violations thereof, (iv) rights corresponding thereto throughout
the world and (v) rights to sue for past, present and future infringements, dilutions or violations
thereof.

        “tranche” means, with respect to any Class of Loans, a principal amount of Loans within
such Class that are outstanding on identical terms, which principal amount constitutes a portion,
but not the entire principal amount, of Loans comprised in such Class (and each separate portion
representing Loans having other terms shall be a separate tranche); provided, further, that,
whenever any provision of this Agreement or any other Loan Document identifies or is expressed
to apply to any Loan(s) only by reference to Class, but without making any distinction between
any Loans within such Class on the basis of their respective terms, such provision shall be deemed
to apply to all Loans within such Class on the same basis, and each Loan in such Class shall be
treated equally pursuant to such provision, notwithstanding that any such Loans belong to different
tranches for any other purpose or in any other context.

        “Transactions”: (a) the execution and delivery by the Obligors of this Agreement and the
other Loan Documents to which they are a party on the Closing Date, and the performance of the
obligations and transactions hereunder, (b) the other transactions related to or entered into in
connection with any of the foregoing or otherwise in connection with the Restructuring, and (c)
the payment of fees, premiums, charges, costs and expenses in connection with any of the
foregoing.

       “Transferee”: any actual or potential Eligible Assignee, Participant or other Person
acquiring an interest in any Obligations.

       “UCC”: the Uniform Commercial Code as in effect in the State of New York or, when the
laws of any other jurisdiction govern the perfection, priority or enforcement of any Lien, the
Uniform Commercial Code of such jurisdiction.

         “UK Financial Institution”: any BRRD Undertaking (as such term is defined under the
PRA Rulebook (as amended form time to time) promulgated by the United Kingdom Prudential
Regulation Authority) or any person subject to IFPRU 11.6 of the FCA Handbook (as amended
from time to time) promulgated by the United Kingdom Financial Conduct Authority, which
includes certain credit institutions and investment firms, and certain affiliates of such credit
institutions or investment firms.

        “UK Resolution Authority”: the Bank of England or any other public administrative
authority having responsibility for the resolution of any UK Financial Institution.


                                               -39-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 126 of 224




        “Unfunded Pension Liability”: the excess of a Pension Plan’s benefit liabilities under
Section 4001(a)(16) of ERISA, over the current value of that Pension Plan’s assets, determined in
accordance with the assumptions used for funding the Pension Plan pursuant to the Code, ERISA
or the Pension Protection Act of 2006 for the applicable plan year.

        “Updated Budget”: as defined in Section 10.1.13(a).

       “Upstream Payment”: a Distribution by a Subsidiary of the Borrower to the Borrower or
to another Subsidiary of the Borrower that holds Equity Interests in such Subsidiary so long as
each Obligor that holds Equity Interests in such Subsidiary received at least its pro rata share of
such Distribution based on its relative ownership of such Subsidiary.

        “U.S. Person”: “United States person” as defined in Section 7701(a)(30) of the Code.

        “U.S. Special Resolution Regimes”: as defined in Section 14.20.

        “U.S. Tax Compliance Certificate”: as defined in Section 5.10.2(b)(iii).

        “Variance Report”: as defined in Section 10.1.12.

        “Variance Report Certificate”: as defined in Section 10.1.12.

        “Voting Equity Interests”: with respect to any Person, any class or classes of Equity
Interests pursuant to which the holders thereof have the general voting power under ordinary
circumstances to elect at least a majority of the board of directors (or equivalent governing body)
of such Person.

         “Write-Down and Conversion Powers”: (a) with respect to any EEA Resolution Authority,
the write-down and conversion powers of such EEA Resolution Authority from time to time under
the Bail-In Legislation for the applicable EEA Member Country, which write-down and
conversion powers are described in the EU Bail-In Legislation Schedule, and (b) with respect to
the United Kingdom, any powers of the applicable Resolution Authority under the Bail-In
Legislation to cancel, reduce, modify or change the form of a liability of any UK Financial
Institution or any contract or instrument under which that liability arises, to convert all or part of
that liability into shares, securities or obligations of that Person or any other Person, to provide
that any such contract or instrument is to have effect as if a right had been exercised under it or to
suspend any obligation in respect of that liability or any of the powers under that Bail-In
Legislation that are related to or ancillary to any of those powers.

        1.2.     Accounting Terms. Under the Loan Documents (except as otherwise specified
herein), all accounting terms shall be interpreted, all accounting determinations shall be made, and
all financial statements shall be prepared, in accordance with GAAP applied on a basis consistent
with the most recent audited financial statements of the Borrower and its Subsidiaries delivered to
Administrative Agent before the Closing Date and using the same inventory valuation method as
used in such financial statements, except for any change required or permitted by GAAP if the
Borrower’s certified public accountants concur in such change, the change is disclosed to
Administrative Agent, and Section 10.2.22 is amended in a manner satisfactory to Required
Lenders to take into account the effects of the change. Any change in GAAP occurring after the

                                                -40-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 127 of 224




date hereof that would require operating leases to be treated as capital leases shall be disregarded
for the purposes of determining Debt and any financial ratio or compliance requirement contained
in any Loan Document.

       1.3.    Uniform Commercial Code. As used herein, the following terms are defined in
accordance with the UCC in effect in the State of New York from time to time: “Chattel Paper,”
“Commercial Tort Claim,” “Deposit Account,” “Document,” “Equipment,” “General Intangibles,”
“Goods,” “Instrument,” “Investment Property,” “Letter-of-Credit Right”, “Supporting
Obligation”, “Security Account” and “Commodity Account”.

         1.4.   Certain Matters of Construction. The terms “herein,” “hereof,” “hereunder” and
other words of similar import refer to this Agreement as a whole and not to any particular section,
paragraph or subdivision. Any pronoun used shall be deemed to cover all genders. In the
computation of periods of time from a specified date to a later specified date, “from” means “from
and including,” and “to” and “until” each mean “to but excluding.” The terms “including” and
“include” shall mean “including, without limitation” and, for purposes of each Loan Document,
the parties agree that the rule of ejusdem generis shall not be applicable to limit any provision.
Section titles appear as a matter of convenience only and shall not affect the interpretation of any
Loan Document. All references to (a) laws or statutes include all related rules, regulations,
interpretations, amendments and successor provisions; (b) any document, instrument or agreement
include any amendments, waivers and other modifications, extensions or renewals (to the extent
permitted by the Loan Documents); (c) any section mean, unless the context otherwise requires, a
section of this Agreement; (d) any exhibits or schedules mean, unless the context otherwise
requires, exhibits and schedules attached hereto, which are hereby incorporated by reference; (e)
any Person include successors and assigns; (f) time of day means time of day at Administrative
Agent’s notice address under Section 14.3.1; or (g) discretion of Administrative Agent or any
Lender means the sole and absolute (unless otherwise qualified) discretion of such Person
exercised in a manner consistent with its duties of good faith and fair dealing. All references to
Loans, Obligations and other amounts herein shall be denominated in Dollars, unless expressly
provided otherwise, and all determinations (including calculations of financial covenants) made
from time to time under the Loan Documents shall be made in light of the circumstances existing
at such time. No provision of any Loan Documents shall be construed against any party by reason
of such party having, or being deemed to have, drafted the provision. A reference to the
Borrower’s “knowledge” or similar concept means actual knowledge of a Senior Officer, or
knowledge that a Senior Officer would have obtained if he or she had exercised reasonable
diligence and good faith. Any reference herein to a merger, transfer, consolidation, amalgamation,
consolidation, assignment, sale, disposition or transfer, or similar term, shall be deemed to apply
to a division of or by a limited liability company, or an allocation of assets to a series of a limited
liability company (or the unwinding of such a division or allocation), as if it were a merger,
transfer, consolidation, amalgamation, consolidation, assignment, sale, disposition or transfer, or
similar term, as applicable, to, of or with a separate Person. Any division of a limited liability
company shall constitute a separate Person hereunder (and each division of any limited liability
company that is a Subsidiary, joint venture or any other like term shall also constitute such a Person
or entity). References to ‘in accordance with’ or ‘subject to’ the Approved Budget will be subject
to (i) with respect to expenditures and payments, Permitted Variances and (ii) with respect to any
excess receipts, revenue or other similar items in excess of the Approved Budget will not be
deemed a breach of the Agreement.

                                                 -41-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 128 of 224




SECTION 2. CREDIT FACILITIES

                2.1.1     Roll-Up Loans. Subject to the terms and conditions of the DIP Order
and this Agreement (including Section 6 hereof), and relying upon the representations and
warranties set forth herein, concurrently with, and automatically upon the occurrence of the Final
DIP Order, each Lender shall hereby be deemed to have made (on a cashless basis, without any
actual funding) a term loan to the Borrower (a “Roll-Up Loan”) in an aggregate principal amount
equal to the New Money Loan Cap in effect on the date of the Final DIP Order, which Roll-Up
Loan shall be deemed to refinance a corresponding amount of Prepetition NPA Facility Debt
owing to such Lender or any of its Affiliates, partners or investors (the foregoing, including the
incurrence of the Roll-Up Loan, the “Roll-Up”).

                 2.1.2      New Money Loans.

                       (a)    Subject to the Approved Budget, and the satisfaction of the
conditions precedent set forth in Section 6, and subject further to the other terms and conditions
hereof, and relying upon the representations and warranties set forth herein, the Lenders agree to
severally, but not jointly, make the following New Money Loans to the Borrower (unless the
Termination Date shall have occurred):

                              (i)     during the period commencing on or after entry of the
Interim DIP Order to but excluding the date of entry of the Final DIP Order (such period, the
“Interim Availability Period”), the Borrower may request New Money Loans as set forth in the
Approved Budget in effect at the time such draw is requested, subject to the provisions of the
Interim DIP Order, provided, that, the aggregate amount of New Money Loans that shall be made
during the Interim Availability Period shall not exceed $37,500,000 (or, if less, the maximum
amount of new money loans approved pursuant to the Interim DIP Order); provided, further, that
there shall be no more than one (1) Borrowing Date during the Interim Availability Period; and

                               (ii)     during the period commencing on or after entry of the Final
DIP Order up to but excluding the Termination Date (such period, the “Final Availability Period”),
the Borrower may request New Money Loans as set forth in the Approved Budget in effect at the
time such draw is requested, subject to the provisions of the Final DIP Order; provided, that, the
aggregate amount of New Money Loans that shall be made during the Final Availability Period
shall not exceed the remaining unfunded New Money Loan Commitments (or, if less, the
maximum amount of new money loans approved pursuant to the Final DIP Order); provided,
further, for any Borrowing after the Closing Date, in the event that an Updated Budget has been
submitted but not become the Approved Budget in accordance with Section 10.1.12, Liquidity
immediately prior to such Borrowing shall not exceed $45,000,000 on the date of such Borrowing
(and, to the extent that Liquidity declines below $45,000,000 thereafter and such Updated Budget
has not become the Approved Budget, any Borrowing in the then Approved Budget will still
occur).

       Notwithstanding the foregoing or anything else in this Agreement or in any other Loan
Document to the contrary, (A) no Lender shall be required to fund New Money Loans on more
than one (1) Borrowing Date in any four-week period (unless consented to in writing by such
Lender), (B) no Lender shall be required to make any New Money Loan on any Borrowing Date

                                               -42-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 129 of 224




that has not been previously specified in the Approved Budget, (C) no Lender shall be required to
fund any amount of any New Money Loans that exceeds its then-outstanding unfunded New
Money Loan Commitment, (D) [reserved], and (E) no Lender shall be required to fund any amount
of any New Money Loan unless each of the Milestones that were required to be satisfied prior to
such time shall have been satisfied, and no Event of Default exists at the time of such Borrowing;
provided, further, that each New Money Loan shall be in a minimum amount equal to (I) at least
$100,000 and in integral multiples of $10,000 thereafter (or such other amounts as agreed to by
the applicable Lender), or (II) if lower that the foregoing, the lesser of (x) the remaining, unfunded
amount of such Lender’s applicable New Money Loan Commitment, as determined as of such
time (after giving effect to the aggregate amount of New Money Loans previously made by such
Lender), and (y) the amount authorized pursuant to the Interim DIP Order (in the case of New
Money Loans made prior to the Final DIP Order Date) or the Final DIP Order (in the case of New
Money Loans made as of the Final DIP Order Date).]

                       (b)    Each Lender’s New Money Loan Commitment shall, concurrently
with the funding of the above New Money Loans by it to the Administrative Agent, be
automatically reduced, on a dollar-for-dollar basis, by the principal amount of New Money Loans
made by it at such time; provided, that, notwithstanding anything else herein, each Lender’s New
Money Loan Commitment shall in any event terminate, and shall be deemed permanently
discharged, extinguished and cancelled in full, and shall cease to be binding on, or enforceable
against, such Lender, in each case, automatically on, and immediately upon the occurrence of, the
Termination Date. For the avoidance of doubt, in no event shall the Lenders be required to fund
any Loans if such funding would cause the aggregate principal amount of Loans outstanding
hereunder to exceed the aggregate amount authorized pursuant to the Interim DIP Order (in the
case of New Money Loans made prior to the Final DIP Order Date) or the Final DIP Order (in the
case of New Money Loans made as of the Final DIP Order Date).

                         (c)    In furtherance of Section 3.2.4, on the Closing Date, the Borrower
shall be required to pay the New Money Loan Commitment Payment for the account of the
Lenders, which payment shall be effectuated pursuant to a deemed making by the Lenders of Loans
on the Closing Date in an aggregate principal amount equal to the amount of the New Money Loan
Commitment Payment (the “DIP Facility Commitment Loans”), which DIP Facility Commitment
Loans shall have the same pricing, rights, privileges and other terms as otherwise attach to all New
Money Loans (whether or not any New Money Loans are outstanding as of such time), but shall
be made automatically and immediately upon and concurrently with the occurrence of the Closing
Date, without requirement for any cash to be advanced by any Lender. The Borrower hereby
agrees that it shall be deemed to have incurred, DIP Facility Commitment Loans, automatically as
of the Closing Date, by operation of the provisions hereof, without any further action by any
Person, and that all DIP Facility Commitment Loans shall be outstanding as of such time, and
interest shall accrue thereon in the same manner as interest would accrue on New Money Loans if
any were made on such date.

                            (d)   Once repaid, no Loan (or portion thereof) may be reborrowed.

              2.1.3      Use of Proceeds. The proceeds of New Money Loans, and cash and Cash
Equivalents of the Obligors, shall, in each case, only be permitted to be used by the Obligors or


                                                  -43-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 130 of 224




their Subsidiaries in accordance with the Approved Budget, this Agreement and the DIP Orders
(including to pay obligations arising from or related to the Professional Fee Escrow Account).

                 2.1.4      Termination of Commitments; Voluntary Reduction of Commitments.

                       (a)    Commitments shall automatically terminate on the Termination
        Date. Upon at least one (1) Business Day (or such shorter period as Administrative Agent
        may agree) prior written notice to Administrative Agent at any time, Borrower may, at its
        option, terminate any New Money Loan Commitments; provided, that such termination
        shall not become effective unless and until Borrower shall have paid the Termination
        Payment calculated on the amount of Commitments so terminated, and Full Payment of all
        Obligations with respect thereto (but no Lender shall be required to fund any Loan or
        provide any credit extension or other accommodation pursuant to any such Commitment
        as of the time that notice of such termination is delivered to the Administrative Agent
        hereunder). Any notice of termination given by Borrower shall be irrevocable.

                        (b)     Borrower may permanently reduce any Commitments, on a Pro Rata
        basis for each Lender, upon at least ten Business Days (or such shorter period as
        Administrative Agent may agree) prior written notice to Administrative Agent, which
        notice shall specify the amount of the reduction and shall be irrevocable once given. Each
        reduction shall be in a minimum amount of $5,000,000, or an increment of $1,000,000 in
        excess thereof. No reduction of any Commitments hereunder shall become effective unless
        and until Borrower shall have paid the Termination Payment calculated on the amount of
        Commitments so reduced, and Full Payment of all Obligations with respect thereto (but no
        Lender shall be required to fund any Loan or provide any credit extension or other
        accommodation pursuant to any Commitment amount sought to be so reduced pending any
        payment owing hereunder).

                 2.1.5      Extension of Maturity Date.

                        (a)    Notwithstanding anything to the contrary in this Agreement, by at
        least ten (10) Business Day’s prior written notice to Administrative Agent (or such shorter
        period as may be agreed by Administrative Agent (at the direction of the Required Lenders)
        and on the same terms to each Lender holding Loans , the Borrower is hereby permitted to
        extend the scheduled Maturity Date of all obligations by three (3) months (the
        “Extension”), so long as the following terms are satisfied:

                                (i)     the representations and warranties of the Borrower and each
        other Obligor set forth in this Agreement and the other Loan Documents are true and
        correct in all material respects (without duplication of any materiality qualifiers) with the
        same effect as if then made (except to the extent stated to relate to a specific earlier date,
        in which case such representations and warranties shall be true and correct in all material
        respects (without duplication of any materiality qualifiers) as of such earlier date);

                                (ii)   no Event of Default or Default shall have then occurred and
        be continuing; and


                                                -44-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 131 of 224




                               (iii) the Borrower shall have paid to the Administrative Agent,
        for the pro rata benefit of each Lender, a payment in an amount equal to 2.00% of the
        aggregate Loans outstanding as of the date of such extension (the “Maturity Extension
        Payment”), which Maturity Extension Payment shall be Paid in Kind automatically upon
        the extension of the Maturity Date in accordance with the terms of this Section 2.1.5, and
        compounded on each such Loan, as applicable.

                      (b)    No consent of any Lender shall be required to effectuate any
        Extension. The Lenders hereby irrevocably authorize Administrative Agent to enter into
        amendments to this Agreement and the other Loan Documents with the Borrower
        Representative as may be necessary or appropriate in the reasonable opinion of the
        Administrative Agent and the in connection with such Extension.

                            (c)       This Section 2.1.5 shall supersede any provisions of Section 14.1 to
        the contrary.

                2.1.6      Protective Advances. Administrative Agent shall be authorized, in its
discretion, at any time that any conditions in Section 6 are not satisfied to make Loans (“Protective
Advances”) (a) up to an aggregate amount outstanding at any time of up to ten percent (10%) of
the aggregate Commitments, if Administrative Agent deems such Loans necessary or desirable to
preserve or protect Collateral, or to enhance the collectability or repayment of Obligations, as long
as such Loans do not cause the outstanding Loans to exceed the aggregate Commitments; or (b) to
pay any other amounts chargeable to Obligors under any Loan Documents, including interest,
costs, fees and expenses. Each Lender shall participate in each Protective Advance on a Pro Rata
basis. Required Lenders may at any time revoke Administrative Agent’s authority to make further
Protective Advances under clause (a) by written notice to Administrative Agent. Absent such
revocation, Administrative Agent’s determination that funding of a Protective Advance is
appropriate shall be conclusive.

SECTION 3. INTEREST, FEES AND CHARGES

        3.1.     Interest.

                 3.1.1            Rates and Payment of Interest.

                       (a)    The outstanding principal amount of the Loans, any overdue interest
        and any other amounts and Obligations, subject to clause (b) below, shall bear interest at
        the Applicable Rate or the Default Rate, as applicable, and in each case such interest shall
        be Paid in Kind on a monthly basis in arrears.

                        (b)     As of the occurrence of, and at all times during the continuance of,
        any Insolvency Proceeding with respect to any Obligor, or any other Event of Default
        (including if any Loans or other Obligations (or portion thereof) shall remain unpaid as of
        the Termination Date), all outstanding Loans and overdue Obligations shall automatically
        accrue interest at the Default Rate (whether before or after any judgment), until Full
        Payment thereof, and such interest shall be payable in cash on each Regular Interest
        Payment Date (unless a demand therefor is made on the Borrower sooner or on a more
        frequent basis, as determined by the Administrative Agent). The Borrower acknowledges
                                                      -45-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 132 of 224




        that the cost and expense to Administrative Agent and Lenders due to an Event of Default
        are difficult to ascertain and that the Default Rate is fair and reasonable compensation for
        this.

                       (c)    Interest accrued on any other Obligations shall be due and payable
        as provided in the Loan Documents and, if no payment date is specified, shall be due and
        payable on demand. Notwithstanding the foregoing, interest accrued at the Default Rate
        shall be due and payable on demand.

        3.2.     Fees and Commitment Payments.

                3.2.1      Agent Fees. The Borrower agrees to pay to the Administrative, for its
own account, the administrative and collateral agency fees and other amounts set forth in the Agent
Fee Letter, in each case, at the times and in the amounts specified therein (the “Agent Fees”). For
the avoidance of doubt, the Agent Fees shall be payable in addition to, and nothing herein shall be
construed as limiting the Obligors’ obligations with respect to payment of, any other fees,
expenses, indemnities and other amounts payable to the Administrative Agent pursuant to the Loan
Documents (including Extraordinary Expenses, and amounts payable pursuant to Section 3.4 and
Section 14.1.3) or otherwise.

               3.2.2     Fees. Without limiting anything else herein, the Borrower shall pay all
fees set forth in all engagement letters, fee letters and other similar agreements executed in
connection with the Loan Documents with any other Person (if permitted by the Required
Lenders).

              3.2.3      No Refunds. No fees or other amounts payable hereunder (including the
New Money Loan Commitment Payment, Termination Payment, and Agent Fees) shall be
refundable under any circumstances.

               3.2.4      New Money Loan Commitment Payment. As consideration for
structuring and arranging the DIP Facility, for providing the New Money Loan Commitments and
such other accommodations that have been or may be made available to the Borrower by the
Lenders hereunder, and otherwise in connection with the transactions occurring on or about the
Closing Date, Borrower shall pay to each Lender on the Closing Date the New Money Loan
Commitment Payment on the Closing Date, which New Money Loan Commitment Payment shall
be paid pursuant to, and as further set forth in, Section 2.1.2.

               3.2.5       Backstop Payment. The Borrower agrees to pay to each Backstop Party,
on the Closing Date, its Pro Rata share of $1,636,000, as consideration for such Backstop Party’s
agreement to, among other things participate in the DIP Facility and provide its New Money Loan
Commitments as of the Closing Date (the “Backstop Party Payment”), which payment shall be
effectuated pursuant to a deemed making by the Lenders of Loans on the Closing Date in an
aggregate principal amount equal to the amount of the Backstop Party Payment (the “Backstop
Loans”), which Backstop Loans shall have the same pricing, rights, privileges and other terms as
otherwise attach to all New Money Loans (whether or not any New Money Loans are outstanding
as of such time), but shall be made automatically and immediately upon and concurrently with the
occurrence of the Closing Date, without requirement for any cash to be advanced by any Lender.

                                                -46-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 133 of 224




The Borrower hereby agrees that it shall be deemed to have incurred, Backstop Loans,
automatically as of the Closing Date, by operation of the provisions hereof, without any further
action by any Person, and that all Backstop Loans shall be outstanding as of such time, and interest
shall accrue thereon in the same manner as interest would accrue on New Money Loans if any
were made on such date.

               3.2.6      Certain Payments. Each of the parties hereto agree to treat, and
consistently report, the New Money Loan Commitment Payment, Backstop Party Payment,
Maturity Extension Payment and Termination Payment, as applicable, as not subject to U.S.
federal income tax withholding – whether (as reasonably determined by the Borrower in
consultation with the Lenders) by reason of being a “put premium” paid to the commitment parties
or Backstop Parties, original issue discount or interest, a payment in respect of the termination of
a right or obligation with respect to a capital asset, or otherwise (but not, for the avoidance of
doubt, as payment for services) – unless otherwise required by a “determination” within the
meaning of Section 1313(a) of the Code; provided that, the Borrower receives the documentation
described in Section 5.10; provided further, for the avoidance of doubt, to the extent any such
payment is taxable as original issue discount or interest for U.S. federal income tax purposes, such
payment shall be subject to the provisions of Section 5.9.

        3.3.   Computation of Interest, Fees, Yield Protection. All interest, as well as fees and
other charges calculated on a per annum basis, shall be computed for the actual days elapsed, based
on a year of 360 days. Each determination by Administrative Agent of any interest, fees or interest
rate hereunder shall be final, conclusive and binding for all purposes, absent manifest error.

        3.4.    Reimbursement Obligations. Borrower shall reimburse Administrative Agent for
all Extraordinary Expenses. Borrower shall also reimburse Administrative Agent for all
reasonable and documented legal, accounting, examination, consulting, and other reasonable and
documented fees, costs and expenses incurred by it in connection with (a) negotiation and
preparation of any Loan Documents, including any amendment or other modification thereof; (b)
administration of and actions relating to any Collateral, Loan Documents and transactions
contemplated thereby, including any actions taken to perfect or maintain priority of Administrative
Agent’s Liens on any Collateral, to maintain any insurance required hereunder or to verify
Collateral; and (c) subject to the limits of Section 10.1.1(b), each inspection, audit or examination
with respect to any Obligor or Collateral, whether prepared by Administrative Agent’s personnel
or a third party (in the case of legal fees and expenses, subject to the immediate following
sentence). All legal and accounting fees incurred by Agent Professionals shall be charged to
Borrower at the actual rate charged by such Agent Professionals; provided, that Borrower’s
obligation to reimburse Administrative Agent for legal fees and expenses shall be limited to the
reasonable and documented legal fees and expenses of one primary counsel, and one local counsel
in each relevant jurisdiction. In addition to the Extraordinary Expenses of Administrative Agent,
upon the occurrence and during the continuance of an Event of Default, Borrower shall reimburse
each Lender for any reasonable out-of-pocket fees, charges and disbursements (including without
limitation, the reasonable, documented, and out-of-pocket fees, charges and disbursement of one
primary outside legal counsel for all of the Lenders) incurred by it in connection with the
enforcement, collection or protection of its rights under the Loan Documents, including all such
expenses incurred during any workout, restructuring or Insolvency Proceeding. All amounts
payable by Borrower under this Section shall be due on demand.

                                                -47-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 134 of 224




        3.5.     [Reserved].

        3.6.     [Reserved].

        3.7.     Increased Costs; Capital Adequacy.

                 3.7.1      Increased Costs Generally. If any Change in Law shall:

                       (a)     impose, modify or deem applicable any reserve, liquidity, special
        deposit, compulsory loan, insurance charge or similar requirement against assets of,
        deposits with or for the account of, or credit extended or participated in by, any Lender;

                        (b)    subject any recipient to Taxes (other than Indemnified Taxes and
        Excluded Taxes) with respect to any Loan, Commitment or other obligations, or its
        deposits, reserves, other liabilities or capital attributable thereto; or

                       (c)    impose on any Lender or interbank market any other condition, cost
        or expense affecting any Loan, Commitment or Loan Document;

and the result thereof shall be to increase the cost to such Lender of making or maintaining any
Loan or Commitment, or converting to or continuing any interest option for a Loan, or to reduce
the amount of any sum received or receivable by a Lender hereunder (whether of principal, interest
or any other amount) then, upon request of such Lender, the Borrower will pay to it such additional
amount(s) as will compensate it for the additional costs incurred or reduction suffered; provided,
that such additional amounts are also being assessed by such Lender generally against similarly
situated borrowers under similar credit facilities.

                3.7.2     Capital Requirements. If a Lender determines that a Change in Law
affecting such Lender or its holding company, if any, regarding capital or liquidity requirements
has or would have the effect of reducing the rate of return on such Lender’s or holding company’s
capital as a consequence of this Agreement, or such Lender’s Commitments, Loans, or
participations in Loans, to a level below that which such Lender or holding company could have
achieved but for such Change in Law (taking into consideration its policies with respect to capital
adequacy), then from time to time Borrower will pay to such Lender, as the case may be, such
additional amounts as will compensate it or its holding company for the reduction suffered;
provided, that such additional amounts are also being assessed by such Lender against similarly
situated borrowers under similar credit facilities.

                 3.7.3      [Reserved].

               3.7.4      Compensation. Failure or delay on the part of any Lender to demand
compensation pursuant to this Section shall not constitute a waiver of its right to demand such
compensation, but Borrower shall not be required to compensate a Lender for any increased costs
incurred or reductions suffered more than nine months prior to the date that the Lender notifies
Borrower of the Change in Law giving rise to such increased costs or reductions and of such
Lender’s intention to claim compensation therefor (except that, if the Change in Law giving rise
to such increased costs or reductions is retroactive, then the nine-month period referred to above
shall be extended to include the period of retroactive effect thereof).

                                                -48-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 135 of 224




        3.8.     Mitigation. If any Lender requests compensation under Section 3.7, or if the
Borrower is required to pay additional amounts with respect to a Lender under Section 5.9, then
such Lender shall (at the request of the Borrower) use reasonable efforts to designate a different
Lending Office or to assign its rights and obligations hereunder to another of its offices, branches
or Affiliates, if, in the judgment of such Lender, such designation or assignment (a) would reduce
amounts payable in the future; and (b) would not subject the Lender to any unreimbursed cost or
expense and would not otherwise be disadvantageous to it or unlawful. Borrower shall pay all
reasonable costs and expenses incurred by any Lender in connection with any such designation or
assignment.

        3.9.     [Reserved].

        3.10. Maximum Interest. Notwithstanding anything to the contrary contained in any
Loan Document, the interest paid or agreed to be paid under the Loan Documents shall not exceed
the maximum rate of non-usurious interest permitted by Applicable Law (“maximum rate”). If
Administrative Agent or any Lender shall receive interest in an amount that exceeds the maximum
rate, the excess interest shall be applied to the principal of the Obligations or, if it exceeds such
unpaid principal, refunded to Borrower. In determining whether the interest contracted for,
charged or received by Administrative Agent or a Lender exceeds the maximum rate, such Person
may, to the extent permitted by Applicable Law, (a) characterize any payment that is not principal
as an expense, fee or premium rather than interest; (b) exclude voluntary prepayments and the
effects thereof; and (c) amortize, prorate, allocate and spread in equal or unequal parts the total
amount of interest throughout the contemplated term of the Obligations hereunder.

SECTION 4. LOAN ADMINISTRATION

        4.1.     Manner of Borrowing and Funding Loans.

               4.1.1     Notice of Borrowing. Whenever Borrower desires funding of a
Borrowing of New Money Loans, Borrower shall give notice to the Administrative Agent in the
form of a Notice of Borrowing. Each such Notice of Borrowing must be received by
Administrative Agent no later than 11:00 a.m three (3) Business Days prior to the requested
Borrowing Date (unless the Administrative Agent (at the direction of the Required Lenders)
consents to any shorter time period). Each Notice of Borrowing shall be irrevocable and shall
specify (A) the amount of the Borrowing and (B) the requested funding date (which must be a
Business Day) (each, a “Borrowing Date”).

               4.1.2      Funding by Lenders. Each Lender shall timely honor its Commitment
by funding its Pro Rata share of each Borrowing of Loans that is properly requested hereunder.
Administrative Agent shall notify Lenders of each Notice of Borrowing (or deemed request for a
Borrowing). Each Lender shall fund to Administrative Agent or to the Borrower such Lender’s
Pro Rata share of the Borrowing to the account specified by Administrative Agent in immediately
available funds not later than 2:00 p.m. on the requested funding date. Subject to its receipt of
such amounts from Lenders, Administrative Agent shall disburse the proceeds of the Loans as
directed by Borrower in the applicable Notice of Borrowing. Unless Administrative Agent shall
have received (in sufficient time to act) written notice from a Lender that it does not intend to fund
its Pro Rata share of a Borrowing, Administrative Agent may assume that such Lender has

                                                -49-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 136 of 224




deposited or promptly will deposit its share with Administrative Agent, and Administrative Agent
may (but shall not be obligated to) disburse a corresponding amount to Borrower. If a Lender’s
share of any Borrowing or of any settlement pursuant to Section 4.1.2 is not received by
Administrative Agent, then Borrower agrees to repay to Administrative Agent on demand the
amount of such share, together with interest thereon from the date disbursed until repaid, at the
rate applicable to the Borrowing.

                4.1.3       Notices. Neither Administrative Agent nor any Lender shall have any
liability for any loss suffered by the Borrower as a result of Administrative Agent or any Lender
acting upon its understanding of telephonic or e-mailed instructions from a person believed in good
faith by Administrative Agent or any Lender to be a person authorized to give such instructions on
the Borrower’s behalf.

        4.2.     Defaulting Lender.

               4.2.1      Defaulting Lender Adjustments. Notwithstanding anything to the
contrary contained in this Agreement, if any Lender becomes a Defaulting Lender, then, until such
time as such Lender is no longer a Defaulting Lender, to the extent permitted by applicable law:

                         (a)     Waivers and Amendments. Such Defaulting Lender’s right to
        approve or disapprove any amendment, waiver or consent with respect to this Agreement
        shall be restricted as set forth in the definitions of Required Lenders.

                        (b)    Defaulting Lender Waterfall. Any payment of principal, interest,
        fees or other amounts received by the Administrative Agent for the account of such
        Defaulting Lender (whether voluntary or mandatory, at maturity, pursuant to Section 11 or
        otherwise) or received by the Administrative Agent from a Defaulting Lender pursuant to
        Section 11.3 shall be applied at such time or times as may be determined by the
        Administrative Agent as follows: first, to the payment of any amounts owing by such
        Defaulting Lender to the Administrative Agent hereunder; second, as the Borrower may
        request (so long as no Default or Event of Default exists), to the funding of any Loan in
        respect of which such Defaulting Lender has failed to fund its portion thereof as required
        by this Agreement, as determined by the Administrative Agent; third, if so determined by
        the Administrative Agent and the Borrower, to be held in a Deposit Account and released
        pro rata in order to satisfy such Defaulting Lender’s potential future funding obligations
        with respect to Loans under this Agreement; fourth, to the payment of any amounts owing
        to the Lenders as a result of any judgment of a court of competent jurisdiction obtained by
        any Lender against such Defaulting Lender as a result of such Defaulting Lender’s breach
        of its obligations under this Agreement; fifth, so long as no Default or Event of Default
        exists, to the payment of any amounts owing to the Borrower as a result of any judgment
        of a court of competent jurisdiction obtained by the Borrower against such Defaulting
        Lender as a result of such Defaulting Lender’s breach of its obligations under this
        Agreement; and sixth, to such Defaulting Lender or as otherwise directed by a court of
        competent jurisdiction; provided, that if (x) such payment is a payment of the principal
        amount of any Loans in respect of which such Defaulting Lender has not fully funded its
        appropriate share, and (y) such Loans were made at a time when the conditions set forth in
        Section 6.2 were satisfied or waived, such payment shall be applied solely to pay the Loans

                                               -50-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 137 of 224




        of all non-Defaulting Lenders on a pro rata basis prior to being applied to the payment of
        any Loans of such Defaulting Lender until such time as all Loans are held by the Lenders
        pro rata in accordance with their Commitments without giving effect to clause (d) below.
        Any payments, prepayments or other amounts paid or payable to a Defaulting Lender that
        are applied (or held) to pay amounts owed by a Defaulting Lender pursuant to this Section
        4.2.1(b) shall be deemed paid to and redirected by such Defaulting Lender, and each
        Lender irrevocably consents hereto.

                       (c)     Notwithstanding anything to the contrary herein, no Termination
        Payments shall be due or payable to any Defaulting Lender, until such time as such Lender
        ceases to be a Defaulting Lender.

                 4.2.2      Cure. If the Borrower and the Administrative Agent agree in writing that
a Lender is no longer a Defaulting Lender, the Administrative Agent will so notify the parties
hereto, whereupon as of the effective date specified in such notice and subject to any conditions
set forth therein (which may include arrangements with respect to any Cash Collateral), that Lender
will, to the extent applicable, purchase at par that portion of outstanding Loans of the other Lenders
or take such other actions as the Administrative Agent may determine to be necessary to cause the
Loans and funded and unfunded participations in Letters of Credit to be held pro rata by the
Lenders in accordance with their Commitments (without giving effect to Section 4.2.1(b)),
whereupon such Lender will cease to be a Defaulting Lender; provided, that no adjustments will
be made retroactively with respect to fees accrued or payments made by or on behalf of the
Borrower while that Lender was a Defaulting Lender; and provided, further, that except to the
extent otherwise expressly agreed by the affected parties, no change hereunder from Defaulting
Lender to Lender will constitute a waiver or release of any claim of any party hereunder arising
from that Lender’s having been a Defaulting Lender.

                4.2.3     Loans. So long as any Lender is a Defaulting Lender, the Administrative
Agent shall not be required to fund any Loans unless it will have no fronting exposure after giving
effect to such Loan.

        4.3.     [Reserved].

        4.4.     [Reserved].

        4.5.     [Reserved].

        4.6.     Effect of Termination. On the effective date of the termination of all
Commitments, the Obligations (other than Remaining Obligations) shall be immediately due and
payable. Until Full Payment of the Obligations, all undertakings of the Borrower contained in the
Loan Documents shall continue, and Administrative Agent shall retain its Liens in the Collateral
and all of its rights and remedies under the Loan Documents. Sections 3.7, 5.5, 5.9, 5.10, Section
12, 14.1.3, this Section, and each indemnity or waiver given by an Obligor or Lender in any Loan
Document, shall survive Full Payment of the Obligations.




                                                -51-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 138 of 224




SECTION 5. PAYMENTS

        5.1.   General Payment Provisions. Except in the case of any amounts that are
expressly permitted to be Paid in Kind hereunder (including as set forth in Section 3.1.1), all
payments of Obligations shall be made in Dollars in cash, without offset, counterclaim or defense
of any kind and in immediately available funds, not later than 12:00 noon (New York City time)
on the due date. Any payment after such time may be deemed by the Administrative Agent made
on the next Business Day. The Borrower agrees that, during the continuation of an Event of
Default, Administrative Agent shall have the continuing, exclusive right to apply and reapply
payments and proceeds of Collateral against the Obligations, in such manner as Administrative
Agent deems advisable.

       5.2.    Voluntary Prepayments. Loans may be prepaid from time to time, without
penalty or premium, subject to the payment of the Termination Payment, and compliance with the
requirements with respect to the Termination Payment and Section 5.12; provided, that,
notwithstanding the foregoing, the Borrower shall not be permitted to prepay any of the
Obligations at any time during the period commencing with the date of receipt of any Net Cash
proceeds from a Disposition of Agreed Sale Properties through and including the date that is 15
days thereafter, in each case, with respect to each such Disposition of an Agreed Sale Property.

        5.3.     Mandatory Prepayments.

                 5.3.1      [Reserved].

               5.3.2     Termination Date. On the Termination Date, the Borrower shall repay
all outstanding Loans and other Obligations in full in cash to the extent required to constitute Full
Payment hereunder.

                5.3.3    Change of Control. Immediately upon any Change of Control, the
Borrower shall (i) prepay, or cause to be prepaid, the Loans (together with the Termination
Payment) and other Obligations, and (ii) terminate, or cause to be terminated, the Commitments,
in each case, in an amount that would cause the Full Payment thereof; provided, that, pending
prepayment of the Loans in accordance herewith, and at all times until Full Payment, all cash,
Cash Equivalents and other funds and proceeds thereof shall be held in a Deposit Account subject
to a Control Agreement in favor of the Administrative Agent, and no payments, withdrawals,
transfers or disbursements shall be made or permitted to be made therefrom at any time (whether
or not such payment, withdrawal, transfer or disbursement is otherwise in accordance with the
Approved Budget or otherwise permitted hereunder).

                 5.3.4      [Reserved].

                 5.3.5      [Reserved].

               5.3.6      Debt Issuance. Within one (1) Business Day of the receipt by any
Obligor or Subsidiary thereof of the proceeds of any Debt Issuance not permitted by Section 10.2.1,
the Borrower shall prepay the Loans (together with the Termination Payment thereon) as
hereinafter provided in an aggregate amount equal to 100% of such proceeds; provided, that,
pending application of such amounts towards prepayment of the Loans in accordance herewith, all

                                                -52-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 139 of 224




funds shall be held in a Deposit Account subject to a Control Agreement in favor of the
Administrative Agent.

                5.3.7      Effect of Prepayments. No prepayments or repayments of any Loans
(including pursuant to this Section 0) shall (or shall be deemed to), cause or result in any increase
to, or replenish or give rise to any increase to, any Commitment, and the Borrower shall not be
permitted to request to borrow additional Loans as a result of any such prepayment or repayment.

       5.4.    Payment of Other Obligations. Extraordinary Expenses and other Obligations
(except the Loans (including interest thereon) and other Obligations payable as otherwise
expressly required hereby (including pursuant to Section 5.12)) shall be paid in cash by Borrower
as provided in the Loan Documents or, if no payment date is specified, within three (3) Business
Days after written demand from the Administrative Agent (which may be via e-mail).

        5.5.    Marshaling; Payments Set Aside. None of Administrative Agent or Lenders shall
be under any obligation to marshal any assets in favor of any Obligor or against any Obligations.
If any payment by or on behalf of the Borrower is made to Administrative Agent or any Lender,
or Administrative Agent or any Lender exercises a right of setoff, and such payment or the
proceeds of such setoff or any part thereof is subsequently invalidated, declared to be fraudulent
or preferential, set aside or required (including pursuant to any settlement entered into by
Administrative Agent or such Lender in its discretion) to be repaid to a trustee, receiver or any
other Person, then to the extent of such recovery, the Obligation originally intended to be satisfied,
and all Liens, rights and remedies relating thereto, shall be revived and continued in full force and
effect as if such payment had not been made or such setoff had not occurred.

        5.6.     Application and Allocation of Payments.

                5.6.1      Application. Payments made by the Borrower hereunder shall be applied
(a) subject to clause (b) hereof, (i) first, as specifically required by the terms of this Agreement;
(ii) second, to Obligations then due and owing; (iii) third, to other Obligations specified by the
Borrower; and (iv) fourth, as determined by Administrative Agent in its good faith reasonable
discretion, and (b) unless expressly specified otherwise herein, any prepayment or repayment of
any principal of the Loans (including pursuant to Section 5.6.2) shall be applied, first, to New
Money Loans, DIP Facility Commitment Loans and Backstop Loans (on a Pro Rata basis) until
paid in full and second, to Roll-Up Loans (on a Pro Rata basis) until paid in full.

                5.6.2   Post-Default Allocation. Notwithstanding anything in any Loan
Document to the contrary, during an Event of Default, monies to be applied to the Obligations,
whether arising from payments by Obligors, realization on Collateral, setoff or otherwise, shall be
allocated as follows:

                      (a)    first, to all fees, indemnification, costs and expenses, including
        Extraordinary Expenses, owing to Administrative Agent;

                        (b)     second, to all amounts owing to Administrative Agent on any Loans
        fronted by it for the benefit of a Lender, Protective Advances, and Loans and participations
        that a Defaulting Lender has failed to settle or fund;


                                                -53-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 140 of 224




                     (c)     third, to all Obligations constituting fees, indemnification, costs or
        expenses owing to Lenders;

                            (d)   fourth, to all Obligations constituting interest; and

                            (e)   last, to all remaining Obligations until Full Payment of such
        Obligations.

Amounts shall be applied to payment of each category of Obligations only after full payment of
all preceding categories. If amounts are insufficient to satisfy a category, Obligations in the
category shall be paid on a pro rata basis, subject to Section 5.6.1(b). The allocations set forth in
this Section are solely to determine the rights and priorities among Secured Parties, and may be
changed by agreement among them without the consent of any Obligor. This Section is not for
the benefit of or enforceable by any Obligor, and the Borrower irrevocably waives the right to
direct the application of any payments or Collateral proceeds subject to this Section.

                5.6.3      Erroneous Application. Administrative Agent shall not be liable for any
application of amounts made by it in good faith and, if any such application is subsequently
determined to have been made in error, the sole recourse of any Lender or other Person to which
such amount should have been made shall be to recover the amount from the Person that actually
received it (and, if such amount was received by any Lender, such Lender hereby agrees to return
it).

        5.7.     [Reserved].

        5.8.     [Reserved].

        5.9.     Taxes.

                5.9.1       Payments Free of Taxes. All payments by any Obligor under any Loan
Document shall be made without deduction or withholding for any Taxes, except as required by
Applicable Law. If Applicable Law (as determined by the applicable withholding agent in its good
faith discretion) requires the deduction or withholding of any Tax from any such payment, then (i)
the applicable withholding agent shall be entitled to make such deduction or withholding , (ii) the
applicable withholding agent shall pay the full amount deducted or withheld to the relevant
Governmental Authority pursuant to Applicable Law, and (iii) to the extent such deduction or
withholding is made on account of Indemnified Taxes, the sum payable by the applicable Obligor
(including amounts payable under this Section 5.9) shall be increased as necessary so that the
Lender (or the Administrative Agent in the case where the Administrative Agent receives the
payment for its own account) receives an amount equal to the sum it would have received had no
such withholding or deduction been made.

              5.9.2     Payment of Other Taxes. Without limiting or duplicating the foregoing,
the Borrower shall timely pay to the relevant Governmental Authority in accordance with
Applicable Law, or at Administrative Agent’s option, timely reimburse Administrative Agent for
payment of, any Other Taxes.



                                                   -54-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 141 of 224




                 5.9.3    Tax Indemnification. The Borrower shall indemnify the Administrative
Agent or any Lender for any Indemnified Taxes (including those imposed or asserted on or
attributable to amounts payable under this Section 5.9.3) payable or paid by a recipient or required
to be withheld or deducted from a payment to a recipient, and any reasonable expenses arising
therefrom or with respect thereto, whether or not such Indemnified Taxes were correctly or legally
imposed or asserted by the relevant Governmental Authority. The Borrower shall make payment
within 10 days after demand for any amount or liability payable under this Section. A certificate
as to the amount of such payment or liability delivered to the Borrower by a Lender (with a copy
to Administrative Agent), or by Administrative Agent on its own behalf or on behalf of a Lender,
shall be conclusive absent manifest error.

                5.9.4      Evidence of Payments. If Administrative Agent or an Obligor pays any
Taxes pursuant to a Governmental Authority pursuant to this Section, then upon request,
Administrative Agent shall deliver to Borrower or Borrower shall deliver to Administrative Agent,
respectively, a copy of a receipt issued by the appropriate Governmental Authority evidencing the
payment, a copy of any return required by Applicable Law to report the payment, or other evidence
of payment reasonably satisfactory to Administrative Agent.

                5.9.5     Treatment of Certain Refunds. Unless required by Applicable Law, at
no time shall Administrative Agent have any obligation to file for or otherwise pursue on behalf
of a Lender, nor have any obligation to pay to any Lender, any refund of Taxes withheld or
deducted from funds paid for the account of a Lender. If a Lender or other recipient of payments
from an Obligor under any Loan Document determines in its discretion that it has received a refund
of any Taxes as to which it has been indemnified by an Obligor or with respect to which an Obligor
has paid additional amounts pursuant to this Section, it shall pay such Obligor an amount equal to
such refund (but only to the extent of indemnity payments made, or additional amounts paid, by
such Obligor with respect to the Taxes giving rise to such refund), net of all out-of-pocket expenses
(including Taxes) incurred by such recipient, and without interest (other than any interest paid by
the relevant Governmental Authority with respect to such refund), provided, that such Obligor
agree, upon request by the recipient, to repay the amount paid over to such Obligor (plus any
penalties, interest or other charges imposed by the relevant Governmental Authority) to the
recipient if the recipient is required to repay such refund to the Governmental Authority.
Notwithstanding anything herein to the contrary, no recipient shall be required to pay any amount
to the Borrower if such payment would place the recipient in a less favorable net after-Tax position
than it would have been in if the Tax subject to indemnification and giving rise to such refund had
not been deducted, withheld or otherwise imposed and the indemnification payments or additional
amounts with respect to such Tax had never been paid. In no event shall Administrative Agent or
any recipient be required to make its tax returns (or any other information relating to its taxes that
it deems confidential) available to any Obligor or other Person.

                5.9.6     Survival. Each party’s obligations under Sections 5.9 and 5.10 shall
survive the resignation or replacement of Administrative Agent or any assignment of rights by or
replacement of a Lender, the termination of the Commitments, and the repayment, satisfaction,
discharge or Full Payment of any Obligations.

        5.10.    Lender Tax Information.


                                                -55-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 142 of 224




               5.10.1      Status of Lenders. Any Lender that is entitled to an exemption from or
reduction of withholding Tax with respect to payments made under any Loan Document or of
Obligations shall deliver to the Borrower and Administrative Agent, at the time or times reasonably
requested by the Borrower or Administrative Agent, such properly completed and executed
documentation reasonably requested by the Borrower or Administrative Agent or prescribed by
Applicable Law as will permit such payments to be made without or at a reduced rate of
withholding. In addition, any Lender, if reasonably requested by the Borrower or Administrative
Agent, shall deliver such other documentation prescribed by Applicable Law or reasonably
requested by the Borrower or Administrative Agent to enable them to determine whether such
Lender is subject to backup withholding or information reporting requirements. Notwithstanding
the foregoing, the completion, execution and submission of such documentation (other than
documentation described in Sections 5.10.2(a), (b) and (d)) shall not be required if a Lender
reasonably believes delivery of the documentation would subject it to any material unreimbursed
cost or expense or would materially prejudice its legal or commercial position.

              5.10.2     Documentation. Without limiting the generality of the foregoing, if any
Borrower is a U.S. Person,

                      (a)    Any Lender that is a U.S. Person shall deliver to the Borrower and
        Administrative Agent on or prior to the date on which such Lender becomes a Lender
        hereunder (and from time to time thereafter upon reasonable request of the Borrower or
        Administrative Agent), executed copies of IRS Form W-9, certifying that such Lender is
        exempt from U.S. federal backup withholding Tax;

                       (b)     Any Foreign Lender shall, to the extent it is legally entitled to do so,
        deliver to the Borrower and Administrative Agent (in such number of copies as shall be
        requested by the recipient) on or prior to the date on which such Foreign Lender becomes
        a Lender hereunder (and from time to time thereafter upon reasonable request of the
        Borrower or Administrative Agent), whichever of the following is applicable:

                               (i)    in the case of a Foreign Lender claiming the benefits of an
        income tax treaty to which the United States is a party, (x) with respect to payments of
        interest under any Loan Document, executed copies of IRS Form W-8BEN-E or W-8BEN
        (as applicable) establishing an exemption from or reduction of U.S. federal withholding
        Tax pursuant to the “interest” article of such tax treaty, and (y) with respect to other
        payments under the Loan Documents, IRS Form W-8BEN-E or IRS Form W-8BEN (as
        applicable) establishing an exemption from or reduction of U.S. federal withholding Tax
        pursuant to the “business profits” or “other income” article of such tax treaty;

                               (ii)    executed copies of IRS Form W-8ECI;

                                (iii) in the case of a Foreign Lender claiming the benefits of the
        exemption for portfolio interest under Section 881(c) of the Code, (x) a certificate
        substantially in the form of Exhibit F hereto, to the effect that such Foreign Lender is not
        a “bank” within the meaning of Section 881(c)(3)(A) of the Code, a “10-percent
        shareholder” of the Borrower within the meaning of Section 871(h)(3)(B) of the Code, or
        a “controlled foreign corporation” related to the Borrower, as described in Section

                                                 -56-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 143 of 224




        881(c)(3)(C) of the Code (“U.S. Tax Compliance Certificate”), and (y) executed copies of
        IRS Form W-8BEN-E or W-8BEN (as applicable); or

                               (iv)   to the extent a Foreign Lender is not the beneficial owner,
        executed copies of IRS Form W-8IMY, accompanied by IRS Form W-8ECI, IRS Form W-
        8BEN-E or W8-BEN, a U.S. Tax Compliance Certificate substantially in the form of
        Exhibit F hereto, IRS Form W-9, and/or other certification documents from each
        beneficial owner, as applicable; provided, that if the Foreign Lender is a partnership and
        one or more direct or indirect partners of such Foreign Lender are claiming the portfolio
        interest exemption, such Foreign Lender may provide a U.S. Tax Compliance Certificate
        substantially in form of Exhibit F hereto, on behalf of each such direct and indirect partner;

                       (c)     any Foreign Lender shall, to the extent it is legally entitled to do so,
        deliver to the Borrower and Administrative Agent (in such number of copies as shall be
        requested by the recipient) on or prior to the date on which such Foreign Lender becomes
        a Lender hereunder (and from time to time thereafter upon the reasonable request of the
        Borrower or Administrative Agent), executed copies of any other form prescribed by
        Applicable Law as a basis for claiming exemption from or a reduction in U.S. federal
        withholding Tax, duly completed, together with such supplementary documentation as may
        be prescribed by Applicable Law to permit the Borrower or Administrative Agent to
        determine the withholding or deduction required to be made; and

                       (d)     if payment of an Obligation to a Lender would be subject to U.S.
        federal withholding Tax imposed by FATCA if such Lender were to fail to comply with
        the applicable reporting requirements of FATCA (including those contained in Section
        1471(b) or 1472(b) of the Code), such Lender shall deliver to the Borrower and
        Administrative Agent at the time(s) prescribed by law and otherwise as reasonably
        requested by the Borrower or Administrative Agent such documentation prescribed by
        Applicable Law (including Section 1471(b)(3)(C)(i) of the Code) and such additional
        documentation reasonably requested by the Borrower or Administrative Agent as may be
        necessary for them to comply with their obligations under FATCA and to determine
        whether such Lender has complied with its obligations under FATCA or to determine the
        amount, if any, to deduct and withhold from such payment. Solely for purposes of this
        clause (d), “FATCA” shall include any amendments made to FATCA after the date hereof.

               5.10.3   Redelivery of Documentation. If any form or certification previously
delivered by a Lender pursuant to this Section expires or becomes obsolete or inaccurate in any
respect, such Lender shall promptly update the form or certification or promptly notify the
Borrower and Administrative Agent in writing of its inability to do so.

              5.10.4    Lenders’ Authorization.       Each Lender hereby authorizes the
Administrative Agent to deliver to the Obligors and to any successor Administrative Agent any
documentation provided by such Lender to the Administrative Agent pursuant to Section 5.10.

        5.11.    [Reserved].

        5.12.    Termination Payment.

                                                 -57-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 144 of 224




                      (a)    As additional consideration for structuring and arranging the DIP
Facility, committing to the New Money Loan Commitments, and on account of such other
accommodations provided to the Borrower by the Lenders, and otherwise in connection with the
transactions occurring pursuant hereto, Borrower shall be liable to the Lenders to pay the
Termination Payment (as set forth below) in connection with any Termination Payment Triggering
Event. Each Termination Payment shall be deemed earned in full upon a Termination Payment
Triggering Event, and shall be paid in cash (or, solely in the case of a Termination Payment
Triggering Event pursuant to clause (b) of the definition thereof, Paid in Kind) immediately upon
the occurrence of any Termination Payment Triggering Event.

                        (b)    If any Termination Payment becomes due and payable as set forth
in this Section 5.12, then the Termination Payment, as applicable, shall immediately and without
further action constitute part of the Obligations payable by the Borrower (and guaranteed by the
Guarantors) in respect of the Loans, which Obligations are guaranteed by the Guarantors and
secured by the Collateral, and constitutes liquidated damages, not unmatured interest or a penalty,
as the actual amount of damages to the Lenders as a result of the relevant event set forth in clause
(a) of this Section 5.12 would be impracticable and extremely difficult to ascertain. Without
limiting the generality of the foregoing, it is further understood and agreed that (i) upon the
occurrence of any event set forth in this Section 5.12, the Termination Payment shall be
automatically and immediately due and payable as of the earliest such date, and shall constitute
part of the Obligations payable by the Borrower (and guaranteed by the Guarantors) in respect of
the Loans, which Obligations are secured by the Collateral, (ii) the Termination Payment shall also
be automatically and immediately due and payable if, and upon such time as, any Loans or
Obligations are satisfied, released or discharged by foreclosure (whether by power of judicial
proceeding or otherwise), deed in lieu of foreclosure or by any other means at a time when any
Termination Payment would otherwise have been due and payable in accordance with this
paragraph, and the Termination Payment shall constitute a part of the Obligations at the time. THE
BORROWER AND EACH GUARANTOR EXPRESSLY WAIVES (TO THE FULLEST
EXTENT IT MAY LAWFULLY DO SO) THE PROVISIONS OF ANY PRESENT OR FUTURE
STATUTE OR LAW THAT PROHIBITS OR MAY PROHIBIT THE COLLECTION OF THE
FOREGOING TERMINATION PAYMENT IN CONNECTION WITH ANY PREPAYMENT,
ACCELERATION OR MATURITY OF THE LOANS OR THE COMMENCEMENT OF ANY
INSOLVENCY PROCEEDING. The Borrower and each Guarantor expressly agrees (to the
fullest extent that it may lawfully do so) that: (A) each Termination Payment is reasonable and is
the product of an arm’s-length transaction between sophisticated business people, ably represented
by counsel; (B) the Termination Payment shall be payable notwithstanding the then prevailing
market rates at the time payment is made; (C) there has been a course of conduct between the
Lenders and the Borrower and Guarantors giving specific consideration in this transaction for such
agreement to pay the Termination Payment; and (D) the Borrower and each Guarantor shall each
be estopped hereafter from claiming differently than as agreed to in this paragraph. The Obligors
expressly acknowledge that their agreement to pay the Termination Payment hereunder is a
material inducement to the Lenders to provide the DIP Facility and the Commitments, and to make
the Loans and enter into this Agreement.

SECTION 6. CONDITIONS PRECEDENT



                                               -58-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 145 of 224




        6.1.   Conditions Precedent to Closing Date and Initial Borrowing. The occurrence
of the Closing Date, and the effectiveness of this Agreement and of the Lenders’ obligations to
make any Loans hereunder on the Closing Date, are subject to the satisfaction (or waiver by the
Administrative Agent and the Required Lenders) of the following conditions precedent, in addition
to the conditions precedent set forth in Section 6.2:

                 6.1.1      Restructuring Transaction Related Deliverables:

                      (a)      The Obligors and the other parties thereto shall have entered into the
Restructuring Support Agreement and, on and as of the Closing Date, the Restructuring Support
Agreement shall be in full force and effect, and no breach or default thereunder shall have occurred
or be continuing;

                     (b)    the Obligors shall have commenced the Chapter 11 Cases in the
Bankruptcy Court in accordance with the requirements of Restructuring Support Agreement;

                     (c)    each Obligor shall be a debtor and debtor-in-possession in the
Chapter 11 Cases, in each case, in accordance with the requirements of Restructuring Support
Agreement;

                       (d)    the Obligors shall have filed with the Bankruptcy Court (i) the First
Day Motions and the DIP Motion, in each case, no later than the Petition Date, and (ii) all other
motions and other documents required to be filed with or submitted to the Bankruptcy Court in
connection with the Chapter 11 Cases, by such time as required pursuant to the Bankruptcy Code
(or as requested by the Bankruptcy Court), in a form and in substance satisfactory to the Required
Lenders;

                        (e)    not later than the date that is three (3) calendar days following the
Petition Date, all interim orders relating to the First Day Motions and the DIP Motion (including
the Interim DIP Order) shall have been entered by the Bankruptcy Court;

                       (f)    the Obligors shall have established a cash management system
subject to the entry of the DIP Orders reasonably satisfactory to the Obligors and the Required
Lenders;

                     (g)     the Obligors shall have made no payments after the Petition Date on
account of any Debt or other obligations arising prior to the Petition Date unless such payment is
made pursuant to a Chapter 11 Order and subject to Permitted Variances, in accordance with the
Approved Budget;

                       (h)     the Interim DIP Order (i) shall have been entered by the Bankruptcy
Court in the Chapter 11 Cases not later than 5 calendar days after the Petition Date, (ii) shall be in
full force and effect on the Closing Date, (iii) shall not have been vacated or reversed, (iv) shall
not be subject to a stay, and (v) shall not have been modified or amended in any respect without
the prior written consent of the Required Lenders;

                      (i)     the Interim DIP Order shall be effective to create, in favor of the
Administrative Agent, for the benefit of the Secured Parties, a valid, binding, enforceable and fully

                                                -59-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 146 of 224




and automatically perfected Lien on the Collateral, on the basis and with the priority set forth
therein;

                       (j)    the Restructuring Support Agreement shall be in full force and effect
on and as of the Closing Date, and no Termination Event (as defined in the Restructuring Support
Agreement) or notice delivered by any party thereto in respect thereof shall have occurred; and

                       (k)     each Milestone required to be satisfied prior to the Closing Date
shall have been satisfied (or waived) in accordance with the terms hereof.

               6.1.2      Administrative Agent shall have received a copy of this Agreement and
each other Loan Document, in each case, duly executed and delivered to Administrative Agent by
each of the signatories thereto, and each of the foregoing shall be in full force and effect on the
Closing Date.

                 6.1.3      [Reserved.]

                6.1.4    Administrative Agent and the Lenders shall have received from the
Obligors the Initial Budget and the same shall be sufficient to constitute the Approved Budget in
effect as of such time.

                6.1.5      Administrative Agent shall have received certificates, in form and
substance satisfactory to it, from a Senior Officer of the Borrower certifying that, immediately
after giving effect to the incurrence of the Loans and the consummation of the transactions
hereunder on the Closing Date, (i) no Default or Event of Default exists; (ii) the representations
and warranties set forth in Section 9 are true and correct in all material respects (or with respect
to representations qualified by materiality, in all respects) on and as of the Closing Date (or if such
representation or warranty is as of an earlier date, as of such earlier date) and (iii) the conditions
set forth in Section 6.2 are satisfied.

                6.1.6     Administrative Agent shall have received a certificate of a duly
authorized officer of the Borrower, certifying (i) that the copies of each Obligator’s Organic
Documents attached thereto are true and complete, and are in full force and effect, without
amendment except as shown; (ii) that an attached copy of resolutions authorizing execution and
delivery of the Loan Documents is true and complete, and that such resolutions are in full force
and effect, were duly adopted, have not been amended, modified or revoked, and constitute all
resolutions adopted with respect to this credit facility; and (iii) to the title, name and signature of
each officer of each Obligor authorized to sign the Loan Documents. Administrative Agent may
conclusively rely on this certificate until it is otherwise notified by the applicable Obligor or the
Borrower in writing.

                 6.1.7      [Reserved].

                6.1.8      Administrative Agent shall have received (a) copies of the charter
documents of each Obligor, certified by the Secretary of State or other appropriate official of such
Obligor’s jurisdiction of organization as of a date no earlier than 30 days prior to the Petition Date
by the Secretary of State of the state of the applicable Obligor’s organization, and (b) good standing
certificates for each Obligor, issued by the Secretary of State or other appropriate official of (i)

                                                 -60-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 147 of 224




such Obligor’s jurisdiction of organization and each jurisdiction where such Obligor’s conduct of
business or ownership of property necessitates qualification where the failure to be so qualified
could reasonably be expected to result in a Material Adverse Effect.

                 6.1.9     Subject to Section 6.3, Administrative Agent shall have received
certificates of insurance for the insurance policies carried by the Obligors, all in compliance with
the Loan Documents, each of which shall have been endorsed or otherwise amended to include a
customary lender’s loss payable endorsement and to name the Administrative Agent as additional
insured, in form and substance reasonably satisfactory to the Required Lenders.

             6.1.10    The Borrower shall have paid all reasonable and documented fees, costs,
expenses and disbursements of the Administrative Agent, Lenders and the Consenting Lender
Advisors.

               6.1.11     All governmental and third party approvals necessary in connection with
the Transactions and the DIP Facility and financing contemplated hereby (including shareholder
approvals, if any) shall have been obtained on reasonably satisfactory terms and shall be in full
force and effect, and all applicable waiting periods shall have expired without any action being
taken or threatened by any competent authority that would restrain, prevent or otherwise impose
adverse conditions on the Transactions or the financing thereof or any of the transactions
contemplated hereby.

               6.1.12    The Obligors and their Subsidiaries shall have (A) no outstanding Debt
except as permitted pursuant to Section 10.2.1, and (B) no outstanding preferred stock except as
set forth on Schedule 9.1.4.

               6.1.13    All legal (including tax implications) and regulatory matters shall be
reasonably satisfactory to Administrative Agent and Lenders, including but not limited to
compliance with all applicable requirements of Regulations U, T and X of the Board of Governors
of the Federal Reserve System.

              6.1.14    The absence of any injunction or temporary restraining order which, in
the judgment of Administrative Agent exercising Permitted Discretion, would prohibit the making
of the Loans or the consummation of the Transactions; and the absence of any litigation which
would reasonably be expected to result in a Material Adverse Effect.

                 6.1.15     [Reserved].

               6.1.16     Administrative Agent and the Lenders shall have received, at least five
(5) Business Days prior to the Closing Date, all documentation and other information required by
regulatory authorities under applicable “know your customer” and anti-money laundering rules
and regulations, including the USA PATRIOT Act.

      6.2.    Conditions Precedent to All Borrowings. No Loans shall be made (or deemed
made) at any time, and the Lenders shall not be required to fund any Loan requested by the
Borrower, unless, in each case, the following conditions are satisfied (or waived by the
Administrative Agent and the Required Lenders) prior to (or concurrently with) the making (or
deemed making) of such Loan on the Borrowing Date relating thereto:

                                               -61-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 148 of 224




                 6.2.1      The Closing Date shall have occurred. No Default or Event of Default
shall exist at the time of, or immediately result from, the making of such Loan.

              6.2.2      The representations and warranties of each Obligor in the Loan
Documents shall be true and correct in all material respects (or, with respect to representations and
warranties qualified by materiality, in all respects) on the date of, and upon giving effect to, the
making of such Loan (except for representations and warranties that expressly relate to an earlier
date).

                6.2.3    There shall be an Approved Budget in full force and effect on and as of
each of (a) the Borrowing Date for such Loan and (b) the time that such Loan is funded;

               6.2.4      The Interim DIP Order (in the case of Loans made prior to the entry of
the Final DIP Order) or the Final DIP Order (in the case of Loans made after the entry of the Final
DIP Order) (a) shall be in full force and effect, (b) shall not have been reversed, vacated or stayed,
(c) shall not have become the subject of any appeal or challenge, and (d) shall not have been
amended, supplemented or otherwise modified without the prior written consent of the Required
Lenders.

               6.2.5      The Restructuring Support Agreement shall be in full force and effect,
and no Termination Event (as defined in the Restructuring Support Agreement) or notice delivered
by any party thereto in respect thereof shall have occurred or be continuing.

               6.2.6     The making of such Loan shall not violate any Applicable Laws and shall
not be enjoined, temporarily, preliminarily or permanently.

              6.2.7      There shall not have occurred since the Petition Date any development
or event which, individually or in the aggregate with other such circumstances, has had or could
reasonably be expected to have, a Material Adverse Effect (except to the extent relating to the
Chapter 11 Cases).

                6.2.8    In the case of a Borrowing of any New Money Loans, in addition to the
above, the following shall be satisfied (or waived as provided herein):

                      (a)    the aggregate principal amount of all New Money Loans requested
by the Borrower on such Borrowing Date shall not exceed the amount identified in the Approved
Budget as being required by the Obligors and their Subsidiaries to finance disbursements due and
payable within the full four week period following such Borrowing Date as set forth in the
Approved Budget (unless such Lender consents thereto);

                      (b)     the making of such New Money Loans, and the use of proceeds
therefrom, shall comply with the Approved Budget and with this Agreement in all respects;

                     (c)     the applicable Lender shall not have advanced New Money Loans
on more than one other occasion during the calendar week in which the Borrowing Date for such
New Money Loans shall occur (unless such Lender consents thereto);



                                                -62-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 149 of 224




                      (d)     the Administrative Agent shall have received a Notice of Borrowing
in connection with the applicable New Money Loans in accordance with the requirements of this
Agreement; and

                      (e)     the Administrative Agent shall have received evidence (which may
be included in the applicable Notice of Borrowing, or delivered separately in writing)
demonstrating that on and as of the time of delivery of the Notice of Borrowing for the applicable
New Money Loan, and immediately prior to the incurrence thereof, the aggregate amount of
Liquidity.

         Each Notice of Borrowing (or, in the case of the Borrowing of Loans not constituting New
Money Loans, each deemed request by the Borrower for a Loan) shall constitute a representation
by the Borrower that the foregoing conditions are satisfied on and as of each of (i) the date of such
Notice of Borrowing (or the date of such deemed request), (ii) the requested Borrowing Date, and
(iii) the date on which such Loan is funded or made (or deemed funded or made, as applicable).

       6.3.    Conditions Subsequent. The Obligors shall deliver to the Administrative Agent
each of the items set forth on Schedule 6.3 on the date set forth therein (or such later date as may
be agreed to by the Administrative Agent (at the direction of the Required Lenders)).

SECTION 7. COLLATERAL

        7.1.   Grant of Security Interest. To secure the prompt and complete payment and
performance when due (whether at the stated maturity, by acceleration or otherwise) of all
Obligations to the full extent required hereunder, each Obligor hereby grants to Administrative
Agent, for the benefit of the Secured Parties, a continuing security interest in, and Lien upon, all
property and assets of such Obligor, whether tangible or intangible, real or personal, wherever
located, and whether now owned by or owing to such Obligor, or at any time hereafter coming
into existence, whether prior to or after the Petition Date, whether acquired or obtained by, or
arising in favor of, such Obligor, or in which such Obligor now has or at any time in the future
may acquire any right, title or interest, and, including, without limitation, all of the following:

                            (a)   all Accounts;

                            (b)   all Chattel Paper, including electronic chattel paper;

                       (c)     all claims and causes of action, including all Commercial Tort
Claims (including those shown on Schedule 7.1(c) or described in any notice or other instrument
delivered to the Administrative Agent at any time), and subject to the entry of a Final DIP Order,
all proceeds of or property recovered, whether by judgment, settlement or otherwise, arising from
Chapter 5 Claims and Causes of Action;

                      (d)    all Deposit Accounts, Securities Accounts and Commodities
Accounts (including the DIP Funding Accounts);

                            (e)   all Documents;



                                                   -63-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 150 of 224




                     (f)          all General Intangibles, including Intellectual Property Collateral
and Payment Intangibles;

                            (g)   all Goods, including Inventory, Equipment and fixtures;

                            (h)   all Real Estate and interests therein (including all leasehold
interests);

                            (i)   all Instruments;

                            (j)   all Investment Property and Financial Assets;

                      (k)         all Letter-of-Credit Rights (whether or not the letter of credit is
evidenced by a writing);

                            (l)   all Supporting Obligations;

                      (m)     all cash, Cash Equivalents, monies and other funds (whether or not
in the possession or under the control of Administrative Agent, a Lender, or a bailee or Affiliate
of Administrative Agent or a Lender, and including any Cash Collateral);

                        (n)    all other assets and properties of the Grantors, whether tangible,
intangible, real, personal or mixed;

                       (o)    all accessions to, substitutions for, and all replacements, products,
and cash and non-cash proceeds of the foregoing, including proceeds of and unearned premiums
with respect to insurance policies, and claims against any Person for loss, damage or destruction
of any Collateral;

                            (p)   all “Collateral” under and as defined in the Prepetition Note
Purchase Documents;

                      (q)      all assets and property held by any Secured Party, including all
property of every description, in the custody of or in transit to such Secured Party for any purpose,
including safekeeping, collection or pledge, for the account of such Grantor or as to which such
Grantor may have any right or power, including but not limited to cash;

                     (r)   all books and records (including customer lists, files,
correspondence, tapes, computer programs, print-outs and computer records) pertaining to the
foregoing; and

                      (s)     any and all claims, rights and interests in any of the above and all
substitutions for, additions, attachments, accessories, accessions and improvements to and
replacements, products, cash and non-cash proceeds and insurance proceeds any or all of the
foregoing.

        Notwithstanding anything contained herein to the contrary, in no event shall the security
interest granted under this Section 7.1 include any Excluded Assets.

                                                     -64-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 151 of 224




        7.2.     Lien on Accounts.

               7.2.1      Deposit Accounts; Security Accounts; Commodity Accounts. To further
secure the prompt payment and performance of all Obligations, each Obligor hereby grants to
Administrative Agent for the benefit of Secured Parties a continuing security interest in and Lien
upon all amounts credited to any Deposit Account, Security Account and Commodity Account
(including the DIP Funding Accounts) of such Obligor (other than any Excluded Accounts),
including any sums in any blocked or lockbox accounts or in any accounts into which such sums
are swept. Each Obligor hereby authorizes and directs each bank or other depository/custodian to
deliver to Administrative Agent, upon request, all statements of balances in any Deposit Account,
Security Account and Commodity Account (including the DIP Funding Accounts) maintained by
such Obligor, without inquiry into the authority or right of Administrative Agent to make such
request.

        7.3.     Pledged Collateral.

                7.3.1      Pledged Equity Interests and Debt Securities. As security for the
payment or performance, as the case may be, in full of the Obligations, each Obligor hereby assigns
and pledges to Administrative Agent, its successors and assigns, for the benefit of the Secured
Parties, and hereby grants to Administrative Agent, its successors and assigns, for the benefit of
Secured Parties, a security interest in, all of such Obligor’s right, title and interest in, to and under
(a) the Equity Interests now owned or at any time hereafter acquired by such Obligor, including
the Equity Interests set forth opposite the name of such Obligor on Schedule 7.3(a), and all
certificates and other instruments representing such Equity Interests (collectively, the “Pledged
Equity Interests”); (b) the debt securities now owned or at any time hereafter acquired by such
Obligor, including the debt securities set forth opposite the name of such Obligor on Schedule
7.3(a), and all promissory notes and other instruments (collectively, the “Pledged Debt
Securities”); (c) all other property that may be delivered to and held by Administrative Agent
pursuant to the terms of this Section; (b) subject to Section 7.3.6, all payments of principal or
interest, dividends, cash, instruments and other property from time to time received, receivable or
otherwise distributed in respect of, in exchange for or upon the conversion of, and all other
proceeds received in respect of, the Equity Interests, securities and instruments referred to in
clauses (a) and (b) above; (e) subject to Section 7.3.6, all rights and privileges of such Obligor
with respect to the securities, instruments and other property referred to in clauses (a), (b), (c) and
(d) above; and (f) all proceeds of any and all of the foregoing (the items referred to in clauses (a)
through (f) above being collectively referred to as the “Pledged Collateral”).

                 7.3.2      Delivery of the Pledged Collateral.

                       (a)     Each Obligor agrees to deliver or cause to be delivered to
        Administrative Agent any and all certificates representing the Pledged Equity Interests of
        Subsidiaries and all other certificated Pledged Collateral at any time owned by such
        Obligor with a value in excess of $500,000 promptly (and in any event, within 15 days (or
        such longer period as the Administrative Agent may agree)) following the acquisition
        thereof by such Obligor, together with instruments of transfer executed in blank by a duly
        authorized officer of such Obligor.


                                                  -65-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 152 of 224




                        (b)    Upon delivery to Administrative Agent, (i) any Pledged Equity
        Interests shall be accompanied by undated stock powers duly executed by the applicable
        Obligor in blank or other instruments of transfer reasonably satisfactory to Administrative
        Agent and by such other instruments and documents as Administrative Agent may
        reasonably request and (ii) the certificated Pledged Collateral shall be accompanied by
        undated proper instruments of assignment duly executed by the applicable Obligor in blank
        and by such other instruments and documents as Administrative Agent may reasonably
        request. In connection with any delivery of possessory Pledged Collateral after the date
        hereof to Administrative Agent, Borrower shall deliver a schedule to Administrative Agent
        describing the possessory Pledged Collateral so delivered, which schedule shall be attached
        to Schedule 7.3(a) and made a part hereof; provided, that failure to deliver any such
        schedule hereto or any error in a schedule so attached shall not affect the validity of the
        pledge of any Pledged Collateral.

              7.3.3    Pledge Related Representatives, Warranties and Covenants. Each
Obligor hereby represents, warrants and covenants to Administrative Agent and the Secured
Parties that:

                        (a)    Schedule 7.3(a) sets forth a true and complete list, as of the Closing
        Date, with respect to such Obligor, of (i) all the Equity Interests owned by such Obligor
        and the percentage of the issued and outstanding units of each class of the Equity Interests
        of the issuer thereof represented by the Pledged Equity Interests owned by such Obligor
        and (ii) all debt securities owned by such Obligor, and all promissory notes and other
        instruments evidencing such debt securities. Schedule 7.3(a) sets forth, as of the Closing
        Date, all Equity Interests, debt securities and promissory notes required to be pledged
        hereunder.

                        (b)     The Pledged Equity Interests and Pledged Debt Securities have (to
        the knowledge of the Obligors in the case of any of the foregoing that are not issued by an
        Obligor or Subsidiary) been duly and validly authorized and issued by the issuers thereof
        and (i) in the case of Pledged Equity Interests, are fully paid and nonassessable and (ii) in
        the case of Pledged Debt Securities, are legal, valid and binding obligations of the issuers
        thereof (subject to applicable bankruptcy, reorganization, insolvency, moratorium or
        similar laws affecting creditors’ rights generally and subject, as to enforceability, to
        equitable principles of general application (regardless of whether enforcement is sought in
        a proceeding in equity or at law)).

                       (c)     Except for the security interests granted hereunder, such Obligor (i)
        is and, subject to any transfers or dispositions not prohibited by this Agreement, will
        continue to be the direct owner, beneficially and of record, of the Pledged Collateral
        indicated on Schedule 7.3(a) as owned by such Obligor, (ii) holds the same free and clear
        of all Liens (other than Permitted Liens), (iii) will make no assignment, pledge,
        hypothecation or transfer of, or create or permit to exist any security interest in or other
        Lien on, the Pledged Collateral (other than Permitted Liens and transfers or dispositions
        not prohibited by this Agreement) and (iv) will defend its title or interest thereto or therein
        against any and all Liens (other than Permitted Liens), however arising, of all persons
        whomsoever.

                                                 -66-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 153 of 224




                      (d)   Such Obligor has the corporate or company power and authority to
        pledge the Pledged Collateral pledged by it hereunder in the manner hereby done or
        contemplated.

                       (e)      No Governmental Approval or any other action by any
        Governmental Authority and no consent or approval of any securities exchange or any
        other person (including stockholders, partners, members or creditors of such Obligor) is or
        will be required for the validity of the pledge effected hereby (other than such as have been
        obtained and are in full force and effect).

                       (f)   By virtue of the execution and delivery by such Obligor of this
        Agreement, when any Pledged Collateral are delivered to Administrative Agent in
        accordance with this Agreement, Administrative Agent will obtain a legal, valid and
        perfected lien upon and security interest in such Pledged Collateral as security for the
        payment and performance of the Obligations.

                 7.3.4     Certification of Limited Liability Company and Limited Partnership
Interests. If reasonably requested by Administrative Agent at a time when an Event of Default has
occurred and is continuing, each Obligor shall use commercially reasonable efforts to cause each
interest in any limited liability company or limited partnership controlled by such Obligor and
pledged hereunder to be a “security” within the meaning of Article 8 of the New York UCC.

                7.3.5      Registration in Nominee Name; Denominations. Subject to the DIP
Orders, at any time when an Event of Default has occurred and is continuing, Administrative Agent
shall have the right (in its sole and absolute discretion) to hold the Pledged Collateral in its own
name as pledgee, in the name of its nominee (as pledgee or as sub-agent) or in the name of the
applicable Obligor, endorsed or assigned in blank or in favor of Administrative Agent.
Administrative Agent shall at a time when an Event of Default has occurred and is continuing have
the right to exchange the certificates representing Pledged Equity Interests for certificates of
smaller or larger denominations for any purpose consistent with this Agreement.

                 7.3.6            Voting Rights; Dividends and Interest.

                            (a)       Unless and until an Event of Default shall have occurred and be
        continuing:

                                (i)    Each Obligor shall be entitled to exercise any and all voting
        and other consensual rights and powers inuring to an owner of Pledged Collateral or any
        part thereof for any purpose consistent with the terms of this Agreement and the other Loan
        Documents; provided, that such rights and powers shall not be exercised in any manner
        that could adversely affect the rights inuring to a holder of any Pledged Collateral or the
        rights and remedies of Administrative Agent or any other Secured Party under this
        Agreement or any other Loan Document or the ability of the Secured Parties to exercise
        the same.

                                      (ii)   [Reserved].



                                                      -67-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 154 of 224




                                 (iii) Each Obligor shall be entitled to receive and retain any and
        all dividends, interest, principal and other distributions paid on or distributed in respect of
        the Pledged Collateral to the extent and only to the extent that such dividends, interest,
        principal and other distributions are not prohibited by, the terms and conditions of this
        Agreement, the other Loan Documents and applicable laws; provided, that any noncash
        dividends, interest, principal or other distributions that would constitute Pledged Equity
        Interests or Pledged Debt Securities, whether resulting from a subdivision, combination or
        reclassification of the outstanding Equity Interests of the issuer of any Pledged Collateral
        or received in exchange for Pledged Collateral or any part thereof, or in redemption thereof,
        or as a result of any merger, consolidation, acquisition or other exchange of assets to which
        such issuer may be a party or otherwise, shall be and become part of the Pledged Collateral
        and, if received by any Obligor, shall be held in trust for the benefit of Administrative
        Agent, shall be segregated from other property or funds of such Obligor and shall be
        forthwith delivered to Administrative Agent upon demand in the same form as so received
        (with any necessary endorsement).

                       (b)     Subject to the DIP Orders, upon the occurrence and during the
        continuance of an Event of Default, concurrent with the Administrative Agent’s notice to
        the Obligors of the suspension of their rights under paragraph (a)(iii) of this Section, all
        rights of Obligors to dividends, interest, principal or other distributions that such Obligor
        is authorized to receive pursuant to paragraph (a)(iii) of this Section shall cease, and all
        such rights shall thereupon become vested in Administrative Agent, which shall have the
        sole and exclusive right and authority to receive and retain such dividends, interest,
        principal or other distributions. All dividends, interest, principal or other distributions
        received by any Obligor contrary to the provisions of this Section shall be held in trust for
        the benefit of Administrative Agent, shall be segregated from other property or funds of
        such Obligor and shall be forthwith delivered to Administrative Agent upon demand in the
        same form as so received (with any necessary endorsement). Any and all money and other
        property paid over to or received by Administrative Agent pursuant to the provisions of
        this paragraph shall be retained by Administrative Agent in an account to be established by
        Administrative Agent upon receipt of such money or other property, shall be held as
        security for the Obligations and shall be applied in accordance with the provisions of
        Section 5.6.

                        (c)      Subject to the DIP Orders, upon the occurrence and during the
        continuance of an Event of Default, concurrent with the Administrative Agent’s notice to
        the Obligors of the suspension of their rights under and in accordance with paragraph (a)(i)
        of this Section, all rights of any Obligor to exercise the voting and other consensual rights
        and powers it is entitled to exercise pursuant to paragraph (a)(i) of this Section, and the
        obligations of Administrative Agent under paragraph (a)(ii) of this Section, shall cease,
        and all such rights shall thereupon become vested in Administrative Agent, which shall
        have the sole and exclusive right and authority to exercise such voting and other consensual
        rights and powers; provided, that, unless otherwise directed by the Required Lenders,
        Administrative Agent shall have the right from time to, in its sole discretion,
        notwithstanding the continuance of an Event of Default, to permit any Obligor to exercise
        such rights and powers.


                                                 -68-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 155 of 224




        7.4.     Intellectual Property Matters.

                7.4.1      For the purpose of enabling the Administrative Agent, during the
continuance of an Event of Default, to exercise rights and remedies hereunder at such time as the
Administrative Agent shall be lawfully entitled to exercise such rights and remedies, and for no
other purpose, each Obligor hereby grants to the Administrative Agent, an irrevocable (until the
termination of this Agreement), non-exclusive, worldwide, royalty-free (and free of any other
obligation of payment) license to use, assign, license or sublicense any of the Intellectual Property
Collateral now owned, licensed or hereafter acquired by such Obligor, wherever the same may be
located; provided that such license (i) shall automatically terminate upon the repayment,
satisfaction or discharge of all Obligations and (ii) may only be exercised by the Administrative
Agent, at the option of the Administrative Agent, upon the occurrence and during the continuation
of an Event of Default. Such license shall include access to all media in which any of the licensed
items may be recorded or stored and to all computer programs used for the compilation or printout
hereof, and shall, for the Licenses, be within the scope of and to the extent allowed under such
Licenses. While the Administrative Agent exercises its lawful rights and remedies under this
Agreement, in order to preserve the inherent value of the Trademarks included in the Intellectual
Property Collateral, the Administrative Agent agrees use such Trademarks only in accordance with
such quality standards as may be reasonably established by the Obligors and communicated to the
Administrative Agent from time to time in writing.

                 7.4.2     On a continuing basis, each Obligor shall, at its sole cost and expense,
(i) other than prosecution of Intellectual Property in the Ordinary Course of Business, promptly
following its becoming aware thereof, notify the Administrative Agent of any adverse
determination in any proceeding or the institution of any proceeding in any federal, state or local
court or administrative body or in the United States Patent and Trademark Office or the United
States Copyright Office regarding any material Intellectual Property Collateral, such Obligor’s
right to register such material Intellectual Property Collateral or its right to keep and maintain such
registration and prosecute applications in full force and effect, (ii) prosecute, maintain, protect and
enforce all material Intellectual Property Collateral in the Ordinary Course of Business, (iii) not
permit to lapse or become abandoned any material Intellectual Property Collateral, and not settle
or compromise any pending or future litigation or administrative proceeding with respect to any
such material Intellectual Property Collateral, in either case except as shall be consistent with
commercially reasonable business judgment, (iv) other than prosecution of Intellectual Property
in the Ordinary Course of Business, upon such Obligor obtaining knowledge thereof, promptly
notify the Administrative Agent in writing of any event which may be reasonably expected to
materially and adversely affect the validity, enforceability, value or utility of any material
Intellectual Property Collateral or the rights and remedies of the Administrative Agent in relation
thereto including a levy or threat of levy or any legal process against any material Intellectual
Property Collateral, (v) not license any Intellectual Property Collateral, or otherwise disclose any
confidential Technology or source code other than non-exclusive licenses entered into by such
Obligor in, or incidental to, the Ordinary Course of Business, or amend or permit the amendment
of any of the licenses in a manner that materially and adversely affects the right to receive
payments thereunder, or in any manner that would materially impair the value of any Intellectual
Property Collateral or the Lien on and security interest in the Intellectual Property Collateral
created therein hereby, without the consent of the Administrative Agent, and (vi) furnish to the


                                                 -69-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 156 of 224




Administrative Agent from time to time upon the Administrative Agent’s request therefor
reasonably detailed schedules further identifying the Intellectual Property Collateral.

                7.4.3     If any Obligor shall at any time after the date hereof (i) obtain any rights
to any additional Intellectual Property Collateral (other than any Intellectual Property that would
constitute Excluded Assets) or (ii) become entitled to the benefit of any additional Intellectual
Property Collateral or any renewal or extension thereof, including any reissue, division,
continuation, or continuation-in-part of any Intellectual Property Collateral, or any improvement
on any Intellectual Property Collateral, or if any intent-to use Trademark application (or foreign
equivalent) is no longer subject to clause (h) of the definition of Excluded Assets, the provisions
hereof shall automatically apply thereto and any such item enumerated in the preceding clause (i)
or (ii) shall automatically constitute Intellectual Property Collateral as if such would have
constituted Intellectual Property Collateral at the time of execution hereof and be subject to the
Lien and security interest created by this Agreement without further action by any party.

        7.5.     Other Collateral.

              7.5.1      Commercial Tort Claims. Obligors shall promptly take such actions as
Administrative Agent reasonably requests from time to time to subject any Commercial Tort Claim
with a claim value in excess of $500,000 to a fully and properly perfected Lien in favor of
Administrative Agent to secure the Obligations to the fullest extent required hereunder, which Lien
shall rank super senior and prior to, and shall have first priority over, all other Liens thereon
(including Permitted Liens).

                7.5.2     Certain After-Acquired Collateral. Obligors shall notify Administrative
Agent in the next Compliance Certificate delivered pursuant to this Agreement in accordance with
Section 10.1.2(c) (or with respect to clause (a), within 10 days thereof) if, after the Closing Date,
any Obligor obtains any interest in any Collateral consisting of (a) Deposit Accounts, Security
Accounts and Commodity Accounts (including the DIP Funding Accounts) (other than Excluded
Accounts), (b) Chattel Paper and Instruments, in each case with a face amount in excess of
$500,000, (c) Investment Property with a value in excess of $500,000 or consisting of Equity
Interests in a Subsidiary, or (d) Letter-of-Credit Rights with a value in excess of $500,000 and,
upon Administrative Agent’s request, shall promptly take such actions as Administrative Agent
may reasonably request to a fully and properly perfected Lien in favor of Administrative Agent to
secure the Obligations to the fullest extent required hereunder, which Lien shall rank super senior
and prior to, and shall have first priority over, all other Liens thereon (including Permitted Liens)
upon such Collateral, including obtaining any appropriate possession or Control Agreement.

        7.6.    No Assumption of Liability. The Lien on Collateral granted hereunder is given
as security only and shall not subject Administrative Agent or any Lender to, or in any way modify,
any obligation or liability of Obligors relating to any Collateral.

       7.7.   Further Assurances. All Liens granted to Administrative Agent under the Loan
Documents are for the benefit of Secured Parties. Promptly upon request, Obligors shall deliver
such instruments and agreements, and shall take such actions, as Administrative Agent shall
reasonably request under Applicable Law to evidence or perfect its Lien on any Collateral. Each
Obligor authorizes Administrative Agent to file any financing statement that describes the

                                                -70-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 157 of 224




Collateral as “all assets” or “all personal property” of such Obligor, or words to similar effect, and
ratifies any action taken by Administrative Agent before the Closing Date to effect or perfect its
Lien on any Collateral.

SECTION 8. COLLATERAL ADMINISTRATION

        8.1.     [Reserved].

        8.2.     Administration of Accounts.

               8.2.1      Records and Schedules of Accounts. Each Obligor shall keep materially
accurate and complete records of its Accounts, including all payments and collections thereon, and
shall submit to Administrative Agent sales, collection, reconciliation and other reports in form
reasonably satisfactory to Administrative Agent, on such periodic basis as Administrative Agent
may reasonably request. Each Obligor shall also provide to Administrative Agent, on or before
the 25th day of each month, a detailed aged trial balance of all Accounts as of the end of the
preceding month, specifying each Account’s Account Debtor name and address, amount, invoice
date and due date, and net of any discount, allowance, credit, authorized return or dispute, and
such other information as Administrative Agent may reasonably request.

                8.2.2      Taxes. Without duplication of any amounts covered by Section 5.9, if
an Account of any Obligor includes a charge for any Other Taxes, Administrative Agent is
authorized, in its Permitted Discretion, to pay the amount thereof to the proper taxing authority for
the account of such Obligor, and to charge such Obligor therefor; provided, however, neither
Administrative Agent nor Lenders shall be liable for any Other Taxes (including any that may be
due from Obligors, or any Other Taxes with respect to any Collateral).

                 8.2.3       Account Verification. At any time when an Event of Default has
occurred and is continuing, Administrative Agent shall have the right, in the name of
Administrative Agent or any Obligor (or any designee of Administrative Agent or such Obligor),
to verify the validity, amount or any other matter relating to any Accounts of any Obligor, whether
by mail, telephone or otherwise, and the Obligors shall cooperate fully with Administrative Agent
in an effort to facilitate and promptly conclude any such verification process.

                8.2.4      Maintenance of DIP Funding Account. The Borrower shall ensure that
the Administrative Agent has, at all times, pursuant to the DIP Order and such other arrangements
acceptable to the Administrative Agent, rights to the DIP Funding Accounts and control thereof to
the extent necessary to enable the Administrative Agent to establish dominion over the DIP
Funding Accounts, and exercise all rights associated therewith during any Cash Dominion Period
(including the right to sweep cash, and require immediate deposit of all remittances received in the
lockbox to a DIP Funding Account). If requested by the Administrative Agent, the Borrower shall
use commercially reasonable efforts to obtain a Control Agreement (or other agreement in form
and substance reasonably satisfactory to Administrative Agent) from each lockbox servicer and
DIP Funding Account bank, establishing Administrative Agent’s control over and Lien in the
lockbox or DIP Funding Account, which may be exercised by Administrative Agent during any
Cash Dominion Period. Administrative Agent and Lenders assume no responsibility to the


                                                -71-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 158 of 224




Borrower for any lockbox arrangement or DIP Funding Account, including any claim of accord
and satisfaction or release with respect to any Payment Items accepted by any bank.

                8.2.5       Proceeds of Collateral. Subject to the applicable DIP Order, Obligors
shall ensure that all payments on Accounts or otherwise relating to Collateral are at all times made
directly to a DIP Funding Account (or a lockbox relating to a DIP Funding Account). If the
Borrower or any Subsidiary receives cash or Payment Items with respect to any Collateral, it shall
hold same in trust for Administrative Agent and promptly (not later than the second Business Day
(or if such cash or Payment Item is with respect to a material amount, the next Business Day) or
such later date as is acceptable to Administrative Agent) deposit same into a DIP Funding Account.

        8.3.     [Reserved].

        8.4.     [Reserved].

        8.5.    Administration of Accounts. Schedule 8.5 sets forth all Deposit Accounts,
Security Accounts and Commodity Accounts maintained by Obligors, including all DIP Funding
Accounts, as of the Closing Date. Obligors shall ensure that the Administrative Agent has a fully
perfected first-priority Lien on each Deposit Account, Security Account and Commodity Account
(including all DIP Funding Accounts) (other than Excluded Accounts) at all times until Full
Payment, and shall use commercially reasonable efforts necessary to maintain such Lien in effect.
Each Obligor shall be the sole account holder of each Deposit Account, Security Account and
Commodity Account (including all DIP Funding Accounts) and shall not allow any other Person
(other than Administrative Agent or, solely by operation of applicable law, the depositary bank,
custodian or other financial institution at which such account is held, or pursuant to the DIP Order)
to have control over a Deposit Account, Security Account and Commodity Account (including all
DIP Funding Accounts) or any property deposited therein. Each Obligor shall promptly notify
Administrative Agent in writing of any intention to (or notice in connection with any other
Person’s intention to) open or close any Deposit Account, Security Account and Commodity
Account (including all DIP Funding Accounts and Excluded Accounts), and shall enter into a
Control Agreement or other arrangements reasonably satisfactory to the Administrative Agent, and
use commercially reasonable efforts to obtain such Chapter 11 Approvals as required by the
Administrative Agent in connection with the same, in each case, prior to any funds being
transferred to any such newly opened Deposit Account, Security Account and Commodity
Account, and, with the consent of Administrative Agent, will amend Schedule 8.5 to reflect same.

        8.6.     General Provisions.

                8.6.1    Insurance of Collateral; Condemnation Proceeds. Each Obligor shall
maintain insurance with respect to the Collateral (subject to exceptions to be agreed upon by
Administrative Agent in its Permitted Discretion), covering casualty, hazard, theft, malicious
mischief, flood and other risks, in amounts, with endorsements and with insurers (with a Best’s
Financial Strength Rating of at least A-VII, unless otherwise approved by Administrative Agent)
consistent with industry practice for similarly situated companies or otherwise reasonably
satisfactory to Administrative Agent; provided, however, that any required flood insurance shall
only be required to be in compliance with any applicable Flood Insurance Laws. All proceeds
under each property policy shall be payable to Administrative Agent as loss payee. From time to

                                                -72-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 159 of 224




time upon reasonable request of the Administrative Agent, Obligors shall deliver to Administrative
Agent copies of its insurance policies. Unless Administrative Agent shall agree otherwise, each
property policy and general liability policy shall include customary endorsements (i) showing
Administrative Agent as loss payee or additional insured, as applicable; (ii) requiring (A) ten (10)
days prior written notice to the Administrative Agent in the event of cancellation of the policy for
reason of non-payment of premium, and (B) thirty (30) days prior written notice to the
Administrative Agent in the event of cancellation of the policy for any other reason; and (iii) with
respect to property policies, specifying that the interest of Administrative Agent shall not be
impaired or invalidated by any act or neglect of any Obligor or the owner of the property, nor by
the occupation of the premises for purposes more hazardous than are permitted by the policy. If
any Obligor fails to provide and pay for any insurance, Administrative Agent may, at its option,
but shall not be required to, procure the insurance and charge Obligors therefor. While no Event
of Default exists, Obligors may settle, adjust or compromise any insurance claim, as long as the
proceeds are delivered to Administrative Agent. If an Event of Default exists, only Administrative
Agent shall be authorized to settle, adjust and compromise such claims.

                 8.6.2    Protection of Collateral.       All expenses of protecting, storing,
warehousing, insuring, handling, maintaining and shipping any Collateral, all Taxes payable with
respect to any Collateral (including any sale thereof), and all other payments required to be made
by Administrative Agent to any Person to realize upon any Collateral, shall be borne and paid by
Borrower. Administrative Agent shall not be liable or responsible in any way for the safekeeping
of any Collateral, for any loss or damage thereto (except for reasonable care in its custody while
Collateral is in Administrative Agent’s actual possession), for any diminution in the value thereof,
or for any act or default of any warehouseman, carrier, forwarding agency or other Person
whatsoever, but the same shall be at the Borrower’ sole risk.

              8.6.3     Defense of Title. Each Obligor shall defend its title to Collateral and
Administrative Agent’s Liens therein against all Persons, claims and demands, except Permitted
Liens.

       8.7.    Power of Attorney. Each Obligor hereby irrevocably constitutes and appoints
Administrative Agent (and all Persons designated by Administrative Agent) as such Obligor’s true
and lawful attorney (and agent-in-fact) for the purposes provided in this Section. Administrative
Agent, or Administrative Agent’s designee, may, without notice and in either its or any Obligor’s
name, but at the cost and expense of the Borrower:

                       (a)    Endorse any Obligor’s name on any Payment Item or other proceeds
of Collateral (including proceeds of insurance) that come into Administrative Agent’s possession
or control; and

                       (b)     During the continuation of an Event of Default, (i) notify any
Account Debtors of the assignment of their Accounts, demand and enforce payment of Accounts
by legal proceedings or otherwise, and generally exercise any rights and remedies with respect to
Accounts; (ii) settle, adjust, modify, compromise, discharge or release any Accounts or other
Collateral, or any legal proceedings brought to collect Accounts or Collateral; (iii) sell or assign
any Accounts and other Collateral upon such terms, for such amounts and at such times as
Administrative Agent deems advisable in its Permitted Discretion; (iv) collect, liquidate and

                                               -73-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 160 of 224




receive balances in Deposit Accounts, Security Accounts, Commodity Accounts (including DIP
Funding Accounts) or investment accounts, and take control, in any manner, of proceeds of
Collateral; (v) prepare, file and sign Obligor’s name to a proof of claim or other document in a
bankruptcy of an Account Debtor, or to any notice, assignment or satisfaction of Lien or similar
document; (vi) receive, open and dispose of mail addressed to any Obligor, and notify postal
authorities to deliver any such mail to an address designated by Administrative Agent; (vii)
endorse any Chattel Paper, Document, Instrument, bill of lading, or other document or agreement
relating to any Accounts, Inventory or other Collateral; (viii) use any Obligor’s stationery and sign
its name to verifications of Accounts and notices to Account Debtors; (ix) use information
contained in any data processing, electronic or information systems relating to Collateral; (x) make
and adjust claims under insurance policies; (xi) take any action as may be necessary or appropriate
to obtain payment under any letter of credit, banker’s acceptance or other instrument for which
any Obligor is a beneficiary; and (xii) take all other actions as Administrative Agent deems, in its
Permitted Discretion, appropriate to fulfill any Obligor’s obligations under the Loan Documents.

SECTION 9. REPRESENTATIONS AND WARRANTIES

       9.1.   General Representations and Warranties. To induce Administrative Agent and
Lenders to enter into this Agreement, and to induce the Lenders to make available the
Commitments and extend any Loans, each Obligor represents and warrants that, on and as of the
Closing Date and each Borrowing Date:

                9.1.1      Organization and Qualification. The Borrower and each of its
Subsidiaries is duly organized, validly existing and in good standing (to the extent such concepts
are applicable) under the laws of the jurisdiction of its organization. Each Obligor is duly qualified,
authorized to do business and in good standing (to the extent such concepts are applicable) as a
foreign corporation in each jurisdiction where failure to be so qualified could reasonably be
expected to have a Material Adverse Effect.

               9.1.2      Power and Authority. The Borrower and each of its Subsidiaries is duly
authorized to execute, deliver and perform its Loan Documents (subject to the DIP Orders). The
execution, delivery and performance of the Loan Documents have been duly authorized by all
necessary corporate or company, as applicable, action, and do not (a) require any consent or
approval of any holders of Equity Interests of any Obligor, except those already obtained; (b)
contravene the Organic Documents of any Obligor; (c) violate or cause a default under any
Applicable Law or Material Contract; or (d) result in or require the imposition of any Lien (other
than Permitted Liens) on any Obligor’s real or personal property.

               9.1.3     Enforceability. Subject to the entry of the applicable DIP Order and the
terms thereof, each Loan Document is a legal, valid and binding obligation of each Obligor party
thereto, enforceable in accordance with its terms, except as enforceability may be limited by
bankruptcy, insolvency or similar laws affecting the enforcement of creditors’ rights generally.

                9.1.4    Capital Structure. Each direct or indirect Subsidiary of the Borrower,
other than the Immaterial Subsidiaries, is an Obligor, and Schedule 9.1.4 shows for each Obligor
and each direct Subsidiary thereof, its name, jurisdiction of organization, authorized and issued
Equity Interests, holders of its Equity Interests, and agreements binding on such holders with

                                                 -74-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 161 of 224




respect to such Equity Interests. Except as disclosed on Schedule 9.1.4, in the five years preceding
the Closing Date, no Obligor has acquired any substantial assets from any other Person nor been
the surviving entity in a merger or combination. Each Obligor has good title to its Equity Interests
in its Subsidiaries, subject only to Permitted Liens, and all such Equity Interests are duly issued,
fully paid and non-assessable (in each case to the extent such concepts are applicable). Other than
as set forth on Schedule 9.1.4, there are no outstanding purchase options, warrants, subscription
rights, agreements to issue or sell, convertible interests, phantom rights or powers of attorney
relating to Equity Interests of any Obligor or Subsidiary.

                  9.1.5     Title to Properties. Each Obligor has good title to (or valid leasehold
interests in) all material Real Estate, and good title to all of its material personal property, including
all property reflected in any financial statements delivered to Administrative Agent or Lenders, in
each case free of Liens except Permitted Liens.

                 9.1.6      [Reserved].

                 9.1.7      Financial Statements. The historical balance sheets, and related
statements of income, cash flow and shareholder’s equity, of the Borrower and its Subsidiaries that
have been delivered to Administrative Agent on or prior to the Closing Date, and, following the
Closing Date, the consolidated financial statements that have been delivered in accordance with
Section 10.1.2, are prepared in accordance with GAAP, except as otherwise expressly noted
therein, and fairly present in all material respects the financial positions and results of operations
of the Borrower and its Subsidiaries at the dates and for the periods indicated, and, for unaudited
financial statements, subject to normal year-end and audit adjustments and the absence of
footnotes. All projections delivered from time to time to Administrative Agent and Lenders have
been prepared in good faith, based on assumptions believed by the Borrower to be reasonable in
light of the circumstances at such time; provided, that projections, estimates, and forward-looking
statements are not to be viewed as facts or a guaranty of performance or achievement of a certain
result, and the actual results during the period or periods covered may differ from such projections,
estimates, and forward-looking statements, and such differences may be material. Since December
31, 2021, there has been no change in the condition, financial or otherwise, of the Borrower and
its Subsidiaries that could reasonably be expected to have a Material Adverse Effect.

                  9.1.8     Taxes. Each Obligor and Subsidiary has filed all Tax returns and other
reports that it is required by Applicable Law to file, and has paid all Taxes (including in a capacity
as a withholding agent) that are due and payable, whether or not shown on a Tax return or report,
except in each case (i) to the extent being Properly Contested or (ii) to the extent failure to file
such Tax return or report or pay such Taxes could not reasonably be expected to have a Material
Adverse Effect.

              9.1.9     Brokers. There are no brokerage commissions, finder’s fees or
investment banking fees payable in connection with any transactions contemplated by the Loan
Documents.

               9.1.10     Intellectual Property. Each Obligor and Subsidiary exclusively owns or
has the lawful right to use all Intellectual Property used or held for use in or otherwise necessary
for the conduct of its business, without conflict with any rights of others except to the extent the

                                                  -75-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 162 of 224




failure of the foregoing to be true could not reasonably be expected to have a Material Adverse
Effect. The conduct of the business of the Borrower and each Subsidiary does not infringe or
misappropriate any Intellectual Property rights of any third party, and there is no pending or, to
the Borrower’s knowledge, threatened (in writing), Intellectual Property Claim with respect to the
Borrower, any Subsidiary or any of their product, service, or property (including any Intellectual
Property), and to Borrower’s knowledge, no third party is infringing or misappropriating any
material Intellectual Property rights of Borrower or any Subsidiary, in each case, except to the
extent the failure of the foregoing to be true could not reasonably be expected to have a Material
Adverse Effect. As of the Closing Date, all registered and applied for Intellectual Property owned
by the Borrower or any Subsidiary (“Registered IP”), all Licenses granted by the Borrower or any
Subsidiary other than in the Ordinary Course of Business is set forth on Schedule 9.1.10. To the
Borrower’s knowledge, and except to the extent the failure of the foregoing to be true could not
reasonably be expected to have a Material Adverse Effect, all Registered IP are valid and
enforceable and in compliance with all legal requirements, filings, and payments and other actions
that are required to maintain such Registered IP in full force and effect. Except to the extent the
failure of the foregoing to be true could not reasonably be expected to have a Material Adverse
Effect the Borrower and its Subsidiaries have taken reasonable steps to maintain the confidentiality
of and otherwise protect and enforce its rights in all trade secrets owned by the Borrower and its
Subsidiaries that are necessary in or material to the conduct of the business of the Borrower and
its Subsidiaries.

               9.1.11     Governmental Approvals. Subject to the DIP Orders, as applicable, each
Obligor and Subsidiary has, is in compliance with, and is in good standing with respect to, all
Governmental Approvals necessary to conduct its business and to own, lease and operate its
properties except to the extent failure to be in compliance and good standing could not reasonably
be expected to have a Material Adverse Effect. All necessary import, export or other licenses,
permits or certificates for the import or handling of any goods or other Collateral have been
procured and are in effect, and each Obligor and Subsidiary has complied with all foreign and
domestic laws with respect to the shipment and importation of any goods or Collateral, except
where the failure to procure, maintain in effect or noncompliance could not reasonably be expected
to have a Material Adverse Effect.

               9.1.12     Compliance with Laws. Each Obligor and Subsidiary has duly
complied, and its properties and business operations are in compliance, in all material respects
with all Applicable Law, except where noncompliance could not reasonably be expected to have
a Material Adverse Effect. There have been no citations, notices or orders of noncompliance
issued to the Borrower or any Subsidiary under any Applicable Law except where noncompliance
could not reasonably be expected to have a Material Adverse Effect. No Inventory has been
produced in violation of the FLSA.

               9.1.13     Compliance with Environmental Laws. No Obligor or Subsidiary’s past
or present operations, Real Estate or other properties are subject to any federal, state or local
investigation to determine whether any remedial action is needed to address any Environmental
Release, Hazardous Material or clean-up of the Environment that could reasonably be expected to
have a Material Adverse Effect. No Obligor or Subsidiary has received any Environmental Notice
that could reasonably be expected to have a Material Adverse Effect. No Borrower or Subsidiary
has any contingent liability with respect to any Environmental Release, environmental pollution

                                               -76-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 163 of 224




or Hazardous Material on any Real Estate now or previously owned, leased or operated by it that
could reasonably be expected to have a Material Adverse Effect.

                9.1.14     Burdensome Contracts. No Restrictive Agreement to which any Obligor
is a party prohibits the execution, delivery or performance of any Loan Document by an Obligor.

               9.1.15    Litigation. Other than the commencement of the Chapter 11 Cases and
except as shown on Schedule 9.1.15, there are no proceedings or investigations pending or, to the
Borrower’s knowledge, threatened against any Obligor or Subsidiary, or any of its operations or
properties, that (a) as of the Closing Date, relate to any Loan Documents or transactions
contemplated thereby; or (b) could reasonably be expected to have a Material Adverse Effect. No
Obligor or Subsidiary is in default with respect to any order, injunction or judgment of any
Governmental Authority to the extent such default could reasonably be expected to have a Material
Adverse Effect.

               9.1.16     No Defaults. No event or circumstance has occurred or exists that
constitutes a Default or Event of Default.

               9.1.17    ERISA. Except to the extent the failure of the following to be true could
not reasonably be expected to have a Material Adverse Effect:

                        (a)    Each Plan is in compliance with the applicable provisions of ERISA,
        the Code, and other federal and state laws. Each Plan that is intended to qualify under
        Section 401(a) of the Code has received a favorable determination letter from the IRS or
        an application for such a letter is currently being processed by the IRS with respect thereto
        and, to the knowledge of the Borrower, nothing has occurred which would prevent, or cause
        the loss of, such qualification. Each Obligor and ERISA Affiliate has met all applicable
        requirements under the Code, ERISA and the Pension Protection Act of 2006, and no
        application for a waiver of the minimum funding standards or an extension of any
        amortization period has been made with respect to any Plan.

                       (b)     There are no pending or, to the knowledge of Borrower, threatened
        claims, actions or lawsuits, or action by any Governmental Authority, with respect to any
        Plan. There has been no prohibited transaction or violation of the fiduciary responsibility
        rules with respect to any Plan.

                        (c)     (i) No ERISA Event has occurred or is reasonably expected to occur;
        (ii) no Pension Plan has any Unfunded Pension Liability; (iii) no Obligor or ERISA
        Affiliate has incurred, or reasonably expects to incur, any liability under Title IV of ERISA
        with respect to any Pension Plan (other than premiums due and not delinquent under
        Section 4007 of ERISA); (iv) no Obligor or ERISA Affiliate has incurred, or reasonably
        expects to incur, any liability (and no event has occurred which, with the giving of notice
        under Section 4219 of ERISA, would result in such liability) under Section 4201 or 4243
        of ERISA with respect to a Multiemployer Plan; (v) no Obligor or ERISA Affiliate has
        engaged in a transaction that could be subject to Section 4069 or 4212(c) of ERISA; and
        (vi) as of the most recent valuation date for any Pension Plan or Multiemployer Plan, the
        funding target attainment percentage (as defined in Section 430(d)(2) of the Code) is at

                                                -77-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 164 of 224




        least 60%, and no Obligor or ERISA Affiliate knows of any fact or circumstance that could
        reasonably be expected to cause the funding target attainment percentage for any such plan
        to drop below 60% as of such date.

                         (d)    With respect to any Foreign Plan, (i) all employer and employee
        contributions required by law or by the terms of the Foreign Plan have been made, or, if
        applicable, accrued, in accordance with normal accounting practices; (ii) the Fair Market
        Value of the assets of each funded Foreign Plan, the liability of each insurer for any Foreign
        Plan funded through insurance, or the book reserve established for any Foreign Plan,
        together with any accrued contributions, is sufficient to procure or provide for the accrued
        benefit obligations with respect to all current and former participants in such Foreign Plan
        according to the actuarial assumptions and valuations most recently used to account for
        such obligations in accordance with applicable generally accepted accounting principles;
        and (iii) it has been registered as required and has been maintained in good standing with
        applicable regulatory authorities.

               9.1.18    Labor Relations. Except as described on Schedule 9.1.18, as of the
Closing Date, no Borrower or Subsidiary is party to or bound by any collective bargaining
agreement, material management agreement or material consulting agreement. There are no
grievances, disputes or controversies with any union or other organization of the Borrower’s or
Subsidiary’s employees, or, to the Borrower’s knowledge, any asserted or threatened strikes, work
stoppages or demands for collective bargaining, in each case, the effect of which could reasonably
be expected to have a Material Adverse Effect.

               9.1.19     Not a Regulated Entity. No Obligor is an “investment company” or a
“person directly or indirectly controlled by or acting on behalf of an investment company” within
the meaning of the Investment Company Act of 1940.

               9.1.20      Margin Stock. No Obligor is engaged, principally or as one of its
important activities, in the business of extending credit for the purpose of purchasing or carrying
any Margin Stock. No Loan proceeds will be used by Borrower to purchase or carry, or to reduce
or refinance any Debt incurred to purchase or carry, any Margin Stock or for any related purpose
governed by Regulations T, U or X of the Board of Governors.

               9.1.21     OFAC. No Obligor, Subsidiary, director, officer, employee, or, to the
knowledge of the Borrower, agent, affiliate or representative thereof, is or is owned or controlled
by any individual or entity that is currently the subject or target of any Sanction, or is located,
organized or resident in a Designated Jurisdiction.

               9.1.22    Anti-Corruption Laws. Each Obligor and Subsidiary has conducted its
business in accordance with applicable anti-corruption laws in all material respects and has
instituted and maintained policies and procedures designed to promote and achieve compliance
with such laws.

                9.1.23      Affected Financial Institution. None of the Obligors is an Affected
Financial Institution.


                                                -78-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 165 of 224




                9.1.24     Security Interests. This Agreement and the DIP Orders are effective to
create, in favor of the Administrative Agent, for the benefit of the Secured Parties, a legal, valid,
binding, enforceable first-priority Lien on and security interest in all right, title and interest of the
Obligors in the Collateral, in each case, subject to the Carve Out and junior only to any Permitted
Prior Liens (solely to the extent explicitly set forth as junior and other than as expressly provided
in the DIP Orders). Pursuant to the terms of the DIP Orders, no filings or other action (including
the taking of possession or control) are or shall at any time be necessary to perfect, preserve or
protect such Liens and security interests; provided, that, notwithstanding the foregoing, the
Obligors shall have executed and delivered all other Security Documents, and made (or authorized
the making by any Agent of) all filings, in each case, to the extent deemed reasonably necessary
and/or appropriate, and requested, by any Agent or the Required Lenders.

             9.1.25    Beneficial Ownership Certificate. The information included in the
Beneficial Ownership Certification, if applicable, is true and correct in all respects.

                 9.1.26      Covered Entities. No Obligor is a Covered Entity.

               9.1.27     Budget. Each of the Initial Budget attached as Exhibit H, which was
delivered to Administrative Agent and the Lenders on or prior to, and which shall be in effect as
of, the Closing Date, each Approved Budget, each Budget Supplement and each Updated Budget
is based upon good faith estimates and assumptions believed by management of the Borrower to
be reasonable at the time made, in light of the circumstances under which they were made. The
Initial Budget, was prepared in good faith based upon assumptions the Borrower believes to be
reasonable assumptions on the date of delivery thereof

                 9.1.28     Immaterial Subsidiaries. Schedule 10.1.16 sets forth a complete and
accurate list of each Immaterial Subsidiary. No Immaterial Subsidiary has (i) engaged in any
business activities or owns any property (real or personal) or assets (in each case, of whatever
nature), (ii) created, incurred, assumed or suffered to exist any Debt, (iii) created or permitted to
exist any Lien on any of its real or personal properties, assets or rights of whatever nature (whether
now owned or hereafter acquired), (iv) received, directly or indirectly, any Investment or
Distribution from any Obligor or (v) entered into any transaction of any nature with any Obligor.

        9.2.   Disclosure. As of the Closing Date, there are no agreements, instruments and
corporate or other restrictions to which any Obligor is subject, that, individually or in the aggregate,
could reasonably be expected to result in a Material Adverse Effect. None of the written reports,
financial statements, certificates or other written information furnished by or on behalf of any
Obligor to Administrative Agent in connection with the negotiation of this Agreement or any other
Loan Document (as modified or supplemented by other information so furnished), taken as a
whole, contains any material misstatement of fact or omits to state any material fact necessary to
make the statements therein, in the light of the circumstances under which they were made, not
misleading in any material respect; provided, that, with respect to projected financial information,
the Borrower represents only that such information was prepared in good faith based upon
assumptions believed by it to be reasonable at the time delivered and, if such projected financial
information was delivered prior to the Closing Date, as of the Closing Date.

SECTION 10.                 COVENANTS AND CONTINUING AGREEMENTS

                                                  -79-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 166 of 224




       10.1. Affirmative Covenants. Until Full Payment, each Obligor shall, and shall cause
each Subsidiary thereof to:

                 10.1.1     Inspections.

                        (a)     Permit Administrative Agent from time to time, subject (except
        when an Event of Default exists) to reasonable notice and normal business hours, to visit
        and inspect the properties of the Borrower or any Subsidiary, inspect, audit and make
        extracts from the Borrower’s or Subsidiary’s books and records, and discuss with its
        officers, employees, agents, advisors and independent accountants the Borrower’s or
        Subsidiary’s business, financial condition, assets and results of operations, subject to any
        express limits in clause (b) below. Neither Administrative Agent nor any Lender shall have
        any duty to any Obligor to make any inspection, nor to share any results of any inspection,
        examination or report with any Obligor. Obligors acknowledge that all inspections,
        examinations and reports are prepared by Administrative Agent and Lenders for their
        purposes, and Obligors shall not be entitled to rely upon them.

                         (b)    Reimburse Administrative Agent for reasonable charges, costs and
        expenses of Administrative Agent in connection with examinations of any Obligor’s books
        and records or any other financial or Collateral matters (including for the avoidance of
        doubt, field examinations) as Administrative Agent deems appropriate, up to two times per
        Loan Year (but no more than once in any six month period); provided, however, that a
        second examination during any six month period will be permitted at the Obligors’ expense
        during a Cash Dominion Period; provided, further that if an examination is initiated during
        an Event of Default, all charges, costs and expenses therefor shall be reimbursed by
        Borrower without regard to such limits; and provided further that a third examination may
        be performed by Administrative Agent at Lenders’ expense in the absence of any Default.
        Borrower agrees to pay Administrative Agent’s then standard charges for examination
        activities, including the standard charges of Administrative Agent’s internal examination
        groups, as well as the reasonable charges of any third party used for such purposes.

               10.1.2      Financial and Other Information. Keep adequate records and books of
account with respect to its business activities, in which proper entries are made in accordance with
GAAP reflecting all financial transactions; and furnish to Administrative Agent and Lenders:

                        (a)    within 120 days after the close of each Fiscal Year, balance sheets
        as of the end of such Fiscal Year after the close of each Fiscal Year, balance sheets as of
        the end of such Fiscal Year and the related statements of income, cash flow and
        shareholders’ equity for such Fiscal Year, on consolidated basis for the Borrower and
        Subsidiaries, which consolidated statements shall be audited and certified (without a
        “going concern” or like qualification or exception, other than a “going concern”
        qualification or exception solely as a result of the Chapter 11 Cases or Debt maturing
        thereafter) by the independent certified public accountants of the Borrower, and shall set
        forth in comparative form corresponding figures for the preceding Fiscal Year;

                       (b)     within 60 days after the end of each Fiscal Quarter, unaudited
        balance sheets as of the end of such Fiscal Quarter and the related statements of income

                                                -80-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 167 of 224




        and cash flow for such Fiscal Quarter and for the portion of the Fiscal Year then elapsed,
        on consolidated basis for the Borrower and Subsidiaries, setting forth in comparative form
        corresponding figures for the preceding Fiscal Year and certified by a Senior Officer of
        Borrower as prepared in accordance with GAAP and fairly presenting the financial position
        and results of operations for such Fiscal Quarter and period, subject only to normal year-
        end and audit adjustments and the absence of footnotes;

                        (c)    within 30 days after the end of each calendar month, a consolidated
        balance sheet of the Borrower and its Subsidiaries as at the end of such month, and the
        related consolidated statements of operations for such month and for the portion of the
        Fiscal Year then ended, and consolidated statements of cash flows for such month and the
        portion of the Fiscal Year then ended, setting forth in each case in comparative form the
        figures for the corresponding month of the previous fiscal year and the corresponding
        portion of the previous fiscal year, all in reasonable detail and certified by a Senior Officer
        of the Borrower as fairly presenting in all material respects the financial condition, results
        of operations and cash flows of the Borrower and its Subsidiaries in accordance with
        GAAP;

                         (d)     concurrently with delivery of financial statements pursuant to
        clauses (a), (b) and (c) above, a Compliance Certificate, which Compliance Certificate shall
        be substantially in the form of Exhibit E attached hereto;

                       (e)     concurrently with delivery of financial statements under clause (a)
        above, copies of all management letters and other material reports submitted to Borrower
        by their accountants in connection with such financial statements;

                            (f)   [reserved];

                            (g)   [reserved];

                       (h)     promptly after the sending or filing thereof, copies of any regular,
        periodic and special reports or registration statements or prospectuses that any Obligor files
        with the Securities and Exchange Commission or any other Governmental Authority, or
        any securities exchange; and copies of any press releases or other statements made
        available by any Obligor to the public concerning material changes to or developments in
        the business of such Obligor;

                      (i)    promptly after request, such other reports and information (financial
        or otherwise) as Administrative Agent may reasonably request from time to time in
        connection with any Collateral or any Obligor’s or its Subsidiary’s financial condition or
        business; and

                        (j)    promptly following any request therefor, information and
        documentation reasonably requested by the Administrative Agent or any Lender (through
        the Administrative Agent) for purposes of compliance with applicable “know your
        customer” and anti-money-laundering rules and regulations, including, without limitation,
        the Patriot Act and the Beneficial Ownership Regulation.


                                                 -81-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 168 of 224




               10.1.3     Notices. Notify Administrative Agent in writing, promptly after any
Obligor’s obtaining knowledge thereof, of any of the following in respect of an Obligor (without
limiting any requirements of Section 10.1.13): (a) except with respect to the Chapter 11 Cases, the
written threat or commencement of any proceeding or investigation, whether or not covered by
insurance, which could reasonably be expected to have a Material Adverse Effect; (b) any pending
or threatened in writing labor dispute, strike or walkout, or the expiration of any labor contract,
which could reasonably be expected to have a Material Adverse Effect; (c) any uncured default by
an Obligor under a Material Contract; (d) the existence of any Default or Event of Default; (e) any
judgment not covered by insurance in an amount exceeding $250,000; (f) the assertion of any
Intellectual Property Claim, which could reasonably be expected to have a Material Adverse
Effect; (g) any violation or asserted violation of any Applicable Law (including ERISA, OSHA,
FLSA, or any Environmental Laws) which could reasonably be expected to have a Material
Adverse Effect; (h) any Environmental Release by an Obligor or on any real property owned,
leased or occupied by an Obligor, or receipt of any Environmental Notice, which, in each case,
could reasonably be expected to have a Material Adverse Effect; (i) the occurrence of any ERISA
Event which could reasonably be expected to have a Material Adverse Effect; or (j) the discharge
of or any withdrawal or resignation by Borrower’s independent accountants which could
reasonably be expected to have a Material Adverse Effect.

                10.1.4     Compliance with Laws. Comply with all Applicable Laws, including
ERISA, Environmental Laws, FLSA, OSHA, Anti-Terrorism Laws and Anti-Corruption Laws,
and maintain all Governmental Approvals necessary to the ownership of its properties or conduct
of its business unless failure to comply or maintain could not reasonably be expected to have a
Material Adverse Effect. Without limiting the generality of the foregoing, if any Environmental
Release occurs at or on any properties of any Obligor or of a Subsidiary thereof, it shall act
promptly and diligently to investigate and report to Administrative Agent and all appropriate
Governmental Authorities the extent of, and to make appropriate remedial action to eliminate, such
Environmental Release to the extent required by Environmental Laws, whether or not directed to
do so by any Governmental Authority.

                10.1.5     Taxes. Pay and discharge all Taxes prior to the date on which they
become delinquent or penalties attach, unless such Taxes are being Properly Contested or the
failure to pay or discharge such Taxes could not reasonably be expected to have a Material Adverse
Effect.

               10.1.6   Insurance. Maintain insurance with insurers with respect to the
properties and business of the Borrower and its Subsidiaries of such type (including workers’
compensation, larceny, embezzlement, or other criminal misappropriation insurance), in such
amounts, and with such coverages and deductibles as are customary for companies similarly
situated.

               10.1.7     Licenses. Keep each License affecting any Collateral (including the
manufacture, distribution or disposition of Inventory) or any other material real or personal
property of Obligors and Subsidiaries in full force and effect except to the extent the failure to do
so could not reasonably be expected to have a Material Adverse Effect; promptly notify
Administrative Agent of any proposed modification to any such License, or entry into any new
material License, in each case at least 15 days prior to its effective date; pay all material Royalties

                                                 -82-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 169 of 224




when due; and notify Administrative Agent of any default or breach asserted by any Person to
have occurred under any material License.

                 10.1.8     Further Assurances; etc.

                        (a)     Subject to clause (b) below, each Obligor will, and will cause each
        of the other Obligors to, grant to the Administrative Agent, for the benefit of the Secured
        Parties, security interests in such assets (other than Excluded Assets) of such Obligor and
        such other Obligors as are not covered by the grant and perfection requirements of 6.2.8(E)
        hereto or any other Security Document as of the Closing Date (other than Excluded Assets),
        and as may be reasonably requested from time to time by the Administrative Agent or the
        Required Lenders.

                Subject to the limitations set forth herein or any other Loan Document, promptly
upon the reasonable request by the Administrative Agent the Obligors shall (i) assist in correcting
any jointly identified material defect or error that may be discovered in the execution,
acknowledgment, filing or recordation of any Security Document or other document or instrument
relating to any Collateral, and (ii) do, execute, acknowledge, deliver, record, re-record, file, re-file,
register and re-register any and all such further acts, deeds, certificates, assurances, and other
instruments as the Administrative Agent may reasonably request from time to time in order to
carry out more effectively the purposes of 6.2.8(E) and the Security Documents.

                         (b)     With respect to any Person that is or becomes a Subsidiary after the
        Petition Date, other than an Immaterial Subsidiary, promptly (and in any event, by the time
        required by the Administrative Agent) (i) deliver to the Administrative Agent or its bailee
        the certificates, if any, representing all (or such lesser amount as is required) of the Equity
        Interests of any such Subsidiary that is a direct Subsidiary of an Obligor, together with
        undated stock powers or other appropriate instruments of transfer executed and delivered
        in blank by a duly authorized officer of the holder(s) of such Equity Interests, and all
        intercompany notes owing from such Subsidiary to any Obligor together with instruments
        of transfer executed in blank by a duly authorized officer of such Obligor, (ii) cause such
        new Subsidiary (A) to execute a joinder agreement, substantially in the form of Exhibit G
        hereto, and (B) subject to the limitation in 6.2.8(E), to take all actions reasonably necessary
        or advisable in the reasonable opinion of the Administrative Agent to cause the Lien on the
        Collateral of such Subsidiary created by 6.2.8(E) hereof or the applicable Security
        Document to be duly perfected in accordance with all Applicable Law, including the filing
        of financing statements in such jurisdictions as may be reasonably requested by the
        Administrative Agent, and (iii) at the request of the Administrative Agent, deliver to the
        Administrative Agent a signed copy of an opinion, addressed to the Administrative Agent
        and the other Lenders, of counsel to the Obligors reasonably acceptable to the
        Administrative Agent as to such matters set forth in this Section 10.1.9(b) as the
        Administrative Agent may reasonably request.

                        (c)    Each Obligor agrees that each action required by clause (a) of this
        Section 10.1.9 shall be completed no event later than 10 calendar days after such action is
        required to be taken pursuant to such clauses or requested to be taken by the Administrative
        Agent or the Required Lenders (or such longer period as the Administrative Agent shall

                                                  -83-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 170 of 224




        otherwise agree), as the case may be; provided, that in no event will the Borrower or any
        of its Subsidiaries be required to take any action, other than using its commercially
        reasonable efforts (which shall in any event include filing any applicable petition, motion,
        request or similar with the Bankruptcy Court), to obtain consents from third parties with
        respect to compliance with clause (a) of this Section 10.1.9.

               10.1.9      Designation of Subsidiaries. Each Person that is a Subsidiary of the
Borrower at any time, other than an Immaterial Subsidiary, shall be required to be an Obligor and
shall be subject to all terms and conditions hereof applicable to Obligors. For the avoidance of
doubt, no Investment shall be made by the Borrower or any Subsidiary thereof in any Person other
than an Obligor.

                 10.1.10    [Reserved].

                10.1.11 Lender Calls. To the extent that any Obligor (or any representative
thereof) holds for the benefit of all or a subset of the Lenders (in their capacity as such), any
meeting (including by conference call) (including relating to any to review of any financial results,
the financial condition of the Borrower and its Subsidiaries and/or any budgets), the Borrower
shall invite the Lenders and the Administrative Agent to attend the same at the same time, and on
the same terms as, such invitation is made to any subset of Lenders. Any information provided
for the benefit of all or a subset of the Lender (in their capacity as such) shall be delivered to the
Administrative Agent concurrently therewith.

                 10.1.12    Other Reporting.

                       (a)     Not later than 8:00 p.m. New York City time the fourth Wednesday
after the Closing Date (commencing with January 18, 2023) and every fourth Wednesday
thereafter (or such earlier time as may be mutually agreed by the Borrower and the Required
Lenders) (the “Budget Reporting Deadline”), the Obligors shall deliver to the Administrative
Agent (for the benefit of it and the Lenders) a supplement to the Approved Budget then in effect
(each, a “Budget Supplement”), covering the period specified therein, the form, scope and level of
detail of which Budget Supplement shall be consistent with the Initial Budget, (each Budget
Supplement, if, but solely if and upon, approved by the Required Lenders in accordance with the
following sentence, an “Updated Budget”). For the avoidance of doubt, no Updated Budget shall
become the Approved Budget unless and until approved by the Required Lenders (which approval
shall be deemed granted upon receipt by the Borrower or its counsel of written notice (which may
be via email) of such consent from the Required Lenders or the Administrative Agent (at the
Required Lender’s direction) or their respective counsel on their behalf) (such approval or consent
in accordance with the foregoing, the “Lender Consent”), and in the event that such Updated
Budget is not so approved by the Required Lenders (such approval not to be unreasonably withheld
or delayed), the prior Approved Budget shall remain in effect; provided, however, that neither the
Administrative Agent nor any of the Lenders shall have any obligation to approve any Budget
Supplement or any Updated Budget, and, no modification to any Updated Budget or any Approved
Budget, or any reforecasting of any information relating to any period covered by any other
Updated Budget or any Approved Budget, as the case may be, shall in any event be effective
without the Administrative Agent’s prior written consent (acting at the direction of the Required
Lenders).

                                                -84-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 171 of 224




                       (b)      Not later than 8:00 p.m. New York City time every Wednesday
(commencing with Wednesday of the calendar week immediately after the Closing Date, i.e.,
December 28, 2022) (each, a “Variance Reporting Deadline”), and on each Wednesday thereafter,
the Obligors shall deliver to the Administrative Agent (for the benefit of it and the Lenders):

                                (i)    a variance report, in each case, in form, scope and detail
consistent with the Approved Budget (each, a “Variance Report”), which Variance Report shall
set forth, with respect to the calendar week ending as of (and including) the Friday of the week
immediately preceding the applicable Variance Reporting Deadline (each, a “Performance
Period”), the difference/variance, expressed as a percentage (each, a “Budget Variance”), between
each (x) actual item identified in the Approved Budget for such Performance Period (on a line-
item and an aggregate basis), and (y) budgeted/projected item identified in the Approved Budget
for such Performance Period (as set forth in the Approved Budget) (on a line-item and aggregate
basis) (the amount (expressed as a percentage); and

                                (ii)      a certificate of a Senior Officer of Borrower prepared in
respect of each Variance Report, which shall (A) set forth a reasonably detailed explanation of
each Budget Variance identified in such Variance Report that is “material”, whether on a
qualitative or a qualitative basis (it being agreed that any Budget Variance, in each case, exceeding
5% shall be material), and (B) certify compliance by the Borrower and its Subsidiaries with
Section 10.2.22, and confirm that no Default or Event of Default shall exist or be continuing as of
such time, or be reasonably expected to occur or arise (provided, that, if such certification and
confirmation cannot be provided for any reason, such certificate shall specifically identify and
describe the instance of any non-compliance or default, and the facts, circumstances,
extent/amount of, reason for, and other information relevant to, such non-compliance or default;
provided, however, that, the compliance with the foregoing shall in any event not be deemed to
cure or negate any non-compliance with Section 10.2.22 or any Default or Event of Default) (a
certificate that complies with the foregoing requirements, a “Variance Report Certificate”).

                        (c)    The Obligors shall arrange for a teleconference with Lenders to take
place prior to 8:00 p.m. (New York City time) (or at such other time as is reasonably satisfactory
to the Administrative Agent) every Thursday (commencing with Thursday, January 5, 2023) (or
such other day as is reasonably satisfactory to the Administrative Agent) until Full Payment occurs,
which teleconference shall (i) require, at the election of the Required Lenders, participation by at
least one Senior Officer of Borrower’s management team and/or professional advisors to the
Borrower, and (ii) be intended for purposes of discussing the Borrower and its Subsidiaries’
financials (including any budget proposed to be the Approved Budget, Variance Reports and any
projections), the Potential Transaction, and such other information and matters reasonably related
thereto (including any matter contemplated pursuant to any Restructuring Transaction Documents)
or requested by any Lender; provided, that such teleconference shall not be required in any week
if and to the extent that the Administrative Agent shall have previously waived or postponed the
same by written notice to the Borrower.

                 10.1.13    Milestones, Restructuring Support Agreement and Related Covenants.




                                                -85-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 172 of 224




                       (a)     Satisfy the requirements with respect to each Milestone (including
by the time, to the extent, and in the manner required thereby), or as otherwise agreed to by the
Administrative Agent in writing.

                       (b)    (i) Actively and in good faith engage in (and shall procure the same
by Company Advisors, and their respective Subsidiaries), and shall not discontinue discussions
and negotiations with the Consenting Lender-Side Persons regarding the Potential Transactions,
(ii) actively and fully cooperate in good faith with the Consenting Lender-Side Persons in
connection with the Potential Transactions (including by actively and promptly providing due
diligence and access to books and records, negotiating the terms thereof and all definitive
documents), and (iii) promptly deliver to the Person requesting the same all information,
documentation, instruments and other materials reasonably requested by any Consenting Lender-
Side Person in connection herewith or any Potential Transaction; provided, that the foregoing
obligation shall not require Obligors to furnish any information that the Obligors reasonably and
in good faith and upon advice of outside counsel believe (x) would cause the Obligors to violate
any Chapter 11 Order, or (y) to be privileged, unless such information is requested and furnished
pursuant to a joint defense and/or common interest agreement entered into on mutually agreeable
terms with such Consenting Lender-Side Person.

                         (c)    In addition to any notices or information required to be given under
this Agreement (including, without limitation, pursuant to Sections 10.1.2, 10.1.3 and 10.1.12)
and the other Loan Documents, each Obligor will use commercially reasonable efforts to provide
the Consenting Lender Advisors (for the benefit of the Lenders) with (i) prompt written notice of,
in any event no later than one (1) Business Day of the occurrence of any Obligor or any of its
Subsidiaries (or any of their respective directors or officers) having actual knowledge of any breach
or violation of this Agreement or any other Loan Document, or any Restructuring Transaction
Document, by any Obligor or any Affiliate thereof that is a party thereto or restricted pursuant to
the terms thereof, (ii) reasonably prompt written notice of a default or breach under, or any required
redemption (or notice with respect to any required redemption) or other mandatory redemption or
purchase relating to any Debt of any Obligor (including, without limitation, the Prepetition Debt)
and (iii) reasonably prompt written notice of the occurrence of any default or event of default
under, or the pursuit of any remedies against any Obligor in connection with, any material
operating contract (including any termination thereof).

                 10.1.14    Bankruptcy Related Matters.

                         (a)      Cause all proposed (i) “first day” orders, (ii) “second day” orders,
(iii) orders related to or affecting the Obligations and/or the Loan Documents, the Prepetition Debt
and applicable loan documents, any other financing or use of Cash Collateral, any sale or other
disposition of Collateral outside the ordinary course or adequate protection, (iv) any Acceptable
Chapter 11 Plan and/or any disclosure statement related thereto, (v) orders concerning the financial
condition of the Debtors, or other Debt of the Debtors and (vi) orders establishing procedures for
administration of the Chapter 11 Cases or approving significant transactions submitted to the
Bankruptcy Court, in each case, proposed by the Debtors, to be in accordance with the terms of
this Agreement, to the extent applicable.



                                                -86-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 173 of 224




                     (b)     Comply in all respects with each order entered by the Bankruptcy
Court in connection with the Chapter 11 Cases.

                       (c)     Deliver to the Administrative Agent and the Lender Advisors, to the
extent practicable (absent exigent circumstances), not less than one (1) Business Day’s prior to
any filing, copies of all proposed pleadings, motions, applications, orders, financial information
and other documents to be filed by or on behalf of the Obligors with the Bankruptcy Court in the
Chapter 11 Cases that affect or may affect any of the Secured Parties, and shall consult in good
faith with the Lender Advisors and the Required Lenders regarding the form and substance of any
such document.

                        (d)    If not otherwise provided through the Bankruptcy Court’s electronic
docketing system, deliver to the Administrative Agent and to the Lender Advisors promptly, copies
of all final pleadings, motions, applications, orders, financial information and other documents
distributed by or on behalf of the Obligors to the Chapter 11 Unsecured Creditors Committee (or
any other official or unofficial committee appointed or appearing in the Chapter 11 Cases or any
other party in interest).

                       (e)     Provide the Lenders (via the Administrative Agent) and the Lender
Advisors not less than two (2) Business Days’ prior written notice, where practicable, of any
assumption or rejection of any Debtor’s or any Subsidiary’s Material Contracts, or of any material
non-residential real property leases pursuant to Section 365 of the Bankruptcy Code, and procure
that no such contract or lease, as applicable, shall be assumed or rejected if the Administrative
Agent (acting at the direction of the Required Lenders) informs the Borrower in writing, within
one (1) Business Day of receipt of the notice from the Borrower referenced above, that it objects
to such assumption or rejection, as applicable, or needs additional time to make the decision.

                10.1.15 Priority of Liens and Claims. Cause the Obligations to, upon and at all
times as of entry of the Interim DIP Order (including upon and at all times as of entry of the Final
DIP Order) (i) constitute DIP Superpriority Claims having the priority and rights set forth in the
DIP Orders and (ii) be secured by a valid, binding, continuing, enforceable and fully and properly
perfected Lien in favor of Administrative Agent to secure the Obligations to the fullest extent
required hereunder, which Lien shall rank super senior and prior to, and shall have first priority
over, all other Liens thereon (subject only to the Carve-Out and any Permitted Prior Liens
expressly permitted by the DIP Orders).

       10.2. Negative Covenants. Until Full Payment and as long as any Commitments or
Obligations are outstanding, each Obligor shall not, and shall cause each Subsidiary not to:

                10.2.1    Permitted Debt. Create, incur, guarantee or suffer to exist any Debt,
except Debt incurred or arising pursuant to clauses (a) through (x) below (provided, that, in the
case of any such Debt incurred or arising at any time as of the Petition Date, such Debt shall only
be permitted hereunder if no Default or Event of Default shall exist or be continuing as of the time
that such Debt is to be incurred or to arise, or shall occur upon, or as a result of, such Debt being
incurred or arising):

                            (a)   the Obligations;

                                                     -87-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 174 of 224




                            (b)   the Prepetition NPA Facility Debt;

                       (c)     any (i) Debt incurred to finance the acquisition, construction, or
        improvement of any fixed or capital assets (whether or not constituting Purchase Money
        Debt), including Capital Lease Obligations; provided, that no Debt shall be incurred
        pursuant hereto at any time as of the Petition Date unless permitted pursuant to the
        applicable Chapter 11 Approvals, and no payments in respect thereof shall be made except
        to the extent in accordance with the Financial Covenant, and (ii) Debt assumed in
        connection with the acquisition of any of the foregoing assets or secured by a Lien on any
        such assets prior to the acquisition thereof; provided, that the aggregate principal amount
        of Debt incurred in reliance on this clause (c) after the Closing Date shall not exceed
        $5,000,000 at any time outstanding and the creditor payments related thereto are set forth
        in, and made pursuant to, the Approved Budget;

                      (d)    Debt incurred prior to the Petition Date; provided, that if any such
        Debt exceeds an aggregate principal amount of $100,000, a description of such Debt is set
        forth on Schedule 10.2.1 hereof;

                       (e)     Debt with respect to Debt in respect of netting services, automatic
        clearinghouse arrangements, overdraft protections, treasury, depository, corporate
        purchasing cards and other credit cards, cash management, and similar arrangements, in
        each case incurred in the Ordinary Course of Business;

                            (f)   [reserved];

                            (g)   Permitted Contingent Obligations;

                      (h)     intercompany Debt solely among the Obligors; provided, that any
        such Debt shall be subordinated on terms reasonably satisfactory to the Administrative
        Agent to the Obligations hereunder;

                      (i)    Debt incurred in connection with the financing of insurance
        premiums in the Ordinary Course of Business;

                        (j)     Debt owed to any Person providing workers’ compensation,
        unemployment insurance, health, disability or other employee benefits or property,
        casualty or liability insurance, pursuant to reimbursement or indemnification obligations
        to such Person, in each case incurred in the Ordinary Course of Business;

                      (k)    Debt in respect of performance bonds, completion guarantees, bid
        bonds, appeal bonds, surety bonds and similar obligations, in each case provided in the
        Ordinary Course of Business;

                            (l)   [reserved];

                      (m)    Guarantee Obligations by any Obligor with respect to Debt
        otherwise permitted by this Section 10.2.1; provided, that if the Debt being guaranteed is


                                                  -88-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 175 of 224




        subordinated or pari passu with the Obligations, then the guarantee shall be subordinated
        or pari passu, as applicable, to the same extent as the Debt being guaranteed;

                            (n)   [reserved];

                       (o)     preferred stock of the Borrower issued prior to the Petition Date and
        that does not constitute Disqualified Equity Interests, as set forth on Schedule 9.1.4;

                       (p)      Debt consisting of take or pay obligations contained in supply
        arrangements entered into in the Ordinary Course of Business; provided, that the aggregate
        amount thereof incurred or arising or outstanding at any time shall not exceed $500,000;
        provided, further, that, no such obligations shall be incurred at any time as of the Petition
        Date unless permitted by the DIP Orders or other Chapter 11 Order (in each case, in
        accordance with the Approved Budget);

                      (q)         guarantees required by Governmental Authorities in the Ordinary
        Course of Business;

                            (r)   [reserved];

                      (s)    Debt arising under Permitted Employment Arrangements in
        accordance with the Approved Budget;

                       (t)     endorsements for collection, deposit, or negotiation and warranties
        of products or services, in each case incurred in the Ordinary Course of Business;

                       (u)    rental obligations incurred in the Ordinary Course of Business;
        provided, that the aggregate amount thereof incurred or arising at any time following the
        Petition Date shall not exceed $1,500,000 unless previously approved in writing by the
        Administrative Agent;

                            (v)   [reserved];

                      (w)    trade payables and other current liabilities incurred in the Ordinary
        Course of Business and in accordance with the Approved Budget; and

                       (x)    all interest accruing on (including capitalized interest), and all
        reasonable and documented fees and expenses payable in connection with, the obligations
        described in the foregoing clauses (in the case of (1) clause (a), without limiting the
        amounts otherwise included pursuant to the definition of Obligations or as provided
        elsewhere in this Agreement, and (2) clause (b), without limiting the amounts otherwise
        included pursuant to the definition of Prepetition April NPA Debt or Prepetition August
        NPA Debt).

For purposes of determining compliance with this Section 10.2.1, if an item of Debt meets the
criteria of more than one of the categories of Debt described above, the Borrower shall, in its sole
discretion, classify and reclassify or later divide, classify or reclassify such item of Debt (or any
portion thereof) and will only be required to include the amount and type of such Debt in one or

                                                 -89-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 176 of 224




more of the above clauses; provided, that all Debt outstanding under the Loan Documents will be
deemed to have been incurred in reliance only on the exception in clause (a) of this Section 10.2.1.
Notwithstanding anything to the contrary, no payment shall be made in respect of any Debt
(whether or not such Debt is permitted hereunder) at any time as of the Closing Date except in
accordance with the Approved Budget.

                 10.2.2     Permitted Liens. Create or suffer to exist any Lien upon any of its
property or assets, except the following Liens (provided, that, in the case of any Liens created or
arising at any time as of the Petition Date, such Liens shall only be permitted hereunder if no
Default or Event of Default shall exist or be continuing as of the time that such Lien is to be created
or to arise, or shall occur upon, or as a result of, such Lien being created or arising) (collectively,
“Permitted Liens”):

                       (a)    Liens in favor of Administrative Agent (for the benefit of the
        Secured Parties) granted pursuant to the Loan Documents to secure the Obligations;

                            (b)   [reserved];

                            (c)   Liens for Taxes not yet due or being Properly Contested;

                        (d)     statutory or common law Liens of landlords, sub-landlords, carriers,
        warehousemen, mechanics, materialmen, repairmen, construction contractors or other like
        Liens (other than Liens for Taxes or imposed under ERISA) arising in the Ordinary Course
        of Business, but only if (i) payment of the obligations secured thereby is not yet due or is
        being Properly Contested, and (ii) such Liens do not materially impair the value or use of
        the real or personal property or materially impair operation of the business of any Borrower
        or Subsidiary;

                      (e)    customary Liens incurred or deposits made in the Ordinary Course
        of Business to secure the performance of tenders, bids, leases, contracts (except those
        relating to Borrowed Money), statutory obligations, surety, stay, customs, and appeal
        bonds, performance bonds, and other similar obligations, or arising as a result of progress
        payments under government contracts;

                       (f)    pledges, deposits, or Liens in the Ordinary Course of Business in
        connection with (i) workers’ compensation, payroll taxes, unemployment insurance, and
        other social security legislation and (ii) securing liability for reimbursement or
        indemnification obligations of (including obligations in respect of letters of credit or bank
        guarantees for the benefit of) insurance carriers providing property, casualty or liability
        insurance to the Borrower, the Obligors, or any of the Subsidiaries;

                       (g)     Liens arising by virtue of a judgment or judicial order against any
        Obligor, or any real or personal property of an Obligor, as long as such judgment does not
        otherwise result in an Event of Default under Section 11.1(h);

                       (h)      easements, rights-of-way, restrictions, encroachments, other survey
        defects or matters that would be shown by a current, accurate survey of physical inspection,
        and covenants, building codes, restrictions (including zoning restrictions), encroachments,

                                                  -90-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 177 of 224




        licenses, protrusions, or other agreements of record, and other similar charges,
        encumbrances or irregularities in title on Real Estate imposed by law or arising in the
        Ordinary Course of Business that do not or could not reasonably be expected to materially
        detract from the value of the affected property nor secure any monetary obligation and do
        not interfere with the business of the Obligors in any material respect;

                       (i)     normal and customary rights of setoff upon deposits in favor of
        depository institutions, and Liens of a collecting bank on Payment Items in the course of
        collection;

                        (j)     Liens that are listed on Schedule 10.2.2 hereto, to the extent such
        Liens are existing, valid, fully perfected and non-avoidable as of the Petition Date (or were
        properly perfected subsequent to the Petition Date to the extent permitted by section 546(b)
        of the Bankruptcy Code) (the “Permitted Prior Liens”), which such Permitted Prior Liens
        shall be subject to the priority set forth in the DIP Orders;

                         (k)     leases, licenses, subleases or sublicenses granted to others that do
        not (i) interfere in any material respect with the business of the Borrower or the Subsidiaries
        or (ii) secure any Debt;

                        (l)     Liens arising from UCC financing statements filed regarding (i)
        operating leases entered into by an Obligor and (ii) goods consigned or entrusted to or
        bailed to a Person in the Ordinary Course of Business;

                      (m)      Liens in favor of customs or revenue authorities to secure payment
        of customs duties in connection with the importation of goods;

                       (n)     Liens solely on any cash earnest money deposits made by any
        Obligor or any Subsidiary in connection with any letter of intent or purchase agreement
        not prohibited by this Agreement;

                      (o)     Liens on Collateral securing the “Obligations” under the Prepetition
        NPA Facility Debt, provided, that the liens thereon must be junior in priority to the liens
        securing Obligations hereunder pursuant to the DIP Order;

                       (p)    Liens arising out of conditional sale, title retention, consignment or
        similar arrangements for sale of goods entered into by any Obligor in the Ordinary Course
        of Business permitted by this Agreement;

                      (q)    Liens encumbering reasonable customary initial deposits and
        margin deposits and similar Liens attaching to commodity trading accounts or other
        brokerage accounts incurred in the Ordinary Course of Business and not for speculative
        purposes;

                       (r)    Liens (i) on cash advances in favor of the seller of any property to
        be acquired in an Investment permitted hereunder to be applied against the purchase price
        for such Investment and (ii) consisting of an agreement to dispose of any property in an


                                                 -91-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 178 of 224




        Asset Disposition permitted hereunder, to the extent that such Asset Disposition would
        have been permitted on the date of the creation of such Lien;

                       (s)     ground leases in respect of real property on which facilities owned
        or leased by any of the Obligors are located;

                       (t)    Liens on insurance policies and the proceeds thereof securing the
        financing of the premiums with respect thereto not to exceed the amount of such premiums
        in the Ordinary Course of Business;

                       (u)    Liens on specific items of inventory or other goods and the proceeds
        thereof securing such Person’s obligations in respect of documentary letters of credit or
        banker’s acceptances issued or created for the account of such Person to facilitate the
        purchase, shipment or storage of such inventory or goods in the Ordinary Course of
        Business;

                        (v)     deposits of cash with the owner or lessor of premises leased and
        operated by any Obligor to secure the performance of such Obligor’s obligations under the
        terms of the lease for such premises in the Ordinary Course of Business;

                       (w)     Purchase Money Liens in respect of Purchase Money Debt
        permitted to be incurred under Section 10.2.1(c);

                       (x)    Liens on property subject to any sale-leaseback transaction not
        prohibited hereunder and general intangibles related thereto;

                      (y)     Liens arising by operation of law in the United States under Article
        2 of the UCC in favor of a reclaiming seller of goods or buyer of goods;

                      (z)    Liens existing on property at the time of its acquisition by an Obligor
        in accordance herewith, or existing on the property of any Person at the time such Person
        becomes an Obligor in accordance herewith, but excluding Liens on the Equity Interests of
        any Person that becomes a Subsidiary;

                       (aa) Liens granted or arising prior to the Petition Date, to the extent such
        Liens are existing, valid, fully perfected and non-avoidable as of the Petition Date;
        provided that the aggregate amount of Debt secured by such Liens outstanding at any time
        shall not exceed $100,000 without the Required Lenders’ consent;

                       (bb) Liens (which shall rank junior to the Liens securing the Obligations)
        upon real or personal property leased under operating leases in the Ordinary Course of
        Business by the Borrower or any of its Subsidiaries in favor of the lessor created at the
        inception of the lease transaction, securing obligations of the Borrower or any of its
        Subsidiaries under or in respect of such lease and extending to or covering only the property
        subject to such lease and improvements thereon;

                       (cc) Liens that are contractual rights of set-off or rights of pledge (i)
        relating to the establishment of depository relations with banks or other deposit-taking

                                                -92-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 179 of 224




        financial institutions and not given in connection with the issuance of Debt, (ii) relating to
        pooled deposit or sweep accounts of the Borrower or any of the Subsidiaries to permit
        satisfaction of overdraft or similar obligations incurred in the in the Ordinary Course of
        Business of the Borrower or any of the Subsidiaries or (iii) relating to purchase orders and
        other agreements entered into with customers of any Subsidiary in the Ordinary Course Of
        Business;

                       (dd) Liens on cash and Cash Equivalents securing reimbursement
        obligations under letters of credit permitted hereunder; and

                        (ee) Liens in connection with any zoning, building or similar
        requirement of law or right reserved to or vested in any Governmental Authority to control
        or regulate the use of any or dimensions of real property or the structure thereon.

       For the avoidance of doubt, notwithstanding anything else herein to the contrary, no Lien
on any property or assets of any Obligor (including any Permitted Lien or Permitted Prior Lien
(except any Permitted Prior Senior Lien (as defined in the DIP Orders), if and solely to the extent
provided pursuant to the DIP Order)) shall rank pari passu with, or senior to, any Lien thereon
granted in favor of the Administrative Agent or otherwise securing any of the Obligations.

                10.2.3    Distributions; Upstream Payments. Declare or make any Distributions,
except for the following Distributions, if no Default or Event of Default shall exist or be continuing
as of the time that such Distribution is made, or shall occur upon, or as a result of, such
Distribution:

                            (a)       Upstream Payments;

                       (b)    Any distribution or payment in order to pay Taxes imposed on, or
        incurred by, the Borrower or any Obligor; and

                    (c)     Any distribution or payment in order to pay a Permitted
        Employment Arrangements, specifically identified in, and made in accordance with, the
        Approved Budget; and

                        (d)      Distributions the proceeds of which are used to pay franchise and
        excise taxes attributable to the Borrower and its Subsidiaries, and reasonable and
        customary operating or overhead costs required to maintain the Borrower’s and any of its
        Subsidiary’s corporate or organizational existence during the Chapter 11 Cases, in each
        case, to the extent that such Distributions are set forth in, and made in accordance with, the
        Approved Budget.

The Borrower shall not create or permit to exist any encumbrance or restriction on the ability of a
Subsidiary to make any Upstream Payment, except for Permitted Restrictions. Notwithstanding
anything to the contrary, no Distribution or other payment shall be made (whether or not permitted
hereunder) at any time as of the Closing Date except in accordance with the Approved Budget,
subject to the Permitted Variance.

                 10.2.4           Restricted Investments. Make any Restricted Investment.

                                                      -93-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 180 of 224




                10.2.5     Disposition of Assets. Make any Asset Disposition, except a Permitted
Asset Disposition; provided, that, any proceeds thereof received at any time by the Borrower or
any Subsidiary thereof shall be maintained by them in accordance with this Agreement (it being
agreed that, in the case of any proceeds in the form of cash or Cash Equivalents, the same shall at
all times be held in a Deposit Account subject to a Control Agreement; provided, that, if any such
cash or Cash Equivalents are initially received by the Borrower or applicable Subsidiary in any
other account, the Borrower or applicable Subsidiary shall procure that such cash or Cash
Equivalents shall be transferred and deposited into a Deposit Account subject to a Control
Agreement within one (1) Business Day of initial receipt); provided, further, that, no cash or Cash
Equivalents shall be transferred out of any Deposit Account except if, and solely in the amount,
required to (x) make a payment that constitutes a disbursement permitted pursuant to, and made in
accordance with, the Approved Budget and in compliance with the Budget Covenant, or (y) make
a prepayment or repayment of Obligations in accordance with Section 5. For the avoidance of
doubt, the foregoing shall not be construed as permitting, and shall not operate as a consent or
waiver with respect to, the consummation of any Asset Disposition, or the payment of any
disbursement, in each case, that would not otherwise be permitted hereunder, or any Default or
Event of Default resulting from the same, or any consequence thereof.

                 10.2.6     [Reserved].

               10.2.7    Restrictions on Creditor Distributions and Payment of Debt. Make any
payment or any Creditor Distribution (whether in cash, kind or consisting of any assets or interests
or otherwise, including on account of or in respect of any principal payments, and whether
voluntary or mandatory, or a prepayment, redemption, retirement, defeasance or acquisition), in
each case, with respect to any Debt, except payments to the extent permitted by, and made in
accordance with, the Approved Budget or the DIP Order.

                  10.2.8     Fundamental Changes. Change its legal name; change its tax, charter or
other organizational identification number; change its form or state of organization; liquidate, wind
up its affairs or dissolve itself; or effect a Division, merge, combine or consolidate with any Person,
whether in a single transaction or in a series of related transactions.

               10.2.9    Subsidiaries. Form or acquire any Subsidiary after the Petition Date; or
permit any existing Subsidiary to issue any Equity Interests.

                10.2.10 Organic Documents and Material Contracts. Amend, modify or
otherwise change any of its Organic Documents or any Material Contract other than in the
Ordinary Course of Business, in a manner that is not adverse to the Lenders or the Administrative
Agent, and in each case, with prior written notice to the Administrative Agent; provided that the
Obligors shall be permitted to reject such Material Contracts pursuant to the Bankruptcy Code so
long as it has been permitted in an approved Chapter 11 Order.

                 10.2.11    [Reserved].

               10.2.12 Accounting Changes. Make any material change in accounting
treatment or reporting practices, except as required by GAAP and in accordance with Section 1.2;
or change its Fiscal Year.

                                                 -94-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 181 of 224




               10.2.13 Restrictive Agreements. Become a party to any Restrictive Agreement
other than agreements containing solely Permitted Restrictions.

               10.2.14 Hedging Agreements. Enter into, amend or modify any Hedging
Agreement (including, directly or indirectly, with respect to any notional amount, or any Swap
Obligation or other obligation or exposure thereunder) at any time without the prior written consent
of the Administrative Agent, or make any payment pursuant to, or in connection with, any Hedging
Agreement (or any Swap Obligation or other obligation thereunder) except to the extent set forth
in, and made in accordance with, the Approved Budget.

                10.2.15 Conduct of Business. Engage in any line of business materially different
than the lines of business conducted by it on the Closing Date and any activities related, similar or
incidental thereto or synergistic therewith.

                10.2.16 Affiliate Transactions. Enter into or be party to, or consummate any
transaction with an Affiliate except (a) transactions expressly permitted by the Loan Documents,
(b) payment of reasonable compensation to officers and employees for services actually rendered,
and payment of customary directors’ fees and indemnities (solely to the extent that payment
thereof is in accordance with the Approved Budget and approved by the Administrative Agent
prior to the Closing Date), (c) the payment of reasonable fees to independent directors of the
Borrower or any Subsidiary, and compensation and employee benefit arrangements paid to, and
indemnities provided for the benefit of, directors, officers or employees of the Borrower or their
Subsidiaries in the Ordinary Course of Business, subject to the Approved Budget, (d) transactions
solely among Obligors, (e) transactions with Affiliates that were consummated prior to the Closing
Date and permitted pursuant to the Prepetition Note Purchase Agreements, (f) transactions with
Affiliates consummated in good faith upon approval thereof by such Obligor’s board of directors
(provided, that a copy of the resolution adopted by the majority of such board of directors
approving such transaction and a certificate of a Senior Officer thereof certifying that such
transaction complies with this sub-clause (f)), and on terms and pricing no less favorable than
would be obtained in a comparable arm’s-length transaction with a non-Affiliate; provided, that,
without the Administrative Agent’s prior written consent, the aggregate amount of payments or
other obligation made pursuant to this clause (f) by any Obligor shall not exceed $500,000 per
Fiscal Year, (g) Permitted Employment Arrangements and (h) transactions between or among the
Borrower and its Subsidiaries that are obligors; provided, that such transactions are intercompany
transactions entered into in the Ordinary Course of Business as part of tax, accounting, pension,
cash management and other administrative activities and not for the purpose of circumventing any
covenant hereunder; provided, that, if such any transaction that shall otherwise be permitted
hereunder gives rise to any payment or other obligation of the Obligors or any of their Subsidiaries
in excess of $500,000 per Fiscal Year, the Administrative Agent’s prior written approval shall be
required notwithstanding that such transaction shall otherwise comply with the terms hereof.

               10.2.17 Plans. Become party to any Multiemployer Plan or Foreign Plan, other
than any in existence on the Closing Date.

             10.2.18 Amendments to Subordinated Debt. Amend, supplement or otherwise
modify any document, instrument or agreement relating to any Subordinated Debt.


                                                -95-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 182 of 224




              10.2.19 Restructuring Obligations. Maintain at all times a Restructuring Support
Agreement in full force and effect with respect to all parties thereto (including the Obligors).

                10.2.20 Classification. The Borrower shall not take any action (or permit any
parent entity or other Person Controlling the Borrower to take any action at any time (including,
but not limited to, an election under Treasury Regulations Section 301.7701-3)) that would result
in a change in the tax classification of the Borrower for U.S. federal income tax purposes.

                 10.2.21 Restricted Actions. Notwithstanding anything else herein, the Obligors
shall not (and shall not permit any of their respective Subsidiaries to) (i) incur any Debt, grant or
permit to arise any Lien, make any Investment or Distribution, or (ii) undertake any Asset
Disposition, Affiliate transaction or any other transaction, enter into or modify any Hedging
Agreement, or take any other action or exercise any right or power, in each case, that is subject to
the covenants contained in Sections 10.2.1 through 10.2.20 (each, an “Applicable Transaction”)
except, in each case, solely if and to the extent that, no Default or Event of Default shall exist or
be continuing prior to (or after giving effect to) such Applicable Transaction, and such Applicable
Transaction (and any action in connection therewith) (x) does not violate any Applicable Law, and
is in accordance with any applicable Chapter 11 Order (and, if any approval, authorization or
consent, or any notice, motion, filing or other action, as the case may be, is required to cause such
Applicable Transaction to be permitted during the pendency of the Chapter 11 Cases (each of the
foregoing, a “Chapter 11 Approval”), the Debtors shall have obtained all such Chapter 11
Approvals prior to consummating such Applicable Transaction and shall consummate the same in
accordance with the requirements thereof), (y) is undertaken by the applicable Obligor (or by the
Subsidiaries of the Obligors involved therein) acting in good faith, and (z) is effectuated or
consummated in the Ordinary Course of Business and in accordance with prudent business
practices of the Obligors; provided, that, except in connection with making a payment not in
violation of the foregoing, the Obligors shall not (and shall not permit any of their respective
Subsidiaries to) transfer any funds (other than such funds to pay payroll) from any account that is
(or is required to be) subject to a Control Agreement in favor of the Administrative Agent into any
account that is not subject to a Control Agreement in favor of the Administrative Agent.

                 10.2.22    Immaterial Subsidiaries.

                       (a)     permit any Immaterial Subsidiary to (i) engage in any business
activities or own any property (real or personal) or assets (in each case, of whatever nature), (ii)
create, incur, assume or suffer to exist any Debt or (iii) create or permit to exist any Lien on any
of its real or personal properties, assets or rights of whatever nature (whether now owned or
hereafter acquired).

                      (b)    Shall not, and shall not permit any other Obligor to, make any
Investment, Distribution or enter into any other transaction of any nature whatsoever with any
Immaterial Subsidiary.

        10.3.    Financial Covenant.

               10.3.1     Permitted Variances. Obligors shall not permit or cause on a cumulative
basis, for any four Performance Periods (which, for the avoidance of doubt, will include actual

                                                -96-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 183 of 224




performance from prior periods (on a rolling basis) until the 4th Performance Period or later of
any Approved Budget), (i) the difference/variance, expressed as a percentage, of the actual net
receipts (with respect to self-mining and hosted miners) and budgeted projected net receipts (with
respect to self-mining and hosted miners) for such Performance Periods to be in excess of 25% to
the extent such percentage is negative and (ii) the difference/variance, expressed as a percentage,
of (a) the sum of the actual (x) net operating disbursements plus (y) net Capital Expenditures and
(b) the sum of the budgeted (x) net operating disbursements plus (y) net Capital Expenditures for
such Performance Periods to be in excess of 20%. The covenants and requirements set forth in this
Section 10.3.1 (the “Budget Covenant”).

              10.3.2     Minimum Liquidity. Obligors shall not permit or cause the aggregate
amount of Liquidity to be less than $5,000,000 at any time (the requirements hereof, the “Liquidity
Covenant”, and, the Liquidity Covenant, together with the Budget Covenant, the “Financial
Covenant”).

                 10.3.3      Permitted Obligations and Disbursements. Obligors shall not incur any
payment obligation, or make any payment or disbursement (whether voluntary or on account of
any obligation, Investment, Distribution or otherwise), unless, in each case, (a) the applicable
payment or disbursement is identified in, and made in accordance with, the Approved Budget, (b)
pro forma for such payment or disbursement, the Obligors shall be in compliance with the
Financial Covenant, and (c) no Default or Event of Default shall exist or be continuing at the time
of, or shall arise or result from, such payment or disbursement.

        For the avoidance of doubt, any incurrence of any obligation, or any payment or
distribution or disbursement, as applicable, by any of the Borrower and its Subsidiaries (x) other
than as set forth in the Approved Budget and (y) in excess of the Permitted Variances permitted
by the Budget Covenant shall, in each case, constitute a Default under Section 10.2.22, and an
immediate Event of Default under Section 11.1(d). Notwithstanding anything in any Loan
Document or in any Approved Budget to the contrary, the Borrower may make deposits into, and
allow disbursements from, the Professional Fees Escrow Account to fund professional fees and
expenses to the extent permitted by the DIP Orders.

        10.4.    Chapter 11 Cases.

        Obligors shall not:

                       (a)     Other than the claims and Liens of the Administrative Agent arising
from this Agreement, and other than the adequate protection claims of permitted in the DIP Orders,
as applicable, and except for the Carve-Out, incur, create, assume, suffer to exist or permit, or file
any motion seeking, any other DIP Superpriority Claim which is pari passu with, or senior to the
claims and Liens of, the Administrative Agent and Lenders.

                       (b)    Make or permit to be made any amendment or change to the DIP
Orders, as applicable, without the consent of the Required Lenders.

                      (c)     Commence any adversary proceeding, contested matter or other
action asserting any claims or defenses or otherwise against any Agent, any Lender or any
Prepetition Secured Party with respect to any Loan Document or any Prepetition Loan Document,
                                                -97-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 184 of 224




or any of the liens, claims, rights, benefits or protections granted hereunder or thereunder, or any
of the transactions contemplated hereby or thereby.

                        (d)   Make (i) any prepetition “critical vendor” payments or other
payments on account of any creditor’s prepetition unsecured claim, (ii) payments on account of
claims or expenses arising under section 503(b)(9) of the Bankruptcy Code or (iii) payments under
any management incentive plan or on account of claims or expenses arising under section 503(c)
of the Bankruptcy Code, except in amounts and on terms and conditions that (a) are approved by
Chapter 11 Order after notice and a hearing, and (b) are expressly permitted by, and in compliance
with, the terms of the Loan Documents (including the Budget Covenant and the Approved Budget,
subject to any Permitted Variance), or otherwise with the prior written consent of the Required
Lenders.

                      (e)     File any material motion or application with the Bankruptcy Court
with regard to actions taken outside the Ordinary Course of Business of the Debtors without
consulting with the Lenders and providing the Lenders prior (in any case, not less than two (2)
Business Days’ (or as soon as reasonably practicable if two (2) Business Days in advance is not
reasonably practicable)) notice and the opportunity to review and comment on each such motion.

                      (f)     Subject to the applicable DIP Order, object to, contest, delay,
prevent, or interfere in any manner with, the exercise of any rights and remedies by the
Administrative Agent or the Lenders with respect to the Collateral following the occurrence and
during the continuance of an Event of Default.

SECTION 11.                 EVENTS OF DEFAULT; REMEDIES ON DEFAULT

       11.1. Events of Default. Each and any one or more of the following shall be an “Event
of Default” if it occurs for any reason whatsoever, whether voluntary or involuntary, by operation
of law or otherwise:

                      (a)     the Borrower shall fail to pay any principal of any Loan, or any
Termination Payment (or portion thereof) when and as the same shall become due and payable,
whether at the due date thereof or at a date fixed for prepayment thereof or otherwise;

                       (b)     the Borrower shall fail to pay any interest on any Loan or any fee or
any other Obligation (other than an amount referred to in clause (a) above) payable under any Loan
Document, within three (3) Business Days after the same shall become due and payable;

                      (c)    any representation or warranty of an Obligor made in any Loan
Document shall be false or misleading in any material respect when given;

                       (d)     any Obligor or Subsidiary shall breach, or fail to perform, or default
under, any covenant applicable to it contained in Section 7.2, 7.3, 8.2.4, 8.2.5, 8.5, 10.1.1, 10.1.13,
10.1.14, 10.1.15, 10.2 or 10.3;

                      (e)    any Obligor shall breach, or fail to perform, or default under, any
other covenant contained herein or in any Loan Documents, and such breach, failure or default is
not cured within 30 days (or 10 days in the case of a breach of Section 10.1.2) after a Senior

                                                 -98-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 185 of 224




Officer of such Obligor or Subsidiary has knowledge thereof or receives notice thereof from
Administrative Agent, whichever is sooner; provided, however, that such notice and opportunity
to cure shall not apply if the breach, failure to perform or default is not capable of being cured
within such period;

                       (f)     any Guarantor repudiates, revokes or attempts to revoke its
Guaranty; an Obligor denies or contests the validity or enforceability of any Loan Documents or
Obligations, or the perfection or priority of any Lien granted to Administrative Agent; any Loan
Document ceases to be in full force or effect for any reason (other than a waiver or release by
Administrative Agent and Lenders and other than in accordance with the terms of this Agreement);
any lien created hereunder or under the Security Documents ceases to be a valid and perfected lien
(other than as a result of any action or inaction by the Administrative Agent and other than by
reason of a release of Collateral in accordance with the terms hereof or thereof or Full Payment)
or the Obligations cease to be DIP Superpriority Claim;

                        (g)   any “Event of Default” (in each case, as defined in the Prepetition
Note Purchase Agreements) occurs under any Prepetition Note Purchase Agreement or any breach
or default of an Obligor or Subsidiary occurs under any Hedging Agreement, or under any
instrument or agreement to which it is a party or by which it or any of its properties is bound, in
each case, relating to any Debt (other than the Obligations) in excess of $5,000,000 (in the case of
any Hedging Agreement, determined on a net basis), if the maturity of or any payment with respect
to such Debt may be accelerated or demanded due to such breach;

                      (h)    any judgment or order for the payment of money is entered against
an Obligor or Subsidiary in an amount that exceeds, individually or cumulatively with all
unsatisfied judgments or orders against all Obligors and Subsidiaries, $5,000,000 (excluding
amounts of insurance coverage therefor that has not been denied by the insurer, or subject to
another contractual indemnity arrangement reasonably acceptable to the Administrative Agent,
and available to the Obligors for payment of such liabilities), and shall remain undischarged,
unvacated, unbonded or unstayed for a period of sixty consecutive days;

                        (i)     an Obligor or Subsidiary is enjoined, restrained or in any way
prevented by any Governmental Authority from conducting any part of its business which could
reasonably be expected to have a Material Adverse Effect; there is a cessation of any part of an
Obligor’s or Subsidiary’s business which could reasonably be expected to have a Material Adverse
Effect; a material portion of the Collateral or real or personal property of an Obligor or Subsidiary
is taken or impaired through condemnation the effect of which could reasonably be expected to
have a Material Adverse Effect;

                        (j)    an Insolvency Proceeding is commenced by an Obligor; an Obligor
makes an offer of settlement, extension or composition to its unsecured creditors generally; a
trustee is appointed to take possession of any substantial real or personal property of or to operate
any of the business of an Obligor; or an Insolvency Proceeding is commenced against an Obligor,
and the Obligor consents to institution of the proceeding, the petition commencing the proceeding
is not timely contested by the Obligor, the petition is not dismissed within 60 days after filing, or
an order for relief approving such Insolvency Proceeding is entered in the proceeding; provided,


                                                -99-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 186 of 224




however, that the Chapter 11 Cases shall not constitute an Event of Default pursuant to this clause
(j);

                        (k)    an ERISA Event occurs with respect to a Pension Plan or
Multiemployer Plan that has resulted or could reasonably be expected to result in liability of an
Obligor to a Pension Plan, Multiemployer Plan or PBGC, or that constitutes grounds for
appointment of a trustee for or termination by the PBGC of any Pension Plan or Multiemployer
Plan to the extent the foregoing could reasonably be expected to have a Material Adverse Effect;
an Obligor or ERISA Affiliate fails to pay when due any installment payment with respect to its
withdrawal liability under Section 4201 of ERISA under a Multiemployer Plan to the extent the
foregoing could reasonably be expected to have a Material Adverse Effect; or any event similar to
the foregoing occurs or exists with respect to a Foreign Plan to the extent the foregoing could
reasonably be expected to have a Material Adverse Effect;

                     (l)     any Obligor is criminally convicted for (i) a felony committed in the
conduct of the Obligor’s business, or (ii) violating any state or federal law (including the
Controlled Substances Act, Money Laundering Control Act of 1986 and Illegal Exportation of
War Materials Act) that could reasonably be expected to have a Material Adverse Effect;

                      (m)    the Borrower does not immediately (i) prepay, or cause to be
prepaid, the Loans, and (ii) terminate, or cause to be terminated, the Commitments upon the
occurrence of a Change of Control pursuant to Section 5.3.3 hereof or in any amount less than as
set forth thereunder;

                            (n)   [reserved];

                        (o)     (i) any Restructuring Transaction Documents shall, in whole or in
part, cease to be effective and legally valid, binding and enforceable against any Obligor or
Affiliate thereof, or shall otherwise cease or fail be effective to create the rights and obligations
purported to be created thereunder in favor of any Consenting Lender-Side Person, or (ii) any
Obligor thereof shall repudiate or revoke (or attempt or purport to repudiate or revoke) any of its
obligations or covenants under any Restructuring Transaction Document, or (y) breach or default
by any Obligor under (and, in each case, subject to any applicable cure periods thereunder), or any
termination of, any other Restructuring Transaction Document (unless such termination results
from any breach of default by the Administrative Agent or any other Consenting Lender-Side
Person);

                            (p)   there shall have occurred any of the following in the Chapter 11
Cases:

                              (i)     the bringing of a motion by any Obligor in the Chapter 11
Cases, or the entry of any order by the Bankruptcy Court in the Chapter 11 Cases: (A) obtaining
additional financing under section 364(c) or (d) of the Bankruptcy Code that does not provide for
the repayment of all Obligations under this Agreement in full in cash; (B) granting any Lien other
than Liens expressly permitted under this Agreement upon or affecting any Collateral; (C) except
as provided in this Agreement, the Interim DIP Order or the Final DIP Order, as the case may be,
authorizing use of cash collateral of the Administrative Agent under section 363(c) of the

                                                 -100-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 187 of 224




Bankruptcy Code without the prior written consent of the Administrative Agent and the Required
Lenders; or (D) that (in the case of any Obligor) requests or seeks authority for or that (in the case
of an order entered by the Bankruptcy Court on account of a request by any Obligor) approves or
provides authority to take any other action or actions adverse to the rights and remedies of the
Administrative Agent and the Lenders hereunder or their interest in the Collateral;

                              (ii)    the filing by any Obligor of (A) any disclosure statement or
other document or instrument relating to any Chapter 11 Plan that is not an Acceptable Chapter 11
Plan, or (B) any direct or indirect amendment to any disclosure statement or other document or
instrument relating to any Acceptable Chapter 11 Plan that would cause the same to cease to
constitute an Acceptable Chapter 11 Plan;

                                (iii) the modification, expiry or termination of any Obligor’s
exclusive right to file and solicit acceptances of a Chapter 11 Plan;

                              (iv)   the entry of an order in any of the Chapter 11 Cases
confirming a Plan that does not constitute an Acceptable Chapter 11 Plan;

                               (v)    the entry of an order in the Chapter 11 Cases amending,
supplementing, staying, vacating or otherwise modifying any Loan Document or the DIP Orders
or impairing the rights, privileges, benefits or protections of the Administrative Agent and the
Lenders under the DIP Orders or the Loan Documents, in each case, without the prior written
consent of the Required Lenders;

                               (vi)    the payment of, or application by any Obligor for authority
to pay, any Prepetition Debt or other prepetition claim without the Required Lenders’ prior written
consent other than (A) as provided in any “first day order” in form and substance acceptable to the
Required Lenders, or (B) to the extent such payment is expressly permitted pursuant to this
Agreement or consented to by the Required Lenders;

                                (vii) the entry of an order by the Bankruptcy Court appointing, or
the filing of an application by any Obligor, for an order seeking the appointment of, in either case,
without the prior written consent of the Required Lenders, an interim or permanent trustee in any
of the Chapter 11 Cases or the appointment of a receiver or an examiner under section 1104 of the
Bankruptcy Code in the Chapter 11 Cases, with expanded powers (including any powers beyond
those set forth in sections 1106(a)(3) and 1106(a)(4) of the Bankruptcy Code) to operate or manage
the financial affairs, the business, or reorganization of the Borrower or with the power to conduct
an investigation of (or compel discovery from) any of the Secured Parties or against any of the
Prepetition Secured Parties; or the sale without the Required Lenders’ consent, of any Obligor’s
assets (including through a sale under section 363 of the Bankruptcy Code), except to the extent
expressly permitted hereunder and the DIP Orders;

                             (viii) the dismissal of the Chapter 11 Cases which does not contain
a provision for Full Payment, or if any Obligor shall file a motion or other pleading seeking the
dismissal of the Chapter 11 Cases that does not contain a provision for Full Payment;

                             (ix)   the conversion of any Chapter 11 Case from a case under
chapter 11 of the Bankruptcy Code to a case under chapter 7 of the Bankruptcy Code, or into any
                                                -101-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 188 of 224




other bankruptcy proceeding under any Bankruptcy Law, as applicable, or any Obligor shall file a
motion or other pleading seeking the conversion of the Chapter 11 Cases under section 1112 of
the Bankruptcy Code or otherwise;

                              (x)     the entry of an order by the Bankruptcy Court, as applicable,
granting relief from or modifying the automatic stay of section 362 of the Bankruptcy Code (x) to
allow any creditor to execute upon or enforce a Lien on any Collateral or (y) with respect to any
Lien of or the granting of any Lien on any Collateral to any state or local environmental or
regulatory agency or authority having priority over the Liens in favor of the Administrative Agent,
subject to any Permitted Liens;

                              (xi)    the entry of an order in the Chapter 11 Cases, avoiding,
recharacterizing, subordinating, disgorging or requiring repayment of any portion of the payments
made on account of the Obligations owing under this Agreement or the other Loan Documents;

                             (xii) the failure of any Obligor to perform any of its obligations
under the Interim DIP Order or the Final DIP Order or any violation of any of the terms of the
Interim DIP Order or the Final DIP Order, subject to any applicable grace or cure periods;

                               (xiii) the challenge (or support) in writing by any Obligor to (and
the entry of an order of the Court impairing or modifying in any manner) the validity,
enforceability, extent, perfection or priority of any liens or claims granted under the Prepetition
Loan Documents, the DIP Orders or the Loan Documents;

                               (xiv) the entry of an order in any of the Chapter 11 Cases granting
any super priority administrative claim or Lien equal or superior to that granted to the Agent, on
behalf of itself and the Lenders without the consent in writing of the Required Lenders, except (A)
in respect of the Carve-Out in accordance with the DIP Orders and (B) as expressly provided in
the Adequate Protection Provisions;

                             (xv) the filing of a motion by any Obligor requesting, or the entry
of any order granting, any super-priority administrative expense claim which is senior to or pari
passu with the Lenders’ claims or with the claims of the Prepetition Secured Parties without the
consent in writing of the Required Lenders, except (A) in respect of the Carve-Out and (B) as
expressly provided in the Adequate Protection Provisions;

                               (xvi) the entry of an order precluding any Agent or the applicable
agent under any Prepetition NPA Facility Debt from having the right to or being permitted to
“credit bid” with respect to the assets of the Obligors;

                             (xvii) any attempt by any Obligor to reduce (other than a reduction
in accordance with the terms of this Agreement), avoid, set off or subordinate the Obligations or
the Liens securing such Obligations to any other debt;

                            (xviii) the reversal, vacatur, or stay of the effectiveness of either the
Interim DIP Order or the Final DIP Order or any provision thereof without the consent of the
Required Lenders;


                                               -102-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 189 of 224




                             (xix) the payment of, or granting adequate protection (except as
expressly contemplated by the DIP Orders) with respect to, any Prepetition NPA Facility Debt;

                               (xx) an application for any of the orders described in this Section
11.1(p) shall be (a) made, joined in or supported by any of the Obligors or (b) made by any other
Person (other than any Agent or the Lenders) and such application is not, to the extent requested
by the Administrative Agent or the Lenders, contested by the Obligors in good faith, and the relief
requested is granted in an order that is not stayed pending appeal;

                             (xxi) cessation of Liens or super-priority claims granted with
respect to this Agreement to be valid, perfected (in the case of any Liens) and enforceable in all
respects;

                              (xxii) the Restructuring Support Agreement is terminated, or
otherwise terminates in accordance with the terms thereof except with respect to any termination
resulting from a breach by the Lenders; or

                               (xxiii) the Bankruptcy Court shall cease to have exclusive
jurisdiction with respect to all matters relating to the exercise of rights and remedies under the
Loan Documents, the DIP Orders, the Liens granted under the Security Documents and the
Collateral.

        11.2.    Remedies upon Default.

               11.2.1     Remedies Generally. If an Event of Default described in Section 11.1(j)
occurs with respect to any Obligor, then to the extent permitted by Applicable Law, all Obligations
(including the Termination Payment) shall become automatically due and payable, and all
Commitments shall terminate, without any action by Administrative Agent or notice of any kind.
Subject to the DIP Orders, in addition, or if any other Event of Default exists, Administrative
Agent may in its discretion (and shall upon written direction of Required Lenders) do any one or
more of the following from time to time (in addition to any and all other things as provided
elsewhere in Section 11.2):

                      (a)    declare any Obligations (including the Termination Payment and all
other premiums thereon) to be immediately due and payable, whereupon they shall be due and
payable without diligence, presentment, demand, protest or notice of any kind, all of which are
hereby waived by the Borrower to the fullest extent permitted by law;

                            (b)   terminate, reduce or condition any Commitment;

                            (c)   require the Obligors to cash collateralize then Obligations; and

                       (d)    exercise any other rights, remedies, powers and privileges afforded
under the Loan Documents or any other agreement, pursuant to the DIP Order and any other
Chapter 11 Order, by law (including under the Bankruptcy Code and other Applicable Law), at
equity and otherwise, including the rights and remedies of a secured party under the UCC.



                                                  -103-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 190 of 224




                11.2.2     Disposition of Collateral. Without limiting the generality of the
foregoing, the Administrative Agent may, without demand of performance or other demand,
presentment, protest, advertisement or notice of any kind (except any notice required by the Interim
DIP Order, or, the Final DIP Order) to or upon any Obligor or any other Person (all and each of
which demands, defenses, advertisements and notices are hereby waived (except as required by
the Interim DIP Order or the Final DIP Order)), during the continuance of any Event of Default
(personally or through its agents or attorneys), to the maximum extent permitted under the
Bankruptcy Code and other Applicable Law (including the DIP Orders): (i) enter upon the
premises where any Collateral is located, without any obligation to pay rent, through self- help,
without judicial process, without first obtaining a final judgment or giving any Obligor or any
other Person notice or opportunity for a hearing on the Administrative Agent’s claim or action, (ii)
collect, receive, appropriate and realize upon any Collateral, (iii) sell, grant any option to purchase,
and/or deliver any Collateral (in its then condition, or after any further manufacturing or processing
thereof) (and enter into contractual obligations to do any of the foregoing), in lots or in bulk, in
one or more parcels, at public or private sale or sales, at any exchange, broker’s board or office of
any Secured Party or elsewhere, upon such terms and conditions, and at such prices, as it may
deem necessary, prudent or advisable, for cash or on credit or for future delivery (or any
combination thereof), or without charge, and/or without assumption of any credit risk, and any of
the foregoing may be adjourned from time to time in accordance with Applicable Law, and
Administrative Agent shall have the right to purchase all or any portion of the Collateral free of
any right or equity of redemption of any Obligor, which right or equity is hereby waived and
released, at any public or, if permitted by law, private sale and, in lieu of actual payment of the
purchase price, may credit bid and set off the amount of such price against the Obligations, (iv)
withdraw all cash and Cash Equivalents in any Deposit Account, Commodity Account or
Securities Account (including any DIP Funding Account) of a Obligor and apply such cash and
Cash Equivalents and other cash, if any, and other securities, then held by it as Collateral in
satisfaction of the Obligations, and (v) give notice and take sole possession and control of all
amounts on deposit in or credited to any Deposit Account, Commodity Account or Securities
Account pursuant to the related Control Agreement.

                11.2.3      Management of Collateral. Each Obligor further agrees, that, during the
continuance of any Event of Default, (i) at the Administrative Agent’s request, it shall assemble
the Collateral and make it available to the Administrative Agent at places that the Administrative
Agent shall reasonably select, whether at such Obligor’s premises or elsewhere, (ii) without
limiting the foregoing, the Administrative Agent also has the right to require that each Obligor
store and keep any Collateral pending further action by the Administrative Agent and, while any
such Collateral is so stored or kept, provide such guards and maintenance services as shall be
necessary to protect the same and to preserve and maintain such Collateral in good condition, (iii)
until the Administrative Agent is able to sell any Collateral, the Administrative Agent shall have
the right to hold or use such Collateral to the extent that it deems appropriate for the purpose of
preserving the Collateral or its value or for any other purpose deemed appropriate by the
Administrative Agent, and (iv) the Administrative Agent may, if it so elects, seek the appointment
of a receiver or keeper to take possession of any Collateral and to enforce any of the Administrative
Agent’s remedies (for the benefit of the Lender Parties), with respect to such appointment without
prior notice or hearing as to such appointment. The Administrative Agent shall not have any
obligation to any Obligor to maintain or preserve the rights of any Obligor as against third parties


                                                 -104-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 191 of 224




with respect to any Collateral while such Collateral is in the possession of the Administrative
Agent.

                11.2.4     Direct Obligation. Neither the Administrative Agent nor any other
Secured Party shall be required, subject to the DIP Orders, to make any demand upon, or pursue
or exhaust any right or remedy against, any Obligor or any other Person with respect to the payment
of the Obligations or to pursue or exhaust any right or remedy with respect to any Collateral
therefor or any direct or indirect guaranty thereof. All of the rights and remedies of the
Administrative Agent and any other Secured Party under any Loan Document shall be cumulative,
may be exercised individually or concurrently and not exclusive of any other rights or remedies
provided by any Applicable Law. To the extent it may lawfully do so, each Obligor absolutely
and irrevocably waives and relinquishes the benefit and advantage of, and covenants not to assert
against the Administrative Agent or any Lender or other Secured Party, any valuation, stay,
appraisement, extension, redemption or similar laws and any and all rights or defenses it may have
as a surety, now or hereafter existing, arising out of the exercise by them of any rights hereunder.
If any notice of a proposed sale or other disposition of any Collateral shall be required by law,
such notice shall be deemed reasonable and proper if given at least 10 calendar days before such
Sale or other disposition.

              11.2.5    Commercially Reasonable. To the extent that any Applicable Law
imposes duties on the Administrative Agent to exercise remedies in a commercially reasonable
manner, each Obligor acknowledges and agrees that the Administrative Agent shall be deemed to
have complied with such duties even if it shall:

                            (i)    fail to incur significant costs, expenses or other liabilities
reasonably deemed as such by the Administrative Agent to prepare any Collateral for disposition
or otherwise to complete raw material or work in process into finished goods or other finished
products for disposition;

                              (ii)    fail to obtain permits, or other consents, for access to any
Collateral to sell or for the collection or sale of any Collateral, or, if not required by other
Applicable Law, fail to obtain permits or other consents for the collection or disposition of any
Collateral;

                               (iii) fail to exercise remedies against account debtors or other
Persons obligated on any Collateral or to remove Liens on any Collateral or to remove any adverse
claims against any Collateral;

                               (iv)   advertise dispositions of any Collateral through publications
or media of general circulation, whether or not such Collateral is of a specialized nature or to
contact other Persons, whether or not in the same business as any Obligor, for expressions of
interest in acquiring any such Collateral;

                                 (v)    exercise collection remedies against account debtors and
other Persons obligated on any Collateral, directly or through the use of collection agencies or
other collection specialists, hire one or more professional auctioneers to assist in the disposition of
any Collateral, whether or not such Collateral is of a specialized nature or, to the extent deemed

                                                -105-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 192 of 224




appropriate by the Administrative Agent, obtain the services of other brokers, investment bankers,
consultants and other professionals to assist the Administrative Agent in the collection or
disposition of any Collateral, or utilize Internet sites that provide for the auction of assets of the
types included in the Collateral or that have the reasonable capacity of doing so, or that match
buyers and sellers of assets to dispose of any Collateral;

                                      (vi)    dispose of assets in wholesale rather than retail markets;

                                      (vii)   disclaim disposition warranties, such as title, possession or
quiet enjoyment; or

                             (viii) purchase insurance or credit enhancements to insure the
Administrative Agent against risks of loss, collection or disposition of any Collateral or to provide
to the Administrative Agent a guaranteed return from the collection or disposition of any
Collateral.

                 11.2.6           Accounts and Payments in Respect of General Intangibles.

                       (a)      In addition to, and not in substitution for, any other provision in this
Agreement, if required by the Administrative Agent at any time during the continuance of an Event
of Default, on and after the date on which at least one deposit account or securities account has
been established, any payment of accounts or payment in respect of general intangibles, when
collected by any Obligor, shall be promptly (and, in any event, within two (2) Business Days)
deposited by such Obligor in the exact form received, duly indorsed by such Obligor to the
Administrative Agent, in the DIP Funding Account or such other account, subject to withdrawal
by the Administrative Agent as provided herein. Until so turned over, such payment shall be held
by such Obligor in trust for the Administrative Agent, segregated from other funds of such Obligor.
Each such deposit of proceeds of accounts and payments in respect of general intangibles shall be
accompanied by a report identifying in reasonable detail the nature and source of the payments
included in the deposit.

                            (b)       At any time during the continuance of an Event of Default:

                              (A)     each Obligor shall, upon the Administrative Agent’s written
request, deliver to the Administrative Agent all original and other documents evidencing, and
relating to, the contractual obligations and transactions that gave rise to any account or any
payment in respect of general intangibles, including all original orders, invokes and shipping
receipts and notify account debtors that the accounts or general intangibles have been collaterally
assigned to the Administrative Agent and that payments in respect thereof shall be made directly
to the Administrative Agent;

                               (B)    the Administrative Agent may, without notice, at any time
during the continuance of an Event of Default, limit or terminate the authority of an Obligor to
collect its accounts or amounts due under general intangibles or any thereof and, in its own name
or in the name of others, communicate with account debtors to verify with them to the
Administrative Agent’s reasonable satisfaction the existence, amount and terms of any account or
amounts due under any general intangible. In addition, the Administrative Agent may at any lime
enforce such Obligor’s rights against such account debtors and obligors of general intangibles; and
                                                      -106-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 193 of 224




                              (C)    each Obligor shall take all actions, deliver all documents and
provide all information necessary or reasonably requested by the Administrative Agent to ensure
any Internet domain name is registered.

                        (c)     Anything herein to the contrary notwithstanding, each Obligor shall
remain liable under each account and each payment in respect of general intangibles to observe
and perform all the conditions and obligations to be observed and performed by it thereunder, all
in accordance with the terms of any agreement giving rise thereto. No Secured Party shall have
any obligation or liability under any agreement giving rise to an account or a payment in respect
of a general intangible by reason of or arising out of any Loan Document or the receipt by any
Secured Party of any payment relating thereto, nor shall any Secured Party be obligated in any
manner to perform any obligation of any Obligor under or pursuant to any agreement giving rise
to an account or a payment in respect of a general intangible, to make any payment, to make any
inquiry as to the nature or the sufficiency of any payment received by it or as to the sufficiency of
any performance by any party thereunder, to present or file any claim, to take any action to enforce
any performance or to collect the payment of any amounts that may have been assigned to it or to
which it may be entitled at any time or times.

               11.2.7    Proceeds to be Turned over to and Held by Administrative Agent.
Unless otherwise expressly provided in this Agreement, upon the occurrence and during the
continuance of an Event of Default, all proceeds of any Collateral received by any Obligor
hereunder in cash or Cash Equivalents shall be held by such Obligor in trust for the Administrative
Agent and the other Lender Parties, segregated from other funds of such Obligor, and shall,
promptly upon receipt by any Obligor, be turned over to the Administrative Agent in the exact
form received (with any necessary endorsement).

               11.2.8     Deficiency. Each Obligor shall remain liable for any deficiency if the
proceeds of any sale or other disposition of any Collateral are insufficient to pay the Obligations
and the fees and disbursements of any attorney employed by the Administrative Agent or any other
Lender Party to collect such deficiency.

        11.3. Setoff. At any time during an Event of Default, Administrative Agent, Lenders,
and any of their Affiliates are authorized, to the fullest extent permitted by Applicable Law, to set
off and apply any and all deposits (general or special, time or demand, provisional or final, in
whatever currency) at any time held and other obligations (in whatever currency) at any time owing
by Administrative Agent, such Lender or such Affiliate to or for the credit or the account of an
Obligor against any Obligations, irrespective of whether or not Administrative Agent, such Lender
or such Affiliate shall have made any demand under this Agreement or any other Loan Document
and although such Obligations may be contingent or unmatured or are owed to a branch or office
of Administrative Agent, such Lender or such Affiliate different from the branch or office holding
such deposit or obligated on such indebtedness, provided, that in the event that any Defaulting
Lender shall exercise any such right of setoff, (x) all amounts so set off shall be paid over
immediately to the Administrative Agent for further application in accordance with the provisions
of Section 4.2.1(b) and, pending such payment, shall be segregated by such Defaulting Lender
from its other funds and deemed held in trust for the benefit of the Administrative Agent, and the
Lenders, and (y) the Defaulting Lender shall provide promptly to the Administrative Agent a
statement describing in reasonable detail the Obligations owing to such Defaulting Lender as to

                                               -107-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 194 of 224




which it exercised such right of setoff. The rights of Administrative Agent, each Lender and each
such Affiliate under this Section are in addition to other rights and remedies (including other rights
of setoff) that such Person may have. NOTWITHSTANDING THE FOREGOING, NO LENDER
AND NO PARTICIPANT SHALL EXERCISE ANY RIGHT OF SETOFF, BANKER’S LIEN,
OR THE LIKE AGAINST ANY DEPOSIT ACCOUNT OR PROPERTY OF ANY OBLIGOR
HELD OR MAINTAINED BY SUCH PERSON WITHOUT THE WRITTEN CONSENT OF
THE ADMINISTRATIVE AGENT.

        11.4.    Remedies Cumulative; No Waiver.

                11.4.1     Cumulative Rights and Remedies.           All agreements, warranties,
guaranties, indemnities and other undertakings of the Obligors under the Loan Documents are
cumulative and not in derogation of each other. The rights and remedies of Administrative Agent
and Lenders are cumulative, may be exercised at any time and from time to time, concurrently or
in any order, and are not exclusive of any other rights or remedies available by agreement, by law,
at equity or otherwise. All such rights and remedies shall continue in full force and effect until
Full Payment of all Obligations. Each Obligor acknowledges that the purpose of Section 11.2 is,
among other things, to provide a non-exhaustive list of actions or omissions that are commercially
reasonable when exercising remedies against any Collateral and that other actions or omissions by
the Secured Parties shall not be deemed commercially unreasonable solely on account of not being
indicated in such clauses.

                11.4.1    Waivers. No waiver or course of dealing shall be established by (a) the
failure or delay of Administrative Agent or any Lender to require strict performance by Borrower
with any terms of the Loan Documents, or to exercise any rights or remedies with respect to
Collateral or otherwise; (b) the making of any Loan during a Default, Event of Default or other
failure to satisfy any conditions precedent; or (c) acceptance by Administrative Agent or any
Lender of any payment or performance by an Obligor under any Loan Documents in a manner
other than that specified therein. It is expressly acknowledged by Borrower that any failure to
satisfy a financial covenant on a measurement date shall not be cured or remedied by satisfaction
of such covenant on a subsequent date; provided, however, that notwithstanding anything in any
Loan Document to the contrary, the exercise of rights and remedies following an Event of Default
by the Administrative Agent and Lenders shall be subject to the DIP Orders.

SECTION 12.                 ADMINISTRATIVE AGENT

        12.1.    Appointment, Authority and Duties of Administrative Agent.

                12.1.1    Appointment and Authority. Each Secured Party appoints and designates
Wilmington Savings Fund Society, FSB, as Administrative Agent under all Loan Documents.
Administrative Agent may, and each Secured Party authorizes Administrative Agent to, enter into
all Loan Documents to which Administrative Agent is intended to be a party and accept all Security
Documents, for the benefit of Secured Parties. Any action taken by Administrative Agent in
accordance with the provisions of the Loan Documents, and the exercise by Administrative Agent
of any rights or remedies set forth therein, together with all other powers reasonably incidental
thereto, shall be authorized by and binding upon all Secured Parties. Without limiting the
generality of the foregoing, Administrative Agent shall have the sole and exclusive authority to (a)

                                                -108-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 195 of 224




act as the disbursing and collecting agent for Lenders with respect to all payments and collections
arising in connection with the Loan Documents; (b) execute and deliver as Administrative Agent
each Loan Document, including any intercreditor or subordination agreement, and accept delivery
of each Loan Document; (c) to execute, deliver and perform any intercreditor agreement in respect
of this Facility or the Liens granted pursuant to the Security Documents or the DIP Orders, in each
case under this clause (c) to the extent such agreement, amendment or restatement has been
approved by the Required Lenders; (d) act as collateral agent for Secured Parties for purposes of
perfecting and administering Liens under the Loan Documents, and for all other purposes stated
therein; (e) manage, supervise or otherwise deal with Collateral; and (f) take any Enforcement
Action or otherwise exercise any rights or remedies with respect to any Collateral or under any
Loan Documents, Applicable Law or otherwise. The duties of Administrative Agent are
ministerial and administrative in nature only, and Administrative Agent shall not have a fiduciary
relationship with any Secured Party, Participant or other Person, by reason of any Loan Document
or any transaction relating thereto.

                12.1.2     Duties. Administrative Agent shall not have any duties except those
expressly set forth in the Loan Documents. The conferral upon Administrative Agent of any right
shall not imply a duty to exercise such right, unless instructed to do so by Lenders in accordance
with this Agreement.

                12.1.3    Agent Professionals. Administrative Agent may perform its duties
through agents and employees. Administrative Agent may consult with and employ Agent
Professionals, and shall be entitled to act upon, and shall be fully protected in any action taken in
good faith reliance upon, any advice given by an Agent Professional. Administrative Agent shall
not be responsible for the negligence or misconduct of any agents, employees or Agent
Professionals selected by it with reasonable care.

                12.1.1     Instructions of Required Lenders; Action by Administrative Agent. The
rights and remedies conferred upon Administrative Agent under the Loan Documents may be
exercised without the necessity of joinder of any other party, unless required by Applicable Law.
In determining compliance with a condition for any action hereunder, including satisfaction of any
condition in Section 6, Administrative Agent may presume that the condition is satisfactory to a
Secured Party unless Administrative Agent has received notice to the contrary from such Secured
Party before Administrative Agent takes the action. The Administrative Agent shall not have any
duty to take any discretionary action or exercise any discretionary powers, except discretionary
rights and powers expressly contemplated hereby or by any other Loan Document that it is required
to exercise in writing as directed by the Required Lenders (or such other number or percentage of
the Lenders as shall be necessary under the circumstances as provided in Section 14.1) and in all
cases it shall be fully justified in failing or refusing to act hereunder or under any other Loan
Documents unless it shall (a) receive written instructions from the Required Lenders or the
Lenders, as applicable, (or such other number or percentage of the Lenders as shall be necessary
under the circumstances as provided in Section 14.1) specifying the action to be taken and (b) be
indemnified to its satisfaction by the Lenders against any and all liability and expenses that may
be incurred by it by reason of taking or continuing to take any such action. The instructions as
aforesaid and any action taken or failure to act pursuant thereto shall be binding on all of the
Lenders. Notwithstanding the foregoing, the Administrative Agent may request instructions from
Required Lenders or other Secured Parties with respect to any act (including the failure to act) in

                                               -109-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 196 of 224




connection with any Loan Documents or Collateral, and may seek assurances to its satisfaction
from Secured Parties of their indemnification obligations against Claims that could be incurred by
Administrative Agent. Administrative Agent may refrain from any act until it has received such
instructions or assurances, and shall not incur liability to any Person by reason of so refraining.
Instructions of Required Lenders shall be binding upon all Secured Parties, and no Secured Party
shall have any right of action whatsoever against Administrative Agent as a result of
Administrative Agent acting or refraining from acting pursuant to instructions of Required
Lenders. Notwithstanding the foregoing, instructions by and consent of specific parties shall be
required to the extent provided in Section 14.1.1. If a Default has occurred and is continuing, then
the Administrative Agent shall take such action with respect to such Default as shall be directed
by the requisite Lenders in the written instructions (with indemnities) described in this Section
12.1.1; provided that, unless and until the Administrative Agent shall have received such
directions, the Administrative Agent may (but shall not be obligated to) take such action, or refrain
from taking such action, with respect to such Default as it shall deem advisable in the best interests
of the Lenders. In In no event shall Administrative Agent be required to take any action that, in its
opinion, is contrary to Applicable Law or any Loan Documents or could subject any Agent
Indemnitee to personal liability (as the terms thereof may be modified by the DIP Orders). In any
case, where the consent of the Administrative Agent is expressly required under this Agreement,
the other Loan Documents or the DIP Orders, the withholding or giving of such consent may be
conditioned by the Administrative Agent upon the receipt of the approval of the Required Lenders,
and the Administrative Agent shall be fully protected and not liable to the Lenders or any other
Person in relying upon such approval or failing to act in the absence of such approval. No Agent
shall be liable for any action taken or not taken by it with the consent or at the request of the
Required Lenders or the Lenders (or such other number or percentage of the Lenders as shall be
necessary under the circumstances as provided in Section 14.1), and otherwise no Agent shall be
liable for any action taken or not taken by it hereunder or under any other Loan Document or under
any other document or instrument referred to or provided for herein or therein or in connection
herewith or therewith INCLUDING ITS OWN ORDINARY NEGLIGENCE, except for its own
gross negligence or willful misconduct as determined by a nonappealable order of a court of
competent jurisdiction. No provision of this Agreement or any other Loan Document or any
agreement or instrument contemplated hereby or thereby, the transactions contemplated hereby or
thereby shall require any Agent to: (i) expend or risk its own funds or provide indemnities in the
performance of any of its duties hereunder or the exercise of any of its rights or power or (ii)
otherwise incur any financial liability in the performance of its duties or the exercise of any of its
rights or powers, in each case, other than as resulting from its gross negligence or willful
misconduct, as determined by a nonappealable order of a court of competent jurisdiction. Anything
herein to the contrary notwithstanding, whenever reference is made in this Agreement or any other
Loan Document to any action by, consent, designation, specification, requirement or approval of,
notice, request or other communication from, or other direction given or action to be undertaken
or to be (or not to be) suffered or omitted by the Agents or to any election, decision, opinion,
acceptance, use of judgment, expression of satisfaction or other exercise of discretion, rights or
remedies to be made (or not to be made) by the Agents hereunder or thereunder, it is understood
that in all cases the Agents shall be acting, giving, withholding, suffering, omitting, taking or
otherwise undertaking and exercising the same (or shall not be undertaking and exercising the
same) as directed by the Required Lenders or the Lenders, as applicable, (or such other number or
percentage of the Lenders as shall be necessary under the circumstances as provided in Section

                                                -110-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 197 of 224




14.1). Beyond the exercise of reasonable care in the custody of the Collateral in the possession or
control of an Agent, such Agent will not have any duty as to any other Collateral or any income
thereon or as to preservation of rights against prior parties or any other rights pertaining thereto.
The Agents will be deemed to have exercised reasonable care in the custody of the Collateral in
its possession if the Collateral is accorded treatment substantially equal to that which it accords its
own property, and the Agents will not be liable or responsible for any loss or diminution in the
value of any of the Collateral by reason of the act or omission of any carrier, forwarding agency
or other agent or bailee selected by the Administrative Agent in good faith.

        No Agent shall be responsible or liable for any failure or delay in the performance of its
obligations under this Agreement and the other Loan Documents arising out of or caused, directly
or indirectly, by circumstances beyond its control, including without limitation, any act or
provision of any present or future law or regulation or governmental authority; acts of God;
earthquakes; fires; floods; wars; terrorism; civil or military disturbances; sabotage; epidemics;
pandemics; riots; interruptions, loss or malfunctions of utilities, computer (hardware or software)
or communications service; accidents; labor disputes; acts of civil or military authority or
governmental actions; or the unavailability of the Federal Reserve Bank wire or telex or other wire
or communication facility, in each case, other than as resulting from its gross negligence or willful
misconduct, as determined by a nonappealable order of a court of competent jurisdiction.

        12.2.    Agreements Regarding Collateral and Borrower Materials.

                12.2.1     Lien Releases; Care of Collateral.            Secured Parties authorize
Administrative Agent to, and Administrative Agent shall, (1) release any Lien with respect to any
Collateral (a) upon Full Payment of the Obligations; (b) that is the subject of a Permitted Asset
Disposition to a Person that is not an Obligor (and Administrative Agent may request that the
Obligors certify that such disposition is a Permitted Asset Disposition and may rely conclusively
on any such certificate without further inquiry); (c) subject to Section 14.1, with the consent of
Required Lenders; and (d) if the Collateral subject to such Lien is owned by an Obligor, upon
release of such Obligor from its obligations under the Loan Documents pursuant to the following
clause (2) and (2) upon request of an Obligor, release any Obligor from its obligations under the
Loan Documents if such Person ceases to be a Subsidiary as a result of a transaction permitted
under the Loan Documents. Secured Parties authorize Administrative Agent to subordinate its
Liens only to any Purchase Money Lien or other Permitted Lien expressly entitled to senior priority
hereunder. Administrative Agent shall have no obligation to assure that any Collateral exists or is
owned by an Obligor, or is cared for, protected or insured, nor to assure that Administrative
Agent’s Liens have been properly created, perfected or enforced, or are entitled to any particular
priority, nor to exercise any duty of care with respect to any Collateral. Upon request by the
Administrative Agent at any time, the Required Lenders will confirm in writing the Administrative
Agent’s authority to release or subordinate its interest in particular types or items of property, or
to release any Guarantor from its obligations under the Guaranty pursuant to this Section 12.2.1.
If any Collateral is disposed pursuant to a Permitted Asset Disposition to any Person other than an
Obligor, such Collateral shall be sold free and clear of the Liens created by the Loan Documents
and the Administrative Agent shall, at the expense of the Obligors, take any and all actions
reasonably requested by the Obligors to effect the foregoing (provided, that if requested by the
Administrative Agent the Obligors shall provide a certification that such disposition is permitted
by this Agreement).

                                                -111-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 198 of 224




              12.2.2     Possession of Collateral. Administrative Agent and Secured Parties
appoint each Lender as agent (for the benefit of Secured Parties) for the purpose of perfecting
Liens in any Collateral held or controlled by such Lender, to the extent such Liens are perfected
by possession or control. If any Lender obtains possession or control of any Collateral, it shall
notify Administrative Agent thereof and, promptly upon Administrative Agent’s request, deliver
such Collateral to Administrative Agent or otherwise deal with it in accordance with
Administrative Agent’s instructions.

                12.2.3      Reports. Administrative Agent shall promptly provide to Lenders, when
complete, any field audit or examination report prepared for Administrative Agent with respect to
any Obligor or Collateral (“Report”). Reports and other Borrower Materials may be made
available to Lenders by providing access to them on the Platform, but Administrative Agent shall
not be responsible for system failures or access issues that may occur from time to time. Each
Lender agrees (a) that Reports are not intended to be comprehensive audits or examinations, and
that Administrative Agent or any other Person performing an audit or examination will inspect
only specific information regarding the Obligations or Collateral and will rely significantly upon
Borrower’s books, records and representations; (b) that Administrative Agent makes no
representation or warranty as to the accuracy or completeness of any Borrower Materials and shall
not be liable for any information contained in or omitted from any Borrower Materials, including
any Report; and (c) to keep all Borrower Materials confidential and strictly for such Lender’s
internal use, not to distribute any Report or other Borrower Materials (or the contents thereof) to
any Person (except to such Lender’s Participants, attorneys and accountants provided such Persons
are informed of the confidential nature of such Reports and Borrower Materials and instructed to
keep them confidential and strictly for such Lender’s use), and to use all Borrower Materials solely
for administration of the Obligations. Each Lender shall severally and not jointly indemnify and
hold harmless Administrative Agent and any other Person preparing a Report from any action such
Lender may take as a result of or any conclusion it may draw from any Borrower Materials, as
well as from any Claims arising as a direct or indirect result of Administrative Agent furnishing
same to such Lender, via the Platform or otherwise.

        12.3. Reliance By Administrative Agent. Administrative Agent shall be entitled to
rely, and shall be fully protected in relying, upon any certification, notice or other communication
(including those by telephone, telex, telegram, telecopy or e-mail) believed by it to be genuine and
correct and to have been signed, sent or made by the proper Person except to the extent such
reliance is the result of the gross negligence or willful misconduct of the Administrative Agent.
Administrative Agent also may rely upon any statement made to it orally or by telephone and
believed by it to have been made by the proper Person, and shall not incur any liability for relying
thereon except to the extent such reliance is the result of the gross negligence or willful misconduct
of the Administrative Agent. In determining compliance with any condition hereunder to the
making of a Loan that by its terms must be fulfilled to the satisfaction of a Lender, the
Administrative Agent may presume that such condition is satisfactory to such Lender unless the
Administrative Agent shall have received notice to the contrary from such Lender prior to the
making of such Loan. Administrative Agent may consult with legal counsel (who may be counsel
for the Borrower), independent accountants and other experts selected by it, and shall not be liable
for any action taken or not taken by it in accordance with the advice of any such counsel,
accountants or experts. Administrative Agent shall have a reasonable and practicable amount of


                                                -112-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 199 of 224




time to act upon any instruction, notice or other communication under any Loan Document, and
shall not be liable for any delay in acting.

        12.4. Action Upon Default. Administrative Agent shall not be deemed to have
knowledge of any Default or Event of Default, or of any failure to satisfy any conditions in Section
6, unless it has received written notice from the Borrower or Required Lenders specifying the
occurrence and nature thereof. If any Lender acquires knowledge of a Default, Event of Default
or failure of such conditions, it shall promptly notify Administrative Agent and the other Lenders
thereof in writing. Each Secured Party agrees that, except as otherwise expressly provided in any
Loan Documents or with the written consent of Administrative Agent and Required Lenders, it
will not take any Enforcement Action, accelerate Obligations, or exercise any right that it might
otherwise have under Applicable Law to credit bid at foreclosure sales, UCC sales or other
dispositions of Collateral, or to assert any rights relating to any Collateral.

        12.5. Ratable Sharing. If any Lender obtains any payment or reduction of any
Obligation, whether through set-off or otherwise, in excess of its share of such Obligation,
determined on a Pro Rata basis or in accordance with Section 5.6.2, as applicable, such Lender
shall forthwith purchase from Administrative Agent and the other Lenders such participations in
the affected Obligation as are necessary to share the excess payment or reduction on a Pro Rata
basis or in accordance with Section 5.6.2, as applicable. If any of such payment or reduction is
thereafter recovered from the purchasing Lender, the purchase shall be rescinded and the purchase
price restored to the extent of such recovery, but without interest. Notwithstanding the foregoing,
if a Defaulting Lender obtains a payment or reduction of any Obligation, it shall immediately turn
over the amount thereof to Administrative Agent for application under Section 4.2.1(b) and it shall
provide a written statement to Administrative Agent describing the Obligation affected by such
payment or reduction. No Lender shall set off against any DIP Funding Account without
Administrative Agent’s prior consent.

        12.6. Indemnification. EACH LENDER SHALL SEVERALLY AND NOT JOINTLY
INDEMNIFY AND HOLD HARMLESS AGENT INDEMNITEES, TO THE EXTENT NOT
REIMBURSED BY OBLIGORS, ON A PRO RATA BASIS, AGAINST ALL CLAIMS THAT
MAY BE INCURRED BY OR ASSERTED AGAINST ANY SUCH AGENT INDEMNITEE,
PROVIDED, THAT ANY CLAIM AGAINST AN AGENT INDEMNITEE RELATES TO OR
ARISES FROM ITS ACTING AS OR FOR ADMINISTRATIVE AGENT (IN THE CAPACITY
OF AGENT). In no event shall any Lender have any obligation hereunder to indemnify or hold
harmless an Agent Indemnitee with respect to a Claim that is determined in a final, non-appealable
judgment by a court of competent jurisdiction to result from the gross negligence or willful
misconduct of such Agent Indemnitee. In Administrative Agent’s discretion, it may reserve for
any Claims made against an Agent Indemnitee, and may satisfy any judgment, order or settlement
relating thereto, from proceeds of Collateral prior to making any distribution of Collateral proceeds
to Secured Parties. If Administrative Agent is sued by any receiver, trustee or other Person for
any alleged preference or fraudulent transfer, then any monies paid by Administrative Agent in
settlement or satisfaction of such proceeding, together with all interest, costs and expenses
(including attorneys’ fees) incurred in the defense of same, shall be promptly reimbursed to
Administrative Agent by each Lender to the extent of its Pro Rata share.



                                               -113-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 200 of 224




         12.7. Limitation on Responsibilities of Administrative Agent. Administrative Agent
shall not be liable to any Secured Party for any action taken or omitted to be taken under the Loan
Documents, except for losses to the extent caused by Administrative Agent’s gross negligence or
willful misconduct. Administrative Agent does not assume any responsibility for any failure or
delay in performance or any breach by any Obligor, Lender or other Secured Party of any
obligations under the Loan Documents. Administrative Agent does not make any express or
implied representation, warranty or guarantee to Secured Parties with respect to any Obligations,
Collateral, Loan Documents or Obligor. No Agent Indemnitee shall be responsible to Secured
Parties for any recitals, statements, information, representations or warranties contained in any
Loan Documents or Borrower Materials; the execution, validity, genuineness, effectiveness or
enforceability of any Loan Documents; the genuineness, enforceability, collectability, value,
sufficiency, location or existence of any Collateral, or the validity, extent, perfection or priority of
any Lien therein; the validity, enforceability or collectability of any Obligations; or the assets,
liabilities, financial condition, results of operations, business, creditworthiness or legal status of
any Obligor or Account Debtor. No Agent Indemnitee shall have any obligation to any Secured
Party to ascertain or inquire into the existence of any Default or Event of Default, the observance
by any Obligor of any terms of the Loan Documents, or the satisfaction of any conditions precedent
contained in any Loan Documents.

        12.8.    Successor Agent and Co-Agents.

                12.8.1     Resignation; Successor Agent. The Administrative Agent may (x) resign
at any time by giving at least 5 days written notice thereof to Lenders and Borrower (or such shorter
time period as agreed to by the Required Lenders) and/or (y) be removed by the Required Lenders
on not less than 30 days’ prior written notice. Upon receipt of such notice, Required Lenders shall
have the right to appoint a successor Administrative Agent which shall be (a) a Lender or an
Affiliate of a Lender; or (b) a financial institution reasonably acceptable to Required Lenders. If
no successor agent is appointed prior to the effective date of Administrative Agent’s resignation,
then Administrative Agent may (but shall not be obligated to) appoint a successor agent that is a
financial institution acceptable to it, which shall be a Lender unless no Lender accepts the role.
Whether or not a successor has been appointed, such resignation shall become effective. Upon
acceptance by a successor Administrative Agent of its appointment hereunder, such successor
Administrative Agent shall thereupon succeed to and become vested with all the powers and duties
of the retiring Administrative Agent without further act, and the retiring Administrative Agent
shall be discharged from its duties and obligations hereunder but shall continue to have the benefits
of the indemnification set forth in Sections 12.6 and 14.2. Notwithstanding any Administrative
Agent’s resignation, the provisions of this Section 12 shall continue in effect for its benefit with
respect to any actions taken or omitted to be taken by it while Administrative Agent. The resigning
Administrative Agent shall be discharged from its duties and obligations hereunder and under the
other Loan Documents (except that in the case of any collateral security held by the Administrative
Agent on behalf of the Secured Parties under any of the Loan Documents, the retiring
Administrative Agent shall continue to hold such collateral security until such time as a successor
Administrative Agent is appointed) and except for any indemnity payments or other amounts then
owed to the resigning Administrative Agent, all payments, communications and determinations
provided to be made by, to or through the Administrative Agent shall instead be made by or to
each Lender directly, until such time, if any, as the Required Lenders appoint a successor
Administrative Agent as provided for above. Any successor to Wilmington Savings Fund Society,

                                                 -114-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 201 of 224




FSB, by merger or acquisition of stock or this loan shall continue to be Administrative Agent
hereunder without further act on the part of any Secured Party or Obligor.

               12.8.2     Co-Collateral Agent. If necessary or appropriate under Applicable Law,
Administrative Agent may appoint a Person to serve as a co-collateral agent or separate collateral
agent under any Loan Document. Each right and remedy intended to be available to
Administrative Agent under the Loan Document shall also be vested in such agent. Secured Parties
shall execute and deliver any instrument or agreement that Administrative Agent may request to
effect such appointment. If the agent shall die, dissolve, become incapable of acting, resign or be
removed, then all the rights and remedies of such agent, to the extent permitted by Applicable
Law, shall vest in and be exercised by Administrative Agent until appointment of a new agent.

                12.8.3     Delegation of Duties. Administrative Agent may perform any and all of
its duties and exercise its rights and powers hereunder or under any other Loan Document by or
through any one or more sub-agents appointed by the Administrative Agent. Administrative Agent
and any such sub-agent may perform any and all of its duties and exercise its rights and powers by
or through their respective Affiliates. The exculpatory provisions of this Section 12 shall apply to
any such sub-agent and to the Affiliates of the Administrative Agent and any such sub-agent, and
shall apply to their respective activities in connection with the syndication of the credit facilities
provided for herein as well as activities as Administrative Agent. Administrative Agent shall not
be responsible for the negligence or misconduct of any sub-agents except to the extent that a court
of competent jurisdiction determines in a final and nonappealable judgment that the Administrative
Agent acted with gross negligence or willful misconduct in the selection of such sub-agents.

        12.9. Non-Reliance on the Administrative Agent and the Other Lenders. Each
Lender expressly acknowledges that neither the Administrative Agent nor the Arranger has made
any representation or warranty to it, and that no act by the Administrative Agent hereafter taken,
including any consent to, and acceptance of any assignment or review of the affairs of any Obligor
of any Affiliate thereof, shall be deemed to constitute any representation or warranty by the
Administrative Agent to any Lender as to any matter, including whether the Administrative Agent
has disclosed material information in its (or its Related Parties’) possession. Each Lender
represents to the Administrative Agent that it has, independently and without reliance upon the
Administrative Agent, the Arranger, any other Lender or any of their Related Parties and based on
such documents and information as it has deemed appropriate, made its own credit analysis of,
appraisal of, and investigation into, the business, prospects, operations, property, financial and
other condition and creditworthiness of the Obligors and their Subsidiaries, and all applicable bank
or other regulatory laws relating to the transactions contemplated hereby, and made its own
decision to enter into, or consent to, this Agreement and the other Loan Documents and to extend
credit to the Borrower hereunder. Each Lender also acknowledges that it will, independently and
without reliance upon the Administrative Agent, the Arranger any other Lender or any of their
Related Parties and based on such documents and information as it shall from time to time deem
appropriate, continue to make its own credit analysis, appraisals and decisions in taking or not
taking action under or based upon this Agreement, any other Loan Document or any related
agreement or any document furnished hereunder or thereunder, and to make such investigations as
it deems necessary to inform itself as to the business, prospects, operations, property, financial and
other condition and creditworthiness of the Obligors. Each Lender represents and warrants that (i)
the Loan Documents set forth the terms of a commercial lending facility and (ii) it is engaged in

                                                -115-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 202 of 224




making, acquiring or holding commercial loans in the ordinary course and is entering into this
Agreement as a Lender for the purpose of making, acquiring or holding commercial loans and
providing other facilities set forth herein as may be applicable to such Lender, and not for the
purpose of purchasing, acquiring or holding any other type of financial instrument, and each
Lender agrees not to assert a claim in contravention of the foregoing. Each Lender represents and
warrants that it is sophisticated with respect to decisions to make, acquire and/or hold commercial
loans and to provide other facilities set forth herein, as may be applicable to such Lender, and
either it, or the Person exercising discretion in making its decision to make, acquire and/or hold
such commercial loans or to provide such other facilities, is experienced in making, acquiring or
holding such commercial loans or providing such other facilities.

        12.10. Remittance of Payments and Collections.

              12.10.1 Remittances Generally. All payments by any Lender to Administrative
Agent shall be made by the time and on the day set forth in this Agreement, in immediately
available funds. If no time for payment is specified or if payment is due on demand by
Administrative Agent and request for payment is made by Administrative Agent by 11:00 a.m. on
a Business Day, payment shall be made by Lender not later than 2:00 p.m. on such day, and if
request is made after 11:00 a.m., then payment shall be made by 11:00 a.m. on the next Business
Day. Payment by Administrative Agent to any Secured Party shall be made by wire transfer, in
the type of funds received by Administrative Agent. Any such payment shall be subject to
Administrative Agent’s right of offset for any amounts due from such payee under the Loan
Documents.

              12.10.2 Failure to Pay. If any Secured Party fails to pay any amount when due
by it to Administrative Agent pursuant to the terms hereof, such amount shall bear interest, from
the due date until paid in full, at the rate determined by Administrative Agent as customary for
interbank compensation for two Business Days and thereafter at the Default Rate. In no event
shall the Borrower be entitled to receive credit for any interest paid by a Secured Party to
Administrative Agent, nor shall any Defaulting Lender be entitled to interest on any amounts held
by Administrative Agent pursuant to Section 4.2.

                12.10.3 Recovery of Payments. If Administrative Agent pays an amount to a
Secured Party in the expectation that a related payment will be received by Administrative Agent
from an Obligor and such related payment is not received, then Administrative Agent may recover
such amount from the Secured Party. If Administrative Agent determines that an amount received
by it must be returned or paid to an Obligor or other Person pursuant to Applicable Law or
otherwise, then, notwithstanding any other term of any Loan Document, Administrative Agent
shall not be required to distribute such amount to any Secured Party. If any amounts received and
applied by Administrative Agent to any Obligations are later required to be returned by
Administrative Agent pursuant to Applicable Law, each Lender shall pay to Administrative Agent,
on demand, such Lender’s Pro Rata share of the amounts required to be returned.

        12.11. Individual Capacities. As a Lender, the Administrative Agent shall have the same
rights and remedies under the Loan Documents as any other Lender, and the terms “Lenders,”
“Required Lenders” or any similar term shall include the Administrative Agent in its capacity as a
Lender, to the extent applicable. Administrative Agent, Lenders and their Affiliates may accept

                                              -116-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 203 of 224




deposits from, lend money to, provide bank products to, act as financial or other advisor to, and
generally engage in any kind of business with, Obligors and their Affiliates, as if they were not
Administrative Agent or Lenders hereunder, without any duty to account therefor to any Secured
Party. In their individual capacities, Administrative Agent, Lenders and their Affiliates may
receive information regarding Obligors, their Affiliates and their Account Debtors (including
information subject to confidentiality obligations), and shall have no obligation to provide such
information to any Secured Party.

        12.12. Erroneous Payments.

                12.12.1 Each Lender hereby agrees that (i) if the Administrative Agent notifies
any Lender that the Administrative Agent has determined in its sole discretion that any funds
received by such Lender from the Administrative Agent were erroneously transmitted to, or
otherwise erroneously or mistakenly received by, such Lender (whether or not known to such
Lender) (whether as a payment, prepayment or repayment of principal, interest, fees or otherwise;
individually and collectively, an “Erroneous Payment”) and demands the return of such Erroneous
Payment (or a portion thereof), such Lender shall promptly, but in no event later than one Business
Day thereafter, return to the Administrative Agent the amount of any such Erroneous Payment (or
portion thereof) as to which such a demand was made, in same day funds (in the currency so
received) and (ii) to the extent permitted by applicable law, such Lender shall not assert any right
or claim to the Erroneous Payment, and hereby waives any claim, counterclaim, defense or right
of set-off or recoupment with respect to any demand claim or counterclaim by the Administrative
Agent for the return of any Erroneous Payments received, including without limitation a waiver of
any defense based on “discharge for value” or any similar doctrine. A notice of the Administrative
Agent to any Lender under this clause shall be conclusive absent manifest error.

                 12.12.2 Without limiting the immediately preceding clause, each Lender hereby
further agrees that if it receives an Erroneous Payment from the Administrative Agent (x) that is
in a different amount than, or on a different date from, that specified in a notice of payment sent
by the Administrative Agent with respect to such Erroneous Payment (an “Erroneous Payment
Notice”), (y) that was not preceded or accompanied by an Erroneous Payment Notice, or (z) that
the Lender otherwise becomes aware was transmitted, or received, in error or by mistake (in whole
or in part), in each case, an error has been made (and that it is deemed to have knowledge of such
error at the time of receipt of such Erroneous Payment) with respect to such Erroneous Payment,
and to the extent permitted by applicable law, the Lender shall not assert any right or claim to the
Erroneous Payment, and hereby waives, any claim, counterclaim, defense or right of set-off or
recoupment with respect to any demand, claim or counterclaim by the Administrative Agent for
the return of any Erroneous Payments received, including without limitation, waiver of any defense
based on “discharge for value” or any similar doctrine. Each Lender agrees that, in each such case,
it shall promptly (and, in all events, within one Business Day of its knowledge (or deemed
knowledge) of such error) notify the Administrative Agent of such occurrence and, upon demand
from the Administrative Agent, it shall promptly, but in all events no later than one Business Day
thereafter, return to the Administrative Agent the amount of any such Erroneous Payment (or
portion thereof) as to which such a demand was made in same day funds (in the currency so
received).

        12.13. [Reserved].

                                               -117-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 204 of 224




       12.14. No Third Party Beneficiaries. This Section 12 is an agreement solely among
Secured Parties and Administrative Agent, and shall survive Full Payment of the Obligations. This
Section 12 does not confer any rights or benefits upon Borrower or any other Person. As between
Borrower and Administrative Agent, any action that Administrative Agent may take under any
Loan Documents or with respect to any Obligations shall be conclusively presumed to have been
authorized and directed by Secured Parties.

         12.15. Withholding Tax. To the extent required by any applicable law, the
Administrative Agent may withhold from any payment to any Lender an amount equivalent to any
applicable withholding Tax. If the IRS or any other Governmental Authority asserts a claim that
the Administrative Agent did not properly withhold Tax from amounts paid to or for the account
of any Lender because the appropriate form was not delivered or was not properly executed or
because such Lender failed to notify the Administrative Agent of a change in circumstance which
rendered the exemption from, or reduction of, withholding Tax ineffective or for any other reason,
such Lender shall severally and not jointly indemnify the Administrative Agent fully for all
amounts paid, directly or indirectly, by the Administrative Agent as tax or otherwise, including
any penalties or interest and together with all expenses (including legal expenses, allocated internal
costs and out-of-pocket expenses) incurred. A certificate as to the amount of such payment or
liability delivered to any Lender by the Administrative Agent shall be conclusive absent manifest
error. Each Lender hereby authorizes the Administrative Agent to set off and apply any and all
amounts at any time owing to such Lender under this Agreement or any other Loan Document
against any amount due to the Administrative Agent under this Section. The agreements in this
paragraph shall survive the resignation and/or replacement of the Administrative Agent, any
assignment of rights by, or the replacement of, a Lender, the termination of the commitments and
the repayment, satisfaction or discharge of all other Obligations.

        12.16. Administrative Agent May File Proofs of Claim; Credit Bidding.

               12.16.1 Proofs of Claim. In case of the pendency of any Insolvency Proceeding
or any other judicial proceeding relative to any Obligor, the Administrative Agent (irrespective of
whether the principal of any Loan shall then be due and payable as herein expressed or by
declaration or otherwise and irrespective of whether the Administrative Agent shall have made
any demand on the Borrower) shall be entitled and empowered, by intervention in such proceeding
or otherwise:

                      (a)    to file and prove a claim for the whole amount of the principal and
interest owing and unpaid in respect of the Loans and all other Obligations that are owing and
unpaid and to file such other documents as may be necessary or advisable in order to have the
claims of the Lenders and the Administrative Agent (including any claim for the reasonable
compensation, expenses, disbursements and advances of the Lenders and the Administrative Agent
and their respective agents and counsel and all other amounts due the Lenders and the
Administrative Agent) allowed in such judicial proceeding; and

                      (b)    to collect and receive any monies or other property payable or
deliverable on any such claims and to distribute the same;



                                                -118-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 205 of 224




and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in
any such judicial proceeding is hereby authorized by each Lender to make such payments to the
Administrative Agent and, if the Administrative Agent shall consent to the making of such
payments directly to the Lenders, to pay to the Administrative Agent any amount due for the
reasonable compensation, expenses, disbursements and advances of the Administrative Agent and
its agents and counsel, and any other amounts due the Administrative Agent.

       Nothing contained herein shall be deemed to authorize the Administrative Agent to
authorize or consent to or accept or adopt on behalf of any Lender any plan of reorganization,
arrangement, adjustment or composition affecting the Obligations or the rights of any Lender to
authorize the Administrative Agent to vote in respect of the claim of any Lender or in any such
proceeding.

                12.16.2 Credit Bidding. The Secured Parties hereby irrevocably authorize the
Administrative Agent, at the direction of the Required Lenders, to take all actions and exercise all
rights described in Section 11.2, including to credit bid all or any portion of the Obligations
(including accepting some or all of the Collateral in satisfaction of some or all of the Secured
Obligations pursuant to a deed in lieu of foreclosure or otherwise) and in such manner purchase
(either directly or through one or more acquisition vehicles) all or any portion of the Collateral (a)
at any sale thereof conducted under the provisions of the Bankruptcy Code of the United States,
including under Sections 363, 1123 or 1129 of the Bankruptcy Code of the United States, or any
similar Laws in any other jurisdictions to which an Obligor is subject, (b) at any other sale or
foreclosure or acceptance of collateral in lieu of debt conducted by (or with the consent or at the
direction of) the Administrative Agent (whether by judicial action or otherwise) in accordance
with any applicable Law. In connection with any such credit bid and purchase, the Obligations
owed to the Secured Parties shall be entitled to be, and shall be, credit bid on a ratable basis (with
Obligations with respect to contingent or unliquidated claims receiving contingent interests in the
acquired assets on a ratable basis that would vest upon the liquidation of such claims in an amount
proportional to the liquidated portion of the contingent claim amount used in allocating the
contingent interests) in the asset or assets so purchased (or in the Equity Interests or debt
instruments of the acquisition vehicle or vehicles that are used to consummate such purchase). In
connection with any such bid (i) the Administrative Agent shall be authorized to form one or more
acquisition vehicles to make a bid, (ii) to adopt documents providing for the governance of the
acquisition vehicle or vehicles (provided, that any actions by the Administrative Agent with
respect to such acquisition vehicle or vehicles, including any disposition of the assets or Equity
Interests thereof shall be governed, directly or indirectly, by the vote of the Required Lenders,
irrespective of the termination of this Agreement and without giving effect to the limitations on
actions by the Required Lenders contained in clauses (a) through (f) of Section 14.1.1 of this
Agreement), (iii) the Administrative Agent shall be authorized to assign the relevant Obligations
to any such acquisition vehicle pro rata by the Lenders, as a result of which each of the Lenders
shall be deemed to have received a pro rata portion of any Equity Interests and/or debt instruments
issued by such an acquisition vehicle on account of the assignment of the Obligations to be credit
bid, all without the need for any Secured Party or acquisition vehicle to take any further action,
and (iv) to the extent that Obligations that are assigned to an acquisition vehicle are not used to
acquire Collateral for any reason (as a result of another bid being higher or better, because the
amount of Obligations assigned to the acquisition vehicle exceeds the amount of debt credit bid
by the acquisition vehicle or otherwise), such Obligations shall automatically be reassigned to the

                                                -119-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 206 of 224




Lenders pro rata and the Equity Interests and/or debt instruments issued by any acquisition vehicle
on account of the Obligations that had been assigned to the acquisition vehicle shall automatically
be cancelled, without the need for any Secured Party or any acquisition vehicle to take any further
action.

               12.16.3 Exculpatory Provisions. Administrative Agent shall not have any duties
or obligations except those expressly set forth herein and in the other Loan Documents, and its
duties hereunder shall be administrative in nature. Without limiting the generality of the foregoing,
the Administrative Agent:

                       (a)    shall not be subject to any fiduciary or other implied duties,
        regardless of whether a Default has occurred and is continuing;

                        (b)     shall not have any duty to take any discretionary action or exercise
        any discretionary powers, except discretionary rights and powers expressly contemplated
        hereby or by the other Loan Documents that the Administrative Agent is required to
        exercise as directed in writing by the Required Lenders (or such other number or percentage
        of the Lenders as shall be expressly provided for herein or in the other Loan Documents),
        provided, that the Administrative Agent shall not be required to take any action that, in its
        opinion or the opinion of its counsel, may expose the Administrative Agent to liability or
        that is contrary to any Loan Document or applicable law, including for the avoidance of
        doubt any action that may be in violation of the automatic stay under any Bankruptcy Law
        or that may effect a forfeiture, modification or termination of property of a Defaulting
        Lender in violation of any Bankruptcy Law;

                         (c)     shall not have any duty or responsibility to disclose, and shall not be
        liable for the failure to disclose, to any Lender, any credit or other information concerning
        the business, prospects, operations, property, financial and other condition or
        creditworthiness of any of the Obligors or any of their Affiliates, that is communicated to,
        obtained or in the possession of, the Administrative Agent or any of their Related Parties
        in any capacity, except for notices, reports and other documents expressly required to be
        furnished to the Lenders by the Administrative Agent herein;

                        (d)    shall not be liable for any action taken or not taken by it (i) with the
        consent or at the request of the Required Lenders (or such other number or percentage of
        the Lenders as shall be necessary, or as the Administrative Agent shall believe in good faith
        shall be necessary, under the circumstances as provided in Sections 11.2 and 14.1) or (ii)
        in the absence of its own gross negligence or willful misconduct, as determined by a court
        of competent jurisdiction by a final and nonappealable judgment. The Administrative
        Agent shall be deemed not to have knowledge of any Default unless and until notice
        describing such Default is given to the Administrative Agent by the Borrower, a Lender;

                       (e)    shall not be responsible for or have any duty to ascertain or inquire
        into (i) any statement, warranty or representation made in or in connection with this
        Agreement or any other Loan Document, (ii) the contents of any certificate, report or other
        document delivered hereunder or thereunder or in connection herewith or therewith, (iii)
        the performance or observance of any of the covenants, agreements or other terms or

                                                 -120-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 207 of 224




        conditions set forth herein or therein or the occurrence of any Default, (iv) the validity,
        enforceability, effectiveness or genuineness of this Agreement, any other Loan Document
        or any other agreement, instrument or document, or the creation, perfection or priority of
        any Lien purported to be created by the Security Documents, (v) the value or the sufficiency
        of any Collateral, or (vi) the satisfaction of any condition set forth in Section 6 or elsewhere
        herein, other than to confirm receipt of items expressly required to be delivered to the
        Administrative Agent.

        Notwithstanding anything to the contrary in this Agreement or in any other Loan
Document, but, in each case, subject at all times to the DIP Order, in the event that any controversy
arises between or among any of the Secured Parties or any other Person in respect of any Collateral
or proceeds thereof in the possession or control of the Administrative Agent, the Administrative
Agent shall, to the extent directed by the Required Lenders, have the right to initiate proceedings
in the Bankruptcy Court (or to the extent the Bankruptcy Court does not have (or abstains from
exercising) jurisdiction over such matter, to any other court of competent jurisdiction permitted
under Section 14.14) for a declaratory judgment to determine the rights of such Secured Parties or
other Persons with respect to such Collateral or any proceeds thereof. The provisions of this
paragraph are in addition to and not in limitation of any right of resignation or other rights or
protections afforded to the Administrative Agent pursuant to the terms of this Agreement.

        12.17. Certain ERISA Matters.

                       (a)     Each Lender (x) represents and warrants, as of the date such Person
became a Lender party hereto, to, and (y) covenants, from the date such Person became a Lender
party hereto to the date such Person ceases being a Lender party hereto, for the benefit of, the
Administrative Agent and not, for the avoidance of doubt, to or for the benefit of the Borrower or
any other Obligor, that at least one of the following is and will be true:

                             (i)     such Lender is not using “plan assets” (within the meaning
of Section 3(42) of ERISA or otherwise) of one or more Benefit Plans with respect to such
Lender’s entrance into, participation in, administration of and performance of the Loans, the
Letters of Credit, the Commitments or this Agreement,

                              (ii)   the transaction exemption set forth in one or more PTEs,
such as PTE 84-14 (a class exemption for certain transactions determined by independent qualified
professional asset managers), PTE 95-60 (a class exemption for certain transactions involving
insurance company general accounts), PTE 90-1 (a class exemption for certain transactions
involving insurance company pooled separate accounts), PTE 91-38 (a class exemption for certain
transactions involving bank collective investment funds) or PTE 96-23 (a class exemption for
certain transactions determined by in-house asset managers), is applicable with respect to such
Lender’s entrance into, participation in, administration of and performance of the Loans, the
Letters of Credit, the Commitments and this Agreement,

                                (iii) (A) such Lender is an investment fund managed by a
“Qualified Professional Asset Manager” (within the meaning of Part VI of PTE 84-14), (B) such
Qualified Professional Asset Manager made the investment decision on behalf of such Lender to
enter into, participate in, administer and perform the Loans, the Letters of Credit, the Commitments

                                                 -121-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 208 of 224




and this Agreement, (C) the entrance into, participation in, administration of and performance of
the Loans, the Letters of Credit, the Commitments and this Agreement satisfies the requirements
of sub- sections (b) through (g) of Part I of PTE 84-14 and (D) to the best knowledge of such
Lender, the requirements of subsection (a) of Part I of PTE 84-14 are satisfied with respect to such
Lender’s entrance into, participation in, administration of and performance of the Loans, the
Letters of Credit, the Commitments and this Agreement, or

                             (iv)  such other representation, warranty and covenant as may be
agreed in writing between the Administrative Agent, in its sole discretion, and such Lender.

                       (b)    In addition, unless either (1) sub-clause (i) in the immediately
preceding clause (a) is true with respect to a Lender or (2) a Lender has provided another
representation, warranty and covenant in accordance with sub-clause (iv) in the immediately
preceding clause (a), such Lender further (x) represents and warrants, as of the date such Person
became a Lender party hereto, to, and (y) covenants, from the date such Person became a Lender
party hereto to the date such Person ceases being a Lender party hereto, for the benefit of, the
Administrative Agent and not, for the avoidance of doubt, to or for the benefit of the Borrower or
any other Obligor, that the Administrative Agent is not a fiduciary with respect to the assets of
such Lender involved in such Lender’s entrance into, participation in, administration of and
performance of the Loans, the Letters of Credit, the Commitments and this Agreement (including
in connection with the reservation or exercise of any rights by the Administrative Agent under this
Agreement, any Loan Document or any documents related hereto or thereto).

        12.18. Successors By Merger, Etc. Any corporation or association into which the
Administrative Agent may be converted or merged, or with which it may be consolidated, or to
which it may sell or transfer all or substantially all of its corporate trust business and assets as a
whole or substantially as a whole, or any corporation or association resulting from any such
conversion, sale, merger, consolidation or transfer to which the Administrative Agent is a party,
will be and become the successor the Administrative Agent a under this Agreement and will have
and succeed to the rights, powers, duties, immunities and privileges as its predecessor, without the
execution or filing of any instrument or paper or the performance of any further act.

SECTION 13.                 BENEFIT OF AGREEMENT; ASSIGNMENTS

        13.1. Successors and Assigns. This Agreement shall be binding upon and inure to the
benefit of Borrower, Administrative Agent, Lenders, Secured Parties, and their respective
successors and assigns, except that (a) the Borrower shall not have the right to assign its rights or
delegate its obligations under any Loan Documents; (b) any assignment by a Lender must be made
in compliance with Section 13.3; and (c) any assignment by the Administrative Agent of its role
as such must be made in compliance with Section Error! Reference source not found..
Administrative Agent may treat the Person which made any Loan as the owner thereof for all
purposes until such Person makes an assignment in accordance with Section 13.3. Any
authorization or consent of a Lender shall be conclusive and binding on any subsequent transferee
or assignee of such Lender.

        13.2.    Participations.


                                                -122-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 209 of 224




                13.2.1      Permitted Participants; Effect. Subject to Section 13.3.3, any Lender
may sell to a financial institution (“Participant”) a participating interest in the rights and
obligations of such Lender under any Loan Documents. Despite any sale by a Lender of
participating interests to a Participant, such Lender’s obligations under the Loan Documents shall
remain unchanged, it shall remain solely responsible to the other parties hereto for performance of
such obligations, it shall remain the holder of its Loans and Commitments for all purposes, all
amounts payable by Borrower shall be determined as if it had not sold such participating interests,
and Borrower and Administrative Agent shall continue to deal solely and directly with such Lender
in connection with the Loan Documents. Each Lender shall be solely responsible for notifying its
Participants of any matters under the Loan Documents, and Administrative Agent and the other
Lenders shall not have any obligation or liability to any such Participant. The Borrower agrees
that each Participant shall be entitled to the benefits of Sections 3.7 and 5.9 (subject to the
requirements and limitations of such Sections and Section 5.10; provided, that any documentation
required under Section 5.10 shall be delivered solely to the applicable participating Lender) to the
same extent as if it were a Lender and had acquired its interest by assignment pursuant to Section
13.1. A Participant shall not be entitled to receive any greater payment under Section 3.7 or 5.9
than the applicable Lender would have been entitled to receive with respect to the participation
sold to such Participant, except to the extent such entitlement to a greater payment results from a
Change in Law occurring after the sale of the participation. Each Lender that sells a participation
agrees, at the Borrower’s request and expense, to use reasonable efforts to cooperate with the
Borrower to effectuate the provisions of Sections 3.8 and 13.4 with respect to any Participant.

                13.2.2     Voting Rights. Each Lender shall retain the sole right to approve,
without the consent of any Participant, any amendment, waiver or other modification of a Loan
Document other than that which forgives principal, interest or fees, reduces the stated interest rate
or fees payable with respect to any Loan or Commitment in which such Participant has an interest,
postpones the Termination Date or any date fixed for any regularly scheduled payment of principal,
interest or fees on such Loan or Commitment, or releases the Borrower, any Guarantor or
substantially all Collateral.

                13.2.3     Benefit of Set-Off. The Borrower agrees that each Participant shall have
a right of set-off in respect of its participating interest to the same extent as if such interest were
owing directly to a Lender, and each Lender shall also retain the right of set-off with respect to
any participating interests sold by it. By exercising any right of set-off, a Participant agrees to
share with Lenders all amounts received through its set-off, in accordance with Section 12.5 as if
such Participant were a Lender.

                 13.2.4     Participant Register. Each Lender that sells a participation shall, acting
solely for this purpose as a non-fiduciary agent of Borrower, maintain a register on which it enters
the name and address of each Participant and the principal amounts (and stated interest) of each
Participant’s interest in the Loans or other obligations under the Loan Documents (the “Participant
Register”); provided, that no Lender shall have any obligation to disclose all or any portion of the
Participant Register (including the identity of any Participant or any information relating to a
Participant’s interest in any commitments, loans, letters of credit or its other obligations under any
Loan Document) to any Person except to the extent that such disclosure is necessary to establish
that such commitment, loan, letter of credit or other obligation is in registered form under Section
5f.103-1(c) of the United States Treasury Regulations and Section 1.163-5(b) of the Proposed

                                                -123-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 210 of 224




United States Treasury Regulations (or, in each case, any amended or successor version). The
entries in the Participant Register shall be conclusive absent manifest error, and such Lender shall
treat each Person whose name is recorded in the Participant Register as the owner of such
participation for all purposes of this Agreement notwithstanding any notice to the contrary. For
the avoidance of doubt, the Administrative Agent (in its capacity as the Administrative Agent)
shall have no responsibility for maintaining a Participant Register.

        13.3.    Assignments.

                13.3.1     Permitted Assignments. A Lender may assign to an Eligible Assignee
any of its rights and obligations under the Loan Documents, as long as (a) each assignment is of a
constant, and not a varying, percentage of the transferor Lender’s rights and obligations under the
Loan Documents and, in the case of a partial assignment, is in a minimum principal amount of
$1,000,000 (unless otherwise agreed by Administrative Agent in its discretion) and integral
multiples of $500,000 in excess of that amount; (b) except in the case of an assignment in whole
of a Lender’s rights and obligations, the aggregate amount of the Commitments retained by the
transferor Lender is at least $1,000,000 (unless otherwise agreed by Administrative Agent in its
discretion) and (c) the parties to each such assignment shall execute and deliver to Administrative
Agent, for its acceptance and recording, an Assignment and Acceptance. Nothing herein shall
limit the right of a Lender to pledge or assign any rights under the Loan Documents to secure
obligations of such Lender, including a pledge or assignment to a Federal Reserve Bank; provided,
however, that no such pledge or assignment shall release the Lender from its obligations hereunder
nor substitute the pledge or assignee for such Lender as a party hereto.

                 13.3.2    Effect; Effective Date. Upon delivery to Administrative Agent of an
assignment notice in the form of Exhibit B and a processing fee of $3,500 (unless otherwise agreed
by Administrative Agent in its discretion), the assignment shall become effective as specified in
the notice, if it complies with this Section 13.3. From such effective date, the Eligible Assignee
shall for all purposes be a Lender under the Loan Documents, and shall have all rights and
obligations of a Lender thereunder. Upon consummation of an assignment, the transferor Lender,
Administrative Agent and Borrower shall make appropriate arrangements for issuance of
replacement and/or new notes, if applicable. The transferee Lender shall comply with Section
5.10 and deliver, upon request, an administrative questionnaire satisfactory to Administrative
Agent.

               13.3.3      Certain Assignees. Without the Administrative Agent’s consent, no
assignment or participation may be made to the Borrower, Affiliate of the Borrower, Defaulting
Lender or natural person. Any assignment by a Defaulting Lender shall be effective only upon
payment by the Eligible Assignee or Defaulting Lender to Administrative Agent of an aggregate
amount sufficient, upon distribution (through direct payment, purchases of participations or other
compensating actions as Administrative Agent deems appropriate), to satisfy all funding and
payment liabilities then owing by the Defaulting Lender hereunder. If an assignment by a
Defaulting Lender shall become effective under Applicable Law for any reason without
compliance with the foregoing sentence, then the assignee shall be deemed a Defaulting Lender
for all purposes until such compliance occurs.



                                               -124-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 211 of 224




                13.3.4    Register. Administrative Agent, acting as a non-fiduciary agent of the
Borrower, shall maintain (a) a copy of each Assignment and Acceptance delivered to it, and (b) a
register for recordation of the names, addresses and Commitments of, and the principal amounts
of the Loans (and stated interest) owing to, each Lender (the “Register”). Entries in the Register
shall be conclusive, absent manifest error, and Borrower, Administrative Agent and Lenders shall
treat each lender recorded in such Register as a Lender for all purposes under the Loan Documents,
notwithstanding any notice to the contrary. The Register shall be available for inspection by the
Borrower and any Lender (but, in the case of any Lender, only with respect to its holdings (unless
consented to otherwise in writing by the Administrative Agent)), from time to time upon
reasonable notice.

               13.3.5     DIP Facility Syndication. The parties hereto hereby agree that the
Backstop Parties may syndicate the New Money Loan Commitments and the Loans hereunder in
the manner and in the amounts determined in accordance with syndication procedures acceptable
to Backstop Parties that constitute Required Lenders as of the date of the syndication (the “DIP
Syndication Procedures”, and the syndication of New Money Loan Commitments and the Loans
pursuant thereto, the “DIP Facility Syndication”); provided, that any Person that acquires any New
Money Loan Commitments or the Loans in the DIP Facility Syndication shall become a party to
the Restructuring Support Agreement prior to, or concurrently with, the effectiveness of any
assignment to it of any portion of the New Money Loan Commitments or funded Loans pursuant
to the DIP Facility Syndication.

        13.4. Replacement of Certain Lenders. If (a) a Lender (i) fails to give its consent to
any amendment, waiver or action for which consent of all Lenders was required and Required
Lenders consented, (ii) is a Defaulting Lender, or (iii) requests compensation under Section 3.7,
or (b) any Borrower is required to pay additional amounts or indemnity payments with respect to
a Lender under Section 5.9, then, in addition to any other rights and remedies that any Person may
have, Administrative Agent or Borrower may, by notice to such Lender within 120 days after such
event, require such Lender to assign all of its rights and obligations under the Loan Documents to
Eligible Assignee(s), pursuant to appropriate Assignment and Acceptance(s), within 20 days after
the notice, provided, that (i) in the case of any such assignment resulting from a claim for
compensation under Section 3.7 or payments required to be made pursuant to Section 5.9, such
assignment will result in a reduction in such compensation or payments thereafter and (ii) a Lender
shall not be required to make any such assignment or delegation if, prior thereto, as a result of a
waiver by such Lender or otherwise, the circumstances entitling the Borrower to require such
assignment and delegation cease to apply. Administrative Agent is irrevocably appointed as
attorney-in-fact to execute any such Assignment and Acceptance if the Lender fails to execute it.
Such Lender shall be entitled to receive, in cash, concurrently with such assignment, all amounts
owed to it under the Loan Documents through the date of assignment.

SECTION 14.                 MISCELLANEOUS

        14.1.    Consents, Amendments and Waivers.

               14.1.1     Amendment. No modification of any Loan Document, including any
extension (other than in accordance with Section 2.1.5) or amendment of a Loan Document or any
waiver of a Default or Event of Default, shall be effective without the prior written agreement of

                                              -125-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 212 of 224




Administrative Agent (with the consent of Required Lenders) (which, for the avoidance of doubt,
may be provided via email in accordance with Section 14.3.6) and each Obligor party to such Loan
Document; provided, however, that

                        (a)     without the prior written consent of Administrative Agent (which,
for the avoidance of doubt, may be provided via email in accordance with Section 14.3.6), no
modification shall be effective with respect to any provision in a Loan Document that relates to
any rights, duties or discretion of Administrative Agent;

                            (b)   [reserved];

                        (c)    without the prior written consent of each affected Lender (which,
for the avoidance of doubt, may be provided via email in accordance with Section 14.3.6),
including a Defaulting Lender, no modification shall be effective that would (i) increase the
Commitment of such Lender (it being understood that a waiver of any condition precedent set forth
in Article VI or the waiver of any Default shall not constitute an extension or increase of any
Commitment of any Lender); (ii) reduce the amount of, or rate of, or waive or delay payment of,
any principal, reimbursement obligation, interest, fees or other amounts payable to such Lender
hereunder or under any Loan Document (except as provided in Section 4.2 and any waiver of
interest accruing at the Default Rate; provided that only the consent of the Required Lenders shall
be necessary to amend the definition of “Default Rate”); (iii) extend the Commitment Termination
Date, the Termination Date, the New Money Loan Commitment Termination Date or the Maturity
Date (except, with respect to the Maturity Date, in accordance with Section 2.1.5); or (iv) amend
this clause (c);

                        (d)     without the prior written consent of all Lenders (which, for the
avoidance of doubt, may be provided via email in accordance with Section 14.3.6) (except any
Defaulting Lender), no modification shall be effective that would (i) alter Section 5.6.2, 7.1
(except to add Collateral) or 14.1.1; (ii) amend the definition of Pro Rata or Required Lenders, (iii)
amend any payment provision in a manner that would alter the pro rata sharing of payments
required thereby (iii) release all or substantially all Collateral; or (iv) except in connection with a
merger, disposition or similar transaction expressly permitted hereby, release any Obligor from
liability for any Obligations (as measured by value not number);

                        (e)    without the written consent of each Lender directly and adversely
affected thereby (which, for the avoidance of doubt, may be provided via email in accordance with
Section 14.3.6), no modification shall postpone any date scheduled for any payment of principal
of, or interest on, any Loan, or any fees or other amounts payable hereunder or under any other
Loan Document, or reduce the amount of, waive or excuse any such payment;

                            (f)   [reserved]; and

                      (g)    without the prior written consent of each affected Lender (which,
for the avoidance of doubt, may be provided via email in accordance with Section 14.3.6),
including a Defaulting Lender, no modification shall be effective that would alter Section 12.5 or
14.3.1.


                                                    -126-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 213 of 224




                14.1.2    Limitations. Only the consent of the parties to any agreement relating to
fees shall be required for modification of such agreement. Any waiver or consent granted by
Administrative Agent or Lenders hereunder shall be effective only if in writing and only for the
matter specified. Further, notwithstanding anything to the contrary contained in this Section 14.1,
if following the Closing Date, the Administrative Agent and any Obligor shall have jointly
identified an obvious error or any error or omission of a technical or immaterial nature, in each
case, in any provision of the Loan Documents, then the Administrative Agent and the Obligors
shall be permitted to amend such provision and such amendment shall become effective without
any further action or consent of any other party to any Loan Documents if the same is not objected
to in writing by the Required Lenders within five (5) Business Days following receipt of notice
thereof.

               14.1.3     DIP Facility Syndication Amendments. Notwithstanding anything to the
contrary contained in this Section 14.1 or any other Loan Document, for the avoidance of doubt,
Schedule 1.1 may be modified at the direction of the Consenting Lender Advisors to give effect
to the DIP Facility Syndication and only the consent of the Administrative Agent (which consent
may be provided via email) shall be required to amend and restate Schedule 1.1 to reflect the New
Money Loan Commitments after giving effect to the DIP Facility Syndication.

        14.2. Indemnity. The Borrower shall indemnify the Administrative Agent (and any sub-
agent thereof), each Lender, and each Related Party of any of the foregoing Persons (each such
Person being called an “Lender Related Person”) against, and hold each Lender Related Person
harmless from, any and all losses, claims, damages, liabilities and related expenses (limited, in the
case of legal fees and expenses, to the reasonable and documented fees, charges and disbursements
of one primary counsel and one local counsel in each relevant jurisdiction for all Lender Related
Persons and, in the case of an actual or reasonably perceived conflict of interest, one additional
primary counsel (and one additional local counsel in each relevant jurisdiction) per group of
similarly situated affected parties), to the extent incurred by any Lender Related Person or asserted
against any Lender Related Person by any Person (including the Borrower or any other Obligor)
arising out of, in connection with, or as a result of (i) the execution or delivery of this Agreement,
any other Loan Document or any agreement or instrument contemplated hereby or thereby, the
performance by the parties hereto of their respective obligations hereunder or thereunder, the
consummation of the transactions contemplated hereby or thereby, or, in the case of the
Administrative Agent (and any sub agent thereof) and its Related Parties only, the administration
of this Agreement and the other Loan Documents (including in respect of any matters addressed
in Section 5.9), (ii) any Loan or the use or proposed use of the proceeds therefrom, (iii) any actual
or alleged presence or Environmental Release of Hazardous Materials on or from any property
owned or operated by the Borrower or any of its Subsidiaries, or any Environmental Liability
related in any way to the Borrower or any of its Subsidiaries, or (iv) any actual or prospective
claim, litigation, investigation or proceeding relating to any of the foregoing, in all cases, whether
based on contract, tort or any other theory, whether brought by a third party or by the Borrower or
any other Obligor, and regardless of whether any Lender Related Person is a party thereto, IN ALL
CASES, WHETHER OR NOT CAUSED BY OR ARISING, IN WHOLE OR IN PART, OUT OF
THE COMPARATIVE, CONTRIBUTORY OR SOLE NEGLIGENCE OF THE LENDER
RELATED PERSON; provided, that such indemnity shall not, as to any Lender Related Person,
be available to the extent that such losses, claims, damages, liabilities or related expenses (x) are
determined by a court of competent jurisdiction by final and nonappealable judgment to have

                                                -127-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 214 of 224




resulted from the gross negligence, bad faith or willful misconduct of such Lender Related Person
or (y) other than in the case of the Administrative Agent or any of its Related Parties, result from
a claim brought by the Borrower or any other Obligor against a Lender Related Person for a
material breach of such Lender Related Person’s obligations hereunder or under any other Loan
Document, if the Borrower or such Obligor has obtained a final and nonappealable judgment in its
favor on such claim as determined by a court of competent jurisdiction. Without limiting the
provisions of Section 5.9.2, this Section 14.1.3 shall not apply with respect to Taxes other than
any Taxes that represent losses, claims, damages, etc. arising from any non-Tax claim.

        14.3.    Notices and Communications.

                14.3.1     Notice Address. Subject to Section 4.1.3, all notices and other
communications by or to a party hereto shall be in writing and shall be given to any Borrower, at
Borrower’s address shown on the signature pages hereof, and to any other Person at its address
shown on the signature pages hereof (or, in the case of a Person who becomes a Lender after the
Closing Date, at the address shown on its Assignment and Acceptance), or at such other address
as a party may hereafter specify by notice in accordance with this Section 14.3. Each
communication shall be effective only (a) if given by facsimile transmission, when transmitted to
the applicable facsimile number, if confirmation of receipt is received or when received by
electronic mail; (b) if given by mail, three Business Days after deposit in the U.S. mail, with first-
class postage pre-paid, addressed to the applicable address; or (c) if given by personal delivery,
when duly delivered to the notice address with receipt acknowledged. Notwithstanding the
foregoing, no notice to Administrative Agent pursuant to Sections 2.1.4 or 4.1.1 shall be effective
until actually received by the individual to whose attention at Administrative Agent such notice is
required to be sent. Any written communication that is not sent in conformity with the foregoing
provisions shall nevertheless be effective on the date actually received by the noticed party. Any
notice received by Borrower shall be deemed received by the Borrower.

               14.3.2     Communications. Secured Parties make no assurance as to the privacy
or security of electronic communications. E-mail and voice mail shall not be effective notices
from the Obligors under the Loan Documents, unless otherwise expressly agreed.

                14.3.3     Platform. Borrower Materials shall be delivered pursuant to procedures
approved by Administrative Agent, including via e-mail and other electronic delivery (if possible)
upon request by Administrative Agent to an electronic system maintained by Administrative Agent
(“Platform”). Borrower shall notify Administrative Agent of each posting of Borrower Materials
on the Platform and the materials shall be deemed received by Administrative Agent only upon its
receipt of such notice. Borrower Materials and other information relating to this credit facility
may be made available to Lenders on the Platform. The Platform is provided “as is” and “as
available.” Administrative Agent does not warrant the accuracy or completeness of any
information on the Platform nor the adequacy or functioning of the Platform, and expressly
disclaims liability for any errors or omissions in the Borrower Materials or any issues involving
the Platform. NO WARRANTY OF ANY KIND, EXPRESS, IMPLIED OR STATUTORY,
INCLUDING ANY WARRANTY OF MERCHANTABILITY, FITNESS FOR A
PARTICULAR PURPOSE, NON-INFRINGEMENT OF THIRD PARTY RIGHTS, OR
FREEDOM FROM VIRUSES OR OTHER CODE DEFECTS, IS MADE BY
ADMINISTRATIVE AGENT WITH RESPECT TO BORROWER MATERIALS OR THE

                                                -128-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 215 of 224




PLATFORM. Lenders acknowledge that Borrower Materials may include material non-public
information of Obligors and should not be made available to any personnel who do not wish to
receive such information or who may be engaged in investment or other market-related activities
with respect to any Obligor’s securities. No Agent Indemnitee shall have any liability to the
Borrower, Lenders or any other Person for losses, claims, damages, liabilities or expenses of any
kind (whether in tort, contract or otherwise) relating to use by any Person of the Platform or
delivery of Borrower Materials, notices and other information through the Platform, any other
electronic platform or electronic messaging service, or through the Internet.

               14.3.4   Public Information. Obligors and Secured Parties acknowledge that
“public” information may not be segregated from material non-public information on the Platform.
Secured Parties acknowledge that Borrower Materials may include Obligors’ material non-public
information, and should not be made available to personnel who do not wish to receive such
information or may be engaged in investment or other market-related activities with respect to an
Obligor’s securities.

                14.3.5    Non-Conforming Communications. Administrative Agent and Lenders
may rely upon any communications purportedly given by or on behalf of the Borrower even if they
were not made in a manner specified herein, were incomplete or were not confirmed, or if the
terms thereof, as understood by the recipient, varied from a later confirmation. The Borrower shall
indemnify and hold harmless each Indemnitee from any liabilities, losses, costs and expenses
arising from any electronic or telephonic communication purportedly given by or on behalf of the
Borrower.

                 14.3.6    Electronic Mail. Notwithstanding the foregoing, or anything else to the
contrary contained herein or in any other Loan Document, the parties hereto agree that (i) if an
Agent requires or seeks consent and/or direction of any Lender in connection with exercising any
of its rights or powers, or otherwise taking any action, under this Agreement or any other Loan
Document (including in connection with providing any consent or waiver that this Agreement or
such other Loan Document expressly permits such Agent to provide), such Agent shall be entitled
to rely on any such consent and/or direction delivered to it by electronic mail (“e- mail”) by or on
behalf of the applicable Lender (including by any investment advisor, manager or similar Person
holding itself out as authorized to act on behalf of such Lender or by any counsel thereto or to such
Lender), (ii) with respect to (a) any provision of this Agreement or any other Loan Document that
permits any date by which any Obligor is required to comply with any obligation hereunder
(including any date set forth on Schedule 10.1.13) or under such other Loan Document to be
extended and (b) any amendment, consent, waiver, modification or otherwise of this Agreement
or any other Loan Document, in each case, that requires the consent and/or the direction of one or
more of the Lenders, each Lender shall be permitted to provide its consent and/or direction via its
counsel and, in such case, such consent and/or direction shall be deemed to have been validly
provided to the extent that such counsel confirms the same by electronic mail (“e-mail”) to the
Borrower’s counsel or Administrative Agent’s counsel, as applicable, (it being agreed that, in
connection with delivering such e-mail, such counsel shall be permitted to rely on any
corresponding consent or direction delivered to such counsel by or on behalf of the applicable
Lender (including by any investment advisor, manager or similar entity holding itself out as
authorized to act on behalf of such Lender)) and (iii) with respect to (a) any provision of this
Agreement or any other Loan Document that permits any date by which any Obligor is required

                                               -129-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 216 of 224




to comply with any obligation hereunder (including any date set forth on Schedule 10.1.13) or
under such other Loan Document to be extended and (b) any amendment, consent, waiver,
modification or otherwise of this Agreement or any other Loan Document, in each case, that
requires the consent and/or direction of the Administrative Agent, the Administrative Agent shall
be permitted to provide its consent and/or direction via its counsel and, in such case, such consent
and/or direction shall be deemed to have been validly provided to the extent that such counsel
confirms the same by electronic mail (“e-mail”) to the Borrower’s counsel or Lender’s counsel, as
applicable, (it being agreed that, in connection with delivering such e-mail, such counsel shall be
permitted to rely on any corresponding consent or direction delivered to such counsel by or on
behalf of the Administrative Agent.

         14.4. Performance of Borrower’s Obligations. Administrative Agent may (but shall
not be obligated to), in its discretion at any time and from time to time, at Borrower’s expense, pay
any amount or do any act required of the Borrower under any Loan Documents or otherwise
lawfully requested by Administrative Agent to (a) enforce any Loan Documents or collect any
Obligations; (b) protect, insure, maintain or realize upon any Collateral; or (c) defend or maintain
the validity or priority of Administrative Agent’s Liens in any Collateral, including any payment
of a judgment, insurance premium, warehouse charge, finishing or processing charge, or landlord
claim, or any discharge of a Lien. All payments, costs and expenses (including Extraordinary
Expenses) of Administrative Agent under this Section shall be reimbursed to Administrative Agent
by Borrower, within 10 Business Days after demand, with interest from the date incurred until paid
in full, at the Default Rate. Any payment made or action taken by Administrative Agent under
this Section shall be without prejudice to any right to assert an Event of Default or to exercise any
other rights or remedies under the Loan Documents.

        14.5. Credit Inquiries. Administrative Agent and Lenders may (but shall have no
obligation) to respond to usual and customary credit inquiries from third parties concerning any
Obligor or Subsidiary.

        14.6. Severability. Wherever possible, each provision of the Loan Documents shall be
interpreted in such manner as to be valid under Applicable Law. If any provision is found to be
invalid under Applicable Law, it shall be ineffective only to the extent of such invalidity and the
remaining provisions of the Loan Documents shall remain in full force and effect.

         14.7. Cumulative Effect; Conflict of Terms. The provisions of the Loan Documents
are cumulative. The parties acknowledge that the Loan Documents may use several limitations or
measurements to regulate similar matters, and they agree that these are cumulative and that each
must be performed as provided. Except as otherwise provided in another Loan Document (by
specific reference to the applicable provision of this Agreement), if any provision contained herein
is in direct conflict with any provision in another Loan Document, the provision herein shall govern
and control.

        14.8. Counterparts; Execution. Any Loan Document may be executed in counterparts,
each of which shall constitute an original, but all of which when taken together shall constitute a
single contract. This Agreement shall become effective when Administrative Agent has received
counterparts bearing the signatures of all parties hereto. The words “execute,” “execution,”
“signed,” “signature,” and words of like import in or related to any document to be signed in

                                               -130-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 217 of 224




connection with this Agreement and the transactions contemplated hereby (including without
limitation Assignment and Acceptances, amendments or other modifications, Notices of
Borrowing, waivers and consents) shall be deemed to include electronic signatures, the electronic
matching of assignment terms and contract formations on electronic platforms approved by the
Administrative Agent, or the keeping of records in electronic form, each of which shall be of the
same legal effect, validity or enforceability as a manually executed signature or the use of a paper-
based recordkeeping system, as the case may be, to the extent and as provided for in any applicable
law, including the Federal Electronic Signatures in Global and National Commerce Act, the New
York State Electronic Signatures and Records Act, or any other similar state laws based on the
Uniform Electronic Transactions Act; provided, that notwithstanding anything contained herein to
the contrary the Administrative Agent is under no obligation to agree to accept electronic
signatures in any form or in any format unless expressly agreed to by the Administrative Agent
pursuant to procedures approved by it.

       14.9. Entire Agreement. Time is of the essence with respect to all Loan Documents and
Obligations. The Loan Documents constitute the entire agreement, and supersede all prior
understandings and agreements, among the parties relating to the subject matter thereof.

        14.10. Relationship with Lenders. The obligations of each Lender hereunder are several,
and no Lender shall be responsible for the obligations or Commitments of any other Lender.
Amounts payable hereunder to each Lender shall be a separate and independent debt. It shall not
be necessary for Administrative Agent or any other Lender to be joined as an additional party in
any proceeding for such purposes. Nothing in this Agreement and no action of Administrative
Agent, Lenders or any other Secured Party pursuant to the Loan Documents or otherwise shall be
deemed to constitute Administrative Agent and any Secured Party to be a partnership, joint venture
or similar arrangement, nor to constitute control of any Obligor.

        14.11. No Advisory or Fiduciary Responsibility. In connection with all aspects of each
transaction contemplated by any Loan Document, Borrower acknowledges and agrees that (a)(i)
this credit facility and any related arranging or other services by Administrative Agent, any Lender,
any of their Affiliates or any arranger are arm’s-length commercial transactions between Borrower
and such Person; (ii) Borrower has consulted its own legal, accounting, regulatory and tax advisors
to the extent they have deemed appropriate; and (iii) Borrower is capable of evaluating, and
understand and accept, the terms, risks and conditions of the transactions contemplated by the
Loan Documents; (b) each of Administrative Agent, Lenders, their Affiliates and any arranger is
and has been acting solely as a principal and, except as expressly agreed in writing by the relevant
parties, has not been, is not, and will not be acting as an advisor, agent or fiduciary for Borrower,
any of its Affiliates or any other Person, and has no obligation with respect to the transactions
contemplated by the Loan Documents except as expressly set forth therein; and (c) Administrative
Agent, Lenders, their Affiliates and any arranger may be engaged in a broad range of transactions
that involve interests that differ from those of Borrower and its Affiliates, and have no obligation
to disclose any of such interests to Borrower or its Affiliates. To the fullest extent permitted by
Applicable Law, the Borrower hereby waives and releases any claims that it may have against
Administrative Agent, Lenders, their Affiliates and any arranger with respect to any breach of
agency or fiduciary duty in connection with any transaction contemplated by a Loan Document.



                                               -131-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 218 of 224




        14.12. Confidentiality. Each of Administrative Agent and Lenders shall maintain the
confidentiality of all Information (as defined below), except that Information may be disclosed (a)
to its Affiliates, and to its and their partners, directors, officers, employees, agents, advisors and
representatives, as well as financing sources and prospective investors (provided such Persons are
informed of the confidential nature of the Information and instructed to keep it confidential); (b)
to the extent requested by any governmental, regulatory or self-regulatory authority purporting to
have jurisdiction over it or its Affiliates; (c) to the extent required by Applicable Law or by any
subpoena or other legal process; (d) to any other party hereto; (e) in connection with any action or
proceeding relating to any Loan Documents or Obligations; (f) subject to an agreement containing
provisions substantially the same as this Section, to any Transferee or any actual or prospective
party (or its advisors) to any bank product; (g) with the consent of Borrower; or (h) to the extent
such Information (i) becomes publicly available other than as a result of a breach of this Section
or (ii) is available to Administrative Agent, any Lender or any of their Affiliates on a
nonconfidential basis from a source other than Borrower. Notwithstanding the foregoing,
Administrative Agent and Lenders may publish or disseminate general information concerning
this credit facility for league table, tombstone and advertising purposes, and may use Borrower’s
logos, trademarks or product photographs in advertising materials. As used herein, “Information”
means all information received from an Obligor or Subsidiary relating to it or its business. Any
Person required to maintain the confidentiality of Information pursuant to this Section shall be
deemed to have complied if it exercises a degree of care similar to that which it accords its own
confidential information. Each of Administrative Agent and Lenders acknowledges that (i)
Information may include material non-public information; (ii) it has developed compliance
procedures regarding the use of material non-public information; and (iii) it will handle such
material non-public information in accordance with Applicable Law.

     14.13. GOVERNING LAW. THIS AGREEMENT AND THE OTHER LOAN
DOCUMENTS, UNLESS OTHERWISE SPECIFIED, SHALL BE GOVERNED BY, AND
CONSTRUED AND INTERPRETED IN ACCORDANCE WITH, THE LAWS OF THE
STATE OF NEW YORK, WITHOUT GIVING EFFECT TO CONFLICT OF LAW
PRINCIPLES TO THE EXTENT SUCH PRINCIPLES WOULD REQUIRE THE
APPLICATION OF THE LAWS OF ANOTHER JURISDICTION.

     14.14. Consent to Forum. THE BORROWER HEREBY CONSENTS TO THE
EXCLUSIVE JURISDICTION OF THE BANKRUPTCY COURT AND, SOLELY TO THE
EXTENT THAT THE BANKRUPTCY COURT DOES NOT HAVE (OR ABSTAINS
FROM EXERCISING) JURISDICTION OVER ANY MATTER, ANY STATE COURT
SITTING IN THE CITY OF NEW YORK IN THE BOROUGH OF MANHATTAN OR
THE UNITED STATES DISTRICT COURT IN THE SOUTHERN DISTRICT OF NEW
YORK IN THE BOROUGH OF MANHATTAN, IN ANY DISPUTE, ACTION,
LITIGATION OR OTHER PROCEEDING RELATING IN ANY WAY TO ANY LOAN
DOCUMENTS, AND AGREES THAT ANY DISPUTE, ACTION, LITIGATION OR
OTHER PROCEEDING SHALL BE BROUGHT BY IT SOLELY IN ANY SUCH COURT.
THE BORROWER IRREVOCABLY AND UNCONDITIONALLY WAIVES ALL
CLAIMS, OBJECTIONS AND DEFENSES THAT IT MAY HAVE REGARDING ANY
SUCH COURT’S PERSONAL OR SUBJECT MATTER JURISDICTION, VENUE OR
INCONVENIENT FORUM.          EACH PARTY HERETO IRREVOCABLY AND
UNCONDITIONALLY SUBMITS TO THE JURISDICTION OF SUCH COURTS AND

                                                -132-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 219 of 224




CONSENTS TO SERVICE OF PROCESS IN THE MANNER PROVIDED FOR NOTICES
IN SECTION 14.3.1. A final judgment in any proceeding of any such court shall be
conclusive and may be enforced in other jurisdictions by suit on the judgment or any other
manner provided by Applicable Law.

        14.15. Waivers by Borrower. To the fullest extent permitted by Applicable Law, the
Borrower waives (a) the right to trial by jury (which Administrative Agent and each Lender hereby
also waives) in any proceeding or dispute of any kind relating in any way to any Loan Documents,
Obligations or Collateral; (b) presentment, demand, protest, notice of presentment, default, non-
payment, maturity, release, compromise, settlement, extension or renewal of any commercial
paper, accounts, documents, instruments, chattel paper and guaranties at any time held by
Administrative Agent on which the Borrower may in any way be liable, and hereby ratifies
anything Administrative Agent may do in this regard; (c) notice prior to taking possession or
control of any Collateral; (d) any bond or security that might be required by a court prior to
allowing Administrative Agent to exercise any rights or remedies; (e) the benefit of all valuation,
appraisement and exemption laws; (f) any claim against Administrative Agent or any Lender, on
any theory of liability, for special, indirect, consequential, exemplary or punitive damages (as
opposed to direct or actual damages) in any way relating to any Enforcement Action, Obligations,
Loan Documents or transactions relating thereto; and (g) notice of acceptance hereof. The
Borrower acknowledges that the foregoing waivers are a material inducement to Administrative
Agent and Lenders entering into this Agreement and that they are relying upon the foregoing in
their dealings with Borrower. The Borrower has reviewed the foregoing waivers with its legal
counsel and has knowingly and voluntarily waived its jury trial and other rights following
consultation with legal counsel. In the event of litigation, this Agreement may be filed as a written
consent to a trial by the court.

        14.16. Patriot Act Notice. Administrative Agent and Lenders hereby notify Borrower
that pursuant to the Patriot Act, Administrative Agent and Lenders are required to obtain, verify
and record information that identifies the Borrower, including its legal name, address, tax ID
number and other information that will allow Administrative Agent and Lenders to identify it in
accordance with the Patriot Act. Administrative Agent and Lenders will also require information
regarding each guarantor, if any, and may require information regarding Borrower’s management
and owners, such as legal name, address, social security number and date of birth. Borrower shall,
promptly upon request, provide all documentation and other information as Administrative Agent
or any Lender may request from time to time in order to comply with any obligations under any
“know your customer,” anti-money laundering or other requirements of Applicable Law.

     14.17. NO ORAL AGREEMENT. THIS AGREEMENT AND THE OTHER LOAN
DOCUMENTS REPRESENT THE FINAL AGREEMENT BETWEEN THE PARTIES
AND MAY NOT BE CONTRADICTED BY EVIDENCE OF PRIOR,
CONTEMPORANEOUS OR SUBSEQUENT ORAL AGREEMENTS BETWEEN THE
PARTIES. THERE ARE NO UNWRITTEN AGREEMENTS BETWEEN THE PARTIES.

         14.18. Acknowledgement and Consent to Bail-In of Affected Financial Institutions.
Notwithstanding anything to the contrary in any Loan Document or in any other agreement,
arrangement or understanding among any such parties, each party hereto acknowledges that any
liability of any Lender that is an Affected Financial Institution arising under any Loan Document,

                                               -133-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 220 of 224




to the extent such liability is unsecured, may be subject to the write-down and conversion powers
of the applicable Resolution Authority and agrees and consents to, and acknowledges and agrees
to be bound by:

                        (a)    the application of any Write-Down and Conversion Powers by an
        Affected Resolution Authority to any such liabilities arising hereunder which may be
        payable to it by any Lender that is an Affected Financial Institution; and

                            (b)   the effects of any Bail-In Action on any such liability, including, if
        applicable:

                                  (i)    a reduction in full or in part or cancellation of any such
        liability;

                                (ii)   a conversion of all, or a portion of, such liability into shares
        or other instruments of ownership in such Affected Financial Institution, its parent
        undertaking, or a bridge institution that may be issued to it or otherwise conferred on it,
        and that such shares or other instruments of ownership will be accepted by it in lieu of any
        rights with respect to any such liability under this Agreement or any other Loan Document;
        or

                            (iii) the variation of the terms of such liability in connection with
        the exercise of the write-down and conversion powers of any Affected Resolution
        Authority.

        14.19. DIP Orders. The Obligors, the Administrative Agent and the Lenders hereby
expressly agree that, in the event of any conflict or inconsistency between this Agreement (or any
other Loan Document), on the one hand, and any DIP Order, on the other hand, the DIP Order then
in effect shall control. Notwithstanding anything to the contrary herein, the provisions of this
Agreement are subject to the terms, covenants, conditions and provisions of, the DIP Orders, as
applicable. This Agreement is subject in all respects (including with respect to all obligations and
agreements of the Obligors provided for hereunder) to the terms of the Interim DIP Order (and,
when applicable, the Final DIP Order) and, notwithstanding anything in the foregoing, the
Obligors shall not be required to undertake any obligation, make any agreement or take any action
that is prohibited by the terms of the Interim DIP Order (and, when applicable, the Final DIP
Order).

         14.20. Acknowledgment Regarding any Supported QFCs. To the extent that the Loan
Documents provide support, through a guarantee or otherwise, for any agreement or instrument
that is a QFC (such support, “QFC Credit Support” and each such QFC a “Supported QFC”), the
parties acknowledge and agree as follows with respect to the resolution power of the Federal
Deposit Insurance Corporation under the Federal Deposit Insurance Act and Title II of the Dodd-
Frank Wall Street Reform and Consumer Protection Act (together with the regulations
promulgated thereunder, the “U.S. Special Resolution Regimes”) in respect of such Supported
QFC and QFC Credit Support (with the provisions below applicable notwithstanding that the Loan
Documents and any Supported QFC may in fact be stated to be governed by the laws of the State
of New York and/or of the United States or any other state of the United States).

                                                  -134-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 221 of 224




                        (a)     In the event a Covered Entity that is party to a Supported QFC (each,
a “Covered Party”) becomes subject to a proceeding under a U.S. Special Resolution Regime, the
transfer of such Supported QFC and the benefit of such QFC Credit Support (and any interest and
obligation in or under such Supported QFC and such QFC Credit Support, and any rights in
property securing such Supported QFC or such QFC Credit Support) from such Covered Party will
be effective to the same extent as the transfer would be effective under the U.S. Special Resolution
Regime if the Supported QFC and such QFC Credit Support (and any such interest, obligation and
rights in property) were governed by the laws of the United States or a state of the United States.
In the event a Covered Party or a BHC Act Affiliate of a Covered Party becomes subject to a
proceeding under a U.S. Special Resolution Regime, Default Rights under the Loan Documents
that might otherwise apply to such Supported QFC or any QFC Credit Support that may be
exercised against such Covered Party are permitted to be exercised to no greater extent than such
Default Rights could be exercised under the U.S. Special Resolution Regime if the Supported QFC
and the Loan Documents were governed by the laws of the United States or a state of the United
States. Without limitation of the foregoing, it is understood and agreed that rights and remedies
of the parties with respect to a Defaulting Lender shall in no event affect the rights of any Covered
Party with respect to a Supported QFC or any QFC Credit Support.

                            (b)      As used in this Section 14.20, the following terms have the
following meanings:

        “BHC Act Affiliate” of a party means an “affiliate” (as such term is defined under, and
interpreted in accordance with, 12 U.S.C. 1841(k)) of such party.

        “Covered Entity” means any of the following:

       i.     a “covered entity” as that term is defined in, and interpreted in accordance with, 12
C.F.R. § 252.82(b);

       ii.     a “covered bank” as that term is defined in, and interpreted in accordance with, 12
C.F.R. § 47.3(b); or

       iii.   a “covered FSI” as that term is defined in, and interpreted in accordance with, 12
C.F.R. § 382.2(b).

       “Default Right” has the meaning assigned to that term in, and shall be interpreted in
accordance with, 12 C.F.R. §§ 252.81, 47.2 or 382.1, as applicable.

        “QFC” has the meaning assigned to the term “qualified financial contract” in, and shall be
interpreted in accordance with, 12 U.S.C. 5390(c)(8)(D).

                                  [Remainder of page intentionally left blank]




                                                     -135-
LEGAL_US_E # 167486774.10
      Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 222 of 224




                                    Exhibit 2
                                  Initial Budget




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                                           Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 223 of 224



Detailed DIP Budget
                                                 Fcst             Fcst          Fcst         Fcst         Fcst         Fcst         Fcst         Fcst         Fcst         Fcst         Fcst         Fcst
  Week Starting                                12/21/2022 (1)   12/24/2022    12/31/2022     1/7/2023    1/14/2023    1/21/2023    1/28/2023     2/4/2023    2/11/2023    2/18/2023    2/25/2023     3/4/2023
  Week Ending                                  12/23/2022       12/30/2022      1/6/2023    1/13/2023    1/20/2023    1/27/2023     2/3/2023    2/10/2023    2/17/2023    2/24/2023     3/3/2023    3/10/2023

  Operating Cash Flows

  Sel f-Mi ned BTC Sa le Proceeds                     2.5             5.3           6.0          6.2          6.2          6.2          6.3          6.5          6.5          6.5          6.7          6.9
  Hos ti ng Pa yments                                 -               3.8           -            -            -            -           10.9          -            -            -            7.4          -
    Net Receipts                                      2.5             9.1           6.0          6.2          6.2          6.2         17.2          6.5          6.5          6.5         14.0          6.9

  Power Costs                                         (2.9)           (6.4)         (6.8)        (9.3)        (5.5)        (5.6)      (12.6)         (5.5)        (5.5)        (5.6)      (12.6)         (5.3)
  Opera ti ng Costs                                    -              (1.4)         (2.2)        (0.7)        (1.9)        (0.7)       (2.2)         (1.4)        (2.5)        (1.4)       (2.5)         (1.3)
  Ta x Pa yments                                       -               -            (0.6)        (0.0)        (0.0)        (0.0)       (0.0)         (0.0)        (0.0)        (0.0)       (0.7)          -
    Net Operating Disbursements                       (2.9)           (7.8)         (9.6)        (9.9)        (7.5)        (6.4)      (14.8)         (6.9)        (8.0)        (7.0)      (15.8)         (6.6)

  Cons truction & Infra structure Ca pex               -              (0.2)         (1.2)        -            -             -           -            (0.5)        -            -            -            (1.2)
  Mi ner Capex (i nc. Cus toms)                       (0.9)            -            (0.0)        -            -            (0.4)        -             -           -            -            -             -
  PP&E Sa le Proceeds                                  -               -             -           -            -             -           -             -           -            -            -             -
    Net Capital Expenditures                          (0.9)           (0.2)         (1.2)        -            -            (0.4)        -            (0.5)        -            -            -            (1.2)

  Total Operating Cash Flows                          (1.3)           1.1           (4.8)        (3.7)        (1.3)        (0.5)        2.4          (0.9)        (1.5)        (0.5)        (1.7)        (0.9)

  Non-Operating Cash Flows

  Profes s ional Fees                                 (0.9)          (1.4)          (1.6)        (2.4)        (1.5)        (2.1)        (1.5)        (1.6)        (3.4)        (1.6)        (1.6)        (1.4)
  Uti li ty Depos i ts (TBD)                           -            (10.0)           -            -            -            -            -            -            -            -            -            -
  Interes t Income                                     -              -              -            -            -            -            -            -            -            -            -            -
  Other (TBD)                                          -             (0.4)          (0.4)        (0.4)        (0.4)        (0.4)        (0.4)        (0.4)        (0.4)        (0.4)        (0.4)        (0.4)

  Net Non-Operating Cash Flows                        (0.9)         (11.7)          (2.0)        (2.7)        (1.9)        (2.4)        (1.9)        (1.9)        (3.8)        (1.9)        (1.9)        (1.8)

  Liquidity Balances

  Sta rti ng Ca sh Ba l a nce                         3.7            39.0          28.3         21.6         15.1         11.9         21.5         22.0         19.2         14.0         21.7         18.0
  New Money / DIP Fi na nci ng                       37.5             -             -            -            -           12.5          -            -            -           10.1          -            -
  Net Ca s h Fl ow                                   (2.2)          (10.6)         (6.8)        (6.5)        (3.1)        (3.0)         0.6         (2.8)        (5.2)        (2.4)        (3.7)        (2.6)
    Ending Cash Balance                              39.0            28.3          21.6         15.1         11.9         21.5         22.0         19.2         14.0         21.7         18.0         15.4
  BTC Hel d & In Trans i t                            0.8             0.8           0.9          0.9          0.9          0.9          0.9          0.9          0.9          0.9          1.0          1.0
    Ending Liquidity                                 39.8            29.1          22.4         16.0         12.8         22.3         22.9         20.1         14.9         22.6         19.0         16.4




(1) Partial week starting 12/21/2022                                                                                                                                                                             1
                                           Case 22-90341 Document 130 Filed in TXSB on 12/23/22 Page 224 of 224



Detailed DIP Budget (continued)
                                              Fcst         Fcst         Fcst         Fcst        Fcst         Fcst         Fcst        Fcst         Fcst        Fcst         Fcst         Fcst
Week Starting                                3/11/2023    3/18/2023    3/25/2023    4/1/2023     4/8/2023    4/15/2023    4/22/2023   4/29/2023     5/6/2023   5/13/2023    5/20/2023    5/27/2023       Tota l
Week Ending                                  3/17/2023    3/24/2023    3/31/2023    4/7/2023    4/14/2023    4/21/2023    4/28/2023    5/5/2023    5/12/2023   5/19/2023    5/26/2023     6/2/2023    12/21-06/02

Operating Cash Flows

Sel f-Mine d BTC Sa l e Proceeds                  6.9          6.9          6.9         7.2          7.2          7.2          7.2         7.2          7.2         7.2          7.2          7.2           157.6
Hosti ng Pa yments                                -            -            7.5         -            -            -            -           7.1          -           -            -            7.7            44.3
  Net Receipts                                    6.9          6.9         14.4         7.2          7.2          7.2          7.2        14.3          7.2         7.2          7.2         14.9           201.9

Power Costs                                       (5.4)        (5.5)        (4.2)     (11.6)         (5.1)        (4.9)       (5.1)      (11.2)        (4.9)        (4.8)        (4.9)        (9.0)        (160.2)
Opera ti ng Costs                                 (2.4)        (1.3)        (2.5)      (1.0)         (2.1)        (0.8)       (2.1)       (0.8)        (2.1)        (0.8)        (2.1)        (0.9)         (37.2)
Ta x Pa yments                                     -            -            -          -             -            -           -           -            -            -            -            -             (1.4)
  Net Operating Disbursements                     (7.8)        (6.8)        (6.7)     (12.7)         (7.2)        (5.8)       (7.2)      (12.1)        (7.0)        (5.6)        (7.0)       (10.0)        (198.8)

Cons tructi on & Infra s tructure Ca pex          -            -            -           (0.9)        -            -            -           (0.9)        -           -            -            -              (4.9)
Mi ner Ca pex (i nc. Customs)                     -            -            -            -           -            -            -            -           -           -            -            -              (1.3)
PP&E Sa le Proceeds                               -            -            -            -           -            -            -            -           -           -            -            -               -
  Net Capital Expenditures                        -            -            -           (0.9)        -            -            -           (0.9)        -           -            -            -              (6.3)

Total Operating Cash Flows                        (0.9)        0.1          7.7         (6.4)        0.0          1.5          0.0         1.3          0.3         1.6          0.2           5.0           (3.2)

Non-Operating Cash Flows

Profes s i ona l Fees                             (2.5)        (1.2)        (1.4)       (1.2)        (2.0)        (1.2)       (1.2)        (1.2)       (2.1)        (1.3)        (1.3)       (14.2)         (51.9)
Uti li ty Deposi ts (TBD)                          -            -            -           -            -            -           -            -           -            -            -           10.0            -
Interest Income                                    -            -            -           -            -            -           -            -           -            -            -            -              -
Othe r (TBD)                                      (0.4)        (0.4)        (0.4)       (0.4)        (0.4)        (0.4)       (0.4)        (0.4)       (0.4)        (0.4)        (0.4)        (0.4)          (8.1)
                                                                                                                                                                                                              -
Net Non-Operating Cash Flows                      (2.9)        (1.5)        (1.8)       (1.5)        (2.4)        (1.6)       (1.6)        (1.6)       (2.5)        (1.7)        (1.7)        (4.5)         (60.0)

Liquidity Balances

Sta rti ng Ca sh Ba l a nce                      15.4         11.6         16.0        21.9         13.9         11.6         15.6        14.1         13.9        11.6         13.2         11.7             3.7
New Money / DIP Fi na nci ng                      -            5.8          -           -            -            4.1          -           -            -           1.6          -            -              71.6
Net Ca sh Fl ow                                  (3.8)        (1.4)         5.9        (8.0)        (2.4)        (0.1)        (1.5)       (0.2)        (2.2)       (0.1)        (1.5)         0.5           (63.2)
  Ending Cash Balance                            11.6         16.0         21.9        13.9         11.6         15.6         14.1        13.9         11.6        13.2         11.7         12.1            12.1
BTC Hel d & In Tra nsi t                          1.0          1.0          1.0         1.0          1.0          1.0          1.0         1.0          1.0         1.0          1.0          1.0             1.0
  Ending Liquidity                               12.6         17.0         22.9        15.0         12.6         16.6         15.1        14.9         12.7        14.2         12.7         13.2            13.2




                                                                                                                                                                                                                     2
